Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 1 of 325




             EXHIBIT 1
          Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 2 of 325



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA

    Arnold Contreras, et al.,
                             Plaintiffs/Cross-Defendants,
                                                                   Case No.: 2:18-cv-03495-SRB
            v.
    ASARCO LLC, et al,,
                             Defendants/Cross-Plaintiffs.



                                     SETTLEMENT AGREEMENT

           This Settlement Agreement is made and entered into by and among Arnold

Contreras, Tony Meza, Charles M. Estrada, and Celestino Flores, individually and on

behalf of the Class; the Unions; and ASARCO to fully, finally, and forever resolve the

Litigation. 1

I.         Factual Background and Recitals

           1.      ASARCO provided group medical benefits to the Class prior to January 1,

2020. Effective January 1, 2020, ASARCO ceased providing group medical coverage for

Medicare-eligible Class Members and replaced that coverage with a new plan which

included a Health Reimbursement Arrangement and Catastrophic Coverage Special

Payments.

           2.      In advance of making that change, ASARCO filed declaratory judgment suits

in the United States District Courts for the Northern District of Texas (Case No. 2:19-cv-

04393) and District of Arizona (Case No. 2:18-cv-03534) which together sought a


1
    Capitalized terms—including “Class,” “Unions,” “Asarco,” and “Litigation”—are defined herein.


                                                         1
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 3 of 325




declaration that it had the right to modify or terminate the retiree healthcare benefits it

provided to the Class. Plaintiffs also filed suit against ASARCO in the United States

District Court for the District of Arizona (Case No. 2:18-cv-03495) alleging that ASARCO

breached the terms of collective bargaining agreements by unilaterally changing the

healthcare benefits it was providing to the Class; Plaintiffs brought claims against

ASARCO under the Labor Management Relations Act (“LMRA”) and Employee

Retirement Income Security Act (“ERISA”).

       3.     On July 15, 2019, the three cases were consolidated under the above-

captioned titled and case number.

       4.     On July 29, 2019, the Court granted the Plaintiffs’ unopposed motions for

class certification, certifying the Class.

       5.     On August 2, 2019, Plaintiffs filed a Consolidated Complaint.

       6.     ASARCO filed a Consolidated Answer and Cross-Complaint on August 23,

2019, which Plaintiffs answered on September 11, 2019.

       7.     On October 18, 2021, ASARCO filed a motion for summary judgment,

asking the Court to enter judgment in its favor as to the claims in Plaintiffs’ Consolidated

Complaint and the claims in its Consolidated Cross-Complaint. Plaintiffs opposed the

motion, and the Court held oral argument on December 16, 2021.

       8.     On February 22, 2022, the Court granted ASARCO’s summary judgment

motion.

       9.     Plaintiffs timely appealed to the United States Court of Appeals for the Ninth

Circuit on March 11, 2022.


                                             2
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 4 of 325




       10.    On March 29, 2022, the Court entered a judgment in favor of ASARCO as

to the LMRA and ERISA claims of the Plaintiffs and the Class and declaring that ASARCO

has the right to amend or terminate the medical benefits for the Class.

       11.    On April 11, 2022, Asarco filed a bill of costs, and on April 26, 2022, the

Clerk of the Court taxed costs in favor of ASARCO and against Plaintiffs and Millwrights

and Machine Erectors, Local 1607 in the amount of $13,414.23.

       12.    On April 21, 2022, ASARCO filed a motion for attorneys’ fees and related

non-taxable expenses. Plaintiffs opposed the fee and related non-taxable expense motion

on May 19, 2021.

       13.    Following Plaintiffs filing of their appeal, Plaintiffs and ASARCO engaged

in settlement discussions under the Ninth Circuit Mediation Program. After extensive

discussions, on October 13, 2022, Plaintiffs and ASARCO agreed to finally resolve the

Litigation in principle, which they have since set forth in this Settlement Agreement.

       14.    Based on their investigation of the merits of this dispute, the conduct of the

Litigation to date, and their knowledge and experience pursuing such actions generally,

Plaintiffs and Class Counsel believe that the Settlement set forth in this Settlement

Agreement is a fair, reasonable, and adequate resolution of the Litigation. In making that

conclusion, Plaintiffs and Class Counsel have considered, among other things, the risks of

continued litigation, the time necessary to achieve a final resolution through appeal and

trial, and the benefits to the Class under the Settlement.

       15.    Although ASARCO continues to deny all liability with respect to any and all

of the claims that Plaintiffs asserted in the Litigation, ASARCO nevertheless considers it


                                              3
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 5 of 325




desirable that the Litigation be conclusively settled and terminated on the terms and

conditions set forth below. The settlement of the Litigation and the attendant entry of the

Judgment with prejudice will avoid the substantial expense, inconvenience, and risk of

continued litigation and will provide certainty as to the benefits to be provided to the Class.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED that, in

consideration of the mutual covenants and promises set forth in this Settlement Agreement,

the Parties hereby agree to a full and complete settlement of the Litigation, on the following

terms and conditions, subject to the Court’s approval:

II.    Definitions

       As used in this Settlement Agreement, the following terms have the meanings

specified below:

       1.     “ASARCO” means ASARCO LLC and ASARCO Retiree Medical Plan.

       2.     “Catastrophic Coverage Special Payments” or “Catastrophic Coverage”

means the reimbursement arrangement provided by ASARCO to Medicare-eligible Class

Members which reimburses participants for eligible out-of-pocket prescription drug

expenses incurred in excess of the Medicare Part D catastrophic threshold in a given year,

as set forth in the attached ASARCO Retiree Medical Plan, Exhibit A.

       3.     “Class” means the Class certified by the Court on July 29, 2019, which

consists of the two subclasses defined as follows:

              Pre-2007 Ray Retirees
              All former union-represented employees of ASARCO’s Ray
              Unit who retired (other than deferred vested) under the
              ASARCO Retirement Income Plan for Hourly-Rated
              Employees between November 30, 1986 and December 31,


                                              4
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 6 of 325



              2006 and their spouses and eligible dependents, provided that
              such former employees, spouses, and eligible dependents
              were either (i) eligible for Medicare and receiving retiree
              medical and prescription drug benefits from ASARCO, or (ii)
              could become eligible in the future to receive retiree medical
              and prescription drug benefits from ASARCO after becoming
              Medicare-eligible.
              Post-2007 Retirees:
              All former union-represented employees of ASARCO who
              retired (other than deferred vested) under the ASARCO
              Retirement Income Plan for Hourly-Rated Employees
              between January 1, 2007 and November 30, 2015 (including
              anyone who provided the requisite notice by November 30,
              2015 and then retired within 180 days of providing the notice)
              and their spouses and eligible dependents, provided that such
              former employees, spouses, and eligible dependents were
              either (i) eligible for Medicare and receiving medical and
              prescription drug benefits from ASARCO, or (ii) could
              become eligible in the future to receive medical and
              prescription drug benefits from ASARCO after becoming
              Medicare-eligible.

       4.     “Class Counsel” means the attorneys appointed to represent the Class by the

Court on July 29, 2019: Feinstein Doyle Payne & Kravec, LLC and Gerald Barrett.

       5.     “Class Members” means the individuals in the Class, including the Class

Representatives.

       6.     “Class Representatives” means Arnold Contreras, Tony Meza, Charles M.

Estrada, and Celestino Flores.

       7.     “Court” means the United States District Court for the District of Arizona.

       8.     “Final Approval Order” means the order and judgment approving the

Settlement.

       9.     “Final Fairness Hearing” means the Court hearing required by Fed. R. Civ.

P. 23(e)(2) to determine whether the Settlement is fair, reasonable, and adequate and should

be finally approved.


                                             5
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 7 of 325




       10.      “Final Settlement Approval” means that the following has taken place: (a)

entry of the Final Approval Order; and (b) the expiration of all applicable appeal periods

for the appeal of the Final Approval Order without any appeal having been filed or, if any

appeal is taken, entry of an order approving the Final Approval Order and the exhaustion

of any and all applicable opportunities for the further reconsideration, rehearing, or appeal

of any such affirmance. The Parties agree that absent an appeal or other attempted review

proceeding, Final Settlement Approval will be deemed to have occurred thirty-five (35)

calendar days after the entry of the Final Approval Order.

       11.      “Health Reimbursement Arrangement” or “HRA” means the reimbursement

arrangement provided by ASARCO to Medicare-eligible Class Members which reimburses

participants for eligible medical expenses, as set forth in the attached ASARCO Retiree

Medical Plan, Exhibit A.

       12.      “Judgment” means the Court’s March 29, 2022 Judgment filed in the

Litigation at ECF No. 188.

       13.      “Litigation” means the three lawsuits consolidated under Case No. 2:18-cv-

03495 and any appeal therefrom.

       14.      “Parties” means Plaintiffs and ASARCO.

       15.      “Plaintiffs” means the Class Representatives and the Unions.

       16.      “Pre-65 Medical Plan” means the group health plan that ASARCO provides

to Class Members who are not eligible for Medicare, as set forth in the 2002 Summary Plan

Description attached Exhibit B, as modified by the 2007 Basic Labor Agreement attached

as Exhibit C.


                                              6
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 8 of 325




      17.    “Preliminary Approval Order” means the order granting preliminary

approval to the Settlement.

      18.    “Settlement” means the settlement terms as set forth in this Settlement

Agreement.

      19.    “Settlement Administrator” means American Legal Claims Services, LLC,

PO Box 23650, Jacksonville, FL 32241-3650.

      20.    “Unions” means (i) United Steel, Paper and Forestry, Rubber,

Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-

CIO/CLC (“USW”), (ii) USW Local 886-02; (iii) USW Local 915; (iv) USW Local 5252;

(v) International Brotherhood of Teamsters, Chauffeurs, Warehousemen, and Helpers of

America, Local 104; (vi) International Brotherhood of Electrical Workers (“IBEW”) Local

518; (vii) IBEW Local 570; (viii) IBEW Local 602; (ix) International Association of

Machinists and Aerospace Workers Local 519; (x) International Union of Operating

Engineers, Local 428; (xi) International Brotherhood of Boilermakers, Iron Shipbuilders,

Blacksmith, Forger, and Helpers, Local 627; and (xii) United Association of Journeyman

and Apprentices of the Plumbing and Pipefitting Industry of the United States and Canada

Local 469.

IV.   The Settlement Terms

      1.     Dismissal of Plaintiffs’ Appeal. Within seven (7) days of the execution of

this Settlement Agreement by all Parties, Plaintiffs shall cause their appeal to the Ninth

Circuit to be dismissed conditionally and without prejudice, subject to renewal if Final

Settlement Approval is not obtained. Upon Final Settlement Approval, Plaintiffs’ appeal


                                            7
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 9 of 325




will be deemed dismissed with prejudice such that, in exchange for the promises and

consideration set forth in this Settlement Agreement, the Judgment will be binding as to

the Plaintiffs and the Class.

       2.     Continued Medical Benefits. Upon Final Settlement Approval, ASARCO

shall provide healthcare benefits to each Class Member on the following terms,

notwithstanding the Judgment or any other document to the contrary, through at least June

30, 2025:

              a.     For Class Members who are Medicare-eligible, ASARCO will

              continue to provide the HRA and Catastrophic Coverage. The annual HRA

              contribution from ASARCO will continue to be at least $1,800 for 2023 and

              2024. For 2025, the annual HRA contribution shall be at least $900.

              b.     For Class Members who are not Medicare-eligible, ASARCO will

              continue to provide the Pre-65 Medical Plan. As Class Members become

              eligible for Medicare, they shall be offered the opportunity to enroll for the

              HRA and Catastrophic Coverage, and thereafter receive benefits on the same

              terms as the Medicare-eligible Class Members.

              c.     ASARCO shall have the right to modify the current HRA plan

              document attached hereto as Exhibit A effective January 1, 2025 in order to

              change the HRA contribution to $900 and to reflect six months of coverage

              for the plan year 2025.

              d.     After June 30, 2025, ASARCO will have the right to modify or

              terminate the retiree healthcare benefits it provides to the Class at any time


                                             8
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 10 of 325




              without advance notice to or approval of Plaintiffs and without any obligation

              to bargain over the same. However, nothing in this Settlement Agreement

              requires ASARCO to do so.

      3.      Checks for Medicare-Eligible Class Members Not Enrolled in the HRA.

Within thirty (30) calendar days of Final Settlement Approval, ASARCO will provide

Plaintiffs and the Settlement Administrator with an up-to-date list of each Medicare-

Eligible Class Member who is not enrolled in the HRA and Catastrophic Coverage as set

forth in the ASARCO Retiree Medical Plan at the time of Final Settlement Approval. Upon

review and confirmation of this list by Plaintiffs, ASARCO will cause to be deposited with

the Settlement Administrator an amount equal to $500 for each such Class Member within

fourteen (14) calendar days. As soon as is practicable after ASARCO’s deposit of the

fund, the Settlement Administrator will mail a check in the amount of $500 to each such

Class Member. The checks must be cashed within sixty (60) calendar days of mailing, and

the Settlement Administrator will notify recipients of this deadline. The amount of any

uncashed checks after the deadline has passed shall be paid to the Patient Advocate

Foundation.

      4.      The Parties Will Bear Their Own Attorneys’ Fees, Costs, and Expenses.

Within seven (7) days of the execution of this Settlement Agreement by all Parties,

ASARCO shall withdraw its motion for attorneys’ fees and related non-taxable expenses

(ECF No. 194), subject to renewal if Final Settlement Approval is not obtained. Upon

Final Settlement Approval, ASARCO agrees it will not pursue collection of the taxed costs




                                             9
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 11 of 325




referenced above and that Plaintiffs and ASARCO shall each bear their own attorneys’

fees, costs, and expenses incurred in connection with the Litigation.

       5.     Engagement and Compensation of Settlement Administrator. Plaintiffs agree

to ask the Court to appoint American Legal Claims Services, LLC to serve as the Settlement

Administrator, which, as a condition of appointment, will agree to be bound by this

Agreement with respect to the performance of its duties and its compensation. The

Settlement Administrator’s duties will include preparing, printing, and mailing the Class

Notice to Class Members using the list of Class Members provided by ASARCO;

conducting a National Change of Address search to update Class Member addresses before

mailing the Class Notice; receiving check(s) or wired funds for Medicare-Eligible Class

Members who are not enrolled in the Catastrophic Coverage and HRA pursuant to the

ASARCO Retiree Medical Plan and depositing the monies into a fund that meets the

requirements of a Qualified Settlement Fund (“QSF”) under US Treasury Regulation

section 468B-1; mailing $500.00 checks to Class Members on the list provided by

ASARCO; and otherwise administering the Settlement pursuant to this Agreement. The

Settlement Administrator’s clients for purposes of this Settlement Agreement are Plaintiffs.

The Settlement Administrator’s fees and costs, including the cost of printing and mailing

the Class Notice and the cost of maintaining the fund account and mailing checks, will be

paid by ASARCO, up to a limit of $10,000. Should the Settlement Administrator’s fees

and costs exceed $10,000, the excess fees and costs will be paid by Plaintiffs.




                                            10
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 12 of 325




V.     Settlement Approval Process

       1.     Preliminary approval. As soon as practicable after the execution of this

Settlement Agreement by all Parties and the conditional dismissal without prejudice of

Plaintiffs’ appeal, Plaintiffs shall file a motion for preliminary approval of the Settlement

set forth in this Settlement Agreement and apply for the Preliminary Approval Order, in

the form attached hereto as Exhibit D or a substantially similar form, requesting:

              a.     Preliminary approval of the Settlement.

              b.     Approval of a customary long form of notice in the form attached

              hereto as Exhibit E or a substantially similar form (“Notice”), to be delivered

              to Class Members as set forth herein.

              c.     Appointment of the Settlement Administrator.

              d.     That the Final Fairness Hearing be held at least one hundred (100)

              calendar days from the entry of the Preliminary Approval Order.

              e.     That the objection procedure set forth herein be adopted and that the

              deadline for objections be set for at least thirty (30) calendar days before the

              Final Fairness Hearing.

              f.     That Plaintiffs be permitted to file a motion seeking the Final

              Approval Order fourteen (14) calendar days before the Final Fairness

              Hearing.

       2.     CAFA Notices.       Pursuant to the Class Action Fairness Act of 2005

(“CAFA”), ASARCO shall cause the notices required by CAFA, 28 U.S.C. § 1715, to be

prepared and provided to the required parties within ten (10) calendar days of Plaintiffs’


                                             11
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 13 of 325




filing of the motion for preliminary approval. ASARCO shall copy Class Counsel on any

notices provided pursuant to this paragraph and shall file with the Court a certification of

the date upon which the CAFA notices were served within seven (7) calendar days of

service.

       3.     Notice to the Class. Within seven (7) calendar days of the Court’s entry of

the Preliminary Approval Order, ASARCO shall provide Plaintiffs and the Settlement

Administrator with the most current mailing address for each Class Member. Settlement

Administrator will process those addresses through the U.S. Postal Service’s National

Change of Address (NCOA) database to obtain the most current mailing addresses for

Class Members. Within fourteen (14) calendar days of receipt of the list of Class Member

addresses, and no more than twenty-one (21) calendar days following entry of the

Preliminary Approval Order, Settlement Administrator will mail the Notice to Class

Members via U.S. first class mail, postage prepaid. At any point prior to the Final Fairness

Hearing, for any Notices that are returned as undeliverable to Settlement Administrator

without a forwarding address, the Settlement Administrator will consult with Plaintiffs and

undertake reasonable efforts to locate a correct address and resend the Notice.          In

connection with their motion seeking the Final Approval Order, Plaintiffs shall cause to be

filed with the Court an appropriate affidavit or declaration from the Settlement

Administrator to the effect that they have complied with this provision.

       4.     Objection Procedure. Each Class Member who wishes to object to the

Settlement shall file with the Court a timely written notice of his or her objection. Such

notice shall state: (i) the objector’s full name, address, telephone number, and email


                                            12
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 14 of 325




address; (ii) all grounds for the objection, including any legal support for the objection;

(iii) copies of any documents upon which the objection is based; (iv) the name and address

of any attorney representing the objector; (v) whether the objector will appear at the Final

Fairness Hearing; and (vi) a list of all persons who will be called to testify at the Final

Fairness Hearing in support of the objection. To be timely, such notice must be filed with

the Clerk of the United States District Court for the District of Arizona, Sandra Day

O’Connor U.S. Courthouse, 401 West Washington Street, Phoenix, AZ 85003, at least

thirty (30) calendar days prior to the date of the Final Fairness Hearing as set forth in the

Notice and served upon both Class Counsel and ASARCO’ counsel at the addresses set

forth in the Notice.

       5.     Final Approval. Following preliminary approval and notice to the Class,

Plaintiffs shall timely file a motion for the Final Approval Order, in a substantially similar

form to the from attached hereto as Exhibit F, in which they ask the Court to:

              a.       Approve the Settlement as fair, reasonable, and adequate.

              b.       Find that the Notice and notice process complied with the requirement

              of Fed. R. Civ. P. 23 and due process.

              c.       Dismiss the Litigation with prejudice.

              d.       Direct consummation of the Settlement in accordance with the

              Settlement Agreement.

       6.     Effectiveness of Settlement. The Settlement shall become effective upon

Final Settlement Approval.




                                              13
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 15 of 325




VI.     Right to Terminate the Settlement

        1.    Any Party has the option to withdraw unilaterally from and terminate the

Settlement in the event that: (i) either the Preliminary Approval Order or Final Approval

Order is materially modified by the Court in a manner unacceptable to that Party; (ii) the

Settlement is not approved by the Court; or (iii) the Settlement is disapproved or materially

modified upon appeal.

        2.    In the event the Settlement is terminated pursuant to the preceding paragraph,

then the Settlement shall have no further force and effect and all negotiations, proceedings,

and statements relating thereto, and any amendment thereof, shall be null and void and

without prejudice to any Party and each Party shall be restored to their respective positions

as if they never entered into this Settlement Agreement.

VII.    Miscellaneous

        1.    The Parties: (a) acknowledge that it is their intent to consummate this

Settlement Agreement and (b) agree to cooperate to the extent reasonably necessary to

effectuate and implement all terms and conditions of this Settlement Agreement, and any

applicable requirements under the Class Action Fairness Act of 2005.

        2.    The Parties intend this Settlement to be a final and complete resolution of all

disputes between them with respect to the Litigation. The Settlement shall not be deemed

an admission by any Party as to the merits of any claim or defense.

        3.    The Parties agree that the Settlement was negotiated in good faith by the

Parties and was reached voluntarily after consultation with competent legal counsel.




                                             14
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 16 of 325




      4.      The Settlement Agreement may be amended or modified only by a written

instrument signed by or on behalf of all Parties. All such amendments and modifications

which materially affect the terms of the Settlement must be approved by the Court.

      5.      This Settlement Agreement, together with its Exhibits, constitutes the entire

agreement among the Parties and no representations, warranties, or inducements have been

made to any party concerning the Settlement Agreement other than those contained and

memorialized in this Settlement Agreement.

      6.      Each counsel or other person executing this Settlement Agreement on behalf

of any Party hereby warrants that such person has the authority to do so.

       7.     This Settlement Agreement may be executed in one or more counterparts,

each of which shall be deemed to be an original copy of this Settlement Agreement and all

of which, when taken together, will be deemed to constitute one and the same agreement.

The exchange of copies of this Settlement Agreement and of signature pages by facsimile

transmission or other electronic means will constitute effective execution and delivery of

this Settlement Agreement as to the Parties and may be used in lieu of the original

Settlement Agreement for all purposes. Signatures of the Parties transmitted by facsimile

or other electronic means will be deemed to be their original signatures for any purpose

whatsoever.

       8.     The Court shall retain jurisdiction with respect to implementation and

enforcement of the terms of the Settlement Agreement, and all Parties submit to the

jurisdiction of the Court for purposes of implementing and enforcing the Settlement.




                                            15
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 17 of 325
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                  Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 18 of 325




                    IN WITNESS WHEREOF, and intending to be legally bound, the Parties execute

            this Agreement on the dates indicated below:

            Class Representatives:


            Date: _________________                  By: ______________________________________
                                                     Printed Name: Arnold Contreras

                      12/14/2022
            Date: _________________                  By: ______________________________________
                                                     Printed Name: Tony Meza


            Date: _________________                  By: ______________________________________
                                                     Printed Name: Charles M. Estrada


            Date: _________________                  By: ______________________________________
                                                     Printed Name: Celestino Flores


            ON BEHALF OF UNITED STEEL, PAPER AND FORESTRY, RUBBER,
            MANUFACTURING, ENERGY, ALLIED INDUSTRIAL AND SERVICE
            WORKERS INTERNATIONAL UNION, AFL-CIO/CLC (“USW”):


            Date: _________________                  By:

                                                     Printed Name:

                                                     Title:


            ON BEHALF OF USW LOCAL 886-02:

            Date: _________________                  By:

                                                     Printed Name:

                                                     Title:



                                                              16
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 19 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 20 of 325




      IN WITNESS WHEREOF, and intending to be legally bound, the Parties execute

this Agreement on the dates indicated below:

Class Representatives:


Date: _________________          By: ______________________________________
                                 Printed Name: Arnold Contreras


Date: _________________          By: ______________________________________
                                 Printed Name: Tony Meza


Date: _________________          By: ______________________________________
                                 Printed Name: Charles M. Estrada


Date: _________________          By: ______________________________________
                                 Printed Name: Celestino Flores


ON BEHALF OF UNITED STEEL, PAPER AND FORESTRY, RUBBER,
MANUFACTURING, ENERGY, ALLIED INDUSTRIAL AND SERVICE
WORKERS INTERNATIONAL UNION, AFL-CIO/CLC (“USW”):


Date: _________________          By:

                                 Printed Name:

                                 Title:


ON BEHALF OF USW LOCAL 886-02:

Date: _________________          By:

                                 Printed Name:

                                 Title:



                                          16
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 21 of 325
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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 22 of 325




                     IN WITNESS WHEREOF, and intending to be legally bound, the Parties execute

            this Agreement on the dates indicated below:

            Class Representatives:


            Date: _________________                    By: ______________________________________
                                                       Printed Name: Arnold Contreras


            Date: _________________                    By: ______________________________________
                                                       Printed Name: Tony Meza


            Date: _________________                    By: ______________________________________
                                                       Printed Name: Charles M. Estrada


            Date: _________________                    By: ______________________________________
                                                       Printed Name: Celestino Flores


            ON BEHALF OF UNITED STEEL, PAPER AND FORESTRY, RUBBER,
            MANUFACTURING, ENERGY, ALLIED INDUSTRIAL AND SERVICE
            WORKERS INTERNATIONAL UNION, AFL-CIO/CLC (“USW”):


            Date: _________________                    By:

                                                       Printed Name:

                                                       Title:


            ON BEHALF OF USW LOCAL 886-02:
                         1/9/2023
            Date: _________________                    By:

                                                       Printed Name:       Gregory Romero

                                                       Title:        President



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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 23 of 325




            ON BEHALF OF USW LOCAL 915:

            Date: _________________
                    1/11/2023
                                                       By:

                                                       Printed Name: Adrian Lopez

                                                       Title:        President



            ON BEHALF OF USW LOCAL 5252:

            Date: _________________                    By:

                                                       Printed Name:       Lyle Murphy

                                                       Title:              President

            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF TEAMSTERS,
            CHAUFFEURS, WAREHOUSEMEN, AND HELPERS OF AMERICA, LOCAL
            104:

            Date: _________________                    By:

                                                       Printed Name:       Kevin Hampton

                                                       Title:              Business Representative


            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF ELECTRICAL
            WORKERS (“IBEW”) LOCAL 518:

            Date: _________________                    By:

                                                       Printed Name:       Dominic Marcanti

                                                       Title:              Business Manager




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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 24 of 325




            ON BEHALF OF USW LOCAL 915:

            Date: _________________                    By:

                                                       Printed Name: Adrian Lopez

                                                       Title:        President



            ON BEHALF OF USW LOCAL 5252:
                     1/10/2023
            Date: _________________                    By:

                                                       Printed Name:       Lyle Murphy

                                                       Title:              President

            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF TEAMSTERS,
            CHAUFFEURS, WAREHOUSEMEN, AND HELPERS OF AMERICA, LOCAL
            104:

            Date: _________________                    By:

                                                       Printed Name:       Kevin Hampton

                                                       Title:              Business Representative


            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF ELECTRICAL
            WORKERS (“IBEW”) LOCAL 518:

            Date: _________________                    By:

                                                       Printed Name:       Dominic Marcanti

                                                       Title:              Business Manager




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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 25 of 325




            ON BEHALF OF USW LOCAL 915:

            Date: _________________                   By:

                                                      Printed Name:       Manuel Armenta, Jr.

                                                      Title:        President



            ON BEHALF OF USW LOCAL 5252:

            Date: _________________                   By:

                                                      Printed Name:       Lyle Murphy

                                                      Title:              President

            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF TEAMSTERS,
            CHAUFFEURS, WAREHOUSEMEN, AND HELPERS OF AMERICA, LOCAL
            104:
                      12/16/2022
            Date: _________________                   By:

                                                      Printed Name:       Kevin Hampton

                                                      Title:              Business Representative


            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF ELECTRICAL
            WORKERS (“IBEW”) LOCAL 518:

            Date: _________________                   By:

                                                      Printed Name:       Dominic Marcanti

                                                      Title:              Business Manager




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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 26 of 325




            ON BEHALF OF USW LOCAL 915:

            Date: _________________                    By:

                                                       Printed Name:       Manuel Armenta, Jr.

                                                       Title:        President



            ON BEHALF OF USW LOCAL 5252:

            Date: _________________                    By:

                                                       Printed Name:       Lyle Murphy

                                                       Title:              President

            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF TEAMSTERS,
            CHAUFFEURS, WAREHOUSEMEN, AND HELPERS OF AMERICA, LOCAL
            104:

            Date: _________________                    By:

                                                       Printed Name:       Kevin Hampton

                                                       Title:              Business Representative


            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF ELECTRICAL
            WORKERS (“IBEW”) LOCAL 518:
                   12/14/2022
            Date: _________________                    By:

                                                       Printed Name:       Dominic Marcanti

                                                       Title:              Business Manager




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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 27 of 325




             ON BEHALF OF IBEW LOCAL 570:
                     12/15/2022
             Date: _________________                   By:

                                                       Printed Name:       Joshua DeSpain

                                                       Title: Business Manager/Financial Secretary Treasurer


             ON BEHALF OF IBEW LOCAL 602:

             Date: _________________                   By:

                                                       Printed Name: Robert Melton

                                                       Title:              Business Manager


             ON BEHALF OF INTERNATIONAL ASSOCIATION OF MACHINISTS AND
             AEROSPACE WORKERS LOCAL 519:

             Date: _________________                   By:

                                                       Printed Name:

                                                       Title:


             ON BEHALF OF INTERNATIONAL UNION OF OPERATING ENGINEERS,
             LOCAL 428:

             Date: _________________                   By:

                                                       Printed Name: Mike Lee

                                                       Title:        Business Manager




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Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 28 of 325
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 29 of 325




ON BEHALF OF IBEW LOCAL 570:

Date: _________________     By:

                            Printed Name:

                            Title:




ON BEHALF OF IBEW LOCAL 620:

Date: _________________     By:

                            Printed Name:

                            Title:


ON BEHALF OF INTERNATIONAL ASSOCIATION OF MACHINISTS AND
AEROSPACE WORKERS LOCAL 519:

      1/12/2023
Date: _________________     By:

                            Printed Name:      Denise Heath

                            Title: President/Directing Business Representative


ON BEHALF OF INTERNATIONAL UNION OF OPERATING ENGINEERS,
LOCAL 428:

Date: _________________     By:

                            Printed Name:

                            Title:




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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 30 of 325




            ON BEHALF OF IBEW LOCAL 570:

            Date: _________________                    By:

                                                       Printed Name:       Joshua DeSpain

                                                       Title: Business Manager/Financial Secretary Treasurer


            ON BEHALF OF IBEW LOCAL 602:

            Date: _________________                    By:

                                                       Printed Name: Robert Melton

                                                       Title:              Business Manager


            ON BEHALF OF INTERNATIONAL ASSOCIATION OF MACHINISTS AND
            AEROSPACE WORKERS LOCAL 519:

            Date: _________________                    By:

                                                       Printed Name:

                                                       Title:


            ON BEHALF OF INTERNATIONAL UNION OF OPERATING ENGINEERS,
            LOCAL 428:

            Date: _________________
                  12/15/2022
                                                       By:

                                                       Printed Name: Mike Lee

                                                       Title:        Business Manager




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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 31 of 325




            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF BOILERMAKERS,
            IRON SHIPBUILDERS, BLACKSMITH, FORGER, AND HELPERS, LOCAL 627:
                     1/9/2023
            Date: _________________                   By:

                                                      Printed Name: Jacob Evenson

                                                      Title: Business Manager/Secretary



            ON BEHALF OF UNITED ASSOCIATION OF JOURNEYMAN AND
            APPRENTICES OF THE PLUMBING AND PIPEFITTING INDUSTRY OF THE
            UNITED STATES AND CANADA LOCAL 469:

            Date: _________________                   By:

                                                      Printed Name: Mark Gallego

                                                      Title:        Business Agent


            ON BEHALF OF ASARCO LLC:


            Date: _________________                   By:

                                                      Printed Name:

                                                      Title:


            ON BEHALF OF ASARCO RETIREE MEDICAL PLAN:


            Date: _________________                   By:

                                                      Printed Name:

                                                      Title:




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                   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 32 of 325




            ON BEHALF OF INTERNATIONAL BROTHERHOOD OF BOILERMAKERS,
            IRON SHIPBUILDERS, BLACKSMITH, FORGER, AND HELPERS, LOCAL 627:

            Date: _________________                    By:

                                                       Printed Name: Jacob Evenson

                                                       Title: Business Manager/Secretary



            ON BEHALF OF UNITED ASSOCIATION OF JOURNEYMAN AND
            APPRENTICES OF THE PLUMBING AND PIPEFITTING INDUSTRY OF THE
            UNITED STATES AND CANADA LOCAL 469:
                    1/4/2023
            Date: _________________                    By:

                                                       Printed Name: Mark Gallego

                                                       Title:        Business Agent


            ON BEHALF OF ASARCO LLC:


            Date: _________________                    By:

                                                       Printed Name:

                                                       Title:


            ON BEHALF OF ASARCO RETIREE MEDICAL PLAN:


            Date: _________________                    By:

                                                       Printed Name:

                                                       Title:




                                                                19
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 33 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 34 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 35 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 36 of 325




              EXHIBIT A
 Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 37 of 325




ASARCO Medicare Eligible
  Retiree Medical Plan
          Summary Plan Description
           Effective January 1, 2020




                               i
             Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 38 of 325




                                      KEY THINGS TO KNOW

ASARCO makes available to Medicare eligible retirees and their eligible dependents, the opportunity to
purchase Medicare prescription drug and/or Medicare supplemental plans through Via Benefits. Via
Benefits is a private health care exchange and concierge service.

In connection with the Via Benefits program, ASARCO offers two reimbursement arrangements:
    • The Health Reimbursement Arrangement (HRA), and
    • The Catastrophic Coverage Special Payments (CCSP)

Eligible participants may use the HRA to reimburse Eligible Medical Expenses (as defined below). An
HRA is a notional account that does not accrue interest or other earnings of any kind. The CCSP
reimburses participants for eligible out-of-pocket prescription drug expenses incurred in excess of the
Medicare Part D catastrophic threshold in a given Plan Year. The HRA and CCSP are self-insured
medical reimbursement plans under sections 105 and 106 of the Internal Revenue Code of 1986, as
amended (the “Code”), and the HRA is a Health Reimbursement Arrangement as described in Internal
Revenue Service (“IRS”) Notice 2002-45.

In this booklet, the HRA and CCSP are referred to as the “Plan.” The provisions of the HRA and CCSP
are described in this Summary Plan Description (“SPD”). Certain provisions may vary based on
eligibility.

As used in this SPD, “EMPLOYER” or the “COMPANY” refers to ASARCO and its affiliates and
subsidiaries that participate or participated in the applicable ASARCO benefit plans. The Plan is
intended to supplement your healthcare coverage under Medicare.

Certain other terms, which may be capitalized, are used throughout this SPD. These terms are generally
defined the first time they are used.

This document does not create a contract of employment between the Company and any individual.

This SPD reflects the terms of the Plan as of January 1, 2020. As explained in more detail in this SPD,
ASARCO reserves the right to terminate, amend or replace the Plan. If the Plan is terminated, you will
not be reimbursed for any expenses incurred on or after the Plan termination date, and you will need to
file request for reimbursement for expenses incurred before the termination date by the filing deadline
established by the Plan Administrator. The Claim Submission Agent will not accept reimbursement
requests filed after the deadline. Benefit Credits, if any, that remain credited to any Plan after timely
filed requests for reimbursement have been processed will be the sole property of ASARCO. No
individual has a vested right to any benefit under the Plan or any other health or welfare benefit plan
sponsored by ASARCO.
                Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 39 of 325




                                               TABLE OF CONTENTS
PART I GENERAL INFORMATION ABOUT THE PLAN ........................................................................... 1
        Q-1.  What is the purpose of the Plan? ......................................................................................1
        Q-2.  Who can participate in the Plan? .....................................................................................1
        Q-3.  Can my dependents participate in the Plan?...................................................................1
        Q-4.  When do I actually become a Participant in the Plan? ..................................................1
        Q-5.  How does the Plan work? ..................................................................................................2
        Q-6.  What is an “Eligible Medical Expense”? .........................................................................2
        Q-7.  When do I cease participation in the Plan? .....................................................................3
        Q-8.  What happens if I do not use all of the credits allocated to my HRA Account
              during the Plan Year? .......................................................................................................4
        Q-9. How do I receive reimbursement under the Plan? .........................................................4
        Q-10. What happens if my claim for benefits is denied? ..........................................................5
        Q-11 What happens if I die?.......................................................................................................6
        Q-12. Are my benefits taxable? ...................................................................................................6
        Q-13. What happens if I receive an overpayment under the Plan or a
              reimbursement is made in error from my HRA Account? ............................................7
        Q-14. How long will the Plan remain in effect? .........................................................................7
        Q-15. How does the Plan interact with other medical plans? ..................................................7
        Q-16. What is “continuation coverage” and how does it work? ..............................................7
        Q-17. What is alternative coverage? ...........................................................................................8
        Q-18. Who do I contact if I have questions about the Plan? ....................................................8
        Q-19. What about Catastrophic Coverage Special Payment? .................................................8

PART II ERISA RIGHTS ................................................................................................................................. 12
        Receive Information about Your Plan and Benefits .................................................................12
        Continue Plan Coverage ..............................................................................................................12
        Prudent Actions by Plan Fiduciaries..........................................................................................12
        Enforcement of Your Rights .......................................................................................................12
        Assistance with Your Questions .................................................................................................13

PART III LEGAL NOTICES ............................................................................................................................ 14
        Health Insurance Portability and Accountability Act ..............................................................14
        Section 1. Introduction ...............................................................................................................14
        Section 2. Notice of PHI Uses and Disclosures .........................................................................15
        Section 3. Rights of Individuals .................................................................................................17
        Section 4: Notice of Breaches of Unsecured PHI .....................................................................20
        Section 5. Your Right to File a Complaint With the Plan or the HHS Secretary .................20
        Section 6. Whom to Contact at the Plan for More Information .............................................20
        Section 7. Conclusion ..................................................................................................................20

PLAN INFORMATION APPENDIX ............................................................................................................... 21
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 40 of 325




                                   PART I
                       ELIGIBILITY AND PARTICIPATION

                       Q-1. What is the purpose of the Plan?
The purpose of the Plan is to reimburse Participants (as defined in Q-2 and Q-3) for Eligible
Medical Expenses (as defined in Q-6) which are not otherwise reimbursed by any other plan or
program. Reimbursements for Eligible Medical Expenses paid by the Plan generally are
excludable from the Participant’s taxable income.

                       Q-2. Who can participate in the Plan?
Retired employees of the Employer are eligible to participate in the Plan if they meet all
requirements to be an Eligible Retiree as defined in Section 1 of the Plan Information Appendix.
Eligible Retirees who become covered under the Plan, as explained in Q-4, are called
“Participants.”

Note that certain self-employed persons (such as sole proprietors, partners and 2% shareholders
of an “S” corporation) may not participate in the Plan. In addition, you are not eligible to
participate in the Plan unless you are classified by the Employer as a former employee who
satisfies the eligibility requirements, even if you are later determined by a court or governmental
agency to be or to have been a former employee of the Employer.

                   Q-3. Can my dependents participate in the Plan?
Your dependents who meet all requirements to be Eligible Dependents may also become
Participants in the Plan. Generally, an Eligible Dependent may participate in the Plan if they are
eligible for Medicare. Prior to becoming eligible for Medicare, all other benefits for Eligible
Dependents will be provided under another group health plan sponsored by ASARCO.              See
Section 2 of the Plan Information Appendix.

You are required to provide proof of dependent status upon request by the Plan Administrator (or
its designee). Failure to provide such proof may result in a delay in benefits provided under the
Plan. In addition, the Plan will allow reimbursement of Eligible Medical Expenses for a child of
yours (as defined by applicable state law) in accordance with a Qualified Medical Child Support
Order (“QMCSO”) to the extent the QMCSO does not require coverage not otherwise offered
under this Plan. The Plan Administrator will make a determination as to whether the order is a
QMCSO in accordance with the Plan’s QMCSO procedures. The Plan Administrator will notify
both you and the affected child once a determination has been made. You may request a copy of
the Plan’s QMCSO procedures, free of charge, by contacting the Plan Administrator at the
address listed in the Plan Information Appendix.

              Q-4. When do I actually become a Participant in the Plan?
An Eligible Retiree or an Eligible Dependent actually becomes a Participant in the Plan on the
later of the Effective Date of the Plan as provided in the Plan Information Appendix or the date
that he or she has satisfied all of the following requirements:

   •    He or she has become eligible for Medicare;
   •    He or she has purchased a Medicare supplement or Medicare Advantage plan through
        Via Benefits prior to the enrollment deadline. You may also purchase Prescription Drug,
        Dental or Vision coverage through Via Benefits; and

                                             1
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 41 of 325




   •    He or she has completed any enrollment forms or procedures required by the Plan
        Administrator.

Participants in U.S. Territories: Via Benefits does not offer plans in Puerto Rico, Guam, the U.S.
Virgin Islands, American Samoa or the Northern Mariana Islands. If you satisfy all of the
criteria except that you have not enrolled in a Via Benefits plan because of these coverage
limitations, you will nevertheless be eligible to participate in the plan if you enroll in a Medicare
supplement or Medicare Advantage plan outside of Via Benefits. Individuals in U.S. territories
must contact Via Benefits to coordinate reimbursement through their HRA.


                             Q-5. How does the Plan work?
One HRA Account will be established for all Participants in your family. Benefit Credits for all
Participants in your family will be credited to that HRA Account. The account holder will be in
the name of the retiree. If both spouses are retirees of the Employer, the HRA account will be
setup according to how benefits were setup as an active employee. For example, if one of the
retirees enrolled the other retiree under them as a dependent, they will have a joint HRA account.
If both retirees were enrolled in active benefits separately, both retirees will have separate HRA
accounts through Via Benefits.

Benefit Credits will be credited to HRA Accounts by the Employer in the amount and at the
times specified in Sections 7 and 8 of the Plan Information Appendix and will be reduced from
time to time by the amount of any Eligible Medical Expenses for which the Participant is
reimbursed under the Plan. At any time, the Participant may receive reimbursement for Eligible
Medical Expenses up to the amount in his or her HRA Account. Note that the law does not
permit Participants to make any contributions to their HRA Accounts.

An HRA Account is merely a bookkeeping account on the Employer’s records; it is not funded
and does not bear interest or accrue earnings of any kind. All benefits under the Plan are paid
entirely from the Employer’s general assets.

                     Q-6. What is an “Eligible Medical Expense”?
An Eligible Medical Expense means the cost of premiums for enrollment in a Medicare
Supplement Plan, a Medicare Advantage Plan, a Medicare Prescription Drug Plan, Medicare Part
B, a voluntary individual dental insurance plan, or a voluntary individual vision insurance plan
for the Eligible Retiree and/or Eligible Dependent

Some examples of common items that are not Eligible Medical Expenses include:

   •    Prescription drug medications
   •    Dental expenses;
   •    Dermatology;
   •    Physical therapy;
   •    Contact lenses or glasses used to correct a vision impairment;
   •    Birth control pills;
   •    Chiropractor treatments;
   •    Hearing aids;
   •    Wheelchairs;

                                              2
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 42 of 325




   •    Baby-sitting and child care;
   •    Long-term care services;
   •    Cosmetic surgery or similar procedures (unless the surgery is necessary to correct a
        deformity arising from a congenital abnormality, accident or disfiguring disease);
   •    Funeral and burial expenses;
   •    Household and domestic help;
   •    Custodial care;
   •    Health club or fitness program dues (unless specific requirements are satisfied); and
   •    Cosmetics, toiletries, toothpaste, etc.

Only Eligible Medical Expenses incurred (as defined in Section 9 of the Plan Information
Appendix) while you are a Participant in the Plan may be reimbursed from your HRA Account.
Similarly, only Eligible Medical Expenses incurred while your Eligible Dependent is a
Participant in the Plan may be reimbursed from your HRA Account. Health insurance premiums
are incurred for the coverage period to which they apply. An expense that has been paid but not
incurred (e.g. pre-payment for premiums) will not be reimbursed until the coverage period to
which they apply.

The following expenses may not be reimbursed from an HRA Account:

   •    expenses incurred for qualified long term care services;
   •    expenses incurred for covered Part D prescription drugs;
   •    expenses incurred prior to the date that you became a Participant in the HRA;
   •    expenses incurred after the date that you cease to be a Participant in the HRA;
   •    expenses that have been reimbursed by another plan or for which you plan to seek
        reimbursement under another health plan; and
   •    any other expenses specifically identified as excluded in Section 9 of the Plan
        Information Appendix.

                   Q-7. When do I cease participation in the Plan?
If you are an Eligible Retiree, you will cease being a Participant in the Plan on the earliest of:

   •    the date you cease to be an Eligible Retiree for any reason;
   •    the date you are rehired by the Employer as an active employee;
   •    if you were eligible for Medicare, the date thereafter that you cease to be eligible for
        Medicare (unless you remain eligible under another provision of the Plan);
   •    your date of death;
   •    the effective date of any amendment terminating your eligibility under the Plan; or
   •    the date the Plan is terminated.

If you are an Eligible Dependent, you will cease being a Participant in the Plan on the earliest of:
    • the date you cease to be an Eligible Dependent for any reason;
    • if you were eligible for Medicare, the date thereafter that you cease to be eligible for
        Medicare (unless you remain eligible under another provision of the Plan);
    • in the case of an Eligible Dependent spouse, the date you divorce the Eligible Retiree;
    • the effective date of any amendment terminating your eligibility under the Plan; or
    • the date the Plan is terminated.

                                              3
            Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 43 of 325




       You may not obtain reimbursement of any Eligible Medical Expenses incurred after the date
       your eligibility ceases. (For the definition of “incurred,” see Q-6.) You have 180 days after your
       eligibility ceases, however, to request reimbursement of Eligible Medical Expenses you incurred
       before your eligibility ceased.

       In addition, your Eligible Dependents may be eligible to continue coverage under the Plan
       beyond the date that their coverage would otherwise end if coverage is lost for certain reasons.
       Their continuation of coverage rights and responsibilities are described in Q-16 below.

Q-8.      What happens if I do not use all of the credits allocated to my HRA Account during the
                                             Plan Year?
       If you do not use all of the amounts credited to your HRA Account during a Plan Year, those
       amounts will be carried over to subsequent Plan Years, as reflected in Section 10 of the Plan
       Information Appendix.

                      Q-9. How do I receive reimbursement under the Plan?
       You must complete a reimbursement form and mail or fax it to the Claims Submission Agent as
       provided in the Plan Information Appendix, along with a copy of your insurance premium bill,
       an “explanation of benefits” or “EOB,” or, if no EOB is provided, a written statement from the
       service provider. The written statement from the service provider must contain the following:
       (a) the name of the patient, (b) the date service or treatment was provided, (c) a description of the
       service or treatment, (d) the amount incurred and (e) name of provider. You can obtain a
       reimbursement form from the Third Party Administrator identified in the Plan Information
       Appendix. Your claim is deemed filed when it is received by the Claims Submission Agent.

       If your claim for reimbursement is approved, you will be provided reimbursement as soon as
       reasonably possible following the determination. Claims are paid in the order in which they are
       received by the Claims Submission Agent.

       The Claims Submission Agent shall determine the method or mode of reimbursement payments,
       including whether by direct deposit, written check or otherwise.

       Any HRA Account payments that are unclaimed (e.g., uncashed benefit checks or unclaimed
       electronic transfers) shall automatically forfeit twelve months after the check was mailed or the
       payment was otherwise attempted. If the Claims Submission Agent needs information to process
       your claim, the Claims Submission Agent will notify you, in writing, within 30 days after
       receiving your claim of the specific information required and the date when you can expect a
       determination. This date will be no later than 45 days after the date you filed your initial claim.
       You will have 45 days to provide the additional information. The determination period to
       respond to your claim will be suspended as of the date the Claims Submission Agent sends the
       notice and will resume again once you have provided the information.

       If you do not provide the requested information within the specified timeframe, the Claims
       Submission Agent will decide the claim without the requested information.

       If the Claims Submission Agent, due to reasons beyond its control, determines that extra time is
       required to process your claim, it will notify you in writing of the reasons for the extension and
       the new due date for its response to your claim. The Claims Submission Agent will notify you of

                                                     4
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 44 of 325




the extension within 30 days after its initial receipt of your claim. The new due date will not be
later than 45 days after the date you filed your initial claim.

Once you have filed a claim, the Claims Submission Agent will notify you of its decision as soon
as practical, but no later than 30 days after receipt of the claim. Claims are paid in the order in
which they are received by the Claims Submission Agent. If you do not follow the required
procedures for filing a claim, the Claims Submission Agent will notify you and explain the
proper procedures to follow in filing your claim.

               Q-10. What happens if my claim for benefits is denied?
If your claim for reimbursement is wholly or partially denied, you will be notified in writing
within 30 days after the Claims Submission Agent receives your claim unless an extension is
necessary because you failed to provide sufficient information to allow the claim to be decided.
For more information see Q-9 above. The notice of denial will contain:

•      the reason(s) for the denial and the Plan provisions on which the denial is based;

•      a description of any additional information necessary for you to perfect your
       claim, why the information is necessary, and your time limit for submitting the
       information;

•      a description of the Plan’s appeal procedures and the time limits applicable to
       such procedures; and

•      a description of your right to request all documentation relevant to your claim.

If your request for reimbursement under the Plan is denied in whole or in part and you do not
agree with the decision of the Claims Submission Agent, you may file a written appeal. You
should file your appeal with the Plan Administrator at the address provided in the Plan
Information Appendix no later than 180 days after receipt of the denial notice. You should
submit all information identified in the notice of denial, as necessary, to perfect your claim and
any additional information that you believe would support your claim.

You will be notified in writing of the decision on appeal no later than 60 days after the Plan
Administrator receives your request for appeal. The notice will contain the same type of
information provided in the first notice of denial provided by the Claims Submission Agent.

If your appeal is denied, you will receive written notice of the decision, including the following
information:

•      The specific reason(s) for the denial of the claim;

•      Reference to the specific Plan provision on which the denial is based; and

•      If applicable and upon request, a copy of the internal rule, guideline, or protocol that was
       relied upon to make the claim determination.

Upon request to the Plan Administrator, you will also be provided (free of charge) copies of all
of the documents, records, and other information relevant to your claim. You will have the right


                                             5
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 45 of 325




to bring a civil action under ERISA Section 502(a). You must appeal your claim, and that appeal
must be denied by the Plan Administrator, before you may bring a civil action under ERISA.

Any claim or action that is filed in a court or other tribunal against or with respect to the Plan
and/or the Plan Administrator must be brought within the following timeframes:

   •    For any claim or action relating to HRA Account benefits, the claim or action must be
        brought within 18 months of the date of the denied appeal.

   •    For all other claims (including eligibility claims), the claim or action must be brought
        within two years of the date when you know or should know of the actions or events that
        gave rise to your claim.

                             Q-11 What happens if I die?
Combined Account

If the Eligible Retiree dies with no Eligible Dependents who are Participants in the Plan, his or
her HRA Account is immediately forfeited upon death, but the deceased Eligible Retiree’s estate
or representatives may submit claims for Eligible Medical Expenses incurred by the Eligible
Retiree and his or her Eligible Dependents before his or her death. Claims must be submitted
within 180 days of his or her death.

If the Eligible Retiree dies with one or more Eligible Dependents who are Participants, any
unused funds remaining in his or her HRA Account shall remain and the Eligible Dependents
who are Participants can continue to submit Eligible Medical Expenses for reimbursement.
Eligible dependents will continue to receive benefit credits after the Retiree’s death.

                             Q-12. Are my benefits taxable?
The Plan is intended to meet certain requirements of existing federal tax laws, under which the
benefits you receive under the Plan generally are not taxable.

The Company cannot guarantee the tax treatment to any given participant, as individual
circumstances may produce different results. The Plan Administrator makes no commitment or
guarantee that any amounts paid to or for the benefit of a Participant under the Plan will be
excludable from the Participant’s gross income for federal, state, or local income tax purposes.
By accepting benefits under the Plan, Participants agree to be liable for any tax plus any interest
that may be imposed with respect to those benefits. You should consult your own tax advisor.




                                             6
          Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 46 of 325




Q-13. What happens if I receive an overpayment under the Plan or a reimbursement is made in
                               error from my HRA Account?

     If the Plan Administrator determines that you received an overpayment or a payment was made
     in error (for example, if you were reimbursed from your HRA for an expense that is later paid by
     another medical plan), you will be required to return the overpayment or erroneous
     reimbursement plus interest. If you do not return the overpayment or erroneous payment, plus
     interest, the Company or the Plan may offset (reduce) your account, future reimbursements, and
     future dollar credits until the overpayment or erroneous payment is recovered; the Company may
     also recover overpayments or erroneous payments, plus interest, by withholding funds from any
     other amounts due to you from the Company.

                         Q-14. How long will the Plan remain in effect?
     Although the Sponsor expects to maintain the Plan indefinitely, it has the right to modify or
     terminate the program at any time for any reason, including the right to change the classes of
     persons eligible for participation, and to reduce or eliminate the amount credited to HRA in the
     future.

     Employers participating in the Plan other than the Sponsor (such as a related affiliate of the
     Sponsor) may terminate their participation in the Plan at any time upon 60 days written notice to
     the Sponsor and Plan Administrator.

                  Q-15. How does the Plan interact with other medical plans?
     Only expenses that have not been or will not be reimbursed by any other source may be Eligible
     Medical Expenses (to the extent all other conditions for Eligible Medical Expenses have been
     satisfied). You must first submit any claims for medical expenses to the other plan or plans
     before submitting the expenses to this Plan for reimbursement.

                 Q-16. What is “continuation coverage” and how does it work?
     Under a federal law called “COBRA,” Eligible Dependents under the Plan who are the spouse,
     former spouse or dependent child of a Participant may elect to continue coverage under the Plan
     for a limited time after the date they would otherwise lose coverage because of a divorce or legal
     separation from the Participant, the Participant’s death or a dependent child ceasing to be an
     Eligible Dependent. These are called “qualifying events.”

     Note that the Eligible Dependents are required to notify the Plan Administrator in writing of a
     divorce or legal separation or a dependent child losing dependent status within 60 days of the
     event or they will lose the right to continue coverage under the Plan.

     If an Eligible Dependent elects to continue coverage, he or she is entitled to the level of coverage
     under the Plan in effect immediately preceding the qualifying event. He or she may also be
     entitled to an increase in his or her HRA Account equal to the amounts credited to the HRA
     Accounts of similarly situated Participants (subject to any restrictions applicable to similarly
     situated Participants) so long as he or she continues to pay the applicable premium.

     In order to continue coverage, the qualified beneficiary must pay a monthly premium equal to
     102% of the cost of the coverage, as determined by the Plan Administrator. The Plan



                                                  7
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 47 of 325




Administrator will notify qualified beneficiaries of the applicable premium at the time of a
qualifying event.

Coverage may continue for up to 36 months following the qualifying event, but will end earlier
upon the occurrence of any of the following events:

   •    The date the qualified beneficiary’s HRA Account is exhausted;
   •    The date the qualified beneficiary notifies the Plan Administrator that he or she wishes to
        discontinue coverage;
   •    Any required monthly premium is not paid when due or during the applicable grace
        period;
   •    The date, after the date of the qualified beneficiary’s election to continue coverage, that
        he or she becomes covered under another group health plan that does not contain any
        exclusion or limitation with respect to any pre-existing condition of the qualified
        beneficiary; or
   •    The Employer ceases to provide any group health plan.

                         Q-17. What is alternative coverage?
The Sponsor may make available to a qualified beneficiary (as defined in Q-16 above) other
coverage in lieu of the continued coverage described in Q-16 above. The Sponsor will provide
more information on any alternative coverage that may be available under the Plan upon the
occurrence of a qualifying event (as defined in Q-16 above).

If the qualified beneficiary chooses the continuation coverage above, he or she waives the right
to the alternative coverage. If the qualified beneficiary chooses the alternative coverage, he or
she waives the right to continuation coverage as described above.

             Q-18. Who do I contact if I have questions about the Plan?
If you have any questions about the Plan, you should contact the Third Party Administrator or
the Plan Administrator. Contact information for the Third Party Administrator and the Plan
Administrator is provided in the Plan Information Appendix.

        Q-19. What about Catastrophic Coverage Special Payment (CCSP)?
CCSP provides catastrophic coverage for prescription drugs and is intended to
supplement coverage under a Medicare Part D prescription drug plan.

If you reach a threshold for catastrophic coverage under Medicare, your Medicare
prescription drug plan generally pays the full cost of your prescription drugs except for a
set fee or coinsurance you are responsible for. CCPS will cover 100% of your eligible
out-of-pocket expenses above the threshold. CCPS does not apply to costs for drugs not
covered by your Medicare Part D prescription drug plan.

Here’s how the CCPS works with standard Medicare Part D prescription drug coverage:




                                             8
               Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 48 of 325




           •    If you are covered under a standard Medicare Part D prescription drug plan, each
                year you generally must pay 100% of your prescription drug costs until those
                costs reach an annual deductible, if your plan has a deductible.

           •    Above the annual deductible, you will pay a portion of your prescription drug
                costs and the standard Medicare Part D prescription drug plan will pay the
                remaining portion of those costs, until the total costs reach the initial coverage
                limit for the year.

           •    After you reach the initial coverage limit, you will pay a portion of your
                prescription drug costs until your true out-of-pocket expenses for the year reach
                the Medicare Part D catastrophic threshold. You will not reach the catastrophic
                threshold until your actual out-of-pocket costs reach the threshold. Amounts
                covered or reimbursed by a plan, insurance policy, or employer do not count
                towards the catastrophic threshold.

           •    After you reach the catastrophic threshold, the CCPS will pay your out-of-pocket
                expenses for eligible prescription drugs – to the extent not payable by your
                Medicare Part D prescription drug plan for the remainder of the year.

                                   Administrative Information

                       Discretionary Authority of the Plan Administrator
The Plan Administrator has responsibility for the interpretation and construction of the Plan and
final authority for the operation and administration of the Plan, including its day-to-day operation
and administration. The Plan Administrator has the power and the duty to take all actions and to
make all decisions necessary or proper to carry out its responsibilities, powers, and duties under
the Plan. All determinations of the Plan Administrator as to any question involving its
responsibilities, powers, and duties under the Plan, including interpretation of the Plan or as to
any discretionary actions to be taken under the Plan are solely at the discretion of the Plan
Administrator and are final, conclusive, and binding on all persons claiming to have any rights or
interest in or under the Plan.
In addition to any implied powers and duties, the specific powers and duties of the Plan
Administrator include the power and duty to:

           •    Determine the eligibility of any individual to participate in the Plan and the
                amount of Benefit Credits an individual is eligible for under the Plan;

           •    Determine when, to whom, in what amount, and in what form reimbursements are
                to be made under the Plan;

           •    Construe and interpret the terms and provisions of the Plan and all documents
                which relate to the Plan and to decide any and all matters arising there under,
                including the right to remedy possible ambiguities, inconsistencies, or omissions;


                                                      9
               Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 49 of 325




           •    Investigate and make such factual or other determinations as will be necessary or
                advisable for the administration of the Plan or for the determination of benefits
                under the Plan;

           •    Make and enforce such rules and regulations as it deems necessary or proper for
                the efficient administration of the Plan;

           •    Review benefit claims and approve or deny any such benefit claims;

           •    Appoint such agents, counsel, accountants, consultants, and other persons as may
                be required to assist in administering the Plan; and

           •    Allocate and delegate its responsibilities under the Plan and to designate other
                persons to carry out any of its responsibilities under the Plan.

                                          Clerical Error
A clerical error or other administrative error does not create benefits under the Plan. You are
responsible for the accuracy of information pertaining to your participation in the Plan including,
but not limited to, your birthday, address, and Social Security Number. It is your responsibility to
confirm the accuracy of statements that are based on such information and to promptly report
errors to the Plan Administrator.
                                         Electronic Media
The Plan Administrator may use electronic media in accordance with ERISA to satisfy all
disclosure and recordkeeping obligations imposed on the Plan under Title I of ERISA.
                                         Indemnification
ASARCO indemnifies and holds harmless the Plan Administrator and any employee of
ASARCO to whom fiduciary responsibilities have been delegated from and against any liability,
damage, cost, and expense (including attorneys’ fees and amounts paid in settlement of any
claim approved by ASARCO) incurred by or asserted against him/her by reason of his/her
occupying or having occupied fiduciary positions in connection with the Plan, However, no
indemnification is provided if the Plan Administrator or any employee of ASARCO personally
profited from any act or transaction in respect of which indemnification is sought.
Additionally, no indemnification is provided to the extent that any loss, cost, expense, or damage
with respect to which any fiduciary shall seek indemnification is held by a court of competent
jurisdiction, in a final judgment from which no appeal can be taken, to have resulted either from
the gross negligence or willful misconduct of one or more of the fiduciaries or from the violation
or breach of any fiduciary duty imposed under ERISA on one or more of the fiduciaries.




                                                     10
             Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 50 of 325




                                   Nonassignment of Benefits
Assignment or alienation of any reimbursements provided by the Plan will not be permitted or
recognized except as otherwise required by applicable law. This means that, except as required
by applicable law, reimbursements provided under the Plan are not subject to sale, assignment,
anticipation, alienations, attachment, garnishment, levy, execution, or any other form of transfer.
Generally, state and local laws will not be recognized unless permitted by or under an applicable
federal law, such as ERISA.




                                                    11
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 51 of 325




                                     PART II
                                  ERISA RIGHTS
This Plan is an employee welfare benefit plan as defined in the Employee Retirement Income
Security Act of 1974, as amended (“ERISA”). ERISA provides that you, as a Plan Participant,
will be entitled to:

                  Receive Information about Your Plan and Benefits
•      Examine, without charge, at the Plan Administrator’s office and at other specified
       locations, such as worksites and union halls, all documents governing the Plan, including
       insurance contracts, collective bargaining agreements, and a copy of the latest annual
       report (Form 5500 series) filed by the Plan with the U.S. Department of Labor and
       available at the Public Disclosure Room of the Employee Benefits Security
       Administration.
•      Obtain, upon written request to the Plan Administrator, copies of all documents
       governing the operation of the Plan, including insurance contracts and collective
       bargaining agreements, and copies of the latest annual report (Form 5500 series) and
       updated Summary Plan Description. The Plan Administrator may apply a reasonable
       charge for the copies.
•      Receive a summary of the Plan’s annual financial report. The Plan Administrator is
       required by law to furnish each participant with a copy of this summary annual report.


                                 Continue Plan Coverage
Continue Plan coverage for your eligible spouse or dependents if there is a loss of coverage
under the plan as a result of a qualifying event. However, your spouse or your dependents may
have to pay for such coverage. Review this SPD and the documents governing the Plan for the
rules governing COBRA continuation coverage rights.

                          Prudent Actions by Plan Fiduciaries
In addition to creating rights for Plan participants, ERISA imposes duties upon the people who
are responsible for the operation of the employee benefit plan. The people who operate your
Plan, called “fiduciaries” of the Plan, have a duty to do so prudently and in the interest of the
Plan participants and beneficiaries. No one, including your employer, your union, or any other
person, may fire you or otherwise discriminate against you in any way to prevent you from
obtaining a welfare benefit from the Plan, or from exercising your rights under ERISA.


                               Enforcement of Your Rights
If your claim for a welfare benefit under an ERISA-covered plan is denied in whole or in part,
you must receive a written explanation of the reason for the denial. You have the right to have
the Plan review and reconsider your claim. Under ERISA, there are steps you can take to enforce
the above rights. For instance, if you request materials from the Plan and do not receive them
within 30 days, you may file suit in a federal court. In such a case, the court may require the Plan
Administrator to provide the materials and pay you up to $110 a day until you receive the
materials, unless the materials were not sent because of reasons beyond the control of the
Administrator. If you have a claim for benefits that is denied or ignored in whole or in part, you
may file suit in a state or federal court. In addition, if you disagree with the Plan’s decision or

                                            12
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 52 of 325




lack thereof concerning the qualified status of a domestic relations order or a medical child
support order, you may file suit in federal court. If it should happen that plan fiduciaries misuse
the Plan’s money or if you are discriminated against for asserting your rights, you may seek
assistance from the U.S. Department of Labor, or you may file suit in a federal court. The court
will decide who should pay court costs and legal fees. If you are successful, the court may order
the person you have sued to pay these costs and fees. If you lose, the court may order you to pay
these costs and fees (e.g., if it finds your claim is frivolous).


                            Assistance with Your Questions
If you have any questions about the Plan, you should contact the Plan Administrator. If you have
any questions about this statement or about your rights under ERISA, or if you need assistance
obtaining documents from the Plan Administrator, you should contact the nearest office of the
U.S. Department of Labor, Employee Benefits Security Administration listed in your telephone
directory, or the Division of Technical Assistance and Inquiries, Employee Benefits Security
Administration, U.S. Department of Labor, 200 Constitution Ave., N.W., Washington, D.C.,
20210. You may also obtain certain publications about your rights and responsibilities under
ERISA by calling the publications hotline of the Employee Benefits Security Administration.




                                            13
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 53 of 325




                                      PART III
                                   LEGAL NOTICES



                 Health Insurance Portability and Accountability Act

         THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT
             YOU MAY BE USED AND DISCLOSED AND HOW YOU CAN
       GET ACCESS TO THIS INFORMATION. PLEASE REVIEW IT CAREFULLY


Section 1. Introduction
The Plan is dedicated to maintaining the privacy of your health information. The Plan is
required by law to take reasonable steps to ensure the privacy of your personally identifiable
health information or “Protected Health Information” (“PHI”) and to inform you about:

   •    the Plan’s uses and disclosures of PHI;
   •    your privacy rights with respect to your PHI;
   •    the Plan’s duties with respect to your PHI;
   •    your right to file a complaint with the Plan and to the Secretary of the U.S. Department of
        Health and Human Services; and
   •    the person or office to contact for further information about the Plan’s privacy practices.

The term “Protected Health Information” or “PHI” includes all individually identifiable health
information transmitted or maintained by the Plan, regardless of form (oral, written, electronic).
The Plan is required by law to maintain the privacy of PHI and to provide individuals with
notice of its legal duties and privacy practices.

The Plan is required to comply with the terms of this notice. However, the Plan reserves the right
to change its privacy practices and to apply the changes to all PHI received or maintained by the
Plan, including PHI received or maintained prior to the change. If a privacy practice described in
this Notice is materially changed, a revised version of this notice will be provided to all
individuals then covered under the Plan for whom the Plan still maintains PHI. The revised
notice will be provided by mail or by another method permitted by law.

Any revised version of this notice will be distributed within 60 days of the effective date of any
material change to the uses or disclosures, the individual’s rights, the duties of the Plan or other
privacy practices stated in this notice.

Please note that the Plan Sponsor obtains summary PHI, enrollment and disenrollment,
termination of coverage and specific appeals information from the Plan. Most records
containing your PHI are created and retained by the Third Party Administrator for the
Plan. In the event that the Plan Sponsor receives PHI, the Plan has been amended to
require that the Plan Sponsor only use and disclose PHI received from the Plan for plan
administrative purposes or as otherwise permitted by federal law. This notice only applies
to Protected Health Information or PHI as defined in the applicable HIPAA privacy rules.


                                            14
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 54 of 325




Section 2. Notice of PHI Uses and Disclosures

Except as otherwise indicated in this notice, uses and disclosures will be made only with your
written authorization, subject to your right to revoke such authorization.

A. Required PHI Uses and Disclosures

Upon your request, the Plan is required to give you access to certain PHI in order to inspect and
copy it.

Use and disclosure of your PHI may be required by the Secretary of the Department of Health
and Human Services to investigate or determine the Plan’s compliance with the privacy
regulations.

The Plan also will disclose PHI to the Plan Sponsor for plan administrative purposes or as
otherwise permitted by law. The Plan Sponsor has amended its plan documents to protect your
PHI as required by federal law.

The Plan contracts with business associates for certain services related to the Plan. PHI about
you may be disclosed to the business associates so that they can perform contracted services. To
protect your PHI, the business associate is required to appropriately safeguard the protected
health information. The following categories describe the different ways in which the Plan and
its business associates may use and disclose your PHI.

B. Uses and disclosures to carry out treatment, payment and health care operations

The Plan and its business associates will use PHI without your consent, authorization, or
opportunity to agree or object, to carry out treatment, payment and health care operations.

Treatment is the provision, coordination or management of health care and related services. It
also includes but is not limited to consultations and referrals between one or more of your
providers. For example, the Plan may disclose to a treating cardiologist the name of your
treating physician so that the cardiologist may ask for your lab results from the treating
physician.

Payment includes but is not limited to actions to make coverage determinations and payment
(including billing, claims management, subrogation, plan reimbursement, reviews for medical
necessity and appropriateness of care and utilization review and preauthorizations).       For
example, the Plan may tell a doctor whether you are eligible for coverage or what percentage of
the bill will be paid by the Plan.

Health care operations include but are not limited to quality assessment and improvement,
reviewing competence or qualifications of health care professionals, underwriting, premium
rating and other insurance activities relating to creating or renewing insurance contracts. It also
includes disease management, case management, conducting or arranging for medical review,
legal services and auditing functions including fraud and abuse compliance programs, business
planning and development, business management and general administrative activities. For
example, the Plan may use information about your claims to refer you to a disease management
program, project future benefit costs or audit the accuracy of its claims processing functions.

                                            15
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 55 of 325




C. Authorized uses and disclosures

You must provide the Plan with your written authorization for the types of uses and disclosures
that are not identified by this notice or permitted or required by applicable law.

Any authorization you provide to the Plan regarding the use and disclosure of your health
information may be revoked at any time in writing. After you revoke your authorization, the
Plan will no longer use or disclose your health information for the reasons described in the
authorization, except for the two situations noted below:

The Plan has taken action in reliance on your authorization before it received your written
revocation; or
You were required to give the Plan your authorization as a condition of obtaining coverage.

D. Uses and disclosures for which consent, authorization or opportunity to object is not
required

Use and disclosure of your PHI is allowed without your consent, authorization or request under
the following circumstances:

When required by law.

When permitted for purposes of public health activities, including when necessary to report
product defects, to permit product recalls and to conduct post-marketing surveillance. PHI may
also be used or disclosed if you have been exposed to a communicable disease or are at risk of
spreading a disease or condition, if authorized by law.

When authorized by law to report information about abuse, neglect or domestic violence to
public authorities if there exists a reasonable belief that you may be a victim of abuse, neglect or
domestic violence. In such case, the Plan will promptly inform you that such a disclosure has
been or will be made unless that notice would cause a risk of serious harm. For the purpose of
reporting child abuse or neglect, it is not necessary to inform the minor that such a disclosure has
been or will be made. Disclosure may generally be made to the minor’s parents or other
representatives although there may be circumstances under federal or state law when the parents
or other representatives may not be given access to the minor’s PHI.

To a public health oversight agency for oversight activities authorized by law. This includes uses
or disclosures in civil, administrative or criminal investigations; inspections; licensure or
disciplinary actions (for example, to investigate complaints against providers); and other
activities necessary for appropriate oversight of government benefit programs (for example, to
investigate Medicare or Medicaid fraud).
When required for judicial or administrative proceedings. For example, your PHI may be
disclosed in response to a subpoena or discovery request provided certain conditions are met.
One of those conditions is that satisfactory assurances must be given to the Plan that the
requesting party has made a good faith attempt to provide written notice to you, and the notice
provided sufficient information about the proceeding to permit you to raise an objection and no
objections were raised or were resolved in favor of disclosure by the court or tribunal.



                                            16
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 56 of 325




For law enforcement purposes, including to report certain types of wounds or for the purpose of
identifying or locating a suspect, fugitive, material witness or missing person. The Plan may also
disclose PHI when disclosing information about an individual who is or is suspected to be a
victim of a crime, but only if the individual agrees to the disclosure or the covered entity is
unable to obtain the individual’s agreement because of emergency circumstances. Furthermore,
the law enforcement official must represent that the information is not intended to be used
against the individual, the immediate law enforcement activity would be materially and
adversely affected by waiting to obtain the individual’s agreement and disclosure is in the best
interest of the individual as determined by the exercise of the Plan’s best judgment.

When required to be given to a coroner or medical examiner for the purpose of identifying a
deceased person, determining a cause of death or other duties as authorized by law. Also,
disclosure is permitted to funeral directors, consistent with applicable law, as necessary to carry
out their duties with respect to the decedent.

For research, subject to conditions.

When consistent with applicable law and standards of ethical conduct if the Plan, in good faith,
believes the use or disclosure is necessary to prevent or lessen a serious and imminent threat to
the health or safety of a person or the public and the disclosure is to a person reasonably able
to prevent or lessen the threat, including the target of the threat.

When authorized by and to the extent necessary to comply with workers’ compensation or other
similar programs established by law.

Notwithstanding the above, and to the extent provided in applicable law, the Plan shall not use or
disclose your PHI that is classified as genetic information for purposes of any underwriting
activity.

Section 3. Rights of Individuals
A. Right to Request Restrictions on PHI Uses and Disclosures

You may request that the Plan restrict uses and disclosures of your PHI to carry out treatment,
payment or health care operations, or restrict uses and disclosures to family members, relatives,
friends or other persons identified by you who are involved in your care or payment for your
care. However, the Plan is not required to agree to your request.

With respect to a health care provider, you have a right to request that a health care provider
restrict disclosure of your PHI and not disclose such PHI and related claim information to the
Plan, if the PHI pertains solely to a health care item or service for which you or another person
on your behalf has paid the health care provider and you have not requested reimbursement from
the Plan.

The Plan will accommodate reasonable requests to receive communications of PHI by alternative
means or at alternative locations as required by law. You or your personal representative will be
required to complete a form to request restrictions on uses and disclosures of your PHI. Such
requests should be made to the Plan at the address provided at the end of this Notice specifying
the requested method of contact or the location where you wish to be contacted.

                                            17
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 57 of 325




B. Right to Inspect and Copy PHI

With certain exceptions described below, you have the right to inspect and copy your PHI if it is
part of a “Designated Record Set” or “DRS.” The DRS is the group of records maintained by or
on behalf of the Plan contained in the enrollment, payment, claims adjudication, and case or
medical management record systems of the Plan, and any other records which are used by the
Plan to make decisions about individuals. This right does not extend to psychotherapy notes,
information gathered for certain civil, criminal or administrative proceedings, and information
maintained by the Sponsor that duplicates information maintained by a Plan business associate in
its DRS.

The Plan must provide you with access to the PHI contained in a DRS in the form and format
requested by you. However, if the PHI is not readily producible in such form or format, it must
be produced in a readable hard copy form or such other form as agreed to by the Plan and you.
Further, if the PHI is maintained in an electronic DRS, you may request an electronic copy of the
PHI in an electronic form or format. However, if the PHI is not readily producible in a specific
electronic form and format requested by you, the Plan and you must agree on the electronic form
or format in which it will be produced.

If you request a copy of your PHI contained in a DRS, the Plan may charge you a reasonable,
cost-based fee for the expense of copying, mailing and/or other supplies associated with your
request. To inspect and obtain a copy of your PHI that is part of a DRS, you must submit your
request in writing.

If you exercise your right to access your PHI, the Plan will respond to your request within 30
days, subject to a one-time extension of an additional 30 days. In the case of an extension, the
Plan must provide you with a written explanation for the delay and the date by which it will
respond to your request.

The Plan may deny your request to inspect and copy your PHI in certain limited situations. If you
are denied access to your PHI, you will be notified in writing. The notice of denial will include
the basis for the denial, and a description of any appeal rights you may have and the right to file
a complaint with the Plan or with the Department of Health and Human Services. If the Plan
does not maintain the PHI that you are seeking but knows where it is maintained, the Plan will
notify you of where to direct your request.

C. Right to Amend PHI

If you believe that your PHI in a DRS is incorrect or incomplete, you may request that the Plan
amend the PHI. Any such request must be made in writing and must include a reason that
supports your requested amendment. The Plan must respond to your request within 60 days. If
the Plan is not able to respond within this 60-day period, it may have a one-time 30-day
extension by providing you with a written explanation for the delay and the date by which it will
respond to your request.

In limited situations, the Plan may deny your request to amend your PHI. For example, the Plan
may deny your request if (1) the PHI was not created by the Plan (except where you are unable
to request an amendment from the person or entity that created the PHI because the person or
entity is no longer available); (2) the Plan determines the information to be accurate or complete;

                                            18
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 58 of 325




(3) the information is not part of the DRS; or (4) the information is not part of the information
which you would be permitted to inspect and copy, such as psychotherapy notes. If your request
is denied, you will be notified in writing. The notice of denial will include the basis for the
denial, a description of your right to submit a statement of disagreement and a description of
your right to file a complaint with the Plan or with the Department of Health and Human
Services.

D. Right to Receive an Accounting of PHI Disclosures

You have the right to request an accounting of certain types of disclosures of your PHI made by
the Plan during a specified period of time. You do not have the right to request an accounting of
all disclosures of your PHI. For example, you do not have the right to receive an accounting of
(1) disclosures for purposes of Treatment, Payment or Health Care Operations; (2) disclosures to
you or your personal representative regarding your own PHI; (3) disclosures pursuant to an
authorization; or (4) disclosures prior to April 14, 2003 (or the inception of the Plan, whichever
is later).

Your request must indicate the time period for which you are seeking the accounting, such as a
single month, six months or two calendar years. This time period may not be longer than six [6]
years and may not include any disclosures of PHI made before April 14, 2003 (or the inception
of the Plan, whichever is later). The Plan must respond to your request within 60 days. If the
Plan is not able to respond within this 60-day period, it may have a one-time 30-day extension by
providing you with a written explanation for the delay and the date by which it will respond to
your request.

The Plan will provide the first accounting you request in any 12-month period free of charge.
The Plan may impose a reasonable, cost-based fee for each subsequent accounting request within
the 12-month period. The Plan will notify you in advance of the fee and provide you with an
opportunity to withdraw or modify your request.

E. The Right to Receive a Paper Copy of This Notice Upon Request

To obtain a paper copy of this Notice at any time contact the Plan Administrator. The Notice is
also posted on the Plan Sponsor’s intranet site. Even if you have agreed to receive this Notice
electronically, you are still entitled to a paper copy of this Notice.
F. A Note About Personal Representatives

You may exercise your rights through a personal representative. Your personal representative
will be required to produce evidence of his/her authority to act on your behalf before that person
will be given access to your PHI or allowed to take any action for you. Proof of such authority
may take one of the following forms:
a power of attorney for health care purposes, notarized by a notary public;
a court order of appointment of the person as the conservator or guardian of the individual; or
an individual who is the parent of a minor child.

The Plan retains discretion to deny access to your PHI to a personal representative to provide
protection to those vulnerable people who depend on others to exercise their rights under these



                                            19
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 59 of 325




rules and who may be subject to abuse or neglect. This also applies to personal representatives of
minors.

Section 4: Notice of Breaches of Unsecured PHI
Under HIPAA, the Plan and its business associates, are required to maintain the privacy and
security of your PHI. The goal of the Plan and its business associates is to not allow any
unauthorized uses or disclosures of your PHI. However, regrettably, sometimes an unauthorized
use or disclosure of your PHI occurs. These incidents are referred to as “breaches.” If a breach
affects you and is related to unencrypted PHI, the Plan or its applicable business associate will
notify you of the breach and the actions taken by the Plan or the business associate to mitigate or
eliminate the exposure to you.

Section 5. Your Right to File a Complaint With the Plan or the HHS Secretary

If you believe that your privacy rights have been violated, you may complain to the Plan in care
of the Plan Administrator. You may file a complaint with the Secretary of the U.S. Department
of Health and Human Services, Hubert H. Humphrey Building, 200 Independence Avenue S.W.,
Washington, D.C. 20201. The Plan will not retaliate against you for filing a complaint.

Section 6. Whom to Contact at the Plan for More Information

If you have any questions regarding this Notice or the subjects addressed in it, you may contact
the Plan Administrator.

Section 7. Conclusion
PHI use and disclosure by the Plan is regulated by a federal law known as HIPAA (the Health
Insurance Portability and Accountability Act). You may find these rules at 45 Code of Federal
Regulations Parts 160 and 164. This Notice attempts to summarize the regulations. The
regulations will supersede any discrepancy between the information in this Notice and the
regulations.

If you wish to exercise one or more of the rights listed in this Notice, contact the Plan
Administrator.




                                            20
             Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 60 of 325



                              PLAN INFORMATION APPENDIX
                                     GENERAL PLAN INFORMATION

Name of Plan:                                               ASARCO Medicare Eligible Medical Plan

Effective Date:                                                        January 1, 2020

Name, address, and telephone number of the                             ASARCO LLC
Plan Sponsor:                                                 5285 E. Williams Circle, Suite 2000
                                                                Tucson, AZ 85711-7711 USA
                                                                       520-798-7500

Name, address, and telephone number of the                             ASARCO LLC
Plan Administrator:                                           5285 E. Williams Circle, Suite 2000
                                                                Tucson, AZ 85711-7711 USA
The Plan Administrator has the exclusive right to                      520-798-7500
interpret the Plan and to decide all matters arising
under the Plan, including the right to make
determinations of fact, and construe and interpret
possible ambiguities, inconsistencies, or
omissions in the Plan and the SPD issued in
connection with the Plan. The Plan
Administrator may delegate one or more of its
responsibilities to one or more individuals or
committees.

Agent for Service of Legal Process:                                    ASARCO LLC
                                                              5285 E. Williams Circle, Suite 2000
                                                                Tucson, AZ 85711-7711 USA
                                                                       520-798-7500

Sponsor’s federal tax identification number:                             XX-XXXXXXX

Plan Number:                                                                 575

Plan Year:                                                   January 1 to December 31 of each year

Third Party Administrator:                                               Via Benefits
                                                               10975 South Sterling View Drive
                                                                  South Jordan, UT 84905
                                                                       (844) 256-0920
                                                                  my.viabenefits.com/asarco




                                                       21
           Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 61 of 325




Claims Submission Agent:                                            Via Benefits
                                                                  P.O. Box 981156
All reimbursement forms, and supporting                       El Paso, TX 79998-1156
documentation, must be provided to the Claims                   Fax #: 866-886-0878
Submission Agent. Forms should not be mailed
to the Third Party Administrator.

Funding:                                        Benefits are paid from the Employer’s general assets.
                                                         There is no trust or other fund from
                                                               which benefits are paid.




                                                22
          Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 62 of 325



                                              PLAN TERMS
1.      Eligible Retiree: Eligible Retiree means: You are eligible for Medicare and were an employee-
participant (or a dependent of an employee-participant or a spouse of an employee-participant) in the
ASARCO employee benefit plans that provided for retiree healthcare and prescription drug benefits, and
who retired after November 30, 1986 and before January 1, 2007 (or who is a dependent of an employee
participant or a spouse of an employee-participant who retired during this same period of time) from a
union-represented position at the ASARCO Ray Complex, or you were an employee-participant (or a
dependent of an employee-participant or a spouse of an employee-participant) in the ASARCO welfare
benefit plans that provided for retiree medical and prescription drug benefits as set forth in section 1 of the
2002 Ray SPD, and who retired between January 1, 2007 and November 30, 2015, including any retirees
who provided the requisite retirement notice by November 30, 2015 and then retired within 180 days of
providing the notice, or a dependent of an employee-participant or a spouse of an employee-participant
who retired between January 1, 2007 and November 30, 2015 (or provided the requisite retirement notice
by November 30, 2015 and then retired within 180 days of providing the notice) from a union-represented
position with ASARCO under the terms of the retirement income plan for hourly-rated employees.

For purposes of this section 1, the following terms shall have the meanings set forth herein:

“ASARCO Ray Complex” means: ASARCO’s Ray Operation and Hayden Concentrator.

“2002 Ray SPD” means: the Summary Plan Description for the Employee Benefits Plans for Hourly
Employees of Ray Unit of ASARCO Incorporated, Effective July 1, 2002.

2.      Eligible Dependents: Eligible Dependents include an Eligible Retiree’s Spouse and any Eligible
Disabled Adult Child. An Eligible Dependent may be a Participant in the Plan regardless of whether the
Eligible Retiree is a Participant (the Eligible Retiree would need to be a Participant of this plan or another
group health plan sponsored by ASARCO).

3.     Spouse: Spouse means: a person who is eligible for Medicare and resides in the United States and
who is in a legal union with the Eligible Retiree that is recognized as a marriage in the state the legal
union was established. The term Spouse for purposes of this plan is determined on the same date the
Employee separated from employment with the Employer and attained Eligible Retiree status.

A Spouse shall not include any person who is:

•   legally separated or divorced from the Eligible Retiree,
•   re-married following the Eligible Retiree’s death,
•   participating in benefits herein as an Eligible Retiree,
•   not a resident of the United States of America,
•   in a legal union that is recognized as a common law marriage in the state where the marriage was
    established, or
•   in a legal union that is recognized as a marriage in the state where the marriage was established and
    such legal union occurred after the Eligible Retiree’s employment separation date with the Employer.

4.      Eligible Disabled Adult Child: Eligible Disabled Adult Child means: an Eligible Retiree’s
unmarried child who is eligible for Medicare, who, prior to attaining age 19, such child was totally and
permanently disabled or mentally incapacitated. Such child must be principally dependent upon the
Eligible Retiree for maintenance and support. An Eligible Disabled Adult Child must be certified by the
                                                      23
             Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 63 of 325


corporate medical director as suffering from an illness or injury which prevents them from living
independently of their parents and obtaining employment.

For purposes of this section 4, the term “child” shall include:

   •   a natural child of the Eligible Retiree;
   •   stepchildren (i.e.: the natural children of the Eligible Retiree’s Spouse) residing in the Eligible
       Retiree’s household and supported solely by the Eligible Retiree;
   •   a legally adopted child of the Eligible Retiree or his or her Spouse; or
   •   a child who has been committed by a court of law to the custody of the Eligible Retiree or his or
       her spouse.

5.     Insurance Coverage Exception: In lieu of obtaining an individual health insurance policy
through Via Benefits, an Eligible Retiree or Eligible Dependent may establish that he or she:

       (a)      Resides outside the United States or within the U.S. Territories

6.      Account Structure: Combined Account. Only one HRA Account will be established for all
Participants in a single family and all credits for such family members will be credited to such HRA
Account.

7.      Benefit Credit: Benefit Credits are discretionary, to be determined in the sole discretion of
ASARCO each Plan Year. For the 2020 Plan Year, the Benefit Credit will be $1,800. For Plan Years after
2020, and on an annual basis thereafter, the Benefit Credit will be adjusted based solely on the Plan
Administrator’s discretion. If a Participant enrolls on a date other than January 1, the Benefit Credit shall
be multiplied by a fraction, the numerator of which is the number of months or partial months remaining
in the calendar year from the Participant’s enrollment date and the denominator is twelve. Eligible
Participants may contact Third Party Administrator, Via Benefits, to find out their specific Benefit Credit.

8.     Timing of Benefit Credit: Benefit Credits will be credited to HRA Accounts on the first day of
each Plan Year.

9. Eligible Medical Expense: Eligible Medical Expenses means the cost of premiums for enrollment in:
   a Medicare Supplement Plan, a Medicare Advantage Plan, a Medicare Prescription Drug Plan,
   Medicare Part B, a voluntary individual dental insurance plan, or a voluntary individual vision
   insurance plan for the Eligible Retiree and/or Eligible Dependent.
    For purposes of this Plan, an expense is “incurred” when the Eligible Retiree and/or Eligible
    Dependent pays a monthly premium for an individual plan giving rise to the claimed expense.
10.     Carryover of Accounts: Credits remaining in an HRA Account at the end of a Plan Year shall be
carried over to the following Plan Year to reimburse Participants for Health Care Expenses incurred
during subsequent Plan Years.

11.    Death: Participants who are Eligible Dependents shall continue to receive Benefit Credits but not
those of the retiree after the Eligible Retiree’s death.




                                                     24
        Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 64 of 325


12.   Catastrophic Coverage Reimbursement.

      (a)    Participants who are Eligible Retirees and/or Eligible Dependents shall receive
      Catastrophic CCPS Reimbursement for qualifying prescription drug expenses:

      (b)    The CCPS Reimbursement will begin only after the Participant has accumulated covered
      Part D expenses in an amount equal to the true out of pocket (TrOOP) limit set by CMS for the
      applicable Plan Year.

      (c)     The CCPS Reimbursement benefit will be administered based on the following: Once the
      Participant has reached the level set forth in (b), all eligible claims for qualifying prescription drug
      expenses will be reimbursed for the remainder of the applicable Plan Year.




                                                    25
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 65 of 325




               EXHIBIT B
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 66 of 325




     SUMMARY PLAN DESCRIPTION

                  Employee Benefit Plans

                                   for

                      Hourly Employees

                                   of



                           Ray Unit


                                   of

               ASARCO Incorporated

                     Equal Opportunity Employer



                  Effective July 1, 2002 to June 30, 2005
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 67 of 325




                                ii
        Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 68 of 325


                                             TABLE OF CONTENTS
                                                                                                                                      Page
Subject                                                                                                                                 No.
INTRODUCTION..........................................................................................................................1
LIST OF UNIONS .........................................................................................................................1
ASARCO HEALTH PLAN ...........................................................................................................5
     ELIGIBILITY AND EFFECTIVE DATES .......................................................................5
     DEFINITIONS ......................................................................................................................5
     PROVISIONS APPLICABLE IF YOU CEASE WORK .................................................9
        LAYOFF ........................................................................................................................... 9
        LEAVE OF ABSENCE ................................................................................................... 9
        STRIKE ............................................................................................................................ 9
        DISABILITY.................................................................................................................. 10
        DISCHARGE/TERMINATION OF EMPLOYMENT ............................................. 10
     RETIREMENT ...................................................................................................................10
        MEDICAL BENEFITS FOR RETIRED EMPLOYEES AND ELIGIBLE
        DEPENDENTS .............................................................................................................. 10
     DEPENDENT BENEFITS AFTER THE EMPLOYEE'S DEATH...............................11
     NON-DUPLICATION OF BENEFITS.............................................................................11
        MEDICARE FOR RETIRED EMPLOYEES ............................................................ 13
     EMPLOYEE COMPLAINTS............................................................................................13
     TERMINATION OF BENEFITS WHILE HOSPITALIZED .......................................14
     HOW TO FILE A MEDICAL CLAIM ............................................................................14
     COMPREHENSIVE PLAN ...............................................................................................14
     PREFERRED PROVIDER NETWORK ....................................................................... 15
     MANAGED CARE ........................................................................................................... 15
     DEDUCTIBLE .................................................................................................................. 15
     MAXIMUM OUT-OF-POCKET EXPENSE ................................................................. 16
     LIFETIME MAXIMUM .................................................................................................. 16
     MONTHLY CONTRIBUTIONS .................................................................................... 16
     WEEKEND ADMISSIONS ............................................................................................. 16
     REASONABLE AND CUSTOMARY PAYMENT ....................................................... 16
     COVERED EXPENSES ................................................................................................... 17
     EXCLUSIONS .................................................................................................................. 19
     PREVENTIVE CARE ...................................................................................................... 22
     REHABILITATION CENTERS .......................................................................................23
     EXTENDED CARE FACILITIES ....................................................................................23
     HOME HEALTH CARE ...................................................................................................24
     HOSPICE CARE ................................................................................................................25
     SECOND SURGICAL OPINION ................................................................................... 26
     PRE-ADMISSION TESTING ......................................................................................... 27
     AMBULATORY SURGERY........................................................................................... 27
     WEEKLY ACCIDENT AND SICKNESS BENEFITS ...................................................28
     OPT OUT OF MEDICAL COVERAGE..........................................................................29
VISION CARE PLAN .................................................................................................................30
     ELIGIBILITY AND EFFECTIVE DATE .......................................................................30
     COVERED CHARGES ......................................................................................................30
     SCHEDULE OF BENEFITS .............................................................................................31

                                                                    iii
        Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 69 of 325


   LIMITATIONS ...................................................................................................................31
   EXCLUSIONS.....................................................................................................................32
   PAYMENT OF BENEFITS ...............................................................................................33
   NON-DUPLICATION OF BENEFITS.............................................................................33
   PROOF OF LOSS ...............................................................................................................33
PRESCRIPTION DRUG PLAN COVERAGE.........................................................................35
   EFFECTIVE DATES AND ELIGIBILTY .......................................................................35
   COVERED PRESCRIPTIONS .........................................................................................35
   RETAIL PROGRAM .........................................................................................................35
   MAIL ORDER PROGRAM ..............................................................................................35
   MONTHLY CONTRIBUTIONS ......................................................................................36
ASARCO DENTAL PLAN .........................................................................................................37
   ELIGIBILTIY AND EFFECTIVE DATES .....................................................................37
   DEFINITIONS ....................................................................................................................37
   THE DEDUCTIBLE...........................................................................................................39
   MAXIMUM BENEFIT AVAILABLE ..............................................................................39
   COVERED DENTAL EXPENSES ...................................................................................39
   ORTHODONTIC TREATMENT .....................................................................................41
   PREDETERMINATION OF BENEFITS ........................................................................41
   LIMITATIONS ...................................................................................................................42
   EXCLUSIONS.....................................................................................................................43
   PROVISIONS APPLICABLE IF YOU LEAVE WORK ...............................................43
     LAYOFF ......................................................................................................................... 43
     LEAVE OF ABSENCE ................................................................................................. 44
     STRIKE .......................................................................................................................... 44
     DISABILITY.................................................................................................................. 44
   DISCHARGE/ TERMINATION OF EMPLOYMENT..................................................44
   DATE EXPENSES ARE INCURRED ..............................................................................44
   HOW TO FILE A CLAIM.................................................................................................44
   NON-DUPLICATION OF BENEFITS.............................................................................45
   PROOF OF CLAIM ...........................................................................................................46
   BENEFITS AFTER CESSATION OF COVERAGE .....................................................46
FLEXIBLE SPENDING ACCOUNTS ......................................................................................47
   HOW FSAS WORK ............................................................................................................47
   REIMBURSABLE EXPENSES ........................................................................................47
   IRS RULES..........................................................................................................................48
   TAX ADVANTAGES .........................................................................................................48
   DEPENDENT CARE TAX CREDIT................................................................................49
GROUP LIFE INSURANCE PLAN ..........................................................................................50
   SCHEDULE OF INSURANCE .........................................................................................50
   COVERAGE AFTER RETIREMENT.............................................................................50
   TOTAL DISABILITY ........................................................................................................50
   ACCIDENTAL DEATH OR DISMEMBERMENT BENEFITS...................................51
   CONVERSION PRIVILEGE ............................................................................................51
   BENEFICIARIES ...............................................................................................................52
   CONTRIBUTORY LIFE BENEFITS ..............................................................................52
   DEPENDENT LIFE INSURANCE ...................................................................................52
     CONTINUANCE OF DEPENDENT COVERAGE................................................... 53
IMPORTANT INFORMATION ................................................................................................54


                                                                   iv
        Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 70 of 325


    PLAN IDENTIFICATION ................................................................................................55
    PLAN ADMINISTRATOR ................................................................................................55
    TYPE OF ADMINISTRATION ........................................................................................55
    ANNOUNCEMENT BOOKLET ......................................................................................56
    COST OF BENEFITS ........................................................................................................56
    CLAIMS PROCEDURE ....................................................................................................56
    HEALTH PLAN, VISION CARE PLAN, PRESCRIPTION DRUG PLAN, DENTAL
    PLAN, FLEXIBLE SPENDING ACCOUNT AND GROUP LIFE INSURANCE
    PLAN ....................................................................................................................................56
COBRA .........................................................................................................................................59
STATEMENT OF ERISA RIGHTS ..........................................................................................62
OTHER RIGHTS .........................................................................................................................63
AMENDMENT AND TERMINATION ....................................................................................64
RETIREMENT INCOME PLAN ..............................................................................................65
    INTRODUCTION...............................................................................................................67
    ELIGIBILITY .....................................................................................................................67
    VESTING.............................................................................................................................67
    CONTINUOUS SERVICE.................................................................................................67
    BREAK IN SERVICE ........................................................................................................68
    RETIREMENT DATES .....................................................................................................69
    BENEFIT FORMULA .......................................................................................................70
    NORMAL OR DEFERRED RETIREMENT ..................................................................71
    60/10 BENEFIT ...................................................................................................................72
    60/30 BENEFIT ...................................................................................................................73
    30-YEAR BENEFIT ...........................................................................................................74
    70/80 BENEFIT ...................................................................................................................75
PERMANENT AND TOTAL DISABILITY BENEFITS ........................................................77
    DEFINITION OF PERMANENT AND TOTAL DISABILITY ....................................77
    PRE-RETIREMENT SPOUSE’S PENSION ...................................................................77
    POST-RETIREMENT SPOUSE'S PENSION .................................................................79
    CONTINGENT ANNUITANT OPTION .........................................................................79
    VESTED DEFERRED BENEFIT .....................................................................................81
    PRE-RETIREMENT SURVIVOR ANNUITY ("PSA") ................................................83
    WHEN PENSIONS ARE PAID.........................................................................................83
    TOP-HEAVY PROVISIONS.............................................................................................83
IMPORTANT INFORMATION ................................................................................................85
    PLAN ADMINISTRATOR ................................................................................................87
    PLAN TRUSTEE ................................................................................................................87
    PLAN INVESTMENT MANAGERS ...............................................................................87
    TYPE OF ADMINISTRATION ........................................................................................88
    FUNDING ............................................................................................................................88
    CLAIMS PROCEDURE ....................................................................................................88
STATEMENT OF ERISA RIGHTS ..........................................................................................90
AMENDMENT AND TERMINATION ....................................................................................91
    WHAT HAPPENS IF YOUR PLAN IS TERMINATED ...............................................91




                                                                       v
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 71 of 325



                                   INTRODUCTION
This Summary Plan Description includes benefits provided to hourly, represented employees at
the Ray Unit.

Section 1 of this booklet outlines the Welfare Plans (Asarco Health Plan, Asarco Prescription
Drug Plan, Asarco Dental Plan, Asarco Group Life Insurance Plan, Asarco Security and
Severance Plan and Asarco Plan of Permanent and Total Disability Benefits) and Section 2
outlines the Pension Plan (Retirement Income Plan) for Hourly-Rated Employees at the Ray
Complex. All of these plans are in accordance with the contract negotiated between ASARCO
Incorporated and the Union(s) representing the Hourly employees at the Ray Unit. Copies of the
collective bargaining agreement as well as other pertinent documents relating to the Plans may
be examined by you or your beneficiaries at your local Human Resources Office or, upon written
request, may be obtained from the Plan Administrator.



                                  LIST OF UNIONS
                           United Steelworkers of America, Local 5252

                            United Steelworkers of America, Local 915

                          United Steelworkers of America, Local 886-02

                 International Brotherhood of Boilermakers, Iron Shipbuilders,
                          Blacksmiths, Forgers and Helpers, Local 627

                               International Association of Machinists
                                 and Aerospace Workers, Local 2181

                   International Brotherhood of Electrical Workers, Local 518

              United Association of Journeymen and Apprentices of the Plumbing
               and Pipefitting Industry of the United States & Canada, Local 741

                                         Millwright Local 1914




NOTA:     Para los participantes y beneficiarios que hablan solamente español, el Departmento de Personal les
          ayudará entender este documento.




                                                   - 1-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 72 of 325




                               - 2-
   Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 73 of 325




            SECTION 1 - WELFARE PLANS
The Welfare Plans section of this booklet is comprised of summaries
                      of the following Plans:

                         Asarco Health Plan

                   Asarco Prescription Drug Plan

                         Asarco Dental Plan

                         Asarco Vision Plan

              Asarco Flexible Spending Account Plan

                 Asarco Group Life Insurance Plan




                                  - 3-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 74 of 325




                               - 4-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 75 of 325



                         ASARCO HEALTH PLAN
                  ELIGIBILITY AND EFFECTIVE DATES
If you are an employee as defined herein you will become eligible for the Comprehensive Plan
on the first day of the calendar month coincident with or next following completion of three
consecutive months of employment.

If you are not actively at work on the date your medical benefits would otherwise become
effective because of confinement in a hospital, such coverage shall not be effective as to the
conditions for which you are hospitalized until you are discharged from the hospital.

Your dependents are eligible for benefits under this Plan on the later of:

   (a)   The date you are eligible for benefits, or
   (b)   The date you acquire your first eligible dependent, provided that you had benefits for
         yourself on the day immediately preceding that date.

If on the effective date of the benefits for your dependents, a dependent is confined in a hospital,
medical benefits for that dependent shall not be effective as to the conditions for which the
dependent is hospitalized until he or she has been discharged from the hospital. Confinement of
a newborn child will not postpone benefits for such child.

When you become eligible for benefits you will be automatically enrolled, but you will be asked
to sign a card indicating whether you have dependents, as defined herein.

                                       DEFINITIONS
"Ambulatory Surgical Facility" is a state-approved and licensed public or private institution,
other than private offices or clinics of physicians. It has an organized medical staff of physicians
with permanent facilities that are equipped and operated primarily for the purpose of performing
surgical procedures. It also provides continuous physician's services and registered professional
nursing services whenever a patient is in the facility. It does not provide services or other
accommodations for patients to stay overnight. In states where no state approval program exists,
the Plan may approve facilities on the basis of the above described requirements.

Before you enter an ambulatory surgical facility, you should inquire as to whether such facility
meets the above requirements.

"Approved Rehabilitation Center" is a treatment center approved by the Plan and specifically
engaged in the rehabilitation of those suffering from alcoholism or drug addiction.

Such center (1) provides a program of effective medical and therapeutic treatment for alcoholism
or drug addiction, (2) maintains a detailed regimen requiring full-time residence and
participation by the patient, and (3) has a member of its staff who is a duly licensed physician or
has a written agreement with one or more duly licensed physicians who shall be responsible for



                                               - 5-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 76 of 325


 the quality of care rendered to patients. In states where no state approval program exists, the
 Plan may approve centers on the basis of satisfying the above described requirements.

Before you enter a rehabilitation center, you should inquire as to whether such center meets the
above requirements.

"Certified Nurse-Midwife" is a person who (1) is a licensed registered professional nurse, (2) is
certified, licensed or otherwise authorized by the proper state authority to practice nurse-
midwifery, including the performance of deliveries, in the state where the services are being
performed, (3) performs deliveries with supervising responsibility being provided by a physician,
and (4) is affiliated or practicing in conjunction with a legally constituted health service facility
approved to operate in the state where the nurse-midwife is performing the services.

"Covered Person" is an employee or a dependent on whose account benefits are in effect under
this Plan.

"Custodial Care" is that type of care (including room and board needed to provide that care)
which (1) is given mainly to help a person with personal hygiene or to perform the activities of
daily living, and (2) can, in terms of generally accepted medical standards, be safely and
adequately given by people who are not trained or licensed medical or nursing personnel.

Some examples of custodial care are training to help to: get in and out of bed, bathe, dress,
prepare special diets, eat, walk, use the toilet, or take oral drugs or medicines or those which can
usually be self-administered.

Services are custodial care regardless of (1) who recommends, provides or directs the care, or (2)
where the care is given.

"Dependent" means:

   (a)   The employee's spouse, including a spouse who is a retiree of the Company.
   (b)   The employee's unmarried child(ren) under age 19. Such child(ren) include:
         (1) A natural child of the employee
         (2) Stepchildren (i.e.: the natural children of the employee's spouse) residing in the
               employee's household and supported solely by the employee,
         (3) A legally adopted child of the employee or his or her spouse, or
         (4) A child who has been committed by a court of law to the custody of the employee
               or his or her spouse.
         All cases of dependents in categories (2), (3) or (4) must be submitted to your unit
         Human Resources Department for Corporate approval.
   (c)   With respect to employees prior to their retirement only, the employee's unmarried
         child(ren) after attainment of age 19 but not beyond attainment of age 23 if any such
         child is a full-time student at any accredited school, college or university principally
         dependent upon the employee for maintenance and support. Proof of enrollment must
         be submitted to your unit Human Resources Department each semester.
   (d)   The employee's unmarried child(ren) over age 19, if upon attaining age 19 such
         child(ren) is (are) totally and permanently disabled or mentally incapacitated. Such
         child(ren) must be principally dependent upon the employee for maintenance and
         support. Dependent children must be certified by the Corporate Medical Director as


                                               - 6-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 77 of 325


         suffering from an illness or injury which prevents them from living independently of
         their parents and obtaining employment.
   (e)   Children for whom coverage is required under a Qualified Medical Child Support
         Order (QMCSO). All cases must be submitted for approval. A Qualified Medical Child
         Support Order (QMCSO) is an order, decree, judgment, or administrative notice
         (including a settlement agreement) issued by a domestic relations court or other court of
         competent jurisdiction, or through an administrative process established under state law
         which has the force and effect of law in that state, which meets the requirements of
         Section 609 of ERISA.

The term "dependent" does not include any person who is eligible for benefits under this Plan as
an employee. Also, no person shall be a "dependent" of more than one employee.

Written proof that a child qualifies as a dependent after attainment of age 19 must be furnished
by the employee to the Company.

"Employee" means a regular full time hourly employee of Ray Complex, who is represented by a
Union.

"Employer" means the Ray Complex of ASARCO Incorporated.

"Extended Care Facility" is an institution that furnishes room and board and skilled nursing care
24 hours a day, either by or under the supervision of a registered professional nurse. The
institution must be recognized as an extended care facility by Medicare or must be accredited by
the Joint Commission on Accreditation of Hospitals as an extended care facility, and must be
operating in accordance with any applicable local laws. An extended care facility is not, other
than incidentally, a place for rest, a place for domiciliary care, a place for the aged, a place for
drug addiction, a place for alcoholics, a hotel or a motel.

"Home Health Care Agency" is an agency providing intermittent nursing services or therapy in
your home. These services must be performed by or under the supervision of a licensed
registered or practical nurse, and must follow a plan established by a physician. A home health
care agency will be approved by the Plan if:

   (1)   It qualifies as a home health care agency under Medicare, or
   (2)   The Plan determines that it meets the standards of Medicare certification, and
   (3)   Where necessary, has been approved by the applicable area-wide Health Care Planning
         Agency.

"Hospital" is an institution which meets fully every one of the following tests, namely:

   (a)   It is legally licensed as a hospital.
   (b)   It is primarily engaged in providing medical care for its patients on an inpatient basis,
         and maintains diagnostic and therapeutic facilities for the surgical and medical
         diagnosis, treatment and care of injured and sick persons by or under the supervision of
         a staff of physicians.
   (c)   It continuously provides twenty-four hour a day nursing services by or under the
         supervision of registered graduate nurses.
   (d)   It operates continuously and provides organized facilities for operative surgery.


                                               - 7-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 78 of 325


   (e)   It is not, other than incidentally, a place for rest, a place for the aged, a place for drug
         addicts, a place for alcoholics, a nursing home or a facility for the long-term treatment
         of tuberculosis or mental disorders.

"Hospital" also includes (1) an approved rehabilitation facility for the treatment of drug addiction
and alcoholism and (2) state-approved and licensed surgical centers and psychiatric facilities.

"Maternity Center (Birth Center)" is a freestanding facility which offers comprehensive
maternity care to carefully screened patients who are expected to have an uneventful pregnancy
with a normal, uncomplicated childbirth. The facility must have a prearranged agreement with a
nearby hospital for emergency transfer of mother and/or infant if an unexpected complication
occurs. The maternity center must be approved by the Plan.

"Non-occupational", as applied to any injury or sickness, means:

   (a)   Any injury not arising out of or in the course of any employment for wage or profit, or
   (b)   Any sickness not entitling the person who has contracted the sickness to benefits under
         any Workers' Compensation or occupational disease law.

"Physician" means any doctor of medicine (M.D.) or doctor of osteopathy (D.O.) who is legally
qualified and licensed to practice medicine. For certain services doctors of dental surgery
(D.D.S) and doctors of podiatric medicine (D.P.M.) are also deemed to be physicians.

Practitioners, Other Than Physicians or Surgeons
If a duly licensed practitioner, while acting within the scope of his license, and provided there are
statutory or regulatory provisions applicable to the Group Policy which require recognition of the
covered services of such a practitioner, performs any services in connection with injury or
sickness or gives any recommendation or approval required by the provisions of this booklet,
expenses incurred on account of, or disability due to, such injury or sickness will be considered
for benefits subject to the same terms and limitations as if such services were performed by or
such recommendation and approval were given by a physician or surgeon legally licensed to
practice medicine.

"Psychologist" means a person who meets one of the following qualifications:

   (a)   If practicing in a State or Province where statutory licensure or certification of
         psychologists exists, he or she holds a valid credential (as legally specified) for such
         practice;
   (b)   If practicing in a State or Province where statutory licensure or certification of
         psychologists does not exist, but where valid, nonstatutory (professional) certification is
         established by the jurisdiction's recognized psychological association, he or she holds
         such certification;
   (c)   If practicing in State or Province where neither statutory nor nonstatutory licensure or
         certification of psychologist exists, he or she holds a statement of qualification by a
         committee established for the purpose by the jurisdiction's recognized psychological
         association or, in the absence of such a committee, he or she holds a diploma in the
         appropriate specialty awarded by the American Board of Examiners in Professional
         Psychology or its Canadian equivalent.



                                               - 8-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 79 of 325


 "Qualified Change in Family Status" is any status change that enables you to add/delete
 coverage for yourself or your dependents. The options you select at your time of hire (and
during any enrollment periods that may occur) will remain in effect unless you experience a
qualifying change in family status. Examples of qualifying changes include:

        Marriage, divorce or separation
        Birth or adoption of a child
        Death of a spouse or child
        A significant change in your spouse’s medical coverage
        A change in your benefits due to loss of eligibility (for example, your hours are reduced
         and you’re no longer eligible to participate)
        The issuance of a Qualified Medical Child Support Order
        A loss of your spouse’s employment when you were relying on his/her employer’s
         benefits.

In any of these instances you’ll be able to change your coverage. But, keep in mind that the
change must be consistent with the qualifying event. For example, if you have a baby you’re
allowed to increase medical coverage, but you aren’t permitted to decrease coverage.

If you have a qualifying change in family status and want to change coverage, contact your local
Human Resources representative. Please keep in mind that you must make the change within
31 days of the qualifying event.

"Surgery" is any generally accepted operative and cutting procedure for the treatment of disease
or injury. Surgery also means the correction of a fracture, the reduction of a dislocation and the
manipulation of a joint.

"You" or "your" means the employee who is a covered person for personal benefits. They do not
include a dependent of the employee.

          PROVISIONS APPLICABLE IF YOU CEASE WORK
Layoff

Comprehensive Plan benefits for you and your dependents will terminate at the end of the month
in which your layoff commences. If you return to work from a layoff after such benefits have
terminated, you will be provided benefits on your first day of work, subject to the applicable
contribution for such coverage.

Leave of Absence

Comprehensive Plan benefits for you and your dependents will continue for six months
following the month in which the leave of absence became effective, unless the leave of absence
is for local union business in which case benefits under the Comprehensive Plan will continue
for the entire period of such leave.

Strike




                                               - 9-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 80 of 325


 Comprehensive Plan benefits for striking employees and their dependents will terminate at the
 end of the month the strike commences. In the event of a strike, continuation of coverage of the
Comprehensive Plan may be available under certain conditions. Please see page 59 for an
explanation of your rights to continuation coverage ("COBRA").

Disability

   (a)   With respect to your benefits under the Comprehensive Medical Plan:
         (i) If you become totally disabled due to occupational or non-occupational accident
               or illness and do not receive a pension from the Company, your benefits will be
               continued during such disability, but not beyond 24 months after the last day you
               were actually at work.
         (ii) If you are absent from work because you are permanently and totally disabled due
               to occupational or non-occupational accident or illness, your benefits will
               continue for 24 months after the last day you are actually at work or to the date of
               your 65th birthday, whichever first occurs. At such time, if you have ten (10) or
               more years of continuous service under the Company's Pension Plan you will be
               provided benefits for as long as you are totally disabled. If you have less than ten
               (10) years of continuous service at such time, your benefits will terminate.
         (iii) In the event you recover from a disability within twenty-four (24) months after
               your last day of work and are unable to return to work because of a reduction in
               force for lack of work, your coverage will terminate at the end of the month in
               which you are unable to return to work.

Discharge/Termination of Employment

In the event you are discharged by the Company Comprehensive Plan benefits for you and your
dependents will terminate as of your date of discharge. If it is subsequently determined that you
were improperly discharged, there shall be no break in such coverages and benefits. Please see
page 59 for an explanation of your rights to continuation coverage ("COBRA").

In the event you or your dependent is hospitalized as a bed patient on the date your benefits
under the Comprehensive Plan terminate, in-hospital benefits shall be covered as provided in the
Comprehensive Plan until the earlier of (a) completion of the hospital stay; and (b) the date on
which the hospital stay reaches the maximum number of days provided in the Comprehensive
Plan.

                                     RETIREMENT
If you retire under the Asarco Retirement Income Plan for Hourly-Rated Employees,
Comprehensive Plan benefits are continued for you and your dependents as set forth below.

Medical Benefits for Retired Employees and Eligible Dependents

If you retire (other than deferred vested) under the Retirement Income Plan for Hourly-Rated
Employees of ASARCO Incorporated, coverage under the Comprehensive Plan may continue for
you, your spouse and eligible dependents as long as they remain eligible, subject to the limits
explained later in this booklet.



                                              - 10-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 81 of 325


 The benefits otherwise provided for covered medical expenses shall be reduced by any benefits
 for or because of such expenses being available under the Health Insurance for the Aged Act
and Disabled Provisions for the United States Social Security Act as enacted or thereafter
amended (Medicare), excluding benefits due to being in the first 18 months of end stage renal
disease. The Comprehensive Plan is primary, subject to coordination of benefits provisions, for
benefits due to being in the first 18 months of end stage renal disease.

The remaining parts of this section of this booklet describe the benefits, general provisions
relating to them, how you and your dependents become covered, when and how coverage
terminates and the effect of coverage by other group plans, including Medicare. You should read
the following explanations for more complete information as to the Plan.

  DEPENDENT BENEFITS AFTER THE EMPLOYEE'S DEATH
If you should die in active service after you have 10 years of continuous service and after you
have been married for at least one year, the Comprehensive Plan benefits applicable to eligible
dependents of active employees will still apply to your eligible dependents.

If you die as a retired employee and your spouse is eligible to receive a post-retirement spouse's
pension allowance, the Comprehensive Plan benefits applicable to eligible dependents of retired
employees will still apply to your eligible dependents.

                     NON-DUPLICATION OF BENEFITS
The Comprehensive Plan contains a non-duplication of benefit provision. When you, your
spouse or your dependent children are covered by more than one group plan, there is a procedure
followed to determine which plan pays first (the "primary" plan) and which plan pays second
(the "secondary" plan). This procedure exists to avoid duplicate payments by the secondary plan.
When the Asarco Plan is secondary, the Asarco Plan will pay its usual benefits after first
reducing the covered expenses by the benefits paid by the primary plan.

"Plan" means these types of medical or dental care benefit coverages: (1) coverage under a
governmental program or coverage that is provided or required by statute, including any motor
vehicle no-fault coverage required by statute and (2) group insurance or other coverage for a
group of individuals, including student coverage obtained through an educational institution.

Asarco reserves the right to obtain and exchange benefit information from other organizations,
carriers and individuals and to regain any overpayment made to or on behalf of you or your
dependent as a result of failure to report other group coverage.

If you have other group coverage, you will expedite the processing of your claim by providing
all required information regarding other plans when you submit your claim. Space is provided
for such information on your claim form.

In order to obtain all of the benefits available, you and your dependents should file claims under
each plan.




                                              - 11-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 82 of 325


 Benefits available to any covered individual under any provision of the Asarco Health Plan
 shall be reduced to the extent like benefits are available under the provisions of any group
insurance plan or group pre-payment plan. In the event a dependent or early retiree covered
under the Asarco Health Plan is, or shall become, covered, or eligible for coverage, under any
group insurance or group pre-payment plan by virtue of employment, benefits under the Asarco
Health Plan shall be secondary to the benefits provided or available under such other plan and
aggregate benefits payable under both plans may not exceed the benefits that would have been
payable under the Asarco Health Plan. Asarco Health Plan benefits shall be secondary to such
other coverage which is available to a dependent or early retiree regardless of whether such other
coverage is taken, even if such other coverage requires that a contribution be made by the
dependent or early retiree.

The Asarco Health Plan shall be the primary source of coverage for active employees who
continue to work beyond their Medicare entitlement date. The dependents of such employees
will also continue to be eligible for coverage, provided that the employee is actively at work.

Expenses and benefits which are recovered by legal action or settlement are not covered under
any provision of the Asarco Health Plan. Accordingly, the Company shall be entitled to a refund
for any benefits paid under any provision of the Asarco Health Plan which are recovered by legal
action or settlement. The right of the Asarco Health Plan to a refund shall be applied to the
aggregate amount recovered by the employee or covered dependent from legal action or
settlement related to non-occupational injuries for which Plan benefits were paid.

Reimbursement to the Asarco Health Plan shall not exceed the portion of such expenses or
benefits which are covered by legal action or settlement which is attributed to health care
benefits.

Reasonable legal expenses (attorney's fee and costs) incurred in obtaining payments from a third
party will not be considered as included in the aggregate amount subject to reimbursement.

Employees are required to notify Asarco promptly of the fact of such legal action, or of a
judgment or settlement in favor of the employee (or covered dependent) and make available all
information relevant to the administration of any provision of the Plan.

When you or one of your covered dependents is eligible for more than one plan of benefits, the
rules establishing which plan is primary and which one is secondary, are the following:

   •    The benefits of a group plan which covers the person other than as a dependent shall be
        determined before the benefits of a group plan which covers such person as a dependent.

   •    In the case of dependent children who are eligible for coverage under any other group
        insurance or group pre-payment plan, questions concerning which plan is primary shall
        be resolved using the Birthday Rule.

   Birthday Rule:     The benefits of the plan of the parent whose birthday falls earlier in a year
                      shall be primary and the benefits of the plan of the parent whose birthday
                      falls later in the year shall be secondary.




                                              - 12-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 83 of 325


   NOTE:        If your spouse's birthday falls first in the year and their employer's plan requires
                a contribution in order to obtain dependent coverage, your dependents will only
                be covered on a secondary basis by the Asarco Health Plan, even if you choose
                not to enroll them in that plan.

If a dependent child is covered under both parents plans, the primary plan for coverage will be
the plan covering the parent whose birthday comes earlier in the year, unless:

   (a)    The parents are separated or divorced and the parent with custody of the child has not
          remarried. In such a case, the benefits of the plan covering the child as a dependent of
          the parent with custody will be determined before the benefits of the plan covering the
          child as a dependent of the non-custodial parent.

   (b)    The parents are divorced and the parent with custody of the child is remarried. In such
          a case, the benefits of a plan covering the child as a dependent of the parent with
          custody will be determined before the benefits of a plan provided by the stepparent,
          whose benefits will be determined before those of the parent without custody.

   (c)    A court decree has established one parent as having financial responsibility for the
          medical, dental or other health care expenses of the child. In such a case, the benefits
          of the plan of that parent will be considered primary.

   •     When the rules do not establish an order of benefit determination, the benefits of the
         group plan which has covered the person for the longer period of time will be considered
         to be primary.

   •     When only one plan has a non-duplication (or coordination) of benefits provision the plan
         without such provision will determine its benefits first.

   •     If a person is being covered as an employee under two plans, the benefits of the plan
         which has covered the employee for the longer period of time will be determined first.

Medicare For Retired Employees

As a retired employee, if you or any of your dependents are eligible for Medicare, benefits under
the Comprehensive Plan for that person will be modified in order to avoid any duplication of
medical care benefits. The benefits otherwise provided under the Comprehensive Plan will be
reduced by the benefits available under Medicare Parts A and B, excluding benefits due to being
in the first eighteen months of end stage renal disease. The Comprehensive Plan is primary
(subject to the coordination of benefit provisions) for benefits due to being in the first eighteen
months of end stage renal disease.

Effective July 1, 1984, if you or one of your dependents is not enrolled for all coverages for
which you or your dependents have become eligible under Medicare, benefits available under
Medicare will nevertheless include benefits to which an individual would be entitled if enrolled
for all such coverage.

                            EMPLOYEE COMPLAINTS


                                                - 13-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 84 of 325


 Both the Company and the Union have designated representatives to review employee
 differences arising under the Health and Welfare Plan. If you have a question or complaint
about the administration of the Welfare Plans, you should contact your Company or Union
representative or both.

       TERMINATION OF BENEFITS WHILE HOSPITALIZED
In the event you or your dependent is hospitalized as a bed patient on the date your benefits
under the Comprehensive Plan terminate, in-hospital benefits and in-hospital medical-surgical
benefits shall be covered as provided in the Comprehensive Plan until the earlier of (a)
completion of the hospital stay; and (b) the date on which the hospital stay reaches the maximum
number of days provided in the Comprehensive Plan.


                     HOW TO FILE A MEDICAL CLAIM
If the provider is an in-network provider, they will normally submit the claims to the third party
administrator for you. If the provider is an out-of-network provider, take the claim form to the
attending physician or hospital and have it completed for the treatment or services you or a
dependent has received. Send the claim for and the supporting bill or invoice to the third party
administrator. Attach the bill or invoice to the claim form. The bill should show:

   •    Provider's Name, Address and Tax Identification Number.
   •    Patient's Name.
   •    Date of Service.
   •    Diagnosis.
   •    Service Provided.
   •    Charge for Services.

Remember, if the bill contains charges for items not covered by the Comprehensive Plan, you
may be financially responsible for their payment. In addition, if charges exceed reasonable and
customary fees and you enter into an agreement with the provider to pay the full charge, you may
be liable for any amount not paid by the Plan.

Notwithstanding anything in the Plan to the contrary, no benefits shall be payable under the Plan
to any Participant who fails to submit a claim for benefits hereunder within one year after the date
covered charges were incurred.


                             COMPREHENSIVE PLAN
                                      (Effective 09/01/2002)

All active full-time hourly employees and retirees shall be covered for medical coverage under
the Comprehensive Plan. Active full-time hourly employees shall have a choice of Health Plan
options as follows: Option 1, Comprehensive Coverage and Option 2, Opt Out. To elect Option
2, employees must supply proof of other health coverage.




                                               - 14-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 85 of 325


 If you decline enrollment for yourself or your dependents (including your spouse) because of
 other health coverage and you later lose that other coverage, you may be able to enroll yourself
or your dependents in this plan, provided that you request enrollment within 31 days after
your other coverage ends.

                        PREFERRED PROVIDER NETWORK

The Company has contracted with a Preferred Provider Organization to provide a network of
health care providers to Asarco Employees. Employees will retain the option of continuing to
secure care on a fee for service basis (out-of-network) or utilizing the network. For in-network
medical expenses, the employee co-payment shall be 10%. For out-of-network expenses the
employee co-payment will be 20%. In all other aspects, in-network coverage will be identical to fee
for service coverage.

                                     MANAGED CARE

The Company has contracted with a Managed Care Organization to implement a pre-certification
and utilization review program. This program includes the following:

       Pre-Certification for all In-Patient Courses of Treatment;
       Continuing Stay Review for all Confinements, and
       Case Management including alternative setting reviews and Discharge Planning.

Employees securing in-patient care on a fee for service basis (out-of-network) will be required to
contact the Managed Care Organization (pre-certify) prior to admission. Claims for in-patient
treatment submitted by employees who have failed to contact the Managed Care Organization
will be subject to a per confinement penalty of $250. Emergency admissions need to be pre
certified within 24 hours of admission. Scheduled admissions need to be pre certified at least 48
hours in advance of admission.

Employees obtaining in-patient care from network providers need not contact the Managed Care
Organization. This program shall include an appeals procedure.

The Plan will not restrict benefits for any length of stay in connection with childbirth for a
mother or newborn child for less than 48 hours following a normal delivery, or for less than 96
hours following a cesarean section. The Plan will not require that your health care provider
obtain authorization for prescribing a length of stay not in excess of the above periods.



                                        DEDUCTIBLE

A deductible of $200 per individual, $400 per family will be applied each calendar year before
benefits are paid under any provision of the Plan. This means you and your covered dependents
must each incur $200 in covered medical expenses to meet the deductible. The family deductible
means that once a family incurs deductible expenses of $400, no further deductible will be
required for any member of the family in that calendar year. A new deductible must be met each
calendar year - January 1 through December 31.


                                              - 15-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 86 of 325


                        MAXIMUM OUT-OF-POCKET EXPENSE

The Comprehensive Plan limits the amount any individual or family has to spend for covered
medical expenses to $2,000 in any calendar year, except for expenses incurred for treatment for
mental and nervous disorders and substance abuse and for the cost of surgery when you or your
dependent fail to get a required second surgical opinion. When $2,000 has been paid "out-of-
pocket" for covered medical expenses, the Plan pays 100% of covered medical expenses for the
remainder of that calendar year.

                                         LIFETIME MAXIMUM

The Comprehensive Plan limits the amount that will be paid out on behalf of any individual to
$1,000,000.

                                  MONTHLY CONTRIBUTIONS
                                               (Effective 09/01/2002)

               Single Employee ......................................................................$5
               Employee and One Dependent...............................................$10
               Family ....................................................................................$15

                                       WEEKEND ADMISSIONS

The cost of weekend admissions into the hospital is not a covered medical expense, unless the
admission is due to an emergency or medical necessity. Medical necessity can include
admissions through the emergency room following treatment for an accident, obstetrical
admissions and when surgery is performed within 24 hours. Any costs you pay for non-
emergency or unnecessary weekend admissions will not apply to your deductible or to the
$2,000 out-of-pocket maximum.

                  REASONABLE AND CUSTOMARY PAYMENT

All benefits payable are based on reasonable and customary charges. A "reasonable and
customary charge" is no more than the reasonable and customary charge for medical services or
supplies which will be covered by the Comprehensive Medical Expense Plan. The reasonable
and customary charge is the lowest of:


   •    The usual charge by the physician or other provider of services or supplies for the same
        or similar services or supplies, or
   •    The usual charge of most other physicians or other providers of similar training or
        experience in the same or a similar geographic area for the same or similar services or
        supplies, or
   •    The actual charge for the services or supplies.

Any amount that you are responsible to pay because a particular charge is in excess of the
reasonable and customary charge is not considered a covered medical expense and therefore is



                                                            - 16-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 87 of 325


 excluded in determining the deductible, the "Out-of-Pocket" maximum and the benefit
 payments under the Plan.

                                  COVERED EXPENSES

The Plan generally pays 90% of the following types of In-Network Covered Expenses or 80% of
Out-of-Network Covered Expenses that are in excess of the deductible incurred during a
calendar year. All benefits shall be payable on a usual and customary fee basis subject to the
annual deductible and co-payment.

A "Covered Medical Expense" is the reasonable and customary charge incurred for the following
services which are medically necessary in terms of generally accepted medical standards,
performed or prescribed by a physician or surgeon and rendered to a covered person for the
treatment of sickness or injury:

   •    Services of physicians and surgeons, including specialists,

   •    Hospital Expenses - Inpatient:
        (a) Hospital room and board charges, for up to 365 days in a semiprivate room for any
             one continuous confinement. If a covered person uses a private room, the Plan will
             pay the hospital's average semiprivate rate. If confinement is due to a mental and
             nervous disorder, substance abuse or tuberculosis, benefits will be limited to a
             maximum of 30 days per calendar year. The 365-day maximum will apply for any
             one continuous period of confinement whether due to one or more causes or for all
             successive periods of confinement due to the same or related cause or causes, unless
             between such period (1) you have returned to active full-time work or (2) your
             dependent has recovered and resumed normal activities for a continuous period of
             thirty days.
        (b) Services of a registered graduate nurse.
        (c) Other hospital services required for medical or surgical care or treatment, including
             intensive care.
        (d) One visitation per day from a covered person's physician for up to 365 days (up to
             30 days for mental and nervous disorders, substance abuse or tuberculosis), except
             if it is in connection with a surgical operation, any treatment related to surgery or
             dental work.

   •    Hospital Expenses - Outpatient:
        (a) Surgical treatment.
        (b) Emergency room treatment of a non-occupational accident if treatment begins
            within 48 hours of the accident, including X-ray and diagnostic services of the
            hospital staff, including residents or interns.
        (c) Treatment for the sudden and unexpected onset of an illness with severe symptoms
            requiring medical (non-surgical) treatment, if treatment begins within 48 hours after
            the onset of this illness.

   •    Treatment for mental and nervous disorders or substance abuse. When rendered on an
        outpatient basis in the outpatient department of a hospital or psychiatric facility, or in
        your physician's office, treatment for mental and nervous disorders or substance abuse is
        payable at 50% of the cost of treatment up to $30 per visit; and there is a 50-visit


                                              - 17-
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 88 of 325


     maximum benefit per covered individual in a calendar year.

•    Blood or blood plasma.

•    X-ray and other diagnostic laboratory procedures.

•    X-ray, radium and radiation therapy.

•    Chemotherapy services.

•    Anesthetics and their administration.

•    Electroshock therapy.

•    Oxygen and the rental of equipment for its administration.

•    Services of a private registered nurse for up to $2,500 a year when certified as necessary
     by the attending physician, provided the private registered nurse does not reside in your
     home or is not a member of your family.

•    Services of a physiotherapist who does not reside in your home or is not a member of
     your family. Treatment may take place in the outpatient department of a hospital or in a
     physician's office.

•    Services of a consulting physician for diagnostic or treatment purposes, but only if you or
     a dependent is a hospitalized bed patient. Services are limited to one consultation per
     hospital or extended care facility confinement.

•    Professional ambulance, other than air ambulance, for transportation to and from the
     hospital. For special treatment, scheduled airline, railroad or air ambulance may be used
     for transportation between the place in which a covered person becomes disabled and the
     nearest hospital qualified to treat that person's disability.

•    Bandages and surgical supplies, including appliances to replace impaired parts or to
     replace lost physical organs (prosthetic devices).

•    Rental of durable medical equipment when prescribed by a physician and required for
     therapeutic use solely by the patient, such as wheelchairs, walkers and crutches, hospital
     beds, traction equipment, renal dialysis machines and resuscitators and positive pressure
     machines for the administration of oxygen. At the sole discretion of the Company,
     durable medical equipment may be purchased rather than rented, and the Company will
     retain ownership of the purchased equipment. Benefits are not provided for such items as
     air conditioners, dehumidifiers, air purifiers, arch supports, corrective shoes, hospital
     beds, commodes or canes. Benefits are also not provided for monitoring or diagnostic
     devices such as blood pressure kits.

•    In-patient only. Drugs and medicines for covered persons which: (1) require a
     prescription by a physician to dispense and (2) are approved by the United States Food
     and Drug Administration for general use in treating the sickness or injury for which they


                                             - 18-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 89 of 325


        are prescribed. Outpatient prescription drugs are only available through the Asarco
        Prescription Drug Plan.

   •    Services of a licensed clinical psychologist.

   •    Services, supplies, or appliances provided in connection with treatment to correct or treat
        the temporo-mandibular joint (TMJ).

   •    Oral Surgery--benefits will be payable for the following surgical procedures:
        (a) Surgical removal of impacted teeth (soft tissue, partially covered by bone or
             completely covered by bone) or erupted teeth.
        (b) Dental root resection.
        (c) Alveolectomy of edentulous mouth and alveolectomy coincident to extractions.
        (d) Excision of radicular cyst or dentigerous cyst.
        (e) Osseous surgery.
        (f) Gingivectomies.
        (g) Suturing of gum as an independent procedure.
        (h) Ridge extension, including soft tissue graft.
        (i) Periodontal surgery.
        (j) Frenectomies.
        (k) Vestibuloplasties.
        (l) Osteotomies.
        (m) Osteoplasties.

   •    Maternity Benefits. For female employees and dependent wives, pregnancy, the resulting
        childbirth and related complications are covered on the same basis as any other sickness.
        Benefits are also payable for prenatal care, delivery by a certified nurse-midwife and/or
        physician and postpartum care in an approved maternity center.

        For dependent children, benefits are payable only for the complications of
        pregnancy. Complications of pregnancy include:

        (a)   Diseases of the mother which are not caused by pregnancy, but which coexist with
              pregnancy and may be adversely affected by it. Treatment of heart or kidney
              disease, pulmonary diseases and other similar diseases would be payable as
              complications of pregnancy.
        (b)   Conditions directly related to and caused by the pregnancy, which makes its
              management more complicated or difficult. These conditions include ectopic
              pregnancy, postpartum hemorrhage, toxemia of pregnancy and diseases for which
              Caesarean section or therapeutic abortion is performed.

                                        EXCLUSIONS

Expenses in connection with the following are not covered medical expenses:

   •    Services rendered prior to the effective date of coverage on account of the person who
        receives such services.




                                               - 19-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 90 of 325


   •    Services, supplies, or appliances provided in connection with treatment to alter, correct,
        fix, improve, remove, replace, reposition, restore or treat:
        (a) Teeth.
        (b) The gums and tissues around the teeth.
        (c) The parts of the upper or lower jaw which contain the teeth (the alveolar process
              and ridges).
        (d) The meeting of upper and lower teeth.
        (e) The chewing muscles.

These services, supplies or appliances are not covered even if they are: (1) needed because of
symptoms, sicknesses or injuries which affect some other part or parts of the body or (2)
provided in connection with any examination or treatment of the teeth, gums, jaw or chewing
muscles because of pain, injury, decay, malformation, disease or infection. However, the
following will be covered if they are otherwise covered medical expenses:

        (a)   Services, supplies or appliances needed to correct damage caused by an accident
              which happens while Comprehensive Plan Benefits for the covered person are in
              effect.
        (b)   Hospital room and board and other hospital services while the covered person is
              confined.
        (c)   Treatment of tumors.
        (d)   Treatment of cysts which do not result from infection of the teeth or gums.
        (e)   Surgery of the joint of the jaw.

   •    Services or supplies received because of cosmetic surgery or treatment. Cosmetic
        surgery or treatment is that which is performed on a body part in whole or in part in order
        to improve its appearance. Cosmetic surgery or treatment will be covered if it is:

        (a)   Reconstructive surgery when it is incidental to or follows surgery which results
              from sickness or injury of the involved body part.
        (b)   To correct deformities caused by sickness.
        (c)   To correct damage caused by an accident which happens while Comprehensive Plan
              benefits for the covered person are in effect.
        (d)   To correct birth defects which are outside the normal range of human variation.

   •    Examinations for the prescription or fitting of eyeglasses, hearing aids or dental
        appliances.

   •    Routine health check-ups and immunization procedures.

   •    For dependent children, abortions not performed for medical reasons, miscarriage, false
        labor, morning sickness or minor conditions associated with normal pregnancy.

   •    Any injury or illness arising out of or in the course of any employment for wage or profit.

   •    Sickness entitling the covered person to benefits under any Workers' Compensation or
        occupational disease law.




                                               - 20-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 91 of 325


   •    Services furnished by the U.S. Government or by an institution owned or operated by the
        U.S. Government.

   •    Care furnished under the laws of a national or state or local government of any country,
        except covered services for which you would have to pay.

   •    Injury or illness due to any act of war, either declared or undeclared, or by any act of
        international armed conflict or conflict involving armed forces of any international
        authority.

   •    Services for which there is no cost to a covered person or which are provided by any
        other plan which Asarco (or any company subsidiary to or affiliated with Asarco)
        contributes to or otherwise sponsors.

   •    Services received for convalescent or custodial care, regardless of the type of facility in
        which the care is rendered or the person who renders such care.

   •    Any treatment, services or supplies which are not medically necessary in terms of
        generally accepted medical standards, as determined by the Corporate Medical Director.

   •    Medical treatment or supplies considered research or experimental in nature in terms of
        generally accepted medical standards.

   •    Treatment programs not approved by the United States Food and Drug Administration
        and/or the American Medical Association.

   •    Marriage and family counseling services, regardless of who provides the services.

   •    Services or supplies rendered in connection with invitro fertilization procedures.

   •    Friday and Saturday hospital admissions, unless the admission is caused by an emergency
        or a medical necessity. Medical necessity may include admissions through an emergency
        room following treatment for an accident, obstetrical admissions and when surgery will
        be performed within 24 hours.

   •    Psychological testing.

   •    Weight reduction programs.

   •    Any type of travel expenses.

The benefits otherwise provided for covered medical expenses shall be reduced by any benefits
for or because of such expenses being available under the Health Insurance for the Aged Act and
Disabled Provisions for the United States Social Security act as enacted or thereafter amended
(Medicare).

The provisions of the preceding paragraph will not apply to a covered person while that person
remains in one or more of the following Classes:



                                               - 21-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 92 of 325


   (1)   An employee who is at least age 65 but less than age 70 and continues to be employed
         by Asarco.

   (2)   A dependent spouse who is at least age 65 but less than age 70 and is married to an
         employee in Class (1).

   (3)   An employee or a dependent who has end stage renal disease and is and remains
         entitled to enroll for Medicare solely due to the end stage renal disease, but only for the
         eighteen-month period which begins: (i) with the month in which the renal dialysis
         treatment starts for that person, or (ii) in the case of a kidney transplant, with the first
         month the employee or dependent is entitled to enroll for Medicare.




                                   PREVENTIVE CARE
                                For Employees and Dependents

The following preventive care benefits will be covered under the Plan with no deductible.
Amounts in excess of the stated scheduled limits are payable at the in-network or out-of-network
rates after the deductible is met.

Physical Examinations: Frequency of exams is based on age:                                   $150

     People who are:
     Age 61 and over are covered for an annual exam.
     Between ages 41 and 60 are covered for an exam every two years.
     Between ages 31 and 40 are covered for an exam every three years.
     Age 30 and below are covered for an exam every four years.

Screening Exams:

     One Pap Smear test annually:                                                              $30

     Sigmoidoscopy once every three years for people age 50 and over                         $225

     One mammogram annually for women age 50 and over and one
     mammogram every other year for women age 35 and over with a
     first degree relative with a history of breast cancer                                   $135

Well Baby Care:

     Birth (in the hospital after birth)                                                     $90
     2, 4, 6, or 8 weeks                                                                 $80/visit
     4, 6, 9, 12, 15, 18 and 24 months                                                   $80/visit




                                               - 22-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 93 of 325


 Immunizations: All immunizations, with the exception of those listed below which are covered
 at 100% up to the amounts listed, are covered at 90% in-network or 80% out-of-network after
the deductible is met.

       Hepatitis B                                                                          $50
       DPT                                                                                  $35
       Oral Polio                                                                           $30
       Influenza                                                                            $40
       EMMR                                                                                 $60




                          REHABILITATION CENTERS
If you or a covered member of your family is confined for treatment for substance abuse
(alcoholism or drug addiction) in an approved rehabilitation center, this treatment is covered by
the Comprehensive Plan if it is approved by a physician. The Plan pays 80% of the following
reasonable and customary charges:

   •    Room and board in a semiprivate room. If a covered person uses a private room, the Plan
        covers the center's most common semiprivate room rate.
   •    Hospital services, including physicians' and other specialists' services, supplies and
        equipment related to treatment.

Benefits for confinement in an approved rehabilitation center will be paid for a maximum of 30
days per calendar year. If a covered person is initially confined to a hospital and then transferred
to an approved rehabilitation center, both periods will be considered part of the same
confinement for purposes of determining the 30-days benefit period.

Expenses incurred for the treatment of substance abuse do not apply to the maximum out-
of-pocket expense feature.

                         EXTENDED CARE FACILITIES
Hospitalization may be necessary when you or a dependent is extremely ill or injured. However,
once the urgent need for hospital services has passed, an alternative setting may be more
appropriate. An extended care facility provides quality medical care for patients who no longer
need to be in a hospital. If a covered person's physician recommends that you or your dependent
be confined to an extended care facility for the ongoing treatment of the covered person's
condition, after the covered person meets the yearly deductible, the Plan pays 100% of the
reasonable and customary charges of an extended care facility for up to 365 days. If a covered
person is initially confined to a hospital and then transferred to an extended care facility, both
periods will be considered part of the same confinement for purposes of determining the 365-day
benefit period.



                                               - 23-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 94 of 325


 An extended care facility is not (other than incidentally) a place for rest, a home for the aged, a
 nursing home, a home for alcoholics or drug addicts or a hotel. Extended care benefits are not
paid for custodial care.

                                HOME HEALTH CARE
If a covered person is confined to your home and requires intermittent nursing services or
therapy, after that person meets the yearly deductible, the Plan will pay 100% of the charges of a
home health care agency as an alternative to confinement in a hospital or extended care facility.

The need for home health care services must be certified by the covered person's physician and
approved by the Plan Administrator. The home health care services which are received must be
performed by or under the supervision of a licensed registered or practical nurse, and must
follow a plan established and periodically reviewed by the covered person's physician.

The following benefits are payable under the Home Health Care Program:

   •    The cost of medical and surgical supplies that are essential for effectively treating or
        diagnosing the covered person's illness or injury during the home health care period.
        Supplies include, but are not limited to catheters, syringes and needles used in connection
        with prescription drugs or medicines, oxygen, irrigating solutions and surgical dressings.
   •    Visits in the patient's home by (1) a health worker on the agency's staff or (2) a person
        who is under contract or arrangement with such agency, for the purpose of providing one
        of the following types of services:

         (a)   Nursing service by either a registered nurse, licensed practical nurse or licensed
               visiting nurse.
         (b)   Physical, occupational, speech and respiratory therapy.
         (c)   Home health aid service.
         (d)   Medical social service.
         (e)   Nutritional guidance.
         (f)   Oxygen and its administration.
         (g)   Hemodialysis.
         (h)   Diagnostic service.

Visits are limited to 100 in a calendar year.

Home health care coverage does not provide benefits for:

   •    Physician's services, except for 10 physician's visits per year payable at 80%.
   •    Drugs and biologicals.
   •    Meals and housekeepers' services.
   •    Custodial care.
   •    Care for the deaf or blind.
   •    Care for tuberculosis, alcoholism or drug addiction.
   •    Care for senility, mental deficiency or mental retardation.
   •    Services of relatives or members of the patient's household.
   •    Care for mental or nervous illness other than for short-term convalescent care where the
        prognosis for recovery or improvement is deemed favorable.

                                                - 24-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 95 of 325


   •     Expenses for which payment or reimbursement is received by or for you as a result of
         legal action or settlement.
   •     Services, supplies or treatments which are not medically necessary in terms of generally
         accepted medical standards.
   •     Services, supplies or treatments for which no charge is made that you are legally obliged
         to pay or for which no charge would be made in the absence of this coverage.
   •     Services, supplies or treatments received for illness or injury due to war (declared or
         undeclared) or any act of war, if such illness or injury occurred while covered for these
         benefits.
   •     Services not furnished by an approved home health care agency.

                                      HOSPICE CARE
If a covered person is terminally ill, that person may be eligible for the care and support service
provided through a Hospice Care Program. The following conditions must be met to be eligible
for hospice services:

   (1)    The terminally ill person must be placed in a federal or state approved Hospice Care
          Program at the recommendation of his or her attending physician.

   (2)    The person will not be considered to be in that program until his or her physician gives
          certification of the existence of a terminal illness (that is unresponsive to currently
          available treatment) for which the life expectancy of the patient is six months or less.

   (3)    Treatment will consist of palliative care only (treatment to relieve symptoms or effects
          of a disease, while not providing a cure).

The following expenses will be covered if they are approved by the patient's attending physician
and billed through the approved Hospice Care Program:
   •    Room and board charges for the most common semiprivate room and board rate in a
        hospice facility connected to a hospital or in a freestanding hospice facility.
   •    Services of nurses and home health aides if they are deemed necessary by both the
        Hospice and the physician and provided by a registered nurse or a licensed practical
        nurse.
   •    Counseling (including bereavement counseling) expenses will be considered eligible
        charges for the patient or other covered family members provided:
          (a) It is determined by the terminal patient's physician that counseling is necessary
               for the enhancement of that individual's peace of mind.
          (b) The counseling takes place between the time of hospice enrollment and up to six
               months following the terminal patient's death.
          (c) The counseling is rendered by a licensed clinical psychologist, a psychiatrist or a
               member of a state-licensed social services organization.

   •     Respite Care--expenses incurred for limited period care at a hospital, approved hospice or
         extended care facility will be covered for a maximum of seven days. This will be
         provided if the patient's family is temporarily unable to attend to the terminally ill patient
         in the home environment.
   •     Local ambulance or commercial special transport--between the patient's home and
         hospice or hospice designated facility.

                                                 - 25-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 96 of 325


   •    Any other services provided through the Hospice Care program will be considered
        eligible charges provided they are deemed medically necessary in terms of generally
        accepted medical standards by the patient's attending physician. These include but are
        not limited to: physical, respiratory and speech therapy, dietary and nutritional
        assistance, medical supplies, medicines, furnished drugs, physician's services and rental
        of durable medical equipment for a short term. See benefit limitations below.


The following services are not covered hospice services:

   •    Purchase of durable medical equipment (long-term and/or short-term, unless purchase is
        less costly than rental).
   •    Any volunteer services or other services which would normally be provided free of
        charge.
   •    Private duty nursing (bedside nursing service rendered by one nurse to one patient, either
        in a hospital or patient's home, as opposed to a general duty nurse, who renders his or her
        services to a number of hospital patients).
   •    Services provided in the areas of both legal and/or financial advice, including but not
        limited to preparation and execution of wills, estate planning and liquidation, and
        financial investment.
   •    Counseling by clergy.
   •    Services of a person who ordinarily resides in the home of the terminally ill individual or
        member of his or her family or spouse's family.
   •    Any services not provided and billed through the Hospice Care Program and approved by
        the patient's attending physician.

                            SECOND SURGICAL OPINION

If a surgeon recommends surgery, a covered person may want to get a second opinion to help
determine whether surgery is the most appropriate course. The Comprehensive Plan pays 100%
of the reasonable and customary fee for the surgeon consulted for the second surgical opinion
and for any diagnostic X-rays or laboratory procedures, provided the surgeon examines the
covered person in person and submits a written report with the claim.

If the second opinion differs from the original recommendation of the surgeon in charge of the
case, these same benefits will also be payable for a third surgical opinion.

There are at least 14 surgical procedures that are often performed unnecessarily. If a covered
person's physician recommends any of these procedures, unless the surgery is an emergency,
diagnostic or involves a malignancy, that person will be required to get a second opinion. If this
is not done, the Plan will pay only 50% of the reasonable and customary cost of the surgery.

The following is the list of 14 procedures for which a second opinion is required:

   •    Foot surgery, excluding incision and/or drainage of cysts, removal of toenails.
   •    Laminectomy (removal of bony structure of the spine).
   •    Knee surgery.
   •    Cataract surgery.
   •    Cholecystectomy (removal of the gall bladder).


                                              - 26-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 97 of 325


   •    Hemorrhoidectomy (removal of hemorrhoids).
   •    Herniorrhaphy (repair of hernia).
   •    Total hip replacement.
   •    Nasal surgery.
   •    Tonsillectomy and adenoidectomy.
   •    Hysterectomy (removal of uterus).
   •    Prostate surgery.
   •    Mastectomy.
   •    Varicose vein ligation and stripping.

It is important to note that the Plan will pay 100% of the cost of a second surgical opinion (and a
third surgical opinion, if necessary, subject to previous limitations) for any surgery that is
recommended, not just the 14 required procedures.

                               PRE-ADMISSION TESTING

Frequently, when a covered person has to be hospitalized, that person will be asked to check in a
day early for tests. Often these tests can be performed on an outpatient basis. As an incentive
for the covered person to avoid the cost and inconvenience of an extra day's stay in the hospital,
after a covered person meets the deductible, the Plan pays 100% of all covered expenses for such
tests if that person receives them as a hospital outpatient or in the physician's office before that
person is admitted to the hospital.

                               AMBULATORY SURGERY

Advances in medical care make it possible for you or a dependent to have many operations
without staying overnight in a hospital. Ambulatory surgery can be performed in the outpatient
department of a hospital, in a physician's office or in a surgi-center. Ambulatory surgery allows
you or a dependent to have an operation and go home the same day. In most cases, this can
eliminate up to three days of hospitalization--the day before the operation, the day of the surgery
and the day after the operation.

There are a number of surgical procedures frequently performed on an inpatient basis which can
be performed outside the hospital. To encourage ambulatory surgery in those cases where it may
be appropriate, after you or a dependent meets the yearly deductible, the Plan pays 100% of all
reasonable and customary expenses for any of the following procedures when they are performed
on an outpatient basis in a surgical center, the outpatient department of a hospital or a physician's
office.

   •    Surgery, usually, customarily and actually performed under general or spinal anesthesia.
   •    Removal of skin lesions, or other tissue under the skin, but only when stitches are
        required.
   •    Removal or drainage of a large abscess.
   •    Varicose vein surgery.
   •    Removal of breast mass.
   •    Removal of anal tag.
   •    Tongue surgery (Frenulectomy).
   •    Drainage of middle ear (Myringotomy).
   •    Removal of labial lesion.

                                               - 27-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 98 of 325


   •     Freezing and biopsy of the cervix (cervical conization).
   •     Excision of Bartholin gland or cyst.
   •     Lymph node biopsy.
   •     Biopsy of mouth, tongue, gums and palate.
   •     Prostate or testicle biopsy.
   •     Antrotomy (Caldwell Luc).
   •     Inferior turbinate resection.
   •     Cataract surgery.
   •     Retina surgery.
   •     Excision of canthus.
   •     Conjunctivoplasty.
   •     Removal of nasal polyp.
   •     Removal of mucosal lining from sinus (Ethmoidectomy).

When you or a dependent has any of these procedures performed as a hospital inpatient, the Plan
will pay only 80% of the covered expenses.

            WEEKLY ACCIDENT AND SICKNESS BENEFITS
                           For Employees Only (Non-Occupational)

If you become totally disabled as a result of an accident or sickness so as to be prevented from
performing the duties of your occupation or employment, you will be eligible to receive weekly
benefits set forth in the Schedule of Benefits below. Benefits are payable as follow:

   (a)    The first day of disability due to an accident,
   (b)    The eighth day of disability due to sickness or the first day you are confined in a
          hospital, if earlier,
   (c)    The first day of disability if you undergo a surgical procedure performed in or out of a
          hospital.

Such weekly benefits are payable up to a maximum of 39 weeks during any one period of
disability, except that benefits terminate when pension benefits begin under the provisions of the
Company's Pension Plan. The amount of your weekly benefit is $250 per week.

If you return to work after receiving weekly benefits, you must be continuously employed on a
full-time active basis for a period of three (3) weeks before establishing eligibility for another
benefit period for the same reason or some disability related thereto.

Where successive disabilities occur for unrelated conditions but not separated by your return to
work, benefits will be paid for the second disability provided that if the second disability is
caused by sickness and there is no hospital confinement, the seven-day waiting period shall
apply.

In order for you to be eligible for weekly benefits, you must be under the care of a licensed
physician. Where the first day of disability precedes the date of the first treatment by a physician,
weekly benefits will be paid from the actual date on which the disability occurred if the disability
is caused by sickness and there is no hospital confinement or surgery required, the seven-day
waiting period shall apply.



                                               - 28-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 99 of 325


 Weekly benefits otherwise payable for any period of disability shall be reduced by any sum
 paid or payable for the same period of disability or any part thereof under any Workers'
Compensation or occupational disease law.

In the event you are receiving payments under any Workers' Compensation or occupational
disease law and suffer a non-occupational disability prior to your return to work, benefits will be
paid for such disability if it persists after your Workers' Compensation or occupational disease
payments have ceased, provided that if the disability is caused by sickness and there is no
hospital confinement, the seven day waiting period shall apply.

During the period you are absent from work under the Weekly Accident and Sickness Benefits
Program, you must continue to pay your monthly premiums.


                      OPT OUT OF MEDICAL COVERAGE
                                               (Effective 09/01/2002)

Active full-time hourly employees who elect to opt out of Asarco Health Plan coverage must
supply proof of other coverage. Employees who elect to opt out will receive the following
monthly reimbursement:

               Single Employee ....................................................................$25
               Employee and One Dependent...............................................$25
               Family ....................................................................................$25




                                                            - 29-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 100 of 325



                                VISION CARE PLAN
                                 For Employees and Dependents

                    ELIGIBILITY AND EFFECTIVE DATE
The administration and payment of Vision Care benefits are offered in conjunction with the
Asarco Health Plan. All active full-time hourly employees who have completed eight (8)
consecutive months of service are eligible for covered vision care benefits.

An eligible employee's coverage for vision care benefits includes coverage for their eligible
dependents, as defined under the Asarco Health Plan.

Coverage for employees and their eligible dependents will be continued during certain periods of
temporary absence in accordance with the following:

   •    Employees who become sick or disabled by a non-occupational illness or accident will be
        covered by the Plan for the period of their disability, not exceeding six (6) months.

   •    Employees who become sick or disabled by an occupational illness or accident will be
        covered by the Plan for the period of their disability, not exceeding twelve (12) months.

   •    Employees on layoff or leave of absence will remain eligible under the Plan for a period
        not to exceed ninety (90) days following the day when their layoff or leave of absence
        became effective. Employees on leave of absence for Union business will remain eligible
        under the Plan for the lesser of the duration of such leave or twelve (12) months.

                                 COVERED CHARGES
The following services and products (subject to the limitations set forth in the following pages)
are covered vision care expenses:

   •    Vision examination performed by an ophthalmologist, a physician licensed to perform
        vision examination, or an optometrist to evaluate the health and visual status of the eyes.

           Case History.
               Visual acuity (clearness of vision).
               External examination and measurement.
               Interior examination with ophthalmoscope.
               Pupillary reflexes and eye movements.
               Retinoscopy (shadow test).
               Subjective refraction.
               Coordination measurements (far and near).
               Tonometry (glaucoma test).
               Medicating agents for diagnostic purpose, if applicable.
               Analysis of findings with recommendations and a prescription, if required.

   •    Two glass lenses when prescribed by an ophthalmologist, a physician licensed to
        prescribe lenses, or an optometrist. Plastic lenses, tints equal to Tints #1 or #2, or contact


                                                - 30-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 101 of 325


        lenses may be substituted for glass lenses. Lenses must meet Z80.1 or Z80.2 standards of
        the American National Standards Institute.

   •    Frame adequate to hold lenses.

   •    Dispensing services performed by an ophthalmologist, a physician licensed to perform
        vision examinations and prescribe lenses, an optometrist or an optician who, based on the
        prescription, prepares or orders the eyeglasses or contact lenses selected, verifies lens
        accuracy and assures proper fit.

An eligible employee may utilize duplicate copies of the prescription for which a vision
examination benefit is payable under this program to obtain lenses and frames under a Company
safety glass program (if any), provided said employee is eligible under both programs and
complies with the procedures of each. However, benefit payments in the Schedule of Benefits
will not be payable for lenses and frames provided under a Company safety glass program.

                            SCHEDULE OF BENEFITS
Subject to the limitations and exclusions below, payment for covered vision care expenses will
be made in accordance with the following schedule:

   •    Vision Examination: Not more than $20 per examination.

   •                                 Lenses (Effective 09/01/2002):

        Not more than                $22.50 per single vision lens.
                                     $27.50 per bifocal lens.
                                     $32.50 per trifocal lens.
                                     $37.50 per lenticular lens.
                                     $27.50 per contact lens.

   •    Frames: Not more than $14 per frame.

   •    Benefit payments for lenses and frames include the allowance for dispensing services.

                                     LIMITATIONS
Benefits are payable for an eligible employee or dependent who has previously received benefits
under the Plan for a vision examination, lenses or a frame, for covered vision care expenses only
if two or more years have elapsed since:

   •    With respect to a vision examination, the date of such previous vision examination.

   •    With respect to lenses and/or frames, the date of such previous lenses and/or frames were
        ordered.

Lenses and/or frames will not be covered unless:



                                              - 31-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 102 of 325


   •    The new prescription differs from the most recent prescription in either eye by an axis
        change of 20 degrees of .50 diopter sphere or cylinder change; and

   •    the lenses improve visual acuity by at least one line on the standard eye chart.

                                       EXCLUSIONS
Covered vision care expenses do not include nor are benefits payable for:

        •   Benefit amounts paid for services or supplies for which the person is entitled to under
            any other Company program or as provided under a Company safety glasses program.

        •   Sunglasses (tinted lenses with a tint other than Tints #1 or #2 are considered to be
            sunglasses for the purposes of this exclusion).

        •   Extra charges for photosensitive or anti-reflective lenses.

        •   Drugs or any other medication not administered for the purpose of a vision
            examination.

        •   Medical or surgical treatment of the eye.

        •   Special or unusual procedures such as, but not limited to, orthoptics, vision training,
            subnormal vision aids, aniseikonic lenses and tonography.

        •   Vision examinations rendered and lenses or frames ordered:

               •   before the person became eligible for vision care benefits coverage; or
               •   after termination of vision care benefits coverage.

        •   Lenses or frames ordered while covered for vision care benefits, but not delivered
            more that 60 days after termination of such coverage.

        •   Services or supplies not prescribed as necessary by a licensed physician, optometrist
            or optician.

        •   Charges for services or supplies experimental in nature.

        •   Replacement of lenses or frames which are lost or broken unless at the time of such
            replacement the covered person is otherwise eligible under the frequency and, in the
            case of lenses, the prescription-change limitations previously described.

        •   Services or supplies which are covered by any workers' compensation laws or
            employer's liability laws or services or supplies which an employer is required by law
            to furnish in whole or in part.

        •   Services or supplies for which no charge is made that eligible employees or covered
            dependents are legally obligated to pay or for which no charge would be made in the
            absence of vision care benefits coverage.

                                               - 32-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 103 of 325



       •   Services or supplies which may be obtained by eligible employees or covered
           dependents from any governmental agency without cost by compliance with laws or
           regulations enacted by any federal, state, municipal or other government body.

                              PAYMENT OF BENEFITS
Vision care benefits will be paid for Covered Vision Care Expenses incurred by eligible
employees and covered dependents subject to the maximum, frequency and prescription change
limitations and exclusions.

Payment of approved claims will be made by the third party administrator.

                      NON-DUPLICATION OF BENEFITS
Benefits available to any individual under any provision of the Asarco Vision Care Plan will be
reduced to the extent like benefits are payable under provisions of any group insurance plan or
group prepayment plan.

If benefits have been paid under any provision of the Asarco Vision Care Plan on account of
services received and thereafter it is established that the charges for such services were not paid
by the Employee or the Dependent or the Employee or Dependent was otherwise reimbursed
therefore, the Company will be entitled to a refund of the amount of the benefits paid which is in
excess of the benefits that would have been payable based on the actual charges incurred and
paid by the Employee or Dependent.

The rules establishing the order of benefit determination are:

       •   The benefits of a Group Plan which covers the person other than as a dependent shall
           be determined before the benefits of a Group Plan which covers such person as a
           dependent.

       •   In the case of dependent children who are covered under any other group insurance
           plan or group prepayment plan, questions of primacy of coverage shall be resolved
           using the Birthday Rule. The benefits of the plan of the parent whose birthday falls
           earlier in a year shall be primary and the benefits of the plan of the parent whose
           birthday falls later in that year shall be secondary.
       •   When the rules do not establish an order of benefit determination, the benefits of a
           Group Plan which has covered the person for the longer period of time will be
           considered primary.

                                    PROOF OF LOSS
The Company or its insurance carrier shall have the right at its discretion to accept, or to require
verification of, any alleged fact or assertion pertaining to any claim for vision care benefits. As
part of the basis for determining benefits payable, the Company or its insurance carriers may
require appropriate diagnostic and evaluative materials.



                                               - 33-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 104 of 325




                               - 34-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 105 of 325



            PRESCRIPTION DRUG PLAN COVERAGE
                           For Employees, Retirees and Dependents

                   EFFECTIVE DATES AND ELIGIBILTY
Effective September 1, 2002, prescription drugs (those provided on an out-patient basis) are only
covered by the Asarco Prescription Drug Plan. Active full-time hourly employees and retirees
who desire prescription drug coverage for themselves and their dependents must enroll in the
Prescription Drug Plan. You will be able to enroll in the Plan when you are first employed with
Asarco, when you retire (during the open enrollments, if any) and whenever you have a
Qualified Change In Family Status.

General administration including eligibility, effective date of coverage, eligible dependents, and
termination of coverage is identical to the Asarco Health Plan.

                           COVERED PRESCRIPTIONS
Most drugs which require a prescription under federal law are covered. All drugs, including
insulin and insulin needles and syringes, must be prescribed in writing by a doctor licensed to
practice medicine in the United States. You must contact your local Human Resources
representative prior to obtaining prescriptions for Nicorette and other smoking cessation
medications, Retin-A, and birth control pills (birth control pills may be covered if they are
prescribed for a medical reason other than preventing pregnancy). In order to have coverage for
any of these prescriptions, you must have pre-authorization.

Please note that, certain controlled substances and several other prescribed medications may be
subject to other dispensing limitations and to the professional judgment of the pharmacist.

                                 RETAIL PROGRAM
The Retail Program is designed for initial and short-term prescriptions. Prescriptions may be
filled for up to a 30-day supply of medication at a local, participating pharmacy. The Plan will
generally pay 80% of the cost with no deductible for outpatient brand name prescriptions and
90% of the cost with no deductible for outpatient generic prescriptions purchased at a Network
Pharmacy. Prescriptions obtained at a non-Network Pharmacy will be reimbursed on the same
basis, but you must pay for the prescription yourself, then submit a claim to our Pharmacy
Benefit Manager for reimbursement. Such claims are only reimbursed up to the amount payable
to a Network Pharmacy.

Please note that if you do not present your Prescription Drug ID card or if you use a non-
participating pharmacy, you must pay the full price of the medication and file a claim form with
the Pharmacy Benefit Manager. Also, your out-of-pocket cost will be greater when you use a
non-participating pharmacy or if you fail to present your ID card. That’s because you will not
benefit from the discounts provided by member pharmacies.

                             MAIL ORDER PROGRAM


                                              - 35-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 106 of 325


 The Mail Order Program is designed for prescriptions that are taken on a long-term basis.
 Prescriptions may be filled for up to a 90-day supply of medication. If you require medication
to treat ongoing medical conditions – such as diabetes or high blood pressure – you’ll probably
want to take advantage of this program. The Plan will generally pay 100% of the cost with a $10
deductible for brand name prescriptions and a $5 deductible for generic prescriptions supplied
through the Mail Order Program. Normally, your prescriptions will be delivered to your home
within 14 days. If you are not sure if your medication is covered, check with your local Human
Resources representative or the Pharmacy Benefit Manager.

How to use the mail order program

1.    The employee/covered dependent should ask their doctor to prescribe the medication(s) for
a 90-day supply, plus refills. If an employee/covered dependent is presently taking medication,
they should ask their doctor for a new prescription.

2.    Complete the Patient Profile Questionnaire which is distributed to all employees who join
the program with their ID Card and informational brochure. They need only complete this profile
with their first claim. All questions must be answered and the social security number must be
included. Mail the completed Patient Profile Questionnaire to the Mail Order Service Provider
using the postage-paid reply envelope included with your informational materials.

3.    Mail the completed original prescription to the Mail Order Service Provider using the
postage-paid reply envelope included with your informational materials.

4.   The Mail Order Service Provider will process the order and send the medications either via
U.S. Mail or UPS, along with re-order instructions for future prescriptions and refills. Although
most orders are filled within 48 hours of receipt, please allow 14 days from the time an order is
mailed to when it is received.

                           MONTHLY CONTRIBUTIONS
Employees enrolled in the Prescription Drug Program will be required to pay the following
monthly contributions which will be collected on a payroll deduction basis (Retirees will be
required to authorize a deduction from their monthly pension check):

                  Single Employee ................................................................$3
                  Employee and One Dependent...........................................$7
                  Family ..............................................................................$11

If your coverage is terminated, you may be able to continue coverage under COBRA.




                                                         - 36-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 107 of 325



                            ASARCO DENTAL PLAN

                  ELIGIBILTIY AND EFFECTIVE DATES
You will become eligible for the Asarco Dental Plan on the first day of the calendar month
coincident with or next following completion of eight consecutive months of employment.

Your dependents are eligible for benefits under this Plan on the later of:
   (a) the date you are eligible for benefits, or
   (b) the date you acquire your first eligible dependent, provided that you had benefits for
        yourself on the day immediately preceding that date.

If on the effective date of the benefits for your dependents, a dependent is confined in a hospital,
medical benefits for that dependent shall not be effective as to the conditions for which the
dependent is hospitalized until he or she has been discharged from the hospital. Confinement of a
newborn child will not postpone benefits for such child.

When you become eligible for benefits you will be automatically enrolled, but you will be asked
to sign a card indicating whether you have dependents, as defined herein.

                                      DEFINITIONS
"Area" means a metropolitan area, a county or such greater area as is necessary to obtain a
representative cross section of dentists rendering such services or furnishing such supplies. You
should discuss the treatment plan with your dentist before treatment starts to assure that you
understand the services the dentist will be performing and the costs involved.

"Course of Treatment" in the case of covered dental services means a planned program of one or
more services or supplies, whether rendered by one or more dentists, for the treatment of a dental
condition diagnosed by the attending dentist as a result of an oral examination. The course of
treatment commences on the date a dentist first renders a service to correct or treat such
diagnosed dental condition.

"Dental Expense Period" means a period beginning with any January 1 and ending with the next
following December 31.

"Dentist" means an individual who is duly licensed to practice dentistry or perform oral surgery
and who is operating within the scope of his license and as used herein, the term "dentist" also
includes a licensed physician authorized by his or her license to perform the particular dental
services he or she has rendered.

"Dependent" means:

   (a)   The employee's spouse, including a spouse who is a retiree of the Company.
   (b)   The employee's unmarried child(ren) under age 19. Such child(ren) include:
         (1) A natural child of the employee
         (2) Stepchildren (i.e.: the natural children of the employee's spouse) residing in the
              employee's household and supported solely by the employee,

                                               - 37-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 108 of 325


         (3)   A legally adopted child of the employee or his or her spouse, or
         (4)   A child who has been committed by a court of law to the custody of the employee
               or his or her spouse.
         All cases of dependents in categories (2), (3) or (4) must be submitted to your unit
         Human Resources Department for Corporate approval.
   (c)   With respect to employees prior to their retirement only, the employee's unmarried
         child(ren) after attainment of age 19 but not beyond attainment of age 23 if any such
         child is a full-time student at any accredited school, college or university principally
         dependent upon the employee for maintenance and support. Proof of enrollment must
         be submitted to your unit Human Resources Department each semester.
   (d)   The employee's unmarried child(ren) over age 19, if upon attaining age 19 such
         child(ren) is (are) totally and permanently disabled or mentally incapacitated. Such
         child(ren) must be principally dependent upon the employee for maintenance and
         support. Dependent children must be certified by the Corporate Medical Director as
         suffering from an illness or injury which prevents them from living independently of
         their parents and obtaining employment.
   (e)   Children for whom coverage is required under a Qualified Medical Child Support
         Order (QMCSO). All cases must be submitted for approval. A Qualified Medical Child
         Support Order (QMCSO) is an order, decree, judgment, or administrative notice
         (including a settlement agreement) issued by a domestic relations court or other court of
         competent jurisdiction, or through an administrative process established under state law
         which has the force and effect of law in that state, which meets the requirements of
         Section 609 of ERISA.

The term "dependent" does not include any person who is eligible for benefits under this Plan as
an employee. Also, no person shall be a "dependent" of more than one employee.

Written proof that a child qualifies as a dependent after attainment of age 19 must be furnished
by the employee to the Company.

"Ordered" in the case of dentures, means that impressions have been taken from which the
dentures will be prepared; and in the case of fixed bridgework, restorative crowns inlays or
onlays, that the teeth which will serve as abutments or support or which are being restored have
been fully prepared to receive, and impressions have been taken from which will be prepared the
bridgework, crowns, inlays or onlays.

"Usual, reasonable and customary charge" means the following:

   Usual:         The "usual" fee is that which the individual dentist or physician most
                  frequently charges the majority of his private patients for a given service
                  rendered or supply furnished.

   Reasonable: A fee is "reasonable" when it meets the above two criteria or is justifiable,
               taking into consideration unusual circumstances or complications requiring
               additional time, skill and experience in connection with a particular dental
               service or procedure in question.

   Customary: A fee is "customary" when it is within the prevailing range of fees charged by
              dentists or physicians of similar training and experience, for the same service


                                              - 38-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 109 of 325


                  rendered or supply provided within the same area (metropolitan area, county
                  or such greater area as is necessary to obtain a representative cross-section of
                  dentists' or physicians' fees).

                                  THE DEDUCTIBLE
The Dental Expense Benefits Plan requires that each covered person meet a $100 individual
deductible for restorative and prosthodontic dental expenses before any benefits are paid from
the Dental Expense Benefits Plan. A new deductible must be met each calendar year-January 1
though December 31. This means you and your covered dependents must each incur $100 in
covered dental expenses to meet the deductible. There is no deductible for preventive dental
expenses.

If you or one of your dependents incur covered dental expenses for services performed or
prescribed by a dentist while covered under this Plan, benefits will be paid in an amount equal to
the applicable percentage of the usual, reasonable and customary charge, for such dental
expenses, as set forth below.

                     MAXIMUM BENEFIT AVAILABLE
The maximum benefit payable for all covered dental expenses incurred during any one dental
expense period shall be $1,000 for each individual. The lifetime maximum orthodontic benefit is
$650 per covered person.

                        COVERED DENTAL EXPENSES
Covered dental expenses are those incurred in connection with the following dental services:

(a) PREVENTIVE SERVICES - The Plan pays 100% of the usual, reasonable and customary
    charges for the following preventive services.

Covered Dental Services                          Limits

1. Routine oral examinations and                 Not more than twice in any twelve-month
   prophylaxis (scaling or cleaning              period, if separated by at least 150 days.
   of teeth).

2. Topical application of fluoride.

3. Space Maintainers.                            To replace prematurely lost teeth for
                                                 children under age 19.

4. Emergency treatment for the temporary
   relief of pain which does not affect a
   definite cure.




                                              - 39-
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 110 of 325


 (b) RESTORATIVE SERVICE - After you have satisfied the $100 deductible, the Plan pays
     85% of usual, reasonable and customary charges for the following restorative services.
     You pay 15%.

Covered Dental Services                           Limits

1. Dental X-rays, including full mouth and        One full-mouth X-ray in any period of thirty-six
   supplementary bitewing X-rays as are           (36) consecutive months and one supplemental
   required in connection with the diagnosis      bitewing X-ray in any period of six (6)
   of a specific condition requiring treatment.   consecutive months.

2. Fillings.                                      Amalgam, silicate, acrylic, synthetic porcelain,
                                                  or composite filling restorations to restore
                                                  diseased or accidentally broken teeth.

3. Inlays, onlays, gold fillings or crown         To restore diseased or accidentally broken
   restorations.                                  teeth, as a result of extensive caries or fracture,
                                                  but only when they cannot be restored with the
                                                  type of filings described above.

4. Extractions and oral surgery.                  If not covered by your medical benefits.

5. General anesthetics.                           When medically necessary and administered
                                                  in connection with oral or dental surgery.

6. Periodontal treatment and treatment of
   other diseases of the gums and tissues
   of the mouth.

7. Endodontic treatment, including root canal
   therapy.

8. Injection of antibiotic drugs.                 When administered by the attending dentist.

9. Repair or recementing of crowns, inlays,       When performed more than six (6) months
   onlays, bridgework or dentures.                after installation.

10. Relining or rebasing dentures.                When performed more than six (6) months after
                                                  the installation, but not more that once in
                                                  thirty-six (36) months.

(c)   PROSTHODONTIC SERVICES - After you have satisfied the $100 deductible, the Plan
      pays 50% of the usual, reasonable and customary charges for the following prosthodonic
      services. You pay 50%.

Covered Dental Services                           Limits




                                              - 40-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 111 of 325


 1. Initial installation of fixed bridgework   Includes precision attachments and any
    (including inlays and crowns as abutments) any adjustments during the six (6) months
    or of partial or full removable dentures.  following installation.

2. Replacement of an existing partial or full    Only if satisfactory evidence presented that:
   removable denture or fixed bridgework by      - the service required to replace one or more
   a new denture or by new bridgework,           teeth extracted after the existing denture or
   or the addition of teeth to an existing       bridgework is installed; or
   partial removable denture or to               - the existing denture or bridgework cannot
   bridgework.                                   be made serviceable and, if it was installed
                                                 (and paid for) under the Plan, at least five
                                                 years have elapsed prior to its replacement, or
                                                 - the existing denture is an immediate temporary
                                                 denture, it cannot be made permanent and
                                                 replacement by a permanent denture takes place
                                                 within twelve (12) months from the date of
                                                 initial installation of the immediate temporary
                                                 denture.

NOTE: Normally, dentures will be replaced by dentures; but if a professionally adequate result
      can be achieved only with bridgework, such bridgework will be a covered dental
      expense.

                        ORTHODONTIC TREATMENT
Orthodontic diagnostic procedures and treatment consisting of surgical therapy and/or appliance
therapy, including related oral examinations, shall be covered under the Asarco Dental Plan.
Coverage shall be limited to dependent children under 19 years of age. Charges shall be
reimbursed at 50% of the usual, reasonable, and customary charge. There shall be a lifetime
maximum per covered individual of $650.

                   PREDETERMINATION OF BENEFITS
Predetermination of benefits provides a procedure for you, your dentist and the Plan to review
the proposed course of treatment and expected charges before services begin and expenses are
incurred. Through this procedure both you and your dentist will know ahead of time how much
the Plan will pay and what you will have to pay.

If a course of treatment can reasonably be expected to involve covered dental expenses of
$250.00 or more, a description of the procedures to be performed and an estimate of the dentist's
charges should be filed with the Plan prior to the commencement of the course of treatment.

The Plan will notify you and the dentist of the benefits certified as payable based upon such
course of treatment. In determining the amount of benefits payable, consideration will be given
to alternate procedures, services, or courses of treatment based on accepted standards of dental
practice, that may be performed for the dental condition concerned in order to accomplish a
satisfactory result. The amount included as a certified dental expense will be the appropriate
amount as provided herein.


                                              - 41-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 112 of 325



 If a description of the procedures to be performed and an estimate of the dentist's charges are
not submitted in advance, the Plan reserves the right to make a determination of benefits payable
taking into account alternate procedures, services or courses of treatment, based on accepted
standards of dental practice. To the extent verification of covered dental expenses cannot
reasonably be made by the Plan, the benefits of the course of treatment may be for a lesser
amount than would otherwise have been payable.

This predetermination requirement will not apply to courses of treatment under $150.00 or to
emergency treatment, routine oral examinations, X-rays, prophylaxis and fluoride treatments.

                                     LIMITATIONS
The following limitations apply:

(a) Restorative:

   (1)   Gold, baked porcelain restorations, crowns and jackets. If a tooth can be restored with
         a material such as amalgam, payment of the applicable percentage of the charge for that
         procedure will be made toward the charge for another type of restoration which you and
         your dentist may select. In such case, you are responsible for the balance of the
         treatment charge.

   (2)   Reconstruction. Payment based on the applicable percentage will be made toward the
         cost of procedures necessary to eliminate oral disease and to replace missing teeth.
         Appliances or restorations necessary to increase vertical dimension or restore the
         occlusion are considered optional and their cost remains your responsibility.

(b) Prosthodontics:

   (1)   Partial Dentures. If a cast chrome or acrylic partial denture will restore the dental arch
         satisfactorily, payment of the applicable percentage of the cost of such procedure will
         be made toward a more elaborate or precision appliance that you and your dentist may
         choose to use; and the balance of the cost remains your responsibility.

   (2)   Complete Dentures. If, in the provision of denture services, you and your dentist
         decide on personalized or specialized techniques as opposed to standard procedures,
         payment of the applicable percentage of the cost of the standard denture services will
         be made toward such treatment and the balance of the cost remains your responsibility.

   (3)   Replacement of Existing Dentures. Replacement of an existing denture will be a
         covered dental expense only if the existing denture is unserviceable and cannot be made
         serviceable. Payment based on the applicable percentage will be made toward the cost
         of services which are necessary to render such appliances serviceable. Replacement of
         prosthodontic appliances will be a covered dental expense only if at least five years
         have elapsed since the date of the initial installation of that appliance, except as
         provided on page 40 under the heading "Covered Dental Services".




                                              - 42-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 113 of 325


                                      EXCLUSIONS
Expenses incurred for any of the following services are not covered dental expenses:

   (a) Services for which benefits are otherwise provided under the Comprehensive Medical
       Expense Plan;
   (b) Treatment by other than a dentist, except that scaling or cleaning of teeth and topical
       application of fluoride may be performed by a licensed dental hygienist if the treatment
       is rendered under the supervision and guidance of the dentist;
   (c) Veneers or similar properties of crowns and pontics placed on or replacing teeth, other
       than the ten upper and lower anterior teeth;
   (d) Services or supplies that are cosmetic in nature, including charges for personalization or
       characterization of dentures;
   (e) Prosthetic devices (including bridgework) crowns, inlays and onlays, and the fitting
       thereof which were ordered while the individual was not covered for Dental Expense
       Benefits or which were ordered while the individual was covered for Dental Expense
       Benefits but are finally installed or delivered to such individual more than sixty (60)
       days after termination of coverage;
   (f) Replacement of a lost, missing, or stolen prosthetic device;
   (g) Failure to keep a scheduled visit with the dentist;
   (h) Replacement or repair of an orthodontic appliance;
   (i) Services or supplies which are covered by any Workers' Compensation laws or
       employer's liability laws;
   (j) Services rendered through a medical department, clinic or similar facility provided or
       maintained by the patient's employer;
   (k) Services or supplies for which no charge is made that you or a covered dependent is
       legally obligated to pay or for which no charge would be made in the absence of Dental
       Expense Benefits;
   (l) Services or supplies which are not necessary, according to accepted standards of dental
       practice, or which are not recommended or approved by the attending dentist;
   (m) Services or supplies which do not meet accepted standards of dental practice, including
       charges for services or supplies which are experimental in nature;
   (n) Services or supplies received as a result of dental disease, defect or injury due to an act
       of war, declared or undeclared;
   (o) Services or supplies which may be obtained by you or a covered dependent from any
       governmental agency without cost by compliance with laws or regulations enacted by
       any federal, state, municipal or other government body;
   (p) A spare or a duplicate prosthetic device or any other duplicate appliance;
   (q) Sealants and for oral hygiene and dietary instruction;
   (r) The completion of any claim forms;
   (s) A plaque control program;
   (t) Implantology;
   (u) Orthodontic procedures and treatment.

         PROVISIONS APPLICABLE IF YOU LEAVE WORK
Layoff



                                             - 43-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 114 of 325


 Dental Expense Benefits for, you and your dependents will terminate at the end of the month in
 which your layoff commences. If you return to work from a layoff after such benefits on your
benefits on your first day of work.

Leave of Absence

Dental Expense Benefits for you and your dependents will continue for sixty (60) days of you are
on leave of absence for union business after which time such Benefits may be continued if you
make monthly contributions shall reflect current experience and shall be due no later than the
fifteenth day of each month.

Strike

Dental Expense Benefits for striking employees and their dependents will terminate at the end of
the month the strike commences. In the event of a strike, continuation of coverage of the Dental
Expense Plan Benefits may be available under certain conditions.

Disability

With respect to your Dental Expense Benefits:
   (i)    If you are absent from work due to a non-industrial accident or illness, your benefits
          will continue until the earlier of the end of the 12th month following the month in
          which the accident or illness occurred, or the end of the month in which your
          retirement commences.
   (ii)   If you are absent from work due to an industrial accident or an occupational disease
          and are collecting Worker's Compensation benefits, your benefits will continue until
          the end of the 24th month following the month in which your retirement commences.
          If your receive a lump sum Worker's Compensation award in lieu of weekly benefits,
          the period of time upon which the lump sum was based shall be used in determining
          your continued eligibility.

          DISCHARGE/ TERMINATION OF EMPLOYMENT
In the event you are discharged by the Company, Dental Expense Benefits for you and your
dependents will terminate as of your date of discharge. If it is subsequently determined that you
were improperly discharged, there shall be no break in such coverages and benefits. Please see
page 59 for an explanation of your rights to continuation coverage ("COBRA").

                     DATE EXPENSES ARE INCURRED
Benefits are provided only for covered dental expenses incurred on a date when coverage by the
Dental Expense Benefits provision in this section is in effect for you or your dependent who
incurs such expense. Covered dental expenses are considered to have been incurred on the date
when the applicable dental services, supplies, or treatments are received, except as otherwise
provided under "Exclusions."

                             HOW TO FILE A CLAIM


                                              - 44-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 115 of 325


 When you need to file a claim, you can obtain claim forms from your Human Resources office.
 The claim form includes instructions on how to fill it out and where to send it.

If predetermination of benefits is not applicable, complete your portion of the claim form and
have your dentist complete his or her portion.

You and the attending dentist should make sure that all questions are answered fully. An
incomplete claim may cause delay in payment of your claim. Claims must show:

         •   Provider's Name and Address.
         •   Patient's Name.
         •   Date of Service.
         •   Services Provided.
         •   Charge of Services.

If predetermination of benefits is applicable, the dentist should contact the third party
administrator before performing the services.

Remember, if the claim contains charges for items not covered by the Dental Expense Benefits
Plan, you may be financially responsible for their payment. In addition, if charges exceed usual,
reasonable and customary fees and if you enter into an agreement with the provider to pay the
full charge, you may be liable for any amount not paid by the Plan.

                      NON-DUPLICATION OF BENEFITS
Benefits available to any covered individual under any provision of the Asarco Dental Plan will
be reduced to the extent like benefits are payable under provisions of any group insurance plan or
group prepayment plan.

If benefits have been paid under any provision of the Asarco Dental Plan on account of services
received and thereafter it is established that the charges for such services were not paid by the
Employee or the Dependent or the Employee or Dependent was otherwise reimbursed therefore,
the Company will be entitled to a refund of the amount of the benefits paid which is in excess of
the benefits that would have been payable based on the actual charges incurred and paid by the
Employee or Dependent.

The rules establishing the order of benefit determination are:

         •   The benefits of a Group Plan which covers the person other than as a dependent
             shall be determined before the benefits of a Group Plan which covers such person
             as a dependent.
         •   In the case of dependent children who are covered under any other group insurance
             plan or group prepayment plan, questions of primacy of coverage shall be resolved
             using the Birthday Rule. The benefits of the plan of the parent whose birthday
             falls earlier in a year shall be primary and the benefits of the plan of the parent
             whose birthday falls later in that year shall be secondary.
         •   When the rules do not establish an order of benefit determination, the benefits of a
             Group Plan which has covered the person for the longer period of time will be
             considered primary.

                                               - 45-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 116 of 325




                                   PROOF OF CLAIM
The Third Party Administrator reserves the right at its discretion to accept, or to require
verification of, any alleged fact or assertion pertaining to any claim for Dental Expense Benefits.
As part of the basis for determining benefits payable, the Third Party Administrator may require
submission of X-rays and other appropriate diagnostic and evaluative materials. When these
materials are unavailable, and to the extent that verification of covered dental expenses cannot
reasonably be made by the Third Party Administrator based on the information available,
benefits for the course of treatment may be for a lesser amount than that which otherwise would
have been payable.

           BENEFITS AFTER CESSATION OF COVERAGE
If you or a covered dependent is receiving dental care or treatment for a prosthetic device which
was ordered prior to the date Dental Expense Benefits cease, benefits will be payable as though
the coverage had continued in force for expenses incurred for such dental care or treatment,
provided that no benefits will be payable for any covered dental expenses on account of such
prosthetic device after the date sixty (60) days following the date the coverage ceased and
provided further that such prosthetic device must be delivered within sixty (60) days following
the date the coverage ceased.




                                              - 46-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 117 of 325



                   FLEXIBLE SPENDING ACCOUNTS
                                  (For Active Employees only)

Almost everybody has some type of out-of-pocket medical expense and, in this day-and-age,
many people also have dependent care expenses. Effective January 1, 2003, with a Flexible
Spending Account (FSA), you, as an active full-time hourly employee, can stretch your health
care and dependent care budget and, at the same time, reduce your income taxes. That’s because
the FSAs let you get reimbursed for eligible health and dependent care expenses with tax-free
dollars.

With FSAs, you can choose to:
    Participate in the Health Care FSA
    Participate in the Dependent Care FSA
    Participate in both FSAs
    Not participate

                                   HOW FSAS WORK
You should estimate your out-of-pocket health care and dependent care expenses for the
upcoming year. (You can do this by looking at this year’s costs and then increasing them a little
to account for inflation.) Then, select the amount you want to contribute to one or both FSAs.
You can contribute between:

       $240 and $2,400 annually to the Health Care FSA
       $480 and $4,800 annually in the Dependent Care FSA

Your contributions are deducted from your pay before taxes have been taken out. When you
have an eligible health or dependent care expense, pay it. Then, you can file a claim for
reimbursement with tax-free dollars from your account.

                          REIMBURSABLE EXPENSES
Each FSA reimburses different expenses. You can use the Health Care FSA to pay for expenses
not covered under your health care options or your spouse’s plan. This includes deductibles and
your share of the cost of care, the difference in cost between a private and semi-private room,
dental expenses, the cost of glasses or contact lenses, and cosmetic surgery. It also includes out-
of-pocket costs for care received by an IRS defined dependent who isn’t covered under the
Asarco Health Plan.

For purposes of this account, the IRS considers an eligible dependent to include your spouse and
dependents who lived with you as a member of your household for the entire Plan year or are
related to you. Such dependents must also be a U.S. citizen or resident, or a resident of Canada
or Mexico for some part of the calendar year in which your tax year began, and you must provide
over half of that person’s total support for the calendar year. In all instances, such persons must
have been your (IRS defined) dependents at the time the medical services were provided or at the
time you paid the expenses.




                                              - 47-
        Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 118 of 325


 When it comes to the Dependent Care FSA, you can get reimbursed for the cost of care that
 allows you and your spouse (if you’re married) to work. Eligible expenses include after-school
care, day care centers, summer day camp, senior centers or home health aids. Care provided by a
dependent or spouse is not covered.

Under the Dependent Care FSA, an eligible dependent as defined by the Internal Revenue
Service (IRS) is any of the following persons:

        Dependent child under age 13
        Disabled, dependent spouse or parent
        Dependent child over age 13 who is physically or mentally incapable of caring for
         himself or herself, spends at least 8 hours a day in your home, and is listed as a dependent
         on your federal income tax return

If you are unsure as to whether or not someone qualifies as an eligible dependent for purposes of
either the Health Care or the Dependent Care Flexible Spending Accounts, or if you have
questions concerning the types of expenses which may be reimbursed through these accounts,
please contact your personal accountant or ask your Human Resources representative to provide
you with a copy of the IRS regulations.

                                          IRS RULES
Here are a couple of IRS rules to keep in mind regarding FSAs.

♦   The IRS requires that any money left in your FSAs at the end of the year is forfeited.
    This acts as a balance to the tax savings available through the accounts. However, you have
    until March 31st of the following year to claim reimbursement. To reduce the risk of losing
    any money, you should estimate your expenses carefully.

♦   To use the Dependent Care FSA, you must provide your care-giver’s taxpayer identification
    or Social Security number. Without this number, you will not be eligible for reimbursement.

                                   TAX ADVANTAGES
The best way to illustrate the tax advantages of the FSAs is by giving an example. Let’s assume
you and your spouse, filing jointly, have a combined income of $50,000. Also assume that
you’ll have $1,500 in out-of-pocket health expenses during the upcoming year and another
$3,000 in eligible dependent care expenses. The following table shows the difference between
participating in the FSAs and paying these expenses on your own.




                                           If you Participate In The      If You Do Not
                                           FSAs…                          Participate…


                                                - 48-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 119 of 325



      Your Annual Income                  $50,000                       $50,000
      Before-Tax Contributions to         -$4,500                       -$0
      FSAs
      Taxable Income                      $45,500                       $50,000
      Estimated Federal Income &          -$8,903.25                    -$9,922.50
      FICA Taxes*
      Expenses Paid After Taxes           -$0                           -$4,500
      Take Home Pay After Taxes           $37,596.75                    $35,577.50
      And Expenses
      Difference                                                $2,019.25
   *Taxes are based on 2001 tax tables.

As you can see, by participating in the FSAs, your take-home pay will increase by $2,019.25.

                         DEPENDENT CARE TAX CREDIT
If you are currently paying for dependent care, you’re probably familiar with the federal income
tax credit. It allows you to subtract a percentage of your expenses for care from the federal taxes
you owe. The percentage depends on your taxable household income.

IRS rules say you cannot claim the same expenses under both the Dependent Care FSA and the
federal tax credit. So, you’re going to have to determine which offers a better tax advantage to
you. As a general rule of thumb, if your taxable income is $24,000 or more, the Dependent Care
FSA may be more beneficial to you. Of course, you may want to seek professional tax advice
before making this decision.

If your coverage is terminated, you may be able to continue coverage under COBRA.




                                              - 49-
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 120 of 325



                      GROUP LIFE INSURANCE PLAN
In the event of your death, an amount, as set forth in the Schedule of Insurance, will be payable
to any person you designate as beneficiary. You have the right to change the beneficiary at any
time by completing and returning to the Company the proper beneficiary change form.

In the event of your accidental death, an amount, as set forth in the Schedule of Insurance, will
also be payable to the person you designate as beneficiary of your life insurance benefits.
Benefits for accidental death are paid only if death occurs within nine months after the injury and
is not caused by disease or infection (except pyogenic infection which shall occur through an
accidental cut or wound), suicide, attempted suicide or intentionally self-inflicted injury or any
act of war or warlike action in time of peace.

If the loss is caused wholly or partly, directly or indirectly, by injury arising out of or in the
course of any employment for wage or profit the amount of benefit may be reduced.

                            SCHEDULE OF INSURANCE
Effective 9/1/02, the amount of each eligible active full-time employees life insurance is
$26,500.

Effective 7/1/04, the amount of each eligible active full-time employees life insurance is
$28,000.

                      COVERAGE AFTER RETIREMENT
If you retire on a pension under the provisions of the Pension Plan, the amount of your Life
Insurance after retirement will be as follows:

(a)    Employees Retired Prior to July 1, 1990
       30% of the amount of insurance in force on your life on the day before your date of
       retirement or $3,000 whichever is greater.
(b)    Employees Retired on and After July 1, 1990
       $4,500 of Life Insurance will be continued during retirement.

                                   TOTAL DISABILITY
You will be considered totally and permanently disabled when you become disabled as a result
of bodily injury or disease which prevents you from engaging in any employment of the type
covered by a basic labor agreement. Your disability must be determined by a qualified physician
appointed by the Company to be permanent and continuous during the remainder of your
lifetime. You will be considered to have satisfied the requirement for being permanently and
totally disabled if you furnish written proof of qualification for disability benefits under the
Social Security Act.




                                                 - 50-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 121 of 325


    ACCIDENTAL DEATH OR DISMEMBERMENT BENEFITS
Benefits for accidental dismemberments or accidental loss of sight occurring while you are an
active employee will be paid in accordance with the following schedule:

                                                 Amount of Benefits Expressed as a
Dismemberment and for                            Percentage of The Amount of
Loss of Sight                                    Your Accidental Death Insurance

Both hands or both feet                                       100%
Sight of both eyes                                            100%
One hand and one foot                                         100%
One hand and entire sight of one eye                          100%
One foot and entire sight of one eye                          100%
One hand or one foot                                          50%
Sight of one eye                                              50%

Benefits for accidental death, accidental dismemberment or accidental loss of sight are paid only
if the accidental death, dismemberment or loss of sight occurs within nine months after the injury
and is not caused by disease or infections (except pyogenic infection which shall occur through
an accidental cut or wound), suicide, attempted suicide or intentionally self-inflicted injury or
any act of war or warlike action in time of peace.

If you die or suffer the loss of hand, foot, or sight of eye, as the result of an occupational
accident, any sum received pursuant to any State Workers' compensation or occupational disease
law, will be deducted from the sum otherwise payable.

The benefits for loss of hand, foot or sight of eye will be paid to you. The benefits for loss of life
will be paid to your beneficiary. Only one benefit is payable for loss resulting from one
accident.

                             CONVERSION PRIVILEGE
Upon application to the Plan Carrier within 31 days after your Life Insurance terminates, you
may arrange to continue Life Insurance coverage under an individual policy, for an amount not
greater than the amount of Life Insurance coverage you had under the plan at the time of such
termination, without medical examination. Such individual policy may be on any one of the
forms of policy issued by the Plan Carrier, other than a policy of term insurance or one which
provides disability benefits or special benefits in the event of accidental death, and such
individual policy will be issued at the rate applicable to your age and class of risk at that time.

Any such individual life insurance policy will become effective at the end of the 31-day
conversion period referred to, and if you should die during such period, whether or not you have
applied for such a policy, an amount equal to the amount of life insurance in force under the Plan
immediately prior to termination will be payable to your beneficiary.




                                                - 51-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 122 of 325


                                     BENEFICIARIES
You may designate any person(s) you choose as the Beneficiary or Beneficiaries under the Plan.
The Beneficiary will be the person(s) named by you as shown on the records kept on the Group
Policy. You may choose to have the amount paid to your Beneficiary in a lump sum or in
installments.

You may change your Beneficiary at any time by written notice using the form available from
your Human Resources representative. Such change will take effect when officially recorded.

Your Beneficiary may, after your death, designate a person to receive any amount which, in the
event of your Beneficiary's death, would be payable to his or her estate.

Any part of your insurance for which there is no Beneficiary living at your death will be payable
in a single sum to the first surviving class of the following classes of "successive preference
beneficiaries":

       1.   Your surviving spouse.
       2.   Your surviving children.
       3.   Your surviving parents.
       4.   Your surviving brothers and sisters.
       5.   Your executors or administrators.

If your insurance under the Group Policy replaces another group policy, the Beneficiary named
under the replaced policy will be in effect until you: (a) name a Beneficiary under the current
Group Policy; or (b) change your Beneficiary as set forth above.

In the absence of a legal guardian, a minor's share may be paid at a rate not exceeding $50 a
month to an adult or adults who, in the opinion of the insurer, have assumed the custody and
principal support of such minor.

If you die after having applied to convert your Group Life Insurance to Individual Life
Insurance, the Beneficiary named under the Individual Policy or in the application for it will
receive any benefits payable under the Group Policy.

                      CONTRIBUTORY LIFE BENEFITS
                                       (Effective 09/01/02)

In addition to the Non-Contributory Life Benefits, active full-time hourly employees have the
option to elect Contributory Life Benefits when they are first hired and during annual open
enrollments. This supplemental life insurance is voluntary and offered at cost to the employee.
The employee is responsible for the payment of the premiums.

                                      Option 1 ………….$25,000
                                      Option 2 ………….$50,000

                        DEPENDENT LIFE INSURANCE
                                       (Effective 09/01/02)

                                              - 52-
       Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 123 of 325



 Active full-time hourly employees also have the option to elect dependent life insurance when
they are first hired and during annual open enrollments. Dependent Life Insurance is voluntary
and offered at cost to the employee. The employee is responsible for the payment of the
premiums.

                       Option 1………Spouse $5,000; Each Child $1,000
                       Option 2………Spouse $10,000; Each Child $2,000

If any of your dependents are eligible for coverage as an employee, that person is not eligible for
that coverage as a dependent. If both you and your spouse are insured as employees, your
children may only be enrolled as dependents of you or your spouse, not as dependents of both.

Continuance of Dependent Coverage

If you leave the employ of Asarco, your dependent’s Group Life insurance protection goes on for
thirty-one days. If you die while insured for “Employee Life Benefits,” your dependents’
protection goes on for six months. Your dependent may convert this protection to Individual
Life insurance, in accordance with the conversion privilege, after:

       You leave employment with Asarco or you die;
       Your dependent reaches the limiting age of coverage;
       Your marriage ends due to divorce or annulment

Your dependent does not have to give evidence of good health.




                                              - 53-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 124 of 325




           IMPORTANT INFORMATION




                               - 54-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 125 of 325


                              PLAN IDENTIFICATION
Asarco's Employer Identification Number:                          Type of Plans:
XX-XXXXXXX                                                        Employee Welfare Plans

                                                                  Ending Date of
Plan Name                                 Plan Number             Plan Year
Asarco Group Life Insurance Plan             503                  December 31
Asarco Health Plan                           504                  December 31
Asarco Dental Plan                           510                  December 31
Asarco Vision Care Plan                      519                  December 31
Asarco Prescription                          530                  December 31
   Drug Plan
Asarco Health Care Flexible                   532                 December 31
   Spending Account
Asarco Dependent Care Flexible                533                 December 31
   Spending Account

                             PLAN ADMINISTRATOR
        ASARCO Incorporated is the Sponsor of the following Employee Welfare Plans:

                                     Asarco Health Plan
                                  Asarco Vision Care Plan
                               Asarco Prescription Drug Plan
                                     Asarco Dental Plan
                              Asarco Group Life Insurance Plan
                       Asarco Health Care Flexible Spending Account
                      Asarco Dependent Care Flexible Spending Account


The Administrator of the Plans is:      ASARCO Incorporated
                                        Administrative Committee
                                        Debra J. Baker, Secretary
                                        PO Box 8
                                        Hayden, AZ 85235
                                        (520) 356-7811

Any legal process relating to the Welfare Plans should be served upon the Plan Administrator as
indicated above.




                         TYPE OF ADMINISTRATION



                                             - 55-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 126 of 325


 Asarco Health Plan,Asarco Vision Care Plan, Asarco Prescription Drug Plan, Asarco
 Dental Plan, Flexible Spending Accounts

All benefits under the Plan are directly provided by Asarco and administered by a Third Party
Administrator. Benefits are paid from the general assets of the Company and are not guaranteed
under a contract of insurance. The Third Party Administrator is North American Administrators.

North American Administrators                 Group Number: 8550
P.O. Box 9501
Amherst, New York 14226-9501
1-800-766-2835

Group Life Insurance Plan

All benefits under the Plan are provided through and guaranteed under a group insurance contract
with Hartford Life Insurance Company.

Hartford Life Insurance Company               Account Number: GL-674272
200 Hopmeadow Street
Simsbury, CT 06070
1-888-563-1124

                          ANNOUNCEMENT BOOKLET
This announcement booklet, a copy of which is given to each employee, includes the pertinent
provisions of the Asarco Health Plan, Asarco Vision Care Plan, Asarco Prescription Drug Plan,
Asarco Dental Plan, Asarco Flexible Spending Accounts, and Asarco Group Life Insurance Plan.
The benefits pertaining to each of these Plans as described in this booklet are subject to the terms
and conditions of the Plan Documents.

                                 COST OF BENEFITS
The Company and the employee will share in the cost of benefits provided in the Welfare Plans
Section of this booklet, including any increases required for such benefits.

                                CLAIMS PROCEDURE
The Claims Procedure for the Employee Welfare Plans is divided into two parts as set forth below.
Part A is the procedure to be followed for claims relative to the Asarco Health Plan, Asarco
Prescription Drug Plan, Asarco Dental Plan, Group Life Insurance Plan and other Welfare Plans,
the benefits of which are provided or administered by an insurance carrier.


 HEALTH PLAN, VISION CARE PLAN, PRESCRIPTION DRUG
  PLAN, DENTAL PLAN, FLEXIBLE SPENDING ACCOUNT
          AND GROUP LIFE INSURANCE PLAN


                                               - 56-
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 127 of 325



 1.   Who May File A Claim

      A claim should be filed by the employee participating in the Plan. A non-employee
      participant/beneficiary (e.g., a retiree or surviving spouse) may file a claim when he or she
      has a direct interest in a benefit as a recipient, or when the employee participant is deceased
      or is incapacitated and thereby unable to adequately represent his or her interests.

      (Applies to Health Plan, Dental Plan, Prescription Drug Plan and Flexible Spending Account
       Plan only.)
      Additionally, claims may be submitted by qualified beneficiaries who have elected
      continuation of coverage in accordance with the Consolidated Omnibus Budget
      Reconciliation Act ("COBRA") of 1986 as amended. Any such person who believes that he
      or she is then entitled to receive a benefit under the Plan, including one greater than that
      initially determined by the Asarco Administrative Committee or its designee, may file a
      claim in writing with such Administrative Committee.

2.    How to File A Claim

      In order to file a claim for benefits, contact your Human Resources Department to obtain
      claim forms and filing instructions. Carefully complete the necessary form(s) or
      application(s), provide any additional information required, make a copy for your files, and
      submit the data to the third-party administrator designated to handle your claim. Claims
      must be submitted within 12 months from the date of service with the exception of Flexible
      Spending Account claims which must be submitted by March 31st of the following year.

3.    Initial Claim Determination

      (a) A Determination of your claim should be made within ninety (90) days following its
          filing. If special circumstances warrant an extension of time for processing the claim,
          you should be notified within the 90-day period of the extension of time and of the
          expected date by which a Determination of your claim will be made. If your claim is
          denied, you will receive a Notice of Denial of Claim.

      (b) Notice of Denial of Claim. If your claim is denied in whole or in part, you will be
          notified in writing of:

           •   The specific reason(s) for the denial and of the Plan provisions on which the denial
               is based.

           •   Additional materials or information (if any) necessary to establish your claim.

           •   Your right to appeal this determination or denial, the procedure for appeal and the
               identity of the person, Administrative Committee or insurance carrier, as the case
               may be, to whom the appeal should be sent.

      (c) Complaints involving such claims may be brought to the attention of the Plant Manager
          or his designated representative by the complaining employee participant and his or her
          local union representative. If this does not result in a satisfactory settlement, the


                                               - 57-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 128 of 325


         complaint shall be reviewed by Asarco's Corporate Office representatives. The informal
         review contemplated herein shall have no effect on the operation of the contractual
         grievance and arbitration procedure referred to in paragraph 4(a) below unless the claim
         in dispute is settled by such discussions.

4.   Appeal of Denied Claims

     (a) Appeal of Denied Claims to the Grievance/Arbitration Procedure of the Labor
         Contract. When a claim involves a dispute concerning a benefit, eligibility or coverage
         of the employee and/or spouse or dependents, and is of such a nature that it can be
         submitted for resolution under the terms and conditions of a collectively bargained
         grievance and arbitration procedure, the right to submit the disputed claim under such
         procedure is limited to the employee participant as the exclusive remedy of the
         employee in his or her own right, or on behalf of his or her spouse and/or dependents as
         the case may be.

         Detailed information concerning various Benefit Plans and of the Grievance and
         Arbitration procedure is available in the labor contract booklets distributed to union-
         represented employees.

     (b) Appeal of Denied Claims in Cases other than by Submission under the
         Grievance/Arbitration Procedure.

           1. Where a claim is not determinable under a grievance and arbitration procedure
              and/or the claimant does not have a sufficient interest or standing to invoke such a
              procedure, a claimant who wishes to appeal a claim denied in whole or in part may
              submit a request in writing directed to the Asarco Administrative Committee or to
              a person designated by the Administrative Committee to review and make
              decisions on claim denials, or, in the case of a Plan providing benefits or
              administered by an insurance carrier subject to the insurance laws of any State, to
              such insurance carrier. So as to avoid confusing the claimant in respect to how
              and to whom the request for appeal should be made, the claimant will be provided
              with specific information for this purpose in the Notice of Denial of Claim
              outlined in paragraph 3(b) on the preceding page.

           2. The written request to appeal a denied claim shall be filed by the claimant or his or
              her duly authorized representative no later than ninety (90) days after receipt of
              the "Notice of Denial of Claim." The claimant (or representative) may review
              pertinent documents if requested and may submit issues and comments in writing
              and indicate the factual basis and/or other reasons for the claimant's belief that the
              claim was improperly denied.

           3. The decision, following a full and fair review of the claim and its denial, shall be
              made by the Administrative Committee or other person or insurance carrier
              specified in the "Notice of Denial of the Claim" within sixty (60) days after receipt
              of the Request for Review by such Administrative Committee, person or insurance
              carrier, unless special circumstances require an extension of time for processing in
              which case the decision will be rendered as soon as practicable but not later than



                                             - 58-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 129 of 325


               120 days after receipt of the Request for Review. If the decision is not issued
               within the time period stated above, the claim shall be deemed denied on review.

5.   Nothing in this Claims Procedure shall be construed to supersede or in any manner enlarge,
     diminish or otherwise modify the rights and/or obligations of the employer, the union and/or
     employees represented by the union under the terms and conditions of the collective
     bargaining agreement, including the grievance and arbitration procedure.

6.   Administrative Appeal is Mandatory.
     Participants and beneficiaries shall not be entitled to challenge the Administrative
     Committee's determinations in judicial or administrative proceedings without first
     complying with the Claims Procedures. The Administrative Committee's decisions made
     pursuant to the Claims Procedure are intended to be final and binding on Participants,
     beneficiaries and others.

7.   Limitations.
     Notwithstanding anything in the Plan to the contrary, no benefits shall be payable under the
     Plan to any Participant who fails to submit a claim for benefits hereunder within one year
     after the date covered charges were incurred (with the exception of FSA claims which must
     be submitted by March 31st of the following year) or the beginning of the period, as the case
     may be, with respect to which the claim is made; provided that the Administrative
     Committee in its sole discretion, may accept a claim after such time has elapsed if
     extenuating circumstances prevented the Participant from making a claim during such
     period. Claims for benefits shall be submitted at such time as provided in the Plan. Each
     Participant, beneficiary or other interested person shall file such pertinent information
     concerning himself, and in such manner and form as the Administrative Committee or its
     designee may specify or provide, and such person shall not have any rights or be entitled to
     any benefits or further benefits hereunder, as the case may be, unless such information is
     filed by him or on his behalf. Each Participant or beneficiary claiming benefits under the
     Plan shall supply at such times and in such manner as the Administrative Committee or its
     designee, in its sole discretion may require, written proof that covered expenses were
     incurred or that the benefit is covered under the Plan. If the Administrative Committee or its
     designee, in its sole discretion, shall determine that a Participant or covered dependent shall
     fail to furnish such proof as is requested, no benefits or no further benefits hereunder, as the
     case may be, shall be payable to such Participant or covered dependent.

     The Administrative Committee in its sole discretion, shall have the right at the expense of
     the employer of a Participant or covered dependent claiming benefits hereunder as
     determined by the Administrative Committee, and as often as the Administrative Committee
     may determine is reasonably necessary, to examine or to have a physician designated by it to
     examine such Participant or covered dependent and to have an autopsy conducted in the case
     of death where not precluded by law.

                                         COBRA
        RIGHT TO CONTINUE HEALTH, PRESCRIPTION DRUG, DENTAL,
     VISION, AND FLEXIBLE SPENDING ACCOUNT PLANS AND COVERAGE



                                              - 59-
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 130 of 325


 Effective January 1, 2002 continuation of coverage under the Asarco Health, Prescription Drug,
 Dental, Vision, and Flexible Spending Account Plans is available to the following persons if
their coverage ceases due to the reasons stated below:

     (a)     Employees and their covered dependents in the case of employees whose
             employment is terminated (other than those terminated due to their gross
             misconduct)--a maximum continuation period of 18 months.

     (b)     Employees and their covered dependents in the case of employees whose coverage
             ceases due to a reduction in the employee's working hours--a maximum
             continuation period of 18 months.

     (c)     Employees and their covered dependents if any covered family member is disabled
             on the date that their coverage terminates or are determined to be disabled within
             the first 60 days of COBRA continuation coverage, and are eligible for disability
             benefits under the Social Security Act--a maximum continuation period of 29
             months. Notice of the determination of such disability must be provided to the
             Company before the end of the first 18 month continuation period.

     (d)     Covered dependent spouses and covered dependent children of those dependent
             spouses in the case of divorce or legal separation from the employee--a maximum
             continuation period of 36 months.

     (e)     Covered dependent spouses and covered dependent children in the case of the
             employee's death--a maximum continuation period of 36 months.

     (f)    Dependent children who cease to be dependent as defined--a maximum
            continuation period of 36 months.

     (g)    Covered dependent spouses and covered dependent children in the case where the
            employee becomes entitled to MEDICARE and then within 18 months, terminates
            employment--a maximum continuation period of 36 months from the date of the
            employee's MEDICARE entitlement.

     (h)    Covered dependent spouses and covered dependent children in the case where the
            employee becomes entitled to MEDICARE while employee and family are on
            COBRA continuation coverage - a maximum continuation period of 36 months
            from the date of termination of coverage due to termination of employment.

The maximum continuation periods given above include any periods of continuation offered by
the employer in other sections of this booklet.

Coverage may be discontinued before the end of the period stated above in the following
situations:

     (a)     If the plan (as well as all other employer plans of a similar nature) terminates for all
             employees.




                                               - 60-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 131 of 325


      (b)     If timely payment of premium is not made for a person whose coverage is being
              continued.

      (c)     If a person whose coverage is being continued subsequently becomes covered
              under another group medical, dental, or prescription drug plan which does not have
              an applicable pre-existing condition exclusion or limitation or that person
              subsequently becomes entitled to benefits under MEDICARE.

      (d)     For a dependent spouse whose coverage is being continued, if the spouse remarries
              and becomes covered under any other group medical, dental, or prescription drug
              plan, or

      (e)     with regard to the additional 11 months of coverage due to disability, the disabled
              individual is determined to no longer be eligible for disability benefits under the
              Social Security Act.

An eligible employee and/or dependent has 60 days to elect continued coverage after notification
of their continuation rights by the Company. Each individual eligible for continued coverage can
make an election of whether or not to continue coverage.

It is the responsibility of the employee or dependent to notify the Company if a covered
dependent becomes eligible for continued coverage due to legal separation, divorce or no longer
meeting the children's dependency criteria. Such notification must be made within 60 days of
the event. Failure to notify the Company will result in a loss of eligibility for extended benefits.

An 18-month period of coverage continuation can be extended up to a full 36 months for a
dependent who incurs a second event (divorce, legal separation, death of employee, or child no
longer dependent) during that 18-month period of continuation.

The cost of COBRA continuation coverage is 102% of the total premium. For individuals
covered for the additional 11-month disability extension, the cost of COBRA continuation
coverage may be up to 150% of the total premium during the 11 month extension. The initial
premium must be paid within 45 days after the election of COBRA coverage. Subsequent
monthly payments must be made within 30 days of the first of the month.

Effective January 1, 1997, children born to or placed for adoption with the employee while on
continuation coverage will be Qualified Beneficiaries.




                                               - 61-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 132 of 325



                 STATEMENT OF ERISA RIGHTS
As a participant in the Asarco Health Plan, Asarco Dental Plan, Asarco Prescription Drug Plan,
Group Life Insurance Plan and Plan of Permanent and Total Disability Benefits, you are entitled to
certain rights and protections under the Employee Retirement Income Security Act of 1974
(ERISA). ERISA provides that all plan participants shall be entitled to:

       •   Examine, without charge, at the plan administrator's office and at other specified
           locations, such as worksites and union halls, all plan documents, including insurance
           contracts, collective bargaining agreements, and copies of all documents filed by the
           Plan with U.S. Department of Labor such as detailed annual reports and plan
           descriptions.

       •   Obtain copies of all plan documents and other plan information upon written request to
           the plan administrator. The administrator may make a reasonable charge for the
           copies. Receive a summary of the plan's annual financial report. The plan
           administrator is required by law to furnish each participant with a copy of this
           summary annual report.

In addition to creating rights for plan participants, ERISA imposes duties upon the people who are
responsible for the operation of the employee benefit plan. The people who operate your plan,
called "fiduciaries" of the plan, have a duty to do so prudently and in the interest of you and other
plan participants and beneficiaries. No one, including your employer, your union, or any other
person, may fire you or otherwise discriminate against you in any way to prevent you from
obtaining a welfare benefit or exercising your rights under ERISA. If your claim for a welfare
benefit is denied in whole or in part, you must receive a written explanation of the reason for the
denial. You have the right to have the plan review and reconsider your claim.

Under ERISA, there are steps you can take to enforce the above rights. For instance, if you
request materials from the plan and do not receive them within 30 days, you may file suit in a
federal court. In such a case, the court may require the plan administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were
not sent because of reasons beyond the control of the administrator. If you have a claim for
benefits which is denied or ignored, in whole or in part, you may file suit in a state or federal
court. If it should happen that plan fiduciaries misuse the plan's money, or if you are
discriminated against for asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court. The court will decide who should
pay court costs and legal fees. If you are successful, the court may order the person you have
sued to pay these costs and fees. If you lose, the court may order you to pay these costs and fees,
for example, if it finds your claim is frivolous. If you have any questions about your plan, you
should contact the plan administrator. If you have any questions about this statement or about
your rights under ERISA, you should contact the nearest office of the Pension and Welfare
Benefits Administration, U.S. Department of Labor, listed in your telephone directory or the
Division of Technical Assistance and Inquiries, Pension and Welfare Benefits Administration,
U.S. Department of Labor, 200 Constitution Avenue N.W., Washington, D.C. 20210.




                                               - 62-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 133 of 325



                                  OTHER RIGHTS
Your Rights Under the Newborns’ and Mothers’ Health Protection Act
Group health plans and health insurance issuers offering group insurance coverage generally may
not, under Federal law, restrict benefits for any hospital length of stay in connection with
childbirth for the mother or newborn child to less than 48 hours following a normal vaginal
delivery, or less than 96 hours following a cesarean section, or require that a provider obtain
authorization from the plan or the insurance issuer for prescribing a length of stay not in excess
of the above periods. (However, you may still need pre-certification from the plan to avoid a
reduction of the dollar amount covered by the plan.)

Your Rights Under the Women’s Health and Cancer Rights Act of 1998
This act requires that all health plan participants receive written notice annually regarding
coverage for reconstructive surgery following a mastectomy. The Asarco Health Plan covers
expenses associated with:

     •   Reconstruction of the breast on which the mastectomy was performed;

     •   Surgery and reconstruction of the other breast to produce a symmetrical appearance; and

     •   Prostheses and treatment of physical complications at all stages of the mastectomy,
         including lymphedemas.

These services will be subject to normal plan deductibles and coinsurance.

Health Insurance Portability and Accountability Act (HIPAA)
A federal law, the Heath Insurance Portability and Accountability Act of 1996 (HIPAA),
requires that health plans protect the confidentiality of your private health information. A
complete description of your rights under HIPAA can be found in the Plan’s privacy notice,
which was distributed to you upon enrollment and is available from your local human resources
department.

This Plan, and the Plan Sponsor, will not use or further disclose information by HIPAA
(“protected health information”) except as necessary for treatment, payment, health plan
operations and plan administration, or as permitted or required by law. By law, the Plan has
required all of its business associates to also observe HIPAA’s privacy rules. In particular, the
Plan will not, without authorization, use or disclose protected health information for
employment-related actions and decisions or in connection with any other benefit or employee
benefit plan of the Plan Sponsor.

Under HIPAA, you have certain rights with respect to your protected health information,
including certain rights to see and copy the information, receive an accounting of certain
disclosures of the information and, under certain circumstances, amend the information. You
also have the right to file a complaint with the Plan or with the Secretary of the U.S. Department
of Health and Human Services if you believe your rights under HIPAA have been violated.

This Plan maintains a privacy notice, which provides a complete description of your rights under
HIPAA’s privacy rules. For a copy of this notice, please contact your local Human Resources.


                                               - 63-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 134 of 325


 If you have questions about the privacy of your health information or if you wish to file a
 complaint under HIPAA, please contact Debra J. Baker, Senior Benefits Manager.



             AMENDMENT AND TERMINATION
The Company expects and intends to continue the Plans indefinitely. However, the Company
reserves the right to amend or terminate the Plans at any time and for any reason. If the Plans are
amended or terminated, you and other active and retired employees may not receive benefits as
described in other sections of this booklet. You may be entitled to receive different benefits, or
benefits under different conditions. However, it is possible that you will lose all benefit
coverage. This may happen at any time, even after you retire, if the Company decides to
terminate the Plans or your coverage under the Plans. In no event will you become entitled to
any vested rights under these Plans.




                                              - 64-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 135 of 325




                           SECTION 2



          RETIREMENT INCOME PLAN




                               - 65-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 136 of 325




                               - 66-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 137 of 325


                                     INTRODUCTION
As an hourly employee of Asarco you are covered by the Retirement Income Plan for Hourly-
Rated Employees of ASARCO Incorporated (the "Plan") which will provide income for you after
retirement. Your pension under this Plan is in addition to any benefits you receive from Social
Security.

On July 31, 1987, the Retirement Income Plan for Hourly-Rated Employees of ASARCO
Incorporated (the "Prior Plan") was terminated. All accrued benefits under the Prior Plan are
provided through Group Annuity Contracts GAC-499 issued by Metropolitan Life Insurance
Company ("Metropolitan") and/or GAC-13272 issued by Aetna Life Insurance Company
("Aetna"). Metropolitan and Aetna are contractually liable to pay such Prior Plan benefits.

The pension benefit payable to you from this Plan is based only on your periods of employment
with Asarco after August 1, 1987. Your pension benefit accrued under the Prior Plan is payable to
you by Metropolitan and/or Aetna pursuant to the terms of the previously mentioned Group
Annuity Contracts.

If however, you are a former employee of Kennecott Corporation and you participated in a
Kennecott Corporation Pension Plan immediately prior to your employment with Asarco on
November 18, 1986, your period of employment with Kennecott Corporation which was
recognized under the Kennecott Plan will be combined with your Continuous Service since
November 18, 1986. However, the pension benefit payable to you from this Plan will be offset by
your Kennecott Plan benefit. Note, for purposes of illustration, the examples in this summary of
the amounts of benefits payable include the amount of benefit, if any, payable to you under the
Prior Plan or the Kennecott Plan.

                                       ELIGIBILITY
If you are a full-time hourly employee, you will be an eligible participant on the first day of the
month following your employment.

If you are not employed on a full-time basis, you are a Casual Employee, and you will become an
eligible participant on the first day of the month following the completion of 1,000 hours of
service within the twelve-month period commencing on the date of your employment.

                                          VESTING
Upon the completion of 5 years of Continuous Service or attainment of age 65 you will be 100%
vested in your accrued benefit under the Plan.




                              CONTINUOUS SERVICE


                                               - 67-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 138 of 325


 The amounts of your benefits under the Plan, your vested interest in those benefits, and your right
 to receive benefits upon termination of employment are determined to a considerable extent by
your Continuous Service. In order to compute Continuous Service for purposes of determining
your right to a vested benefit, but not the amount of the benefit, generally periods of service with
Asarco and certain of its affiliates will be included. However, in no event will benefits under this
Plan duplicate benefits under other qualified pension plans of the Company or its affiliates. How
you earn Continuous Service depends upon whether you are employed on a full-time basis or if
you are a Casual Employee.

      Full-Time Employees
           Your Continuous Service is based on periods of employment with Asarco, for which
           you are paid on a regular and fixed hourly basis and most periods of recognized absence
           from your date of hire or rehire to the date on which service is broken.

      Casual Employees
          Your Continuous Service is based on the number of Years of Service you earn while
          employed by Asarco. As a Casual Employee you will accrue a Year of Service for each
          twelve month period on which you complete 1,000 hours of service commencing on
          your date of employment or reemployment upon which you complete one hour of
          service. These twelve month periods are called "computation periods". You will be
          credited with an hour of service for each hour you are directly or indirectly entitled to
          compensation from Asarco. This means that you will receive credit for hours you work
          plus certain hours during which you are not performing duties but for which you are
          compensated. For example: vacation, sickness, temporary disability, and hours for
          which back pay is awarded are credited as hours of service.

Generally, all periods of service are aggregated in the computation of Continuous Service for
purposes of determining both your vested interest and benefit eligibility except if your service is
broken before you have completed 5 years of Continuous Service and the period of your break
exceeds 5 years.

Continuous Service will also include:

       • The first 24 months of a leave of absence due to Local Union Business.


       • The first 24 months of a layoff or absence due to occupational or non-occupational
         disability.

       • The first 3 months of a leave of absence or any other recognized absence.


       • Periods of absence due to occupational disability for which Worker's Compensation
         benefits are paid.

After you have completed at least 5 years of Continuous Service, all of your service will be
aggregated.

                                 BREAK IN SERVICE
      Full-Time Employees

                                               - 68-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 139 of 325



          Continuous Service is broken by termination or severance of employment, unless you
          are reemployed within 1 year. If you are reemployed within 1 year, the period of
          severance will be counted for vesting purposes only.

          If you are absent due to pregnancy, or in connection with the birth or adoption of a
          child, or caring for a child immediately following the birth or adoption, you will not
          incur a Break in Service, provided you return to work within the 24 months of the date
          the absence commenced. If you return to work within the 24 months, the first 12 months
          of the absence will be counted only for Vesting purposes. The second 12 month period
          will not be counted for vesting or accrual purposes.

     Casual Employees

          You will incur a Break in Service for any computation period in which you do not earn
          501 hours of service.

          If you are absent due to pregnancy, birth or adoption of a child, caring for a child
          immediately following the birth or adoption, you will be credited up to 501 hours for
          the computation period in which your absence begins for purposes of not incurring a
          Break in Service. If, however, as of the date your absence commences, you had already
          completed 501 hours within the computation period, you will be credited with 501
          hours in the next computation period. In no event will you be credited more than 501
          hours within a computation period.

Continuous Service is also broken at the expiration of:

       • Loss of seniority


       • Dismissal or separation due to the permanent shutdown of the Plant department or
         subdivision, unless you are rehired within three years.

       • A 3-year period of layoff.


       • A 3-year period of non-occupational disability.


       • Leaves of absence when you fail to return to work without permission.


If your Continuous Service is broken and you are subsequently rehired, any benefit entitlement for
the pre-break period will be determined under the Plan provisions in effect when your break
occurred.

For example, suppose that you resign at a time when the annual basic benefit is $21.00 for each
month of Continuous Service, and thereafter the Plan is amended to provide a $22.00 benefit. If
you are rehired and become entitled to a benefit, the $21.00 benefit level rather than the $22.00
level would apply to your pre-break period of service.

                               RETIREMENT DATES


                                              - 69-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 140 of 325


 Normal Retirement Date: Normal Retirement Date under the Plan is the last day of the month in
 which you attain age 65.

Deferred Retirement Date: If you continue to work beyond age 65, you will retire on a Deferred
Retirement Date.

Early Retirement Date: Based on certain eligibility rules you may be entitled to retire prior to age
65. There are five Early Retirement Benefits available under the Plan.

                                 BENEFIT FORMULA
Effective July 1, 2002, if you were actively employed on or after this date, your benefit under the
Plan will be calculated based on the following benefit schedule for each month of Continuous
Service.

                                                             Benefit Per Year for each
Length of Service                                            month of Continuous Service

1st 15 Years of Service (1-180 mos.)                                   $32.00
16 through 30 Years of Service (181-360 mos.)                          $33.50
Over 30 Years of Service (361 or more mos.)                            $35.00

IMPORTANT:           If you were not employed on July 1, 2002, but were employed before that date
                     and you returned to work after that date, the amount of your benefit will be
                     equal to the sum of the benefit calculated under the formula in effect when
                     you left the Company for each month of Continuous Service completed before
                     July 1, 2002 and the benefit calculated under the above mentioned formula
                     for each month of Continuous Service completed thereafter. Benefit
                     illustrations in this booklet assume you were employed on or after July 1,
                     2002.




                                               - 70-
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 141 of 325


                NORMAL OR DEFERRED RETIREMENT
If you retire from employment with Asarco on or after your Normal Retirement Date, the amount
of your annual pension will be calculated in accordance with the Benefit Formula described on
page 72 for each month of your Continuous Service with Asarco. Following is an example of a
Normal Retirement Benefit for an employee who has worked for Asarco continuously for 35 years
(420 mos.).

Example:

                1st 180 months x $32.00 =             $5,760.00
               Next 180 months x $33.50 =             $6,030.00
               Next 60 months x $35.00 =              $2,100.00
                     420 months                      $13,890.00     per year or
                                                      $1,157.50     per month


Additional Examples of Benefits payable at Normal Retirement Date


                 CONTINUOUS SERVICE                 BENEFIT AMOUNTS

                 Years          Months              Annual          Monthly
                 10              120               $3,840.00        $320.00
                 15              180               $5,760.00        $480.00
                 20              240               $7,770.00        $647.50
                 25              300               $9,780.00        $815.00




                                           - 71-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 142 of 325


                                     60/10 BENEFIT
If you have reached your 60th birthday while employed and have completed at least 10 years of
Continuous Service, you may elect to retire under the 60/10 Benefit and receive a reduced
pension. The annual amount of your early retirement pension will be calculated in accordance
with the Benefit Formula described on page 72 for each month of Continuous Service with
Asarco; however, since payment will be made for a longer period of time, this pension is reduced
by approximately 4% per year for each year you retire prior to age 62.

Example of a 60/10 Benefit

If you retire at age 60 after completing 300 months of Continuous Service (25 years), you will
receive an annual pension of approximately 92% of the pension amount you would have received
if you were age 62. Your 60/10 Benefit payable under the Plan would be as follows:
                    180 months x $32.00 =              $5,760.00
               plus 120 months x $33.50 =              $4,020.00
                                                       $9,780.00

            reduced by 8% ($782.40)
              for early commencement =                $8,997.60    per year or
                                                        $749.80    per month

Additional examples of 60/10 Benefits payable at different ages are listed below.

Continuous Service at Retirement                                           Age at Retirement

                                                                         Age 60         Age 61
10 Years (120 Months):
  Annual Pension                                                       $3,225.60       $3,686.40
  Monthly Pension                                                        $268.80         $307.20

15 Years (180 Months):
  Annual Pension                                                       $4,838.40       $5,529.60
  Monthly Pension                                                        $403.20         $460.80

20 Years (240 Months):
  Annual Pension                                                       $6,526.80       $7,459.20
  Monthly Pension                                                        $543.90         $621.60




                                             - 72-
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 143 of 325


                                      60/30 BENEFIT
If you are 60 years of age or more but under age 65 and have completed at least 30 years of
Continuous Service, you may elect to retire from employment with Asarco under the 60/30
Benefit. Your annual pension will be calculated in accordance with the Benefit Formula described
on page 72 for each month of Continuous Service without reduction for early commencement.

In addition to your unreduced benefit, you will receive a supplemental payment of $400 each
month until you reach age 62, at which time the supplement will be reduced to $170 per month
until you reach age 65. However, payment of these supplemental amounts will terminate in the
event of your death, or in the event you become eligible for unreduced Social Security benefits
prior to reaching age 62 or 65, as applicable.

Examples of Pension Amounts Payable Under the 60/30 Benefit

                                             Monthly
                                             Basic          Monthly                Monthly
Continuous Service at Retirement:            Benefit        Supplement             Total
30 Years (360 Months):
  Age 60 to Age 62                           $982.50        $400.00 (A)          $1,382.50
  Age 62 to Age 65                           $982.50        $170.00 (B)          $1,152.50

35 Years (420 Months):
  Age 60 to Age 62                           $1,157.50      $400.00 (A)          $1,557.50
  Age 62 to Age 65                           $1,157.50      $170.00 (B)          $1,327.50

40 Years (480 Months):
  Age 60 to Age 62                           $1,332.50      $400.00 (A)          $1,732.50
  Age 62 to Age 65                           $1,332.50      $170.00 (B)          $1,502.50

(A)   At age 62, or when you are eligible to receive unreduced Social Security Benefits, or die,
      whichever event first occurs, the $400 monthly supplement no longer will be paid.

(B)   At age 65, or when you are eligible to receive unreduced Social Security Benefits, or die,
      whichever event first occurs, the $170 monthly supplement no longer will be paid.




                                              - 73-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 144 of 325




                                 30-YEAR BENEFIT
If you have completed at least 30 years of Continuous Service, regardless of your age, you may
elect to retire under the 30-Year Benefit. Your unreduced annual pension will be calculated in
accordance with the Benefit Formula described on page 72.

Examples of Pension Amounts payable under the 30-year Benefit

Continuous Service at Retirement:                               Benefit
30 Years (360 Months):
  Annual Pension                                              $11,790.00
  Monthly Pension                                                $982.50

35 Years (420 Months):
  Annual Pension                                              $13,890.00
  Monthly Pension                                              $1,157.50

40 Years (480 Months):
  Annual Pension                                              $15,990.00
  Monthly Pension                                              $1,332.50




                                             - 74-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 145 of 325


                                      70/80 BENEFIT
If you are laid-off due to the permanent shutdown of the total plant at which you work, you may
qualify for an unreduced pension under this provision of the Plan if you meet one of the following
requirements:

       • You have reached age 55 and your age plus your Continuous Service equals at least 70 at
         commencement of layoff.

    Examples of Age and Service Requirements:

               Age 60 + 10 years service = 70
               Age 59 + 11 years service = 70
               Age 58 + 12 years service = 70
               Age 57 + 13 years service = 70
               Age 56 + 14 years service = 70
               Age 55 + 15 years service = 70

       • You are under age 55 and your age plus your Continuous Service equals at least 80 at
         commencement of layoff.

Examples of Age and Service Requirements:

               Age 54 + 26 years service = 80
               Age 53 + 27 years service = 80
               Age 52 + 28 years service = 80
               Age 51 + 29 years service = 80
               Age 50 + 30 years service = 80

The 70/80 Benefit is not elective. Eligibility for the 70/80 Benefit is subject to approval by
the Asarco Administrative Committee.

If you qualify for a 70/80 Benefit under the Plan, your annual pension will be calculated in
accordance with the Benefit Formula described on page 72 for each month of Continuous Service
with Asarco. If you are a former Kennecott employee as described on page 69, the 70/80 benefit
payable from this Plan will not be reduced by your Kennecott Plan benefit until the earliest such
benefit would commence (age 60).

In addition to your unreduced benefit, you will receive a supplemental payment of $300.00 each
month until you are eligible for an unreduced Social Security benefit, a Social Security disability
pension, reach age 62 or die, whichever event first occurs.




Examples of Pension Amounts payable under the 70/80 Benefit

                                              - 75-
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 146 of 325


 Age 55 with 15 years of service (180 months):

                                                    Annual       Monthly

                180 months x $32.00 =             $5,760.00      $480.00
                Plus supplement (A) =             $3,600.00      $300.00
                                                  $9,360.00      $780.00

Age 53 with 27 years of service (324 months):

                                                    Annual       Monthly

           1st 180 months x $32.00 =              $5,760.00      $ 480.00
           Next 144 months $33.50 =               $4,824.00      $ 402.00
                                                 $10,584.00      $ 882.00
           Plus supplement (A)                    $3,600.00      $ 300.00
                                                 $14,184.00      $1,182.00

(A)   Supplement terminates when you become eligible for an unreduced Social Security benefit,
      a Social Security disability pension, reach age 62 or die, whichever event first occurs.




                                            - 76-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 147 of 325



 PERMANENT AND TOTAL DISABILITY BENEFITS
If you become permanently and totally disabled while actively employed with the Company, you
may be eligible for a Permanent and Total Disability benefit if you meet all of the following
requirements:

   1)       You are a regular, full-time employee of the Company.

   2)       You have filed a written Application for Disability benefits before your termination of
            employment. Such a written application for Disability benefits may be filed before
            eligibility for a Social Security Disability Benefit has been established.

   3)       You have completed at least 10 years of Continuous Service with the Company.

   4)       A qualified physician designated by the Company has established that you are
            permanently and totally disabled as defined in the Plan, as well as the Company
            Medical Director.

   5)       You have been permanently and totally disabled for at least five consecutive months.

   6)       You have been declared eligible for and are receiving a Social Security Disability
            benefit.

    DEFINITION OF PERMANENT AND TOTAL DISABILITY
The term "permanent and total disability" means disability by bodily injury or disease which
prevents you from engaging in any occupation or employment of the type covered by the basic
labor agreement of the collective bargaining unit in which you work which, in the opinion of a
qualified physician appointed by the Company, will be permanent and continuous during the
remainder of your lifetime, and you have been declared for, and are receiving Social Security
Disability Benefits, and which the appointee of the Company shall determine:

        •   Was not contracted, suffered or incurred while you were engaged in a felonious
            criminal enterprise.

        •   Did not result from a self-inflicted injury.

        •   Did not result from service in the armed forces after the effective date of this Plan,
            which prevents return to employment with the Company, and for which you receive a
            military disability pension.

Upon retirement due to disability, you will receive a monthly retirement benefit for the rest of
your life or until recovery from disability prior to age 65. Your disability benefit will be
calculated in the same manner as a normal retirement benefit as described on page 79 provided,
however, that in no event will it be less than $150 per month.
                  PRE-RETIREMENT SPOUSE’S PENSION
                                     (ACTIVE EMPLOYEES)


                                                - 77-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 148 of 325


 After having completed at least 5 years of Continuous Service, your spouse will automatically be
 provided with a lifetime pension in the event of your death while you are an active employee at
Asarco. You must have been married to your spouse throughout the one year period immediately
prior to death to be entitled to this coverage.

Your spouse will be eligible to receive an amount equal to one-half of the pension you would have
received had you retired on the date of your death.

Example of Pre-Retirement Spouse's Pension:

     If you die at age 60 when you are actively employed after completing 240 months (20 years)
     of Continuous Service, your spouse would receive a benefit of $3,885.00 per year or
     $323.75 per month, calculated as follows:

                  180 months x $32.00 =          $5,760.00
              plus 60 months x $33.50 =          $2,010.00
                       Annual Pension            $7,770.00

     50% of $7,770.00 = $3,885.00 annually or $323.75 monthly.




                                             - 78-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 149 of 325


                 POST-RETIREMENT SPOUSE'S PENSION
Upon retirement, if you were married for one year, your spouse will automatically be eligible for a
lifetime pension unless you refuse this benefit within the 90 day period prior to your benefit
commencement date with notarized spousal consent.

To provide the Post-Retirement Spouse's Pension, your accrued pension at retirement date will be
reduced by 10%.

The amount of the Post-Retirement Spouse's Pension payable to your spouse following your death
will equal 55% of your pension payment (plus or minus 1/24 of 1% for each full month your
spouse is more than 60 months older or younger than you) at the time of your death. In the event
your spouse predeceases you, the 10% reduction will be stopped and your full pension will be paid
to you.

Supplemental payments which you may be entitled to at time of death are excluded from these
calculations.


Example of a Post-Retirement Spouse's Pension:

Assuming you and your spouse are the same age, at retirement, if you retire at age 65 after
completing 300 months (25 years) of Continuous Service and did not refuse the Post-Retirement
Spouse's Pension, upon your death your surviving spouse would receive a benefit of $4,841.10 per
year or $403.43 per month, calculated as follows:

                 180 months x $32.00 =            $5,760.00
            plus 120 months x $33.50 =            $4,020.00
                                                  $9,780.00

                    Less 10% reduction            - $978.00
                        Annual Pension            $8,802.00

    55% of $8,802.00 = $4,841.10 annually or $403.43 monthly.


                    CONTINGENT ANNUITANT OPTION
If you are married and have refused the Post-Retirement Spouse's Pension with notarized spousal
consent, or if you are not married, you may elect the Contingent Annuitant Option. This election
will become effective at the latest of your Normal Retirement Date, actual retirement date or the
expiration of the 1-year period following the date on which the election is filed. If you or your
designated Contingent Annuitant die prior to the effective date of your election of the Contingent
Annuitant Option, the election is void.

If you elect a Contingent Annuitant Option, your retirement benefit will be calculated in the
same manner as a normal retirement as described on page 72, actuarially reduced to provide
either 100% or 50% (as you elect) of your reduced pension to your designated Contingent


                                              - 79-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 150 of 325


 Annuitant, with payments commencing after your death and continuing for the life time of your
 designated Contingent Annuitant. Your pension will be calculated by application of the
appropriate actuarial equivalent factor to your unreduced pension plus (+) or (-) an adjustment
for each year your contingent annuitant is older or younger than yourself.

                                  Actuarial Equivalent Factors

               CAO
               Percentage            Actuarial              Age Difference
               Elected        Equivalent              Discount

                50%                     86%                 +/- ½% (.0050)
               100%                     75%                 +/- 1% (.0100)

If benefit commencement occurs prior to age 65, the Actuarial Equivalent Factor will be
increased by 0.6% (.006) for each full year your benefit commences prior to age 65, subject to a
maximum 98% Actuarial Equivalent Factor.




                                              - 80-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 151 of 325


                         VESTED DEFERRED BENEFIT
If you leave Asarco's employ before you qualify for an immediate pension, you will be eligible for
a Vested Deferred Benefit when you reach age 65 provided you have completed at least 5 years of
Continuous Service, no matter what your age when you leave Asarco's employ.

If you qualify for a Vested Deferred Benefit, your annual benefit payable when you reach age 65
will be calculated based on your accrued Continuous Service using the Benefit Formula in effect
at the time of your termination of employment.

You may apply for early commencement of your Vested Deferred Benefit between age 60 and 65.
However, if you elect to receive benefits prior to age 65, your benefits will be reduced by 1/3 of
1% for each month that the commencement date precedes the last day of the month in which you
reach age 65.

The amount of your benefit at early retirement commencement date will equal the amount which
would have been payable to you at age 65, multiplied by the percentage shown below opposite
your age at the time the benefit starts.

     Age                    Percentage of                 Age                     Percentage of
     Benefit                Age 65 Benefit                Benefit                 Age 65 Benefit
     Begins                 Payable                       Begins                  Payable
     65                     100                           59                      63.3
     64                     93.3                          58                      60.0
     63                     86.7                          57                      56.6
     62                     80.0                          56                      53.3
     61                     73.3                          55                      50.0
     60                     66.7

To commence payment of your Vested Deferred Benefit, you must apply for the benefits within 90
days immediately prior to the date you wish benefits to commence.

Example of a Vested Deferred Benefit:
Assuming you terminate employment at age 45 with 20 years of service.

Continuous Service and Age
at Benefit Commencement Date:                                                  Benefit

20 Years Service, Age 61:

     Monthly Vested Deferred Benefit payable at age 65:                        $647.50

     Monthly Vested Deferred Benefit payable at age 61:                        $474.62
        (73.3% of $647.50)

If you are married for at least one year at the time of your benefit commencement date, the amount
of your Vested Deferred Benefit will be reduced by 10% to provide a 55% Joint and Survivor
Annuity, unless you refuse such spouse's benefit with notarized spousal consent within the 90-day
period prior to your benefit commencement date.

                                             - 81-
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 152 of 325



 Examples of a Vested Deferred Benefit with and without the Joint and Survivor Annuity Benefit:

Example 1:
Assuming that you had 20 years of service, were 61 years of age at benefit commencement and
you and your spouse are the same age.

                                 Your Benefit          Your Benefit         Your Spouse's
                                 Without J&S            With J&S               Benefit

     Annual Pension               $5,695.44             $5,034.77            $2,517.39
     Monthly Pension               $474.62                $419.56              $209.78

($5,695.44 less 11.6% = $5,034.77 x 50% = $2,517.39 annually, or $209.78 monthly)

Example 2:

Assuming that you had 20 years of service, were 61 years of age at benefit commencement and
your spouse was 54 years of age.

                                 Your Benefit          Your Benefit         Your Spouse's
                                 Without J&S            With J&S              Benefit

     Annual Pension              $5,695.44              $4,835.43            $2,417.72
     Monthly Pension               $474.62               $402.95              $201.48

($5,695.44 less 15.1% = $4,835.43 x 50% = $2,417.72 annually, or $201.48 monthly)

If you had Pre-Retirement Survivor Annuity (PSA) coverage in effect prior to benefit
commencement date, your Vested Deferred Benefit will be reduced by the cost of such coverage
for the period it was in effect prior to benefit commencement.




                                              - 82-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 153 of 325


          PRE-RETIREMENT SURVIVOR ANNUITY ("PSA")
If you are eligible for a Vested Deferred Benefit upon your termination of employment, your
spouse will automatically be eligible for a lifetime pension in the event of your death prior to your
benefit commencement date, provided that you and your spouse had been married for at least one
year. You may refuse the benefit with notarized spousal consent.

The PSA benefit will equal 50% of your Vested Deferred Benefit, actuarially reduced due to the
early commencement date, further reduced to provide a 50% Joint and Survivor Annuity and
finally reduced by the cost of this coverage. The cost for the PSA coverage shall equal 1/5 of 1%
per year (prorated for partial years) prior to age 55 and 3/4 of 1% per year (prorated for partial
years) thereafter for periods during which this coverage was in effect. If you subsequently decide
to revoke the PSA coverage, you may do so by filing a written refusal with notarized spousal
consent with the Secretary of the Administrative Committee. In such event, the cost for periods
during which such PSA coverage was in effect will remain a permanent reduction in the benefit
subsequently payable to you under the Plan.

NOTE:       If the present value of the Pre-Retirement Survivor Annuity payable to your surviving
            spouse does not exceed $5,000, the Administrative Committee shall direct that such
            present value be paid immediately in a lump sum.

                           WHEN PENSIONS ARE PAID
Your first pension payment will be made to you on the last day of the month in which you retire
and continue monthly for the rest of your life through the last day of the month preceding the
month in which your death occurs.

If you defer retirement beyond Normal Retirement Date, benefit payments must begin by the
earlier of your actual retirement date or the April 1 following the calendar year in which you attain
age 70½. Payments to an eligible spouse will be made for his or her life through the last day of
the month preceding the month in which death occurs. For information on how to file a claim, see
page 88.

Benefits under the Plan are for the exclusive benefit of participants and beneficiaries. These
benefits may not be assigned or alienated in any way except by a Qualified Domestic Relations
Order that complies with Internal Revenue Code Section 414(p).

                            TOP-HEAVY PROVISIONS
Federal law provides special rules in the event the Plan becomes what is called "top-heavy".
Simply stated, a plan is top-heavy when more than 60 percent (60%) of the present value of the
cumulative accrued benefits under the plan are cumulative accrued benefits of "Key employees".
"Key employees" are generally officers, shareholders and certain highly compensated individuals.
It is unlikely that the Plan will ever be top-heavy; however, if the Plan is top-heavy, minimum
benefit provisions and a more rapid vesting schedule will apply. The Plan includes provisions
specifying these requirements and the circumstances under which they will apply.




                                               - 83-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 154 of 325




                               - 84-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 155 of 325




           IMPORTANT INFORMATION




                               - 85-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 156 of 325




                               - 86-
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 157 of 325


                              PLAN IDENTIFICATION
Asarco's Employer Identification Number                                 Type of Plan
134924440                                                               Defined Benefit

                                                                         Ending Date of
Plan Name                                 Plan Number                    Plan Year
Retirement Income Plan                        008                           June 30
for Hourly-Rated Employees
of ASARCO Incorporated


                             PLAN ADMINISTRATOR
                                    ASARCO Incorporated
                                  Debra J. Baker, Sr. Manager
                                         Benefit Plans
                                           PO Box 8
                                     Hayden, AZ 85235
                                        (520) 356-7811

Any legal process relating to the Retirement Income Plan should be served upon the Plan
Administrator or Plan Trustee at the appropriate address as indicated above.


                                   PLAN TRUSTEE
                                      Mellon Bank, N.A.
                                    One Mellon Bank Center
                                     Pittsburgh, PA 15258


                     PLAN INVESTMENT MANAGERS
         Alliance Capital                                Ark Asset Management Co., Inc.
         1345 Avenue of the Americas                     125 Broad Street
         New York, NY 10105                              New York, NY 10004

         Capital Guardian Trust Company                  Wellington Trust Co.
         630 5th Avenue                                  100 Vanguard Blvd.
         New York, NY 10111                              Malvern, PA 19355

                                  Wasatch Advisors
                                  150 Social Hall Avenue
                                  Salt Lake City, UT 84111




                                            - 87-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 158 of 325


                           TYPE OF ADMINISTRATION
The Plan is an Employer Administered Plan and was initially effective November 18, 1986. The
Plan is administered by an Administrative Committee in accordance with authority delegated from
the Fiduciary Committee appointed by the Board of Directors of Asarco. The Fiduciary
Committee is the Named Fiduciary of the Plan under the Employee Retirement Income Security
Act of 1974 ("ERISA"). All questions relating to the interpretation of the Plan, eligibility of
employees and the amount of benefits payable in each individual case will be determined by the
Administrative Committee in accordance with the Plan provisions. The Claims Procedure,
including an appeals procedure is described below. If you are denied a benefit under this Plan,
you must exhaust the remedies available to you under the Claims Procedure before you file suit in
state or federal court.


                                         FUNDING
The entire cost of benefits under the Plan is paid by Asarco. All contributions are made to a trust
fund or to an insurance company as actuarially required in order to maintain the financial solvency
of the Plan. The trust fund is for the exclusive benefit of the participants in the Plan and their
beneficiaries. The amount of contributions needed to maintain the Plan on a sound basis, as well
as the ability of the fund to meet future obligations, is determined each year by an independent
firm of consulting actuaries.


                               CLAIMS PROCEDURE
A.   Any application or claim for benefits under the Plan shall be filed in writing with the
     Secretary of the Administrative Committee or other duly designated person on a form
     prescribed by the Administrative Committee. Written notice of the disposition of a claim or
     other advice shall be furnished the claimant within 90 days after a duly completed
     application or other claim for benefits is so filed. If special circumstances require an
     extension of time for processing the claim, the claimant shall be given written notice prior to
     the expiration of the 90-day period that an additional period not to exceed 90 days, is
     required in which to process the claim and of the date by which the rendering of a final
     decision is expected. The notice shall indicate the special circumstances requiring the
     extension. For the purpose of Paragraphs A, B and C of this Claims Procedure, the word
     "claimant" also includes persons, other than employees, who have sufficient interest to claim
     a Plan benefit and who allege a controversy exists in respect thereto, e.g., a surviving
     spouse, a retired employee or a terminated employee.

B.    If the claim is denied, the specific reasons for the denial shall be set forth in writing,
      pertinent provisions of the Plan on which the denial is based shall be cited and there shall be
      provided a description of any additional material or information necessary for the claimant
      to perfect the claim, an explanation of why such material or information is necessary, and an
      explanation of the steps to be taken if the claimant wishes to submit his or her claim for
      review.




                                              - 88-
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 159 of 325


 C.   Except as provided by Paragraph D below, if a claimant wishes to appeal a denied claim, he
      or she may request, in writing directed to the Administrative Committee or other duly
      designated person, a full and fair review of the claim and its denial. Such written request
      shall be filed by the claimant or the duly authorized representative of the claimant no later
      than 90 days after receipt of the written notification provided for in Paragraph B on the
      preceding page. The claimant or his or her duly authorized representative may review the
      pertinent documents and may submit issues and comments in writing. The decision
      following such full and fair review shall be made by no later than the date of the meeting of
      the Administrative Committee which immediately follows receipt of a request for review,
      unless the request for review is filed within 30 days preceding the date of such meeting, in
      which event a decision may be made by no later than the date of the second meeting
      following the receipt of the request for review. If special circumstances require further
      extension of time for processing, a decision shall be rendered no later than the third meeting
      of the Administrative Committee following the receipt of the request for review. The
      decision shall be communicated in writing to the claimant. If the decision on review is not
      furnished within the time period set forth above, the claim shall be deemed denied on
      review.

D.    Appeals Procedure

      This procedure which applies only to bargaining unit employees is set forth in the relevant
      Pension Agreement and provides for the arbitration of disputes arising between such
      employees and the Company as to:

        1.   The number of years of Continuous Service of an employee.

        2.   The age of such employee.

      If agreement cannot be reached, the question may be submitted for arbitration to the Federal
      Mediation and Conciliation Service. The Arbitrator will decide the question
      under the Pension Agreement and the Plan provisions. The expense of arbitration will be
      borne equally between the parties, unless they agree otherwise.

      The Appeals Procedure is the exclusive remedy for the determination of any dispute
      concerning the employee's number of years of Continuous Service or age; recourse to the
      procedure specified in Paragraph C above is available only where the question in dispute
      does not involve the employee's Continuous Service or age.

E.    Nothing in this Claims Procedure shall be construed to supersede or in any manner enlarge,
      diminish or otherwise modify the rights and/or obligations of the employer, the union and/or
      employees represented by the union under the terms and conditions of the relevant Pension
      Agreement by and between the parties and the Appeals Procedure thereof.




                                              - 89-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 160 of 325



                 STATEMENT OF ERISA RIGHTS
As a participant in the Retirement Income Plan, you are entitled to certain rights and protections
under the Employee Retirement Income Security Act of 1974 (ERISA). ERISA provides that all
Plan participants shall be entitled to:

       • Examine, without charge, at the plan administrator's office and at other specified
         locations, such as worksites and union halls, all Plan documents, including insurance
         contracts, collective bargaining agreements, and copies of all documents filed by the Plan
         with the U.S. Department of Labor, such as detailed annual reports and Plan descriptions.
       • Obtain copies of all Plan documents and other Plan information upon written request to
         the Plan administrator. The administrator may make a reasonable charge for the copies.
       • Receive a summary of the Plan's annual financial report. The Plan administrator is
         required by law to furnish each participant with a copy of this summary annual report.
       • Obtain a statement telling you whether you have a right to receive a pension at normal
         retirement age (age 65) and if so what your benefits would be at normal retirement age if
         you stop working under the Plan now. If you do not have a right to a pension, the
         statement will tell you how many more years you have to work to get a right to a
         pension. This statement must be requested in writing and is not required to be given
         more than once a year. The Plan must provide the statement free of charge.

In addition to creating rights for Plan participants, ERISA imposes duties upon the people who are
responsible for the operation of the employee benefit plan. The people who operate your Plan,
called "fiduciaries" of the Plan, have a duty to do so prudently and in the interest of you and other
Plan participants and beneficiaries. No one, including your employer, your union, or any other
person, may fire you or otherwise discriminate against you in any way to prevent you from
obtaining a pension benefit or exercising your rights under ERISA. If your claim for a pension
benefit is denied in whole or in part you must receive a written explanation of the reason for the
denial. You have the right to have the Plan review and reconsider your claim.

Under ERISA, there are steps you can take to enforce the above rights. For instance, if you
request materials from the Plan and do not receive them within 30 days, you may file suit in a
federal court. In such a case, the court may require the Plan administrator to provide the materials
and pay you up to $100 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the administrator. If you have a claim for benefits which
is denied or ignored, in whole or in part, you may file suit in a state or federal court. If it should
happen that Plan fiduciaries misuse the Plan's money, or if you are discriminated against for
asserting your rights, you may seek assistance from the U.S. Department of Labor, or you may file
suit in a federal court. The court will decide who should pay court costs and legal fees. If you are
successful, the court may order the person you have sued to pay these costs and fees. If you lose,
the court may order you to pay these costs and fees, for example, if it finds your claim is frivolous.
If you have any questions about your Plan, you should contact the Plan administrator. If you have
any questions about this statement or about your rights under ERISA, you should contact the
nearest Area Office of the U.S. Labor Management Services Administration, Department of
Labor.




                                               - 90-
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 161 of 325



              AMENDMENT AND TERMINATION
The Company expects and intends to continue the Plans indefinitely. However, the Company
reserves the right to amend or terminate the Plans at any time and for any reason. If the Plans are
amended or terminated you and other active and retired employees may not receive benefits as
described in other sections of this booklet. You may be entitled to receive different benefits, or
benefits under different conditions. However, it is possible that you will lose all benefit coverage.
This may happen at any time, even after you retire, if the Company decides to terminate the Plans
or your coverage under the Plans. In no event will you become entitled to any vested rights under
these plans.


         WHAT HAPPENS IF YOUR PLAN IS TERMINATED
It is Asarco's present intention to continue the Plan, however, the Company reserves the right to
modify or terminate the Plan as and to the extent legally permissible. Were the Plan to be
terminated, the available assets of the trust fund will be used to defray the cost of reasonable Plan
expenses and the cost of providing benefits to Plan participants; any residual assets in excess of
assets needed to pay such benefits and expenses shall be returned to the Company. In addition,
certain benefits under this Plan are insured by the Pension Benefit Guaranty Corporation (PBGC)
if the Plan terminates. Generally, the PBGC guarantees most vested normal age retirement
benefits, early retirement benefits, and certain disability and survivor's pensions. However, PBGC
does not guarantee all types of benefits under covered plans, and the amount of benefit protection
is subject to certain limitations.

The PBGC guarantees vested benefits at the level in effect on the date of Plan termination.
However, if a plan has been in effect less than five years before it terminates, or if benefits have
been increased within the five years before termination, the whole amount of the plan's vested
benefits or the benefit increase may not be guaranteed. In addition, there is a ceiling on the
amount of monthly benefit that PBGC guarantees, which is adjusted periodically.

In the event the Plan is terminated and the then present value of a Vested Deferred Benefit of a
terminated employee who has not yet reached a benefit commencement date is $5,000 or less,
such present value shall be payable as soon as practicable in a single lump sum.

For more information on the PBGC insurance protection and its limitations, ask the PBGC.
Inquiries to the PBGC should be addressed to the Office of Communications, PBGC, 2020 K
Street N.W., Washington, D.C. 20006. The PBGC Office of Communications may also be
reached by calling (202) 778-8800.




                                               - 91-
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 162 of 325




              EXHIBIT C
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 163 of 325
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 164 of 325




                                        TABLE OF CONTENTS
ARTICLE 1. AGREEMENT.....................................................................................................1
   SECTION A.        PARTIES TO THE AGREEMENT ...................................................................................... 1
   SECTION B.        TERM OF THE AGREEMENT ......................................................................................... 2
ARTICLE 2. UNION SECURITY..............................................................................................4
   SECTION A.        RECOGNITION AND COVERAGE .................................................................................... 4
   SECTION B.        UNION MEMBERSHIP AND DUES CHECKOFF.................................................................. 8
   SECTION C.        PAC AND SOAR CHECKOFF ....................................................................................... 9
   SECTION D.        SUCCESSORSHIP .................................................................................................... 10
   SECTION E.        NEUTRALITY ........................................................................................................... 11
   SECTION F.        BARGAINING UNIT WORK ......................................................................................... 16
   SECTION G.        PRINTING OF CONTRACTS ......................................................................................... 21
   SECTION H.        HIRING PREFERENCE .............................................................................................. 21
   SECTION I.        UNION OFFICERS - STRAIGHT SHIFTS ......................................................................... 21
   SECTION J.        BULLETIN BOARDS.................................................................................................. 22
ARTICLE 3. HEALTH, SAFETY AND THE ENVIRONMENT ....................................................23
   SECTION A.        EMPLOYEE AND UNION RIGHTS ................................................................................. 23
   SECTION B.        SAFE AND HEALTHFUL WORKPLACE........................................................................... 23
   SECTION C.        RIGHT TO REFUSE UNSAFE WORK ............................................................................. 24
   SECTION D.        PERSONAL PROTECTIVE EQUIPMENT .......................................................................... 24
   SECTION E.        SAFETY AND HEALTH TRAINING ................................................................................. 25
   SECTION F.        MEDICAL PROGRAM FOR WORKPLACE INJURIES AND ILLNESSES.................................... 25
   SECTION G.        POLICY ON ALCOHOLISM AND DRUG ABUSE ................................................................ 26
   SECTION H.        JOINT SAFETY AND HEALTH COMMITTEE ..................................................................... 26
   SECTION I.        JOINT ENVIRONMENTAL ISSUES ................................................................................. 28
   SECTION J.        UNION SAFETY AND HEALTH REPRESENTATIVES ........................................................... 28
   SECTION K.        RIGHT TO PARTICIPATE IN ACCIDENT INVESTIGATIONS ................................................... 28
   SECTION L.        CARBON MONOXIDE CONTROL, TOXIC SUBSTANCES AND HARMFUL PHYSICAL AGENTS...... 29
   SECTION M.        ERGONOMICS ......................................................................................................... 29
   SECTION N.        SAFETY SHOE ALLOWANCE ....................................................................................... 30
   SECTION O.        NO UNION LIABILITY ................................................................................................ 30
   SECTION P.        SHOWERING .......................................................................................................... 30
   SECTION Q.        NEW OR CHANGED WORK PROCESSES ....................................................................... 30
   SECTION R.        SAFETY EDUCATION AND TRAINING ............................................................................ 30
ARTICLE 4. CIVIL RIGHTS ..................................................................................................31
   SECTION A.        NON-DISCRIMINATION ............................................................................................. 31
   SECTION B.        CIVIL RIGHTS COMMITTEE ........................................................................................ 32
   SECTION C.        WORKPLACE HARASSMENT, AWARENESS AND PREVENTION .......................................... 33
   SECTION D.        CHILD CARE, ELDER CARE AND DEPENDENT CARE ...................................................... 34
ARTICLE 5. WORKPLACE PROCEDURES ..........................................................................35
   SECTION A.        LOCAL WORKING CONDITIONS .................................................................................. 35
   SECTION B.        JOB EVALUATION AND NEW OR CHANGED JOBS ............................................................ 36
   SECTION C.        HOURS OF WORK ................................................................................................... 37
   SECTION D.        OVERTIME ............................................................................................................. 39
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 165 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 166 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 167 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 168 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 169 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 170 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 171 of 325

                                                                       Article 2. Union Security

          and Aerospace Workers (IAM) Local 2181: 28-RC-856 and 28-RC-5091;
          International Brotherhood of Boilermakers, Iron Shipbuilders, Blacksmiths, Forgers
          and Helpers (Boilermakers) Local 627: 28-RC-857; United Association of
          Journeymen and Apprentices of the Plumbing and Pipefitting Industry of the United
          States and Canada (UA) Local 741: 28-RC-858; Millwright Local 1984: 28-RC-863;
          International Brotherhood of Electrical Workers (IBEW) Local 518: 21-RC-769 and
          28-RC-5099; and

     g.   the USW as the exclusive bargaining agent for all employees of its Silver Bell
          Mining, L.L.C., who come under the jurisdiction of the USW for the purpose of
          collective bargaining.

2.   Individuals in the bargaining unit shall be referred to in this Agreement as “Employees.”
     Individuals who are employed by the Company and are not in the bargaining unit shall be
     referred to as “non-bargaining unit employees.” Individuals who are in the bargaining unit
     and those who are not in the bargaining unit shall be collectively referred to as
     “employees.”

3.   Except as expressly provided herein, the provisions of this BLA constitute the sole
     procedure for the processing and settlement of any claim by an Employee or the Union of a
     violation by the Company of this Agreement. As the representative of the Employees, the
     Union may process grievances through the grievance procedure, including arbitration, in
     accordance with this BLA or may adjust or settle same.

4.   When the Company establishes a new or changed job whose duties include a material level
     of production or maintenance work; the resulting job shall be considered a job covered
     within the bargaining unit; provided that where non-bargaining unit duties are added to a
     job in the bargaining unit on a temporary basis, they may be withdrawn.

5.   It is understood that supervisors at a plant shall not perform work on a job normally
     performed by the bargaining unit except:

     a.   experimental work;

     b.   demonstration work performed for the purpose of instructing and training Employees;
          and

     c.   work required by conditions which, if not performed, might result in interference with
          operations, bodily injury or loss or damage to material or equipment.

6.   If a supervisor or other non-bargaining unit employee performs work in violation of
     Paragraph 5 and the Employee who otherwise would have performed this work can
     reasonably be identified, the Company shall pay such Employee his/her applicable Regular
     Rate of Pay for the time involved or for one (1) hour, whichever is greater.




                                                5
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 172 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 173 of 325

                                                                   Article 2. Union Security

     to fill a leadperson position, the Union may file a grievance over the Company's
     determination of qualifications.

g.   The parties agree that in the event the National Labor Relations Board or the courts
     issue any decision(s) placing in question the supervisory status, as defined under the
     National Labor Relations Act, of any bargaining unit leadman classification, then the
     parties will, if necessary, modify the duties and responsibilities of said classification
     so that said classification remains a bargaining unit position.




                                           7
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 174 of 325

                                                                         Article 2. Union Security


                                 Article 2. Union Security

Section B.    Union Membership and Dues Checkoff

1.   The Company will check off dues or service charges each payroll period, including, where
     applicable, initiation fees and assessments, each in amounts as designated by the
     International Union Secretary-Treasurer, effective upon receipt of individually signed
     voluntary checkoff authorization cards. The Company shall within ten (10) days remit any
     and all amounts so deducted to the International Union Secretary-Treasurer (or equivalent)
     with a completed summary of USW Form R-115 (or its equivalent).

2.   At the time of employment, the Company will advise each new Employee that s/he may
     voluntarily execute an authorization for the checkoff of amounts due or to be due under
     Paragraph 1. A copy of the card will be forwarded at the time of signing to the Financial
     Secretary of the Local Union.

3.   To the extent available through the Company’s Information System, the Union will be
     notified of the amount transmitted for each authorizing Employee (including the hours and
     earnings used in the calculation of such amount) and, where applicable, the reason for non-
     transmission with respect to any Employee formerly on checkoff, such as in the case of
     interplant transfer, layoff, discharge, resignation, leave of absence, sick leave, retirement,
     death or insufficient earnings.

4.   The Union shall indemnify the Company and hold it harmless against any and all claims,
     demands, suits and liabilities that shall arise out of or by reason of any action taken by the
     Company for the purpose of complying with the foregoing provisions.




                                                 8
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 175 of 325

                                                                    Article 2. Union Security


                               Article 2. Union Security

Section C.    PAC and SOAR Checkoff

1.   The Company will deduct Political Action Committee (PAC) contributions for active
     Employees who have submitted authorization for such deductions from their wages and for
     retirees who have submitted authorization for such deductions from their pension. Such
     deductions shall be on a form reasonably acceptable to the Company and shall be promptly
     remitted to the Secretary-Treasurer of the Union’s PAC Fund.

2.   For retirees who are or wish to become members of the Steelworkers Organization of
     Active Retirees (SOAR) (or equivalent for other Unions) and who have submitted
     authorization for such deductions from their pension, the Company will deduct monthly
     SOAR dues from their pension. Such deductions shall be on a form reasonably acceptable
     to the Company and shall be promptly remitted to the International Union Secretary-
     Treasurer.




                                              9
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 176 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 177 of 325

                                                                          Article 2. Union Security


                                     Article 2. Union Security

Section E.         Neutrality

1.   Introduction

     The Company and the Union have developed a constructive and harmonious relationship
     built on trust, integrity and mutual respect. The parties place a high value on the
     continuation and improvement of that relationship.

2.   Neutrality

     a.      To underscore the Company’s commitment in this matter, it agrees to adopt a position
             of Neutrality regarding the unionization of any hourly-paid production and
             maintenance employees of the Company in the United States and Canada.

     b.      Neutrality means that, except as explicitly provided herein, the Company will not in
             any way, directly or indirectly, involve itself in any matter which involves the
             unionization of its employees, including but not limited to efforts by the Union to
             represent the Company’s employees or efforts by its employees to investigate or
             pursue unionization.

     c.      The Company’s commitment to remain neutral as defined above may only cease upon
             the Company demonstrating to the arbitrator under Paragraph 5 below that in
             connection with an Organizing Campaign (as defined in Paragraphs 3(a) through 3(c)
             below) the Union is intentionally or repeatedly (after having the matter called to the
             Union’s attention) materially misrepresenting to the employees the facts surrounding
             their employment or is unfairly demeaning the integrity or character of the Company
             or its representatives.

3.   Organizing Procedures

     a.      Prior to the Union distributing authorization cards to non-represented employees at a
             facility owned, controlled or operated by the Company, the Union shall provide the
             Company with written notification (Written Notification) that an organizing
             campaign (Organizing Campaign) will begin. The Written Notification will include a
             description of the proposed bargaining unit.

     b.      The Organizing Campaign shall begin immediately upon provision of Written
             Notification and continue until the earliest of: (1) the Union gaining recognition
             under Paragraph 3(d)(5) or; (2) written notification by the Union that it wishes to
             discontinue the Organizing Campaign.

     c.      Upon Written Notification the following shall occur:

             (1)    Notice Posting


                                                 11
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 178 of 325

                                                                Article 2. Union Security



          The Company shall post a notice on all bulletin boards of the facility where
          notices are customarily posted as soon as the Unit Determination Procedure in
          Paragraph 3(d)(3) below is completed. This notice shall read as follows:

          “NOTICE TO EMPLOYEES

          We have been formally advised that the United Steelworkers is conducting an
          organizing campaign among certain of our employees. This is to advise you
          that:

          1.   The Company does not oppose collective bargaining or the unionization of
               our employees.

          2.   The choice of whether or not to be represented by a union is yours alone to
               make.

          3.   We will not interfere in any way with your exercise of that choice.

          4.   In their conduct of the organizing effort, the Union and its representatives
               are prohibited from misrepresenting the facts surrounding your
               employment. Nor may they unfairly demean the integrity or character of
               the Company or its representatives.

          5.   If the Union secures a simple majority of authorization cards of the
               employees in [insert description of bargaining unit provided by the Union]
               the Company shall recognize the Union as the exclusive representative of
               such employees without a secret ballot election conducted by the National
               Labor Relations Board.

          6.   The authorization cards must unambiguously state that the signing
               employees desire to designate the Union as their exclusive representative.

          7.   Employee signatures on the authorization cards will be confidentially
               verified by a neutral third party chosen by the Company and the Union.”

          Following receipt of Written Notification, the Company will not communicate
          to its employees on subjects which directly or indirectly concern unionization
          on the issues covered in the Notice set forth above or raised by other terms of
          this Neutrality Section.

    (2)   Employee Lists

          Within five (5) days following Written Notification, the Company shall provide
          the Union with a complete list of all of its employees in the proposed bargaining
          unit who are eligible for Union representation. Such list shall include each


                                        12
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 179 of 325

                                                                  Article 2. Union Security

          employee’s full name, home address, job title and work location. Upon the
          completion of the Unit Determination Procedure described in Paragraph 3(d)(3)
          below, an amended list will be provided if the proposed unit is changed as a
          result of such Unit Determination Procedure. Thereafter during the Organizing
          Campaign, the Company will provide the Union with updated lists monthly.

    (3)   Determination of Appropriate Unit

          As soon as practicable following Written Notification, the parties will meet to
          attempt to reach an agreement on the unit appropriate for bargaining. In the
          event that the parties are unable to agree on an appropriate unit, either party
          may refer the matter to the Dispute Resolution Procedure contained in
          Paragraph 7 below. In resolving any dispute over the scope of the unit, the
          arbitrator shall apply the principles used by applicable U.S. Labor Law.

    (4)   Access to Company Facilities

          During the Organizing Campaign the Company, upon written request, shall
          grant continuous access to well-traveled areas of its facilities to the Union for
          the purpose of distributing literature and meeting with unrepresented Company
          employees. Distribution of Union literature shall not compromise safety or
          production or unreasonably disrupt ingress or egress or the normal business of
          the facility. Distribution of Union literature and meetings with employees shall
          be limited to non-work areas during non-work time.

    (5)   Card Check/Union Recognition

          (a)   If, at any time during an Organizing Campaign which follows the
                existence of a substantial and representative complement of employees in
                any unit appropriate for collective bargaining, the Union demands
                recognition, the parties will request that a mutually acceptable neutral
                conduct a card check within five (5) days of the making of the request.

          (b)   The neutral shall confidentially compare the authorization cards submitted
                by the Union against original handwriting exemplars of the entire
                bargaining unit furnished by the Company. If the neutral determines that
                a simple majority of eligible employees has signed cards which
                unambiguously state that the signing employees desire to designate the
                Union as their exclusive representative for collective bargaining purposes,
                and that cards were signed and dated during the Organizing Campaign,
                then the Company shall recognize the Union as the exclusive
                representative of such employees without a secret ballot election
                conducted by the National Labor Relations Board.

          (c)   The list of eligible employees submitted to the neutral shall be jointly
                prepared by the Union and the Company.


                                         13
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 180 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 181 of 325

                                                                    Article 2. Union Security



b.   The arbitrator’s award shall be final and binding on the parties and all employees
     covered by this Section. Each party expressly waives the right to seek judicial review
     of said award; however, each party retains the right to seek judicial enforcement of
     said award.

c.   For any dispute under this Section, the parties shall choose the arbitrator from the list
     of arbitrators described in the Grievance and Arbitration procedure, contacting them
     in the order listed, and retaining the first to indicate an ability to honor the time table
     set forth above for the hearing and the decision.




                                           15
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 182 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 183 of 325

                                                                       Article 2. Union Security

                Fabrication Work is the creation outside of the plant or its environs of items or
                parts used in the Company’s business which are not themselves, either directly
                or after additional work is performed on them, sold to customers. Repair Work
                is the repair, renovation or reconstruction of those items. Fabrication and Repair
                Work may be performed by Outside Entities only where the location of the
                work’s performance is for a bona fide business purpose and the Company can
                demonstrate a meaningful sustainable economic advantage to having such work
                performed by an Outside Entity. In determining whether a meaningful
                sustainable economic advantage exists, lower wage rates, if any, of the Outside
                Entity shall not be a factor.

          (2)   Production Work

                The Company may use Outside Entities to perform production work outside the
                plant and its environs provided the Company demonstrates that it is utilizing
                plant equipment to the maximum extent consistent with equipment capability
                and customer requirements and the Company is making necessary capital
                investments to remain competitive in the copper business and is in compliance
                with Article Eleven, Section B (Investment Commitment).

     c.   Warranty Work

          Warranty Work is work performed pursuant to a warranty obtained at the time of
          purchase on new or rehabilitated equipment or systems. Warranty Work is work
          which is not a service contract and which is performed pursuant to a pre-existing
          warranty on new or rehabilitated equipment or systems. The Company may use
          Outside Entities to perform Warranty Work provided the guarantor of the Warranty
          Work is responsible for the cost of such work.

3.   Commitment

     In addition to the understandings described in Paragraphs 1 and 2 above, the Company
     agrees that:

     a.   where total hours worked by employees of Outside Entities over a period of time are
          sufficient to indicate that the work is full time and of a continuing duration, the work
          performed by such Outside Entities will be assigned to Employees and the number of
          Employees will be appropriately increased if necessary, unless the Company is able
          to clearly demonstrate: that the work cannot be performed by the addition of an
          Employee(s); that assignment of the work to Employees would not be economically
          feasible; or that the Company, despite its best efforts, has been unable to hire
          Employees necessary to perform the work. In determining whether the assignment of
          the work to Employees is or is not economically feasible, the lower wage rates, if
          any, of an Outside Entity shall not be a factor.




                                               17
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 184 of 325

                                                                        Article 2. Union Security

     b.   The parties agree that the Union may at any time enforce the obligations described
          above, irrespective of the Company’s compliance with any other obligation in this
          Section or any other part of the Agreement, and that an arbitrator shall specifically
          require the Company to meet the above Commitment, including imposing hiring
          orders and penalties.

     c.   The Company shall supply the Bargaining Unit Work Committee (as defined below)
          with all requested information regarding compliance with the Commitment.

4.   Bargaining Unit Work Committee

     At each plant a committee consisting of four (4) individuals, two (2) individuals designated
     by each of the parties, shall be constituted to serve as the Bargaining Unit Work
     Committee. The Committee shall meet as required but not less than monthly to:

     a.   review bargaining unit force levels for the plant;

     b.   review historical contractor utilization by the plant;

     c.   review projections for contractor utilization by the plant;

     d.   monitor the implementation of new programs or hiring to reduce contractor
          utilization; and develop new ideas and implementation plans to effectively reduce
          contractor usage as per the terms of this Section.

5.   Notice and Information

     a.   Prior to the Company entering into any agreement or arrangement to use Outside
          Entities to perform Bargaining Unit Work, the Company will provide written notice
          to the Bargaining Unit Work Committee in sufficient time to permit a final
          determination, using the Expedited Procedure, of whether or not the proposed use of
          Outside Entities meets the criteria herein. Such notice shall include the following:

          (1)   location, type, duration and detailed description of the work;

          (2)   occupations involved and anticipated utilization of bargaining unit forces;

          (3)   effect on operations if the work is not completed in a timely fashion; and

          (4)   copies of any bids from Outside Entities and any internal estimating done by or
                on behalf of the Company regarding the use of the Outside Entities.

     b.   Should the Union believe a meeting to be necessary, a written request shall be made
          within five (5) days (excluding Saturdays, Sundays and holidays) after receipt of such
          notice. The meeting shall be held within three (3) days (excluding Saturdays, Sundays
          and holidays) thereafter. At such meeting, the parties shall review in detail the plans


                                                18
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 185 of 325

                                                                      Article 2. Union Security

          for the work to be performed and the reasons for using Outside Entities. The Union
          shall be provided with all information available to the Company concerning the use
          of Outside Entities at issue.

     c.   Should the Company fail to give notice as provided above, then not later than thirty
          (30) days from the later of the date of the commencement of the work or when the
          Union becomes aware of the work, a grievance relating to such matter may be filed.

6.   Mutual Agreement

     a.   As of the Effective Date, all agreements, understandings or practices of any kind that
          directly or indirectly permit the use of Outside Entities to perform Bargaining Unit
          Work are hereby agreed to be null and void.

     b.   In the event the Bargaining Unit Work Committee resolves a matter in a fashion
          which in any way permits the use of Outside Entities, such resolution shall be final
          and binding only as to the matter under consideration and shall not affect future
          determinations under this Section.

     c.   No agreement, whether or not reached pursuant to this Section, which directly or
          indirectly permits the use of Outside Entities on an ongoing basis, shall be valid or
          enforceable unless it is in writing and signed by the President/Unit Chair and the
          Grievance Committee Chair/Unit Grievance Committeeperson of the affected Local
          Union. Any such valid agreement shall expire on the Termination Date of this
          Agreement, unless signed by a Representative of the International Union.

7.   Expedited Procedure

     In the event the Union requests an expedited resolution of any dispute arising under this
     Section, it shall be submitted to the Expedited Procedure in accordance with the following:

     a.   Within three (3) days (excluding Saturdays, Sundays and holidays) after the Union
          determines that the Bargaining Unit Work Committee cannot resolve the dispute, the
          Union may advise the Company in writing that it is invoking this Expedited
          Procedure.

     b.   An expedited arbitration must be scheduled within three (3) days (excluding
          Saturdays, Sunday and holidays) of such notice and heard at a hearing commencing
          within five (5) days (excluding Saturdays, Sundays and holidays) thereafter.

     c.   The arbitrator shall render a decision within forty-eight (48) hours (excluding
          Saturdays, Sundays and holidays) of the conclusion of the hearing.

     d.   No testimony offered by an individual associated with an Outside Entity may be
          considered in any proceeding unless the party calling the outsider provides the other
          party with a copy of each Outside Entity document to be offered in connection with


                                              19
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 186 of 325

                                                                       Article 2. Union Security

          such testimony at least forty-eight (48) hours (excluding Saturdays, Sundays and
          holidays) before commencement of that hearing.


     e.   Notwithstanding any other provision of this Agreement, any case heard in the
          Expedited Procedure before the work in dispute was performed may be reopened by
          the Union if such work, as actually performed, varied in any substantial respect from
          the description presented in arbitration. The request to reopen the case must be
          submitted within seven (7) days of the date on which the Union knew or should have
          known of the variance.

8.   Quarterly Review

     a.   Not less than quarterly, the Bargaining Unit Work Committee shall meet with the
          Local Union President/Unit Chair and the General Manager of the plant, for the
          purpose of reviewing all work for which the Company anticipates utilizing Outside
          Entities at some time during the next or subsequent quarters. The Union shall be
          entitled to review any current or proposed contracts concerning such work and shall
          keep such information confidential.

     b.   During the review, the Bargaining Unit Work Committee may (1) agree on items of
          work that should be performed by Outside Entities for which Notice under Paragraph
          5 above is therefore not required; or (2) disagree on which items of work should be
          performed by Employees and which should be performed by Outside Entities for
          which notice under Paragraph 5 is therefore required.

     c.   During the quarterly review, the Company will provide to the Bargaining Unit Work
          Committee a detailed report showing work performed by Outside Entities since the
          last such report. For each item of work the report shall include the date and shift the
          work was performed; a description of the work; the trade, craft or occupation of the
          individual(s) performing the work; and the total number of hours worked by each
          contracting entity or individual.




                                               20
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 187 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 188 of 325

                                                                      Article 2. Union Security

Section J.    Bulletin Boards

Bulletin Boards shall be provided at convenient locations on the Company's property for the
exclusive use of the Union. All posted notices shall have been approved by the president or
secretary of the Union. The Union agrees not to post literature derogatory of the Company or its
employees.




                                               22
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 189 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 190 of 325

                                                  Article 3. Health, Safety and the Environment




Section C.     Right to Refuse Unsafe Work

1.   If an Employee, acting in good faith and on the basis of objective evidence, believes that
     there exists an unsafe or unhealthful condition beyond the normal hazards inherent in the
     operation (Unsafe Condition), s/he shall notify his/her immediate supervisor. The
     Employee and the supervisor will make every attempt to resolve the condition in the
     interest of safety. Thereafter, s/he has the right, subject to reasonable steps for protecting
     other Employees and equipment, to be relieved from duty on that job and to return to that
     job only when the Unsafe Condition has been remedied. The Company may assign the
     Employee to other available work in the plant, consistent with this Agreement and without
     displacing another Employee.

2.   If the Company disputes the existence of the allegedly Unsafe Condition, the Grievance
     Chair, appropriate Union Safety Committee Representative, and the Plant General Manager
     or their designees will immediately investigate and determine whether it exists. Thereafter,
     should the Company assign another Employee to the job, s/he will be advised of the dispute
     before assignment.

3.   If after the investigation it is determined that the Unsafe Condition existed, the Employee
     will be made whole for any lost time in connection with the condition. If after the
     investigation the Company does not agree that an Unsafe Condition exists, the Union has
     the right to present a grievance in writing to the appropriate Company representative and
     thereafter the Employee shall continue to be relieved from duty on the job. The grievance
     will be presented without delay directly to an arbitrator, who will determine whether the
     Employee acted in good faith in leaving the job and whether the Unsafe Condition was in
     fact present.

4.   No Employee who in good faith exercises his/her rights under this Section will be
     disciplined therefore.

5.   If an arbitrator determines that an Unsafe Condition within the meaning of this Section
     exists, s/he shall order that the Condition be corrected and that the correction occur before
     the Employee returns to work on the job in question and the Employee shall be made whole
     for any lost earnings.


Section D.     Personal Protective Equipment

The Company will provide, without cost to the Employee, goggles, hard hats, non-prescription
safety glasses, hearing protectors, face shields, respirators, special-purpose gloves, protective
clothing, harnesses, and other effective protective equipment, in good working order when
required by law or regulation or when necessary to protect Employees from injury or illness.
When a non-probationary Employee requires prescription safety glasses, the Company will pay
for up to two (2) pairs as necessary in each two (2) year period. Prescription safety glasses shall


                                                 24
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 191 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 192 of 325

                                                Article 3. Health, Safety and the Environment

     with the written authorization of the Employee; provided that the Company may use or
     supply such medical examination reports of its Employees in response to subpoenas,
     requests by a governmental agency authorized by law to obtain such reports, in arbitration
     or litigation of any claim or action involving the Company and the Employee, and
     otherwise within the Company strictly on a need-to-know basis. Upon written request by
     the Employee, the Company will provide the Employee with a copy of the Employee’s
     medical records at no cost to the Employee. All medical examinations will be conducted by
     or under the supervision of a licensed physician.


Section G.    Policy on Alcoholism and Drug Abuse

1.   To facilitate rehabilitation of Employees who abuse alcohol or drugs, before they violate
     the Alcohol and Drug Abuse Policy, the Company and the Union agree to establish an
     Employee Assistance Program (EAP) administered and funded by the Company. The EAP
     will utilize professional and/or peer counselors and will operate under strict rules of need-
     to-know confidentiality.

2.   The Company may require an Employee to submit to a drug or alcohol test as set forth in
     the attached Exhibit A, Alcohol and Drug Abuse Policy.

3.   Employees will not be required to submit to drug or alcohol testing for any other reason,
     unless such testing is required by law. The Company agrees that it will not test for drugs or
     alcohol based solely on anonymous tips.

4.   Drug and alcohol tests will utilize scientifically accepted methods for evaluating
     impairment. When a biological sample is taken, a portion will be retained for retesting,
     should the Employee dispute the initial results.

5.   Employees who are found through testing to have abused alcohol or drugs will be offered
     rehabilitation. However, this provision does not affect the right of the Company to
     discipline or discharge Employees for violation of Exhibit A, plant rules or for working or
     attempting to work while impaired. A positive test result will be proof of impairment.


Section H.    Joint Safety and Health Committee

1.   A Joint Safety and Health Committee (Joint Safety Committee) will be established at each
     facility to be composed of not less than three (3) nor more than five (5) Employees
     designated by the Union, including a Local Union President/Unit Chair, and an equal
     number of employees designated by the Company, including the General Manager or his
     designee. The parties will designate their respective Co-Chairs and provide each other with
     updated lists of their members of the Joint Safety Committee.

2.   The Joint Safety Committee will have the following functions: participating in the design
     of Employee safety and health programs; assisting in the establishment of safe job


                                               26
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 193 of 325

                                                  Article 3. Health, Safety and the Environment

     procedures; overseeing and participating in plant safety and health audits (including annual
     comprehensive audits of the entire plant); reviewing plant safety rules; participating in the
     investigation of workplace accidents; reviewing accident, injury, illness and other statistics
     related to safety and health; participating in the design of Employee safety and health
     training programs; reviewing changes in plant technology or operations for their personal
     protective equipment; discussing the Company’s response to proposed regulations and
     legislation affecting safety and health; participating in and reviewing the results of safety
     and health inspections or industrial hygiene monitoring by OSHA, MSHA, and NIOSH;
     collecting and responding to safety and health concerns raised by individual members of
     the Joint Safety Committee or Employees; and working together to promote an awareness
     of safety and health hazards and safe work procedures.

3.   The Joint Safety Committee will hold periodic meetings at times jointly determined by the
     Co-Chairs, but no less often than monthly. The Co-Chairs may jointly call a special
     meeting of the Joint Safety Committee.

4.   The Company and the Union will each keep minutes of meetings. Prior to every regular
     meeting, the Company will prepare a written response to concerns or action items noted at
     the previous meeting, as well as any open items from previous meetings. The two (2) sets
     of minutes, or a jointly agreed reconciled version, along with the Company’s written
     response to concerns and action items, will be included in the official record of the
     meeting.

5.   The Company will not make any non-emergency changes to plant safety and health
     programs, policies or rules; introduce new protective equipment or eliminate existing
     protective equipment; or modify safety and health training, unless the Joint Safety
     Committee has been notified and the Union has been provided the opportunity to discuss
     the change.

6.   The Joint Safety Committee will not handle grievances, although it may discuss safety and
     health issues that have led to a grievance.

7.   Members of the Joint Safety Committee will be afforded access, consistent with their own
     safety and the safety of the operation, to all operational areas of the plant, upon notification
     to the appropriate management representative. The director of the Union Safety
     Department or his/her designee will be allowed access to the plant upon notification to the
     Company.

8.   The parties will sponsor an annual safety and health meeting, attended by Union members
     of the Joint Safety Committee from each plant covered by this Agreement, appropriate
     Company counterparts and members of the Union Safety Department. The Company will
     pay reasonable travel expenses, including lodging and meals, and lost time earnings.

9.   The Union members of the Joint Safety Committee will be compensated for all time spent
     meeting with the Company on Committee work.



                                                 27
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 194 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 195 of 325

                                                Article 3. Health, Safety and the Environment

Section L.    Carbon Monoxide Control, Toxic Substances and Harmful Physical Agents

1.   The Company will routinely perform engineering surveys of hazards, periodic in-plant
     industrial hygiene sampling, and testing for harmful physical agents at each location
     covered by this Agreement. The survey, to be conducted by qualified personnel, will list
     locations from which significant amounts of carbon monoxide, toxic substances and
     harmful physical agents could escape, the conditions which might cause such a release, and
     the steps necessary to minimize or control the hazard. The survey will be updated annually
     and whenever significant changes are made to the gas-handling system or procedure.

2.   Based on sampling and surveys, the Company will implement a program for the control of
     such hazards as necessary including engineering and equipment changes necessary to
     eliminate or reduce the hazards identified in the survey; necessary amendments to safe job
     procedures; the installation and regular testing of fixed automatic monitors equipped with
     alarms; the use of portable monitors; regular inspection and maintenance of testing
     equipment; provision of an adequate number of approved breathing apparatus appropriate
     for emergency operations and in locations readily accessible to Employees; Employee
     training including regular drills; an emergency rescue program with appropriate rescue and
     trained personnel; and the investigation by the Joint Safety Committee of all incidents
     which involve the accidental releases of such hazards, cause an alarm to trigger or result in
     an elevated level of carboxyhemoglobin in any exposed person. The Joint Safety
     Committee will review the survey and the program whenever it is updated.

3.   Where the Company is currently using chemicals, solvents and/or compounds or when new
     chemicals, solvents and/or compounds are to be introduced, the Company will inform the
     Joint Management-Union Safety and Health Committee what known hazards in normal use
     are involved, if any, and what precautions will be taken to assure the safety and health of
     employees involved. Those employees that will be required to work with or in the area of
     such chemicals, solvents and/or compounds, will be instructed in the hazards, precautions
     and handling procedures of such materials. On request of the committee's Union
     representatives, the Company will provide written assurance that such steps have been
     taken.

4.   The Company will keep such records of exposure as may be required by the U.S.
     Department of Labor. On request of the Committee's Union Representatives, the Company
     will review the results of exposure measurements with them.


Section M.    Ergonomics

The parties will establish a program to identify ergonomic risks in the plant and recommend
controls.




                                               29
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 196 of 325

                                                Article 3. Health, Safety and the Environment

Section N.     Safety Shoe Allowance

On October 1 of each year, each Employee, other than a probationary Employee, will be
provided a voucher for use at local vendor(s) designated by the Company for the full purchase
price from an approved list of one (1) pair of safety shoes for the Employee’s use at work;
however, the Company will continue its safety shoe practice in OSHA regulated areas.


Section O.     No Union Liability

The Company has the exclusive legal responsibility for safety and health conditions in the plant
and for environmental matters. Neither the Union nor its representatives, officers, employees or
agents will in any way be liable for any work-related injuries or illnesses or for any
environmental pollution that may occur.


Section P.     Showering

The Company may require certain Employees to shower immediately before or after the
completion of the workday. In such cases, fifteen (15) minutes will be allotted for showering and
related activities when required before the end of the workday or if so designated by the
Company, where required after the completion of the Employees’ workday.


Section Q.     New or Changed Work Processes

When the Company plans to implement significant changes in its work processes or the
introduction of new machinery, the Company will notify the Union(s) of such plans. The
Employees who work on the changed or new work process or the new machinery shall be
instructed in their safe operation.


Section R.     Safety Education and Training

1.   All newly-hired Employees shall be given an orientation by the Company concerning the
     Company's safety and health programs. The newly-hired Employee shall then be taken to
     the supervisor in the area in which he/she is to work and instructed on safety and health
     matters relating to the job and his safety responsibilities to himself/herself and to fellow
     workers. Likewise, he/she shall be introduced to the area's Union Safety and Health
     Committeeperson, or the Union Safety and Health Chairman, when one of these and the
     Employee are both available.

2.   Instructions on safety and health matters will be given to all affected Employees as changes
     in circumstances or assignments may warrant.




                                               30
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 197 of 325

                                                                               Article 4. Civil Rights


                                     Article 4. Civil Rights

Section A.      Non-Discrimination

1.   The provisions of this Agreement shall be applied to all Employees without regard to:

     a.      race, color, religious creed, national origin, sexual orientation, handicap or disability
             or status as a veteran; or

     b.      sex or age, except where sex or age is a bona fide occupational qualification; or

     c.      citizenship or immigration status, except as permitted by law.

2.   Harassment by the Company or the Union on any of the bases set forth in this Section shall
     be considered discrimination under this Section.

3.   Neither the Company nor the Union shall retaliate against an Employee who complains of
     discrimination or who is a witness to discrimination.

4.   There shall be no discrimination, restraint or coercion against any Employee because of
     membership or non-membership in the Union.

5.   The Company shall have no right to discipline in any way an Employee solely because of
     his/her failure to perform his/her duties as a representative or officer of the Union.

6.   Nothing herein shall be construed in any way to deprive any Employee of any right or
     forum under public law.




                                                   31
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 198 of 325

                                                                             Article 4. Civil Rights


                                     Article 4. Civil Rights

Section B.      Civil Rights Committee

1.   A Joint Committee on Civil Rights (Joint Committee) shall be established at each location
     covered by this Agreement. The Union shall appoint three (3) members, one of whom shall
     be a Local Union President/Unit Chair or Grievance Chair. The Company shall appoint an
     equal number of members, including the Plant Manager or his designee. The parties shall
     each appoint a Co-Chair and shall provide each other with updated lists of the members of
     the Joint Committee.

2.   The Joint Committee shall meet as necessary and shall review and investigate matters
     involving civil rights and attempt to resolve them.

3.   The Joint Committee shall not displace the normal operation of the grievance procedure or
     any other right or remedy and shall have no jurisdiction over initiating, filing or processing
     grievances.

4.   In the event an Employee or Union representative on the Joint Committee brings a
     complaint to the Joint Committee, the right to bring a grievance on the matter shall be
     preserved, in accordance with the following:

     a.      The complaint must be brought to the attention of the Joint Committee within the
             same timeframe that a complaint must be brought to the First Step 1 of the grievance
             procedure.

     b.      The Employee must provide the Joint Committee with at least sixty (60) days to
             attempt to resolve the matter.

     c.      At any time thereafter, if the Joint Committee has not yet resolved the matter, the
             Employee may request that the Grievance Chair file it as a grievance in Step 2 of the
             grievance procedure, and upon such filing the Joint Committee shall have no further
             jurisdiction over the matter.

     d.      If the Joint Committee proposes a resolution of the matter and the Employee is not
             satisfied with such resolution, then the Union may file the complaint at Step 2 of the
             grievance procedure, provided such filing is made within thirty (30) days of the
             Employee being made aware of the Joint Committee’s proposed resolution.




                                                 32
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 199 of 325

                                                                        Article 4. Civil Rights


                                 Article 4. Civil Rights

Section C.    Workplace Harassment, Awareness and Prevention

1.   All Employees shall be educated in the area of harassment awareness and prevention on a
     periodic basis.

2.   Within six (6) months of the Effective Date of this Agreement, members of the Joint Civil
     Rights Committee will be trained in matters relative to this provision.

3.   All new Employees (and all Employees who have not received such training) will be
     scheduled to receive training as to what harassment is, why it is unacceptable, its
     consequences for the harasser and what steps can be taken to prevent it.

4.   All Employees shall be compensated in accordance with the standard local plant
     understandings for time spent in training referred to in this Section.




                                              33
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 200 of 325

                                                                          Article 4. Civil Rights


                                     Article 4. Civil Rights

Section D.      Child Care, Elder Care and Dependent Care

1.   The parties agree to identify programs to meet the changing needs of working families,
     particularly in regard to dependent care.

2.   At each location covered by this Agreement, the parties shall create a Dependent Care
     Committee, comprised of a Contract Coordinator (if this Agreement otherwise provides for
     Contract Coordinators), a designee of the General Manager (two designees if there is a
     Contract Coordinator) and the Local Union President/Unit Chair. The Committee shall
     meet and be responsible for the development of dependent care programs. The Committee
     will utilize local community resources which are able to support the issues of child, elder
     and dependent care.

3.   The Committee's efforts shall include fact finding and identifying working model programs
     during the term of this Agreement, such as:

     a.      twenty-four (24) hour resources and referral systems;

     b.      subsidy and/or reimbursement provisions for dependent care services;

     c.      pre-tax programs;

     d.      near-site or on-site dependent care centers;

     e.      before and after work care for extended workdays;

     f.      holiday, emergency and sick care on workdays; and

     g.      development of community-based groups with other unions and companies in the
             region to cost effectively provide dependent care services.




                                                  34
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 201 of 325

                                                                 Article 5. Workplace Procedures


                            Article 5. Workplace Procedures

Section A.    Local Working Conditions

1.   Deprivation of Benefits

     In no case shall Local Working Conditions deprive an Employee of rights under this
     Agreement and the conditions shall be changed to provide the benefits established by this
     Agreement.

2.   Benefits in Excess

     Any provision of a local supplemental agreement or Local Working Condition which
     provides benefits that are in excess of, or in addition to, but not in conflict with benefits
     established by this Agreement shall remain in effect for the term of this Agreement.




                                                 35
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 202 of 325

                                                                 Article 5. Workplace Procedures


                                Article 5. Workplace Procedures

Section B.      Job Evaluation and New or Changed Jobs

1.   At each location covered by this Agreement, the Union shall designate up to two (2)
     individuals to serve on a Job Evaluation Committee. When the Committee meets with the
     Company the Committee shall be paid any lost time.

2.   In the event the Company chooses to permanently modify substantial duties of an existing
     job or create a new job, it shall follow the procedure outlined below.

3.   The Company shall meet with the Job Evaluation Committee and present it with a written
     description of how it intends to modify an existing job or a complete description of a
     proposed new job. The description shall include:

     a.      the requirements of such new or modified job in the areas of training, skill,
             responsibility, effort and surroundings (Requirements);

     b.      the Company’s view as to how these Requirements compare to the Requirements for
             existing jobs at the plant; and

     c.      based on Paragraphs (a) and (b) above, at what rate the Company believes the job
             should be paid.

4.   The Job Evaluation Committee shall be provided with any additional relevant information
     requested in connection with its assessment of the new or modified job.

5.   If the parties are unable to agree upon the appropriate rate of pay for the new or modified
     job, they shall submit their dispute to arbitration under Article 5, Section I, and the
     arbitrator shall have authority to decide only the rate of pay for the job, slotting it into
     proper relationship with existing jobs and rates.

6.   The arbitrator shall base his/her decision on the Requirements of the new or modified job
     and how those Requirements compare to the Requirements for the existing jobs at the plant
     and other plants of the Company covered by this Agreement.




                                                  36
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 203 of 325

                                                                  Article 5. Workplace Procedures


                              Article 5. Workplace Procedures

Section C.      Hours of Work

1.   Normal Workday and Work Week

     a.      The normal workday shall be any regularly scheduled consecutive twenty-four (24)
             hour period comprising eight (8) consecutive hours of work and sixteen (16)
             consecutive hours of rest. The normal work week shall be five (5) consecutive
             workdays beginning on the first day of any seven (7) consecutive day period. The
             seven (7) consecutive day period is a period of 168 consecutive hours and may begin
             on any day of the calendar week and extend into the next calendar week. On shift
             changes, the 168 consecutive hours may become 152 consecutive hours depending
             upon the change in the shift. In the event extended shifts are adopted in accordance
             with applicable extended shift language, the eight (8) hours of work above shall
             become up to twelve (12) hours and the sixteen (16) hours of rest above shall become
             not less than twelve (12) hours.

     b.      Schedules showing Employees’ workdays shall be posted or otherwise made known
             to Employees not later than 2:00 p.m. Wednesday of the week preceding the calendar
             week in which the schedule becomes effective. The Company will establish a
             procedure affording any Employee whose last scheduled shift ends prior to the
             posting of his/her schedule for the following week an opportunity to obtain
             information relating to his/her next scheduled shift. This procedure will also be
             applicable with respect to Employees returning from vacation.

2.   No Guarantee

     Nothing contained in this Agreement shall be construed as a guarantee of work or that any
     particular schedule cannot be changed. This paragraph is not intended to void any
     agreement between the parties for the manner in which shifts will be assigned or selected.

3.   Absenteeism

     It is expected that Employees shall adhere to their prescribed schedule. When an Employee
     must be absent from work, s/he shall, as promptly as possible, contact the designated
     person and provide the pertinent facts and when the Employee expects to return to work.

4.   Overtime

     a.      The parties recognize that schedules that regularly require a substantial level of
             overtime are undesirable and should be avoided where possible.

     b.      Where local practices or agreements with respect to the distribution of overtime do
             not presently exist, the Company and the Local Union Grievance Committee, if



                                                  37
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 204 of 325

                                                               Article 5. Workplace Procedures

          requested by either party, shall promptly conclude an agreement providing for the
          most equitable overtime distribution consistent with the efficiency of the operation.

     c.   The Company will consider an Employee’s request to be excused from overtime
          work and shall endeavor to reasonably accommodate those requests which are
          practicable and reasonable under the circumstances. Nevertheless, no Employee shall
          refuse a directive to work overtime and any disputes about the Company’s
          compliance with this paragraph shall be subject to the grievance procedure.

5.   Reporting to Work and Call-Out Pay

     a.   When an Employee reports for work on a regular shift, or is instructed to report for
          work on a special shift, and upon reporting at the scheduled time, he shall be given
          six (6) hours work at his/her regular rate, in whatever job classification is available as
          determined by Management, unless that Employee is notified at least four (4) hours
          prior to the starting time not to report. Notification will be by telephone. If the
          Employee provides no telephone number to the Company, the notification
          requirement is waived. An unanswered telephone call will be the same as notification.
          The foregoing shall not apply where the employer’s failure to provide work is
          occasioned by, or results from:

          (1)   Plant delay, resulting from causes beyond the control of the Company, and the
                Employee is notified at least two (2) hours prior to his starting time not to
                report, or

          (2)   When an Employee has been absent from one shift or more and said Employee
                fails to notify the departmental supervisor then in charge at least eight (8) hours
                prior to the commencement of this shift to which the Employee intends to
                return.

     b.   An Employee returning to work as called between his/her regular shifts shall be paid
          one and one-half (1 -1/2) times the hourly straight-time pay rate for the classification
          of work to be performed with a minimum payment equivalent to five (5) hours at
          such straight-time rate. This minimum payment shall not apply to overtime work
          consecutive to the regular scheduled shift. Employees scheduled off for vacation or
          on an authorized leave of absence shall not be called out for work.

     c.   An Employee who is called for duty on his/her scheduled day(s) off shall be paid for
          not less than six (6) hours at the straight-time pay rate for the classification of the
          work to be performed.

     d.   Pay for time not worked under the above sub-paragraphs 5 a, b and c will not be
          considered as time worked in the computation of overtime.




                                               38
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 205 of 325

                                                                 Article 5. Workplace Procedures


                              Article 5. Workplace Procedures

Section D.         Overtime

1.   Definitions

     a.      The payroll week shall consist of seven (7) consecutive days beginning at 12:01 a.m.
             Sunday or the shift change nearest to that time (or as agreed by the parties in the
             applicable Supplemental Agreement).

     b.      The workday for the purposes of this Section is the twenty-four (24) hour period
             beginning with the time the Employee is scheduled to begin work.

     c.      The Regular Rate of Pay as used in Paragraph 2 below (and in this Agreement) shall
             mean the Base Rate of Pay for the job on which the overtime hours are worked.

2.   Conditions Under Which Overtime Rates Shall Be Paid

     a.      Unless worked pursuant to an Alternative Work Schedule, overtime at the rate of one-
             and-one-half times the Regular Rate of Pay shall be paid for:

             (1)    hours worked in excess of eight (8) hours in a workday;

             (2)    hours worked in excess of forty (40) hours in a payroll week;

             (3)    hours worked on the sixth workday of a regularly scheduled workweek during
                    which five (5) days were worked; and

             (4)    hours worked on a second reporting in the same workday where the Employee
                    has been recalled or required to report to work after working eight (8) hours.

     b.      Overtime at the rate of double the Regular Rate of Pay shall be paid for hours worked
             on the seventh workday of a regularly scheduled workweek during which six (6) days
             were worked.

3.   Holidays

     Holidays not worked shall not be considered as time worked in the computation of weekly
     overtime.

4.   Non-Duplication of Overtime

     Overtime shall not be duplicated by using the same hours paid at overtime rates more than
     once for the purpose of calculating overtime payments. There shall be no pyramiding of
     overtime and/or premium pay.



                                                  39
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 206 of 325

                                                              Article 5. Workplace Procedures

5.   Overtime Lunches

     a.   An Employee required to work unscheduled overtime for two (2) or more hours
          beyond the end of the regular shift will be furnished an overtime lunch. If an
          Employee works beyond six (6) hours beyond the end of the regular shift, s/he will be
          furnished with another overtime lunch. In the event an overtime lunch is waived by
          the Employee, s/he shall receive ten dollars ($10.00) pay in lieu thereof for each
          overtime lunch waived.

     b.   It is understood, in the event an Employee waives an overtime lunch, s/he will be
          provided time to eat as if s/he had accepted the overtime lunch rather than pay in lieu
          of the overtime lunch.

     c.   An Employee called out to work will provide his/her own lunch unless determined
          otherwise by the Company.

6.   16-Hour Rule

     a.   No employee(s) shall be offered overtime if his regular schedule would require him to
          work within eight (8) hours or less after having completed sixteen (16) hours of
          service in the scheduled work day, except emergency where life, property and/or
          production are in imminent danger.

     b.   Should any employee be required to work in excess of sixteen (16) hours as stated in
          paragraph 1 above, the employee(s) shall be allowed an eight (8) hour rest interval
          before reporting to work.

     c.   If the rest interval would involve time lost from the employee(s) regular posted
          schedule, he shall be paid the regular scheduled rate for that time he would have
          worked had he not been on the rest interval.




                                               40
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 207 of 325

                                                                  Article 5. Workplace Procedures


                              Article 5. Workplace Procedures

Section E.      Seniority

1.   Seniority Status of Employees

     a.      The parties recognize that promotional and other in-plant opportunities and job
             security should increase in proportion to length of Seniority and that the fullest
             practicable consideration shall be given to Seniority in such cases.

     b.      Seniority, as defined by Paragraph 4 below, shall be used for all purposes under all
             labor and benefits agreements, unless explicitly provided otherwise by this
             Agreement or local supplemental agreement; provided, however, that accumulation in
             excess of two (2) years during a period of layoff shall be counted only for purposes of
             this Section, including local agreements thereunder.

     c.      In all cases of promotions, reductions in force and recalls after layoffs, Seniority (as
             defined below in Paragraphs 3 and 4 and as provided in the local supplemental
             agreements) shall govern if ability to perform the work and physical fitness are
             relatively equal.

2.   Determination of Seniority Units

     a.      Seniority shall be applied on a job and departmental or larger unit basis, as agreed
             upon. A job may be in one seniority unit for one purpose and in a different unit for
             another.

     b.      The seniority units, lines of progression, departments and rules for the application of
             seniority factors in effect as of the Effective Date shall remain in effect unless
             modified by a local written agreement signed by the President or Unit Chair of the
             affected Local Union.

3.   Seniority Unit Definitions

     a.      Company seniority is defined as an Employee’s total credited length of service in one
             or more plants owned by the Company or its (predecessor).

     b.      Plant seniority is defined as an Employee’s total unbroken credited length of service
             in a plant.

     c.      Departmental seniority is defined as an Employee’s total unbroken credited length of
             service in a particular department.

     d.      Sub-departmental seniority is defined as an Employee’s total unbroken credited
             length of service in a particular sub-department.



                                                   41
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 208 of 325

                                                               Article 5. Workplace Procedures

     e.   Occupational/craft seniority is defined as an Employee’s total unbroken credited
          length of service in a particular classification.

     f.   Jurisdictional seniority is defined as an Employee’s total credited length of service in
          a particular bargaining unit.

     g.   Upon satisfactory completion of an apprenticeship, craft seniority shall be the date of
          the apprentice’s indenture date.

4.   Calculation of Seniority

     a.   Seniority shall be determined by the Employee’s first employment or reemployment
          following a break in Seniority in any facility of the Company covered by this
          Agreement.

          (1)   Employees Who Were Employees of Any Predecessor Company

                Seniority for Employees who were employees (within the meaning of the
                relevant basic labor agreement with the Union) of any predecessor company (a
                Union-represented company some or all of whose assets are or were acquired by
                the Company) will be the length of time measured from the Employee’s
                Seniority date under that predecessor company’s basic labor agreement subject
                to the employee’s eligibility dates agreed to by the parties, except as otherwise
                provided by this Agreement or other agreements between the parties.

          (2)   All Other Employees

                Seniority for all other Employees will be the length of time measured from the
                Employee’s first date of employment with the Company.

     b.   Company Seniority shall be the length of time measured from the Employee’s first
          date of employment or reemployment following a break in Seniority with the
          Company.

     c.   Plant Service shall be the length of time measured from the Employee’s first date of
          employment or reemployment following a break in Seniority in his/her plant.

     d.   Seniority (including Company Seniority and Plant Service) shall only be broken if an
          Employee:

          (1)   quits;

          (2)   retires;

          (3)   is discharged for cause;



                                               42
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 209 of 325

                                                                 Article 5. Workplace Procedures

          (4)   if on layoff, fails to report to the Employment Office within ten (10) days of
                certified mail notice sent to his/her last address s/he provided to the Company.

          (5)   is absent due to a compensable disability incurred during the course of
                employment and does not return to work within thirty (30) days after final
                payment of statutory compensation for the disability or after the end of the
                period used to calculate a lump-sum payment. If the seniority of an Employee
                does not permit a return to work, the Employee will be placed on layoff.

          (6)   has not worked for more than thirty-six (36) months.

5.   Probationary Employees

     a.   New Employees hired after the Effective Date of this Agreement will serve a
          probationary period for the first 480 hours of actual work and will receive no
          Seniority credit during such period. Probationary Employees shall not have access to
          the grievance procedure to contest their discharge.

     b.   Probationary Employees who continue in the service of the Company beyond the first
          480 hours of actual work shall receive full Seniority credit from their original date of
          hire.

     c.   Where a probationary Employee is laid off and is subsequently rehired at the same
          location within one (1) year from the date of such layoff, the hours of actual work
          accumulated during the first employment shall be added to the hours of actual work
          accumulated during the second employment in determining when the Employee has
          completed 480 hours of actual work; provided, however, that his/her Seniority date
          will be the date of hire of the second hiring.

6.   Interplant and Intraplant Transfers

     It is recognized that conflicting seniority claims among Employees may arise when plant or
     department facilities are created, expanded, added, merged or discontinued. In the event the
     local parties are unable to resolve such conflicts, the International Union and the Company
     may reach such agreements as they deem appropriate, irrespective of existing seniority
     agreements, or submit the matter to arbitration.

7.   Seniority Status of Grievance Committee Members and Local Union Officers

     When a decrease of force is effected, the Local Union President/Unit Chair, Vice President
     and the Chair of the Grievance Committee shall, if they would otherwise be laid off, be
     retained at the lowest rated job in the unit that they represent. The intent of this provision is
     to retain in active employment individuals who can provide continuity in the administration
     of the Agreement; provided that an individual shall not be retained in employment unless
     work which s/he can perform is available.



                                                 43
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 210 of 325

                                                               Article 5. Workplace Procedures

8.    Administration of Seniority

      The Company shall post in each department, on a bulletin board maintained for that
      purpose, the Plant Service date of all Employees in that department.

9.    Compensation for Improper Layoff or Recall

      In the event of improper layoff or failure to recall an Employee in accordance with his/her
      seniority rights, the Employee shall be made whole for the period during which s/he is
      entitled to retroactivity.

10.   Disabled Employees

      Provided there is a vacancy and the employee is qualified, an employee who becomes
      physically unable to perform the duties of his/her job and who is ineligible for permanent
      total disability retirement may apply for a vacant job if such job is to be filled. The Union
      and the Company may waive seniority procedures to temporarily place the disabled
      employee in a vacancy. No job incumbent shall be required to vacate a job involuntarily to
      accommodate the disabled employee. A disabled employee who is temporarily placed in a
      job by other than the standard seniority procedure shall accrue seniority in his/her previous
      regular job, will accrue no seniority in his/her disability assignment, and will not share
      overtime in any job where he/she is not currently assigned. Upon a Company doctor's
      determination that he/she can return to regular employment, the employee shall be
      reassigned to his/her regular assignment.

11.   Interunion Transfers

      Employees transferring into other bargaining units on a trial basis and who are disqualified
      by the company within the trial period shall be allowed to return to their former jobs
      without loss of seniority.

12.   Curtailments

      For the purposes of this Agreement, curtailments shall be considered reductions in force,
      regardless of their duration, except as otherwise provided by local practice or agreement.




                                                44
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 211 of 325

                                                                  Article 5. Workplace Procedures


                              Article 5. Workplace Procedures

Section F.      Testing

1.   Where tests are used as an aid in making pre-selection determinations of the ability to
     perform the work, such a test must in all events be:

     a.      job related;

     b.      in accordance with Article 4, Section A (Non-Discrimination); and

     c.      uniformly applied within each relevant work group.

2.   A job related test, whether oral, written or in the form of an actual work demonstration, is
     one which measures whether an Employee can satisfactorily meet the specific requirements
     of that job including the ability to absorb any training which may necessarily be provided
     in connection with that job.

3.   Testing procedures shall in all cases include notification to an Employee of any
     deficiencies and an offer to counsel how to overcome the deficiencies.

4.   Where, in accordance with this Agreement, a test is used by the Company as an aid in
     making a determination of the Employee’s ability to perform the work and where the use of
     the test is challenged in the grievance procedure, the following shall pertain:

     a.      The Company will furnish to a designated representative of the appropriate
             International Union either the test itself or examples of test questions. All test
             questions shall be job-related. In cases where all or part of the test is non-written, a
             complete description of the test shall be provided.

     b.      All such test questions and descriptions will be held in strictest confidence and will
             not be copied or disclosed to any other person; provided that such test questions and
             descriptions may be disclosed to an expert in the testing field for the purpose of
             preparing the Union’s position in the grievance procedure and to an arbitrator, if the
             case proceeds to that step. All test questions and descriptions will be returned to the
             Company following resolution of the dispute.

     c.      Copies of transcripts and exhibits presented in the arbitration of cases involving the
             challenge to a test will also be held in confidence and will not be copied or otherwise
             published.




                                                   45
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 212 of 325

                                                             Article 5. Workplace Procedures


                           Article 5. Workplace Procedures

Section G.    Indefinite Shutdowns

1.   Before the Company decides to indefinitely shutdown or discontinue a plant, department or
     operating unit (a Shutdown for purposes of this Section) it shall give the Union advance
     written notice of at least sixty (60) days prior to the proposed Shutdown date if the
     Shutdown is within the Company's control. Along with such notice, the Company shall
     provide the Union with a detailed statement of the reasons for the proposed action and how
     and where the work which was performed at the shut down unit will be performed.

2.   Thereafter, the Company will meet with appropriate Union representatives in order to
     provide them with an opportunity to discuss the Company’s proposed course of action,
     provide the Union with any additional requested relevant and non-confidential information
     and bargain in good faith over any suggested alternatives.

3.   No less than thirty (30) days prior to the Shutdown date within the Company’s control, the
     Company shall advise the Union of its final decision, which decision shall be the exclusive
     function of the Company.

4.   Any Employee affected by a Shutdown shall, after exercising any rights to which s/he may
     be entitled, be placed on layoff in accordance with this Agreement.




                                              46
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 213 of 325

                                                                 Article 5. Workplace Procedures


                              Article 5. Workplace Procedures

Section H.      Manning of New Facilities

1.   In the manning of production or maintenance jobs at new facilities in existing plants
     covered by this Agreement, the jobs shall be filled utilizing the criteria as set forth in
     Article 5, Section E, Paragraph 1(c) except that Seniority shall be Plant Service from the
     following categories in the following order but subject to the other provisions of this
     Section:

     a.      Employees displaced from any facility being replaced in the plant by the new
             facilities;

     b.      Employees otherwise displaced as a result of the installation of the new facilities;

     c.      Employees presently employed on like facilities in the plant;

     d.      Employees presently on layoff from like facilities in the plant; and

     e.      Employees in the plant with two (2) or more years of Plant Service; provided, that if
             sufficient qualified applicants from this source are not available, the Company shall
             fill the remaining vacancies as it deems appropriate.

2.   The local parties shall meet to seek agreement on the standards to be used to determine the
     qualifications entitling Employees otherwise eligible to be assigned to the jobs in question.

3.   Should the local parties fail to agree on the standards for determining qualifications,
     assignments to the jobs in question shall be made pursuant to Article 5, Section E, 1, c,
     above (selection of Employees in promotions, reductions in force, and recalls).




                                                  47
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 214 of 325

                                                                 Article 5. Workplace Procedures


                             Article 5. Workplace Procedures

Section I.      Adjustment of Grievances

1.   Purpose

     Should any differences arise between the Company and the Union as to the interpretation
     or application of, or compliance with, the provisions of this or any other Agreement
     between the Company and the Union, prompt and earnest efforts shall be made to settle
     them under the following provisions.

2.   Definitions

     a.      “Grievance” shall mean a complaint by the Union which involves the interpretation or
             application of, or compliance with, the provisions of this or any other Agreement
             between the Company and the Union.

     b.      “Day” as used in this Section shall mean a calendar day, excluding Saturdays,
             Sundays and holidays.

3.   Grievance Procedure

     a.      An Employee may informally discuss a complaint with his/her supervisor, with or
             without his/her steward being present.

     b.      Step 1. Any Employee or representative of the Union having a grievance may, within
             fifteen (15) days of the date on which the Employee first knew or should have known
             of the facts which gave rise to the grievance, present the grievance to his/her
             immediate supervisor, who shall attempt to adjust it. The Employee or Employees
             presenting the grievance may be accompanied by a steward. The supervisor shall
             give his/her decision within seven (7) days. If the supervisor's answer does not
             satisfactorily adjust the grievance, the grievance may be taken to the next step.
             Grievance responses at this step of the procedure will not set precedent.

     c.      Step 2. If not settled at Step 1, the grievance must then be reduced to writing by the
             Grievance Committee noting the alleged facts, applicable provisions of the
             Agreement, and the remedy sought and presented for Step 2 within seven (7) days of
             the supervisor's answer. The General Supervisor and Human Resources Manager or
             their designees will hear the grievance within ten (10) days from receipt of the
             grievance in the presence of the Union Grievance Committee. The Company will
             render a written decision within ten (10) days after the hearing to the Union's
             Grievance Chair and to the Union's International Representative or designee.

     d.      Step 3. If a satisfactory settlement is not reached in Step 2, the grievance may be
             appealed to the General Manager or his designee, by the Union's International
             Representative or designee, within ten (10) days following receipt of the Step 2


                                                  48
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 215 of 325

                                                               Article 5. Workplace Procedures

          decision. The General Manager or his designee and the International Union
          Representative and/or the Grievance Committee shall meet within ten (10) days of the
          appeal notice to review the facts and the Step 2 positions in an attempt to mutually
          resolve the grievance. The Company shall render its written decision within ten (10)
          days from the conclusion of the Step 3 hearing.

     e.   The International Union Representative may appeal a grievance to arbitration by
          sending a written notice to the Company Step 3 representative within ten (10) days of
          the Union's receipt of the Step 3 written answer.

     f.   The time limits above may be extended by mutual agreement.

     g.   Grievances at Step 1 only may be presented to the Company during the grievant's
          scheduled working hours, provided such procedure does not interfere with production
          or the orderly operation of the business.

     h.   Grievance meetings at Step 2 and Step 3 will be held during normal working hours on
          day shift. Aggrieved employees and a reasonable number of witnesses will be
          allowed to attend meetings at Step 2 if they have testimony which the Union
          Grievance Committee represents is relevant, material, non-repetitive and necessary to
          the resolution of the grievance. If committee members, aggrieved Employees, or
          witnesses are scheduled to work during a hearing, once notified by the Company that
          the hearing has been scheduled they must provide to their supervisors reasonable
          advance notice that they will attend. Aggrieved Employees may be called at the
          request of either the Company or the Union at any step and will be paid for time lost.
          In Bargaining Unit Work or safety grievances, a representative of the relevant
          committee shall also be present.

     i.   Multiple grievances arising within the bargaining unit at a single plant and from a
          single cause may be consolidated by mutual agreement.

4.   General Provisions

     a.   Upon request from the Union, the Company shall provide the Union with reasonable
          forms for filing and appealing grievances and the special form referenced in
          subparagraph f below. The Union shall be responsible for timely requesting from the
          Company a re-supply of forms. The parties shall document the Step 2 and Step 3
          written records.

     b.   The Company and the Union shall provide each other with updated written lists of
          their Step 1, Step 2 and Step 3 representatives and their designees who shall have the
          authority to settle grievances at their respective steps and, for the grieving party, to
          withdraw or appeal such grievances.

     c.   The settlement or withdrawal of a grievance prior to arbitration shall be without
          precedent or prejudice to either party's position.


                                               49
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 216 of 325

                                                          Article 5. Workplace Procedures



d.   Any grievance filed directly in Step 2 or higher shall be initiated within thirty (30)
     days of the event upon which the grievance is based, or the date on which such event
     should reasonably have become known except as otherwise provided in this
     Agreement.

e.   Except as otherwise provided in this Agreement, all grievances shall be initiated at
     Step 1 and grievances which are not initiated in the proper step shall be referred there
     for processing.

f.   Upon mutual agreement, a single grievance may be processed with the facts of
     additional violations presented as well. Additional claimants shall sign a special form
     for this purpose. When the original grievance is resolved, the additional claims shall
     be reviewed in light of the resolved grievance. If the additional claims are not settled,
     they shall be considered as grievances and processed accordingly.

g.   In the case of a grievance that involves a large group of Employees, only a reasonable
     number may participate in any discussion of the grievance.

h.   In any settlement involving cash payments, payment not made within thirty (30) days
     will accrue interest from the date of settlement at the same rate as established at the
     local Federal Credit Union.

i.   If, for any reason, the time limits specified in Paragraph 3 above for:

     (1)   meetings between the parties are not met, the grievance shall be considered
           denied as of the last day within the time limit for such meeting and the
           appropriate Union representative shall have the right to move the grievance to
           the next step;

     (2)   the Union to act are not met, the grievance shall be considered withdrawn; or

     (3)   the Company to act at Step 2 or Step 3 are not met, then the grievance shall be
           considered granted, along with the requested remedy if it is reasonable;
           however, any dispute over an appropriate contractual remedy may proceed
           further through the grievance procedure and, if necessary, to arbitration.

j.   An Employee who is summoned to meet with a supervisor or other representative of
     the Company for the purpose of discussing possible suspension or discharge of the
     Employee shall be entitled to be accompanied by a steward and, if no steward or other
     Union representative is available, the meeting shall be deferred and the Employee
     may be suspended pending the meeting. In the event no steward or other Union
     representative is available and the Company elects to suspend the Employee pending
     the meeting, the Company shall make a good faith effort to advise the Local Union
     President/Unit Chair or Grievance Chair as soon as possible that day.



                                          50
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 217 of 325

                                                              Article 5. Workplace Procedures

     k.   No Employee shall be required to submit to a lie detector test. The results of lie
          detector tests will not be used by the Company or the Union.

     l.   Notwithstanding anything to the contrary, the grievance procedure may be utilized by
          the Union with or without an individual grievant. Such grievances shall be filed in
          Step 2.

     m.   In the event an Employee dies, the Union may process his/her grievance on behalf of
          his/her heirs.

     n.   The Chair of the Union Negotiating Committee, the District Director and the
          International Representative (or equivalent) shall have access to the plant at
          reasonable times to investigate issues with which they are concerned.

     o.   The Company will pay for all lost time of Employee participants in Steps 1, 2 and 3
          of the grievance procedure and disciplinary hearing (described above) in accordance
          with current practice.

5.   Grievance Committee

     a.   The Union shall provide the Company with an updated list of Employees who
          comprise its Grievance Committee, including a chair and a secretary. The number of
          members of the Committee at each Company location shall be consistent with current
          practice.

     b.   Committee members will be afforded time off upon reasonable notice and approval
          to:

          (1)   attend scheduled committee meetings;

          (2)   attend meetings pertaining to suspension or discharge or other matters which
                cannot reasonably be delayed; and

          (3)   visit departments at reasonable times for the purpose of transacting the
                legitimate business of the Grievance Committee after notice to the head of the
                department to be visited and after reasonably granted permission from his/her
                own department head if the Grievance Committee member is at work.

     c.   Where the Grievance Committee so decides, the steward may be designated to aid the
          Committee in a particular matter. The Union shall notify the Company in writing
          when it so decides.

     d.   Each steward shall:

          (1)   with respect to the handling of grievances, be limited to Step 1 within the plant
                unit represented by him/her; and


                                               51
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 218 of 325

                                                               Article 5. Workplace Procedures



          (2)   upon reasonable notice to and reasonable approval by his/her immediate
                supervisor, be afforded time off to investigate the facts essential to the
                settlement of any grievances.

6.   Board of Arbitration

     a.   The Board of Arbitration (the Board) for the term of this Agreement shall consist of
          the following individuals:

          (1)   Michael D. Rappaport
          (2)   Steven Briggs
          (3)   Chester Brisco
          (4)   Richard Bloch
          (5)   Howard Block

     b.   In the event of the resignation, incapacity or death of a member of the Board, the
          parties shall promptly agree upon a successor. If the parties cannot agree on a
          successor, each party shall submit seven (7) names and use a "strike" method to
          determine the final selection and a "flip of a coin" to determine the party that "strikes"
          first.

     c.   The member of the Board (arbitrator) chosen in accordance with Paragraph 7(a)
          below shall have the authority to hear and decide any grievance appealed in
          accordance with the provisions of the grievance procedure. The arbitrator shall not
          have jurisdiction or authority to add to, detract from or alter in any way the provisions
          of this Agreement.

     d.   The decision of the arbitrator shall be final and binding upon the Company, the
          Union, and all Employees concerned.

     e.   In cases involving repeated violations of the same or similar provisions of the
          Agreement, including the provisions of the grievance procedure, the arbitrator shall
          fashion a remedy designed to significantly deter such repeated violations; however
          such remedy shall require no more than is reasonably necessary to have the desired
          deterrent effect.

     f.   Where the parties are in disagreement with respect to the meaning and application of
          a decision, either party may apply to the Board for a compliance hearing in
          accordance with rules that the Board shall prescribe. Such application shall be given
          priority and be resolved by the Board within thirty (30) days.

     g.   Expenses connected with specific cases shall be shared equally by the Company and
          the relevant Local Union.




                                               52
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 219 of 325

                                                                  Article 5. Workplace Procedures

7.   Arbitration Hearings

     a.   An arbitrator will be selected from the Board of Arbitration on a case-by-case
          rotation basis, starting with the first case being handled by the first Board member
          listed above, unless the parties mutually agree to select a Board member on some
          other basis. Discharge cases will be placed first in the order of priority of cases to be
          heard. Hearings will be scheduled by mutual agreement on dates provided by the
          arbitrator.

     b.   The hearing shall be scheduled as required at a mutually acceptable location.

     c.   On each hearing date, subject to the time available, the parties shall attempt to present
          all discharge cases previously appealed to arbitration or any other cases appealed to
          arbitration.

     d.   Failure to present a case when it is scheduled for arbitral hearing shall constitute
          withdrawal of the grievance and failure to respond to a case when presented shall
          constitute granting of the grievance. A hearing may be postponed by mutual
          agreement or if the arbitrator determines that circumstances clearly require
          postponement.

8.   Rules For Hearings

     a.   The parties agree that the prompt resolution of cases brought to arbitration is of the
          highest importance. Therefore, except as provided in Paragraph 8(b) below,
          arbitration hearings shall be heard in accordance with the following rules:

          (1)   the hearing shall be informal;

          (2)   no briefs shall be filed or transcripts made in discipline cases;

          (3)   there shall be no formal evidence rules;

          (4)   the arbitrator shall assure that the hearing is, in all respects, fair;

          (5)   the arbitrator shall issue a decision no later than two (2) days after conclusion of
                the hearing in a discipline case. The decision shall include a brief written
                explanation of the basis for the conclusion; and

          (6)   the Board shall adopt such other rules as it deems necessary.

     b.   In the event the Union or the Company believes that the issues involved in a
          discipline case are of meaningful precedential significance or great complexity, it
          may petition the arbitrator to allow the filing of briefs as follows:




                                                 53
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 220 of 325

                                                                 Article 5. Workplace Procedures

          (1)   the moving party will notify the other party that it intends to so argue at least
                seventy-two (72) hours prior to the start of the hearing;

          (2)   the hearing shall begin with the arbitrator taking no more than fifteen (15)
                minutes of testimony from each side on that issue;

          (3)   the arbitrator shall rule from the bench on the issue of whether briefs may be
                filed and the hearing on the case shall commence immediately thereafter; and

          (4)   if the arbitrator rules that briefs are to be allowed, then briefs shall, without
                exception, be due within thirty (30) days of the close of the hearing and the
                arbitrator's decision shall be rendered within thirty (30) days thereafter.

     c.   The Company agrees that it shall not compel, by subpoena or otherwise, any
          Employee or retired Employee to testify in an arbitration hearing. The Union agrees
          that it shall not compel, by subpoena or otherwise, any non-bargaining unit employee
          or retiree to testify in an arbitration hearing.

9.   Suspension and Discharge Cases

     a.   No Peremptory Discharge

          (1)   Within three (3) days of notification by the Company that the conduct of an
                Employee may warrant disciplinary suspension or discharge, a hearing will be
                held by a representative designated by the Company, with the Employee and the
                Union Grievance Committee. The purpose of the hearing is to provide for an
                investigation and determination of the facts. The Company will notify the
                Employee and the Union of its decision in writing within five (5) days after
                such hearing. Any grievance over disciplinary suspension or discharge shall be
                filed in Step 2 of the grievance procedure within five (5) days of the notice of
                the Company decision. The Company may suspend the Employee pending the
                hearing.

          (2)   Before imposing a discharge (which must be in accordance with Paragraph 9(b)
                below) the Company shall give written notice of its intent to the affected
                Employee and the Grievance Chair.

          (3)   Where the Union files a grievance protesting such intended discharge within
                five (5) days of receipt of the notice, the Company may impose no more than a
                suspension on such Employee except as otherwise provided in Paragraph 9(b)
                below.

          (4)   The grievance protesting the intended discharge shall be filed at Step 2 of the
                grievance procedure and the Step 2 Answer shall be given prior to the Company
                converting the suspension to a discharge. At the Step 2 meeting, the Company



                                                54
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 221 of 325

                                                          Article 5. Workplace Procedures

           shall provide a written statement of the facts and circumstances supporting its
           proposed disciplinary action.

     (5)   In the event the Company does convert the suspension to a discharge, the action
           shall be treated as a denial of the grievance at Step 2 and the Union may
           thereupon move the case through the balance of the grievance procedure.

b.   Justice and Dignity

     (1)   In the event the Company imposes a suspension or discharge (which must be in
           accordance with paragraph 9(a) above), and the Union files a grievance within
           five (5) days after notice of the suspension or discharge, the affected Employee
           shall remain on or return to the job to which his/her seniority entitles him/her
           until there is a final determination on the merits of the case.

     (2)   This subsection 9(b) will not apply to cases involving offenses which endanger
           the safety of employees or the plant and its equipment, including use and/or
           distribution on Company property of drugs, narcotics and/or alcoholic
           beverages; possession of firearms or weapons on Company property;
           destruction of Company property; gross insubordination; threatening bodily
           harm to, and/or striking another employee; theft; activities prohibited by Article
           5, Section K (prohibition on Strikes and Lockouts), or any other offenses for
           which the Company has just cause to impose immediate discharge without
           benefit of progressive discipline.

     (3) When an Employee is retained pursuant to this procedure and the Employee’s
         discharge is finally held to be for just cause, the removal of the Employee from
         the active rolls shall be effective for all purposes as of the final resolution of the
         grievance.

     (4)   When a discharged Employee is retained at work pursuant to this provision and
           is discharged again for a second dischargeable offense, the Employee will no
           longer be eligible to be retained at work under these provisions.

c.   Any case involving a suspension or a discharge may be filed at Step 2 of the
     grievance procedure.

d.   The Company will not make use of any personnel records of previous disciplinary
     action against the Employee involved where the disciplinary action occurred more
     than eighteen (18) months prior to the date of the event which is the subject of the
     suspension or discharge, except records relevant and necessary to establish
     progressive discipline of the action in dispute, but in no event longer than three (3)
     years.




                                          55
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 222 of 325

                                                                Article 5. Workplace Procedures

      e.   Should the arbitrator determine that an Employee has been suspended or discharged
           without just cause, the arbitrator shall have the authority to modify the discipline and
           fashion a remedy warranted by the facts.

      f.   Nothing in these provisions shall restrict or expand the Company's right to relieve an
           Employee for the balance of such Employee's shift under the terms of the Agreement.

10.   Arbitration of Disputes Involving Asarco Benefits Plans

      a.   If any difference shall arise concerning a benefit, eligibility or coverage of the
           Employee and/or spouse or dependents under the Pension, Health and/or other
           Welfare Plans, the issue may be the proper subject of a grievance after completion of
           any claim or pre-litigation dispute resolution procedure in the applicable plan. If
           agreement cannot be reached between the Company and the applicable Union
           representative, such question shall be referred to arbitration as described herein.

      b.   The Union may appeal a benefits grievance to arbitration by sending a written notice
           to the Company Step 3 representative within sixty days of the Union’s receipt of the
           Step 3 written answer. However, the time limits for filing a grievance under the
           grievance procedure shall not apply until after the claim or pre-litigation dispute
           resolution procedure in the applicable plan has been exhausted.

      c.   An arbitrator shall be selected from a list obtained from the Federal Mediation and
           Conciliation Service (FMCS) of arbitrators with specialized experience with issues
           involving Pension and Welfare Plans. The parties shall request a panel of seven such
           names from the FMCS and shall strike names from the list until an arbitrator is
           selected. If the parties are unable to reach agreement on an arbitrator from the
           submitted list, the parties shall request another panel and repeat the procedure until an
           arbitrator is selected.

      d.   The arbitrator shall have authority only to decide the question pursuant to the
           provisions of this Agreement and of the applicable Plan, but shall not have authority
           in any way to alter, add to or subtract from any of such provisions.

      e.   The decision of the arbitrator shall be final and binding and judgment on the award
           may be entered in any court having jurisdiction. The expense of arbitration shall be
           borne equally between the parties unless they agree otherwise.




                                                56
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 223 of 325

                                                               Article 5. Workplace Procedures


                            Article 5. Workplace Procedures

Section J.     Management Rights

The management of the plants and the direction of the working forces, including but not limited
to the right to: hire, transfer, suspend or discharge for proper cause, relieve Employees from
duty; determine the work to be performed; change or curtail operations; fill, change, add or
eliminate jobs; shall be vested exclusively in the Company. In the exercise of its prerogatives as
set forth above, the Company shall not deprive an Employee of any rights under any agreement
with the Union.

Section K.     Prohibition on Strikes and Lockouts

1.   There shall be no strikes, sympathy strikes, or other work stoppages or the interruption or
     impeding of work. No officer or representative of the Union shall authorize, instigate, aid
     or condone any such activities. No Employee shall participate in any such activities.

2.   The applicable procedures of this Agreement will be followed for the settlement of all
     complaints or grievances.

3.   There shall be no lockouts.


Section L.     Workplace Problem-Solving Committee

1.   At each Company location, the Union (or, if applicable, the Unions, collectively) shall
     appoint up to six (6) Employees, including a Local Union President/Unit Chair or his/her
     designee, and the Company shall appoint up to an equal number of individuals, including
     the General Manager or his designee, to a Workplace Problem-Solving Committee
     (Workplace Committee). The Workplace Committee shall meet at least monthly to
     continue the parties’ labor-management meetings and address matters of common interest
     and concern including, but not limited to, improvements in productivity and efficiency,
     multi-skilling, training, expansion of the helper classification, cost reduction techniques,
     enhancement of Employee job satisfaction, and other topics as agreed by the parties. The
     Workplace Committee shall work with and oversee other committees as may be agreed
     upon by the parties.

2.   The Employees on the Workplace Committee selected by the Union shall be compensated
     for lost time during regular business hours to attend committee meetings or for time
     conducting other committee business when the Company approves pay for that time.




                                                57
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 224 of 325

                                                               Article 5. Workplace Procedures


                           Article 5. Workplace Procedures

Section M.    Clothing and Tool Replacement

1.   Maintenance Employees will provide and maintain a full set of hand tools necessary for the
     performance of their work. Apprentices will obtain such tools upon indenture date. Other
     employees will obtain such tools upon being promoted or hired to the maintenance
     position. Employees will be compensated for such required tools when they are
     unintentionally destroyed beyond repair in Company service or upon satisfactory proof that
     they were stolen from the workplace, provided negligence on the part of the employee is
     not the cause thereof. Compensation consideration will include normal wear and quality of
     the tool.

2.   Employees will be compensated for personal clothing or other personal items destroyed or
     damaged beyond repair by abnormal circumstances during work. In determining such
     compensation, the prior condition of the item will be considered.

3.   Except as provided in Article 3 (Health, Safety and the Environment) of this Agreement,
     the Company will not furnish work clothing unless applicable law or regulation requires
     that such clothing be furnished at Company expense. The Company will compensate
     Employees for tools when they are worn out in Company service. As determined by the
     Company, Employees will be provided special clothing and tools for unusual situations.


Section N.    Absentee Control Policy

The Absentee Control Policy at each Company location shall remain in effect for the term of this
Agreement, unless the local parties mutually agree to any changes.


Section O.    Extended Shift Schedules

1.   If the Company and the Union decide an extended shift schedule is consistent with the
     needs of the operation for a particular department or natural work group, the Company will
     provide the Union with a copy of the proposed work schedule. The proposed schedule will
     be adopted if the Local President/Unit Chair and the Company agree, and the schedule will
     be placed in effect for six months. The extended shift schedule will continue until either the
     Company determines it is no longer consistent with the needs of the operation or the Union
     gives sixty (60) days notice to cancel, in which case the Company will reinstitute the 8-
     hour shift.

2.   Employees working extended shifts will be paid overtime if the employee works beyond
     his/her regularly scheduled shift in one workday or more than forty hours in one workweek.
     Employees will not be required to work more than sixteen hours in one workday except in
     case of emergency. The Company will seek volunteers for overtime before requiring
     employees to stay. Employees working twelve-hour shifts will not be required to work


                                               58
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 225 of 325

                                                               Article 5. Workplace Procedures

     overtime on consecutive days unless no other qualified employee is available on that shift,
     Employees working overtime after a twelve-hour shift will be provided an overtime lunch
     within approximately the first two hours of overtime; any pay in lieu of lunch will be in
     accordance with Article 5, Section D Paragraph 5 (B).

3.   Employees working the second shift will be paid the night shift differential. Overtime shift
     differentials will be paid in accordance with Article 5, Section D.

4.   Vacation pay is based upon total vacation hours eligibility. Vacation days taken during the
     year will be deducted from the employee’s total vacation hours eligibility based upon the
     number of hours the employee was scheduled to work during the absence. Residual
     vacation hours equal to half or more of a full shift may be taken as a vacation day with the
     residual hours paid, or the employee may elect to be paid for those hours in lieu of time off.
     Residual hours of less than half a full shift may not be taken as a vacation day and the
     employee will be paid for the unused vacation hours. Scheduling of vacations is subject to
     the approval of the Company.

5.   Employees working on a holiday will be paid according to Article 10, Section A.
     Employees will be paid eight (8) hours straight time pay for holidays not worked, subject to
     Article 10.

6.   The employee will receive full shift pay for the regularly scheduled workdays, for the
     purposes of and subject to the terms and conditions of Article 10, Section D (Jury and
     Witness Duty).

7.   Employees will receive full shift pay for the regularly scheduled workdays, for the
     purposes of and subject to the terms and conditions of Article 10, Section C (Bereavement
     Leave).

8.   Employees will receive compensation for lost time according to Article 3, F, 2
     (occupational injury or illness time), based on the hours they otherwise were scheduled and
     would have worked. Accommodations for employees needing time off or shift trades will
     be handled according to current practice, keeping in mind that the additional days off
     inherent in extended shifts should allow employees more than ample time to take care of
     most personal business. The Company will have final approval of all schedules and
     reserves the right to discontinue the extended shift schedules if the needs of the operation
     so require. In addition, reference to ten or twelve-hour shifts in this or any other Article
     regarding extended shifts is not intended to preclude scheduling for shifts of any length up
     to twelve hours in accordance with this Agreement.




                                               59
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 226 of 325

                                                                            Article 6. Joint Efforts


                                     Article 6. Joint Efforts

Section A.         Partnership

1.   Purpose and Intent

     The purpose of this Section is to create a framework for ongoing discussion between the
     Company and the Union about issues that arise during the term of the BLA, including
     changes in the market or business conditions, adjustments to business strategy and
     Workplace Change.

2.   Access to Information

     The Company shall provide the Union and its advisors with:

     a.      full and continuing access, in accordance with Securities and Exchange Commission
             requirements, to its short and long-term operating and financial results and forecasts
             including inputs relevant to the development of them;

     b.      the earliest practicable notification and continuing updates of any contemplated
             material corporate transactions, including mergers, acquisitions, joint ventures and
             new facilities to be constructed or established; and

     c.      information and continuing updates on any proposed Workplace Change.

     Access to and the use of this information will be covered by a reasonable confidentiality
     agreement.

3.   Comprehensive Training and Education Program

     Company and Union representatives shall receive jointly-developed, ongoing training in
     the application of this Section, which shall be paid by the Company.

4.   Mechanisms

     The parties agree to the following to carry out the intent of this Section:

     a.      Strategic Labor Management Committee

             (1)    Appointment and Composition

                    A Joint Strategic Labor Management Committee (Strategic Committee) shall be
                    established consisting of for the Company: the Chief Executive Officer,
                    Corporate Director of Human Resources and the highest ranking official at each
                    of the Company’s Copper Group and Ray facilities, and for the Union: the Chair
                    of the Union’s Negotiating Committee, the Secretary of the Union’s Negotiating


                                                 60
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 227 of 325

                                                                          Article 6. Joint Efforts

                Committee and the Local Union President(s)/Unit Chairs(s) at each of the
                Company’s same facilities. Each side shall designate a Co-Chair and provide
                the other with an updated list of its members of the Committee.

          (2)   Meetings

                The Strategic Committee shall hold at least semi-annual meetings of at least one
                (1) full day. These meetings will be for the purpose of reviewing and
                discussing the information described in Paragraph 2 above (it being understood
                that the Union Co-Chair will be updated more frequently regarding time-
                sensitive information) as well as other information and updates reasonably
                requested by the Union.

     b.   Plant Labor Management Committees

          The Strategic Labor Management Committee may create one or more Plant or Area
          Problem Solving Teams to study and report back on specific problems or projects.

     c.   Company-Wide Meetings

          (1)   In each calendar year the parties will hold a two (2) day meeting (the first day
                for separate meetings for preparation) in proximity to a Company facility to
                review and discuss the information described in Paragraph 2 above with the
                Union’s leadership at the plants, Districts and International.

          (2)   Union participants shall include the Chair of the Union Negotiating Committee,
                Secretary of the Union Negotiating Committee, Local Union Presidents/Unit
                Chairs and Grievance Committee Chairs (or their designees) at each of the
                Company’s covered facilities. Company participants shall include the
                Company’s officers, General Managers and such others as the Company may
                designate.

5.   Workplace Change

     A Plant or Area Problem Solving Team appointed by the Strategic Labor Management
     Committee to consider any plan to significantly modify or change in any way machinery,
     equipment, controls, materials, software, work organization, or any other work process that
     would directly or indirectly impact Employees (a Workplace Change) shall be provided:

     a.   a description of the purpose, function and established timetable of the Workplace
          Change, and how it would fit into existing operations and processes;

     b.   the estimated cost of the proposed Workplace Change;

     c.   the number and type of jobs which would be impacted;



                                               61
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 228 of 325

                                                                          Article 6. Joint Efforts

     d.   the expected impact on job content, method of work, safety and health, training needs
          and the utilization of Outside Entities.

6.   Safeguards and Resources

     a.   No entity created under this Section may amend or modify this Agreement,
          recommend or effect the hiring or discipline of any Employee or take any action with
          respect to contractual grievances.

     b.   Employee participation or training contemplated in this Section shall normally occur
          during normal work hours. All joint meeting time and necessary and reasonable
          expenses associated with any committee created under this Section shall be paid for
          by the Company.

     c.   All Union participants involved in any and all joint activities under this Section, or in
          any other joint committee involving members of a Union bargaining unit, shall be
          chosen and removed from the process exclusively by the relevant Local Union
          President/Unit Chair.




                                               62
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 229 of 325

                                                                        Article 6. Joint Efforts


                                  Article 6. Joint Efforts

Section B.    Contract Coordinators

In this BLA, the parties have committed themselves to a number of joint undertakings crucial to
the success of the Company, its Employees and the Union. In recognition of the crucial role
being served by the Union in accomplishing the joint goals of the parties, the parties agree as
follows:

1.   The Chair of the Union Negotiating Committee shall select and direct three (3) Contract
     Coordinators who shall be responsible throughout the Company for implementation and
     ongoing monitoring of joint undertakings of mutual interest to the Company and the Union.
     It is expected that Contract Coordinators will visit each of the Company’s locations on a
     regular basis in the performance of their duties.

2.   Each Contract Coordinator shall be an Employee of the Company. The Contract
     Coordinator shall be compensated by the Company in the amount of the appropriate wages,
     benefits and other fringe benefits s/he would have earned during his/her normal course of
     employment with the Company, but for this assignment. In addition, each Contract
     Coordinator shall be reimbursed for reasonable out-of-pocket expenses including, but not
     limited to, travel (coach airfare, hotel and per diem) incurred in connection with this
     assignment and as reasonably agreed to by the Company and the Union in advance of
     incurring such expense. In order to receive such lost time payments and expense
     reimbursements, supporting vouchers must be provided by the Contract Coordinator.




                                               63
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 230 of 325

                                                                           Article 6. Joint Efforts


                                    Article 6. Joint Efforts


Section C.      New Employee Orientation

1.   The parties agree that within one-hundred eighty (180) days of the Effective Date they shall
     jointly develop an Employee Orientation Program which shall include the following:

     a.      an introduction of plant Company officials, International Union officials and Local
             Union representatives as may be appropriate;

     b.      distribution and discussion of the BLA, including any relevant local agreements;

     c.      discussion of safety and health programs and safe working procedures;

     d.      presentation and discussion on labor-management participation, problem solving,
             communications and the role of the Union and the workforce in quality and customer
             satisfaction;

     e.      discussion (not more than ten (10) minutes) of the history and achievements of the
             Union and the particular Local Union;

     f.      discussion (not more than ten (10) minutes) of the structure of the Union and the
             particular Local Union and the services that are provided by the various offices and
             committees;

     g.      presentation on the history of the Company and plant;

     h.      review of the markets in which the Company participates, the products produced and
             the customers serviced; and

     i.      discussion of the structure of the Company, the plant organization and the functions
             and services that are provided by the various departments.

2.   This program shall be jointly presented to each new Employee of the Company during their
     probationary period. The Union will be allotted a portion of the program to address the
     Employees.

3.   All costs associated with developing this Program shall be borne by the Company.




                                                 64
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 231 of 325

                                                                              Article 7. Training


                                     Article 7. Training

Section A. Workforce Training Program

1.   Commitments

     The parties are committed to:

     a.   the Company’s workforce being sufficiently skilled so that all Bargaining Unit Work
          can be performed in accordance with this Agreement by Employees; and

     b.   Employees receiving sufficient training to allow for all reasonable opportunities to
          progress within the workforce and maximize their skills to the greatest extent
          possible.

2.   Plant Training Committees

     The parties shall establish a Plant Training Committee at each of the Company’s facilities.
     The Plant Training Committee shall be composed of three (3) Union representatives who
     are Employees of the Company and an equal number of Company representatives (except
     that the number of Union representatives shall be four (4) at Mission Complex). The
     Company members of each Plant Training Committee shall include the General Manager
     or his designee (who shall serve as the Company Co-Chair). The Company Members of
     the Committee shall be selected and serve at the pleasure of the General Manager. The
     Union members of each Plant Training Committee shall include a Local Union
     President/Unit Chair (who shall serve as the Union Co-Chair).

3.   Study of Workforce Training Needs

     Within six (6) months of the Effective Date, each Plant Training Committee shall complete
     a report (Report) of the expected training needs of the workforce over the term of the
     Agreement, given the Commitments outlined in Paragraph 1 above. Such Report shall
     include Findings and Recommendations as described below.

     a.   Findings

          (1)   an age and service profile and the anticipated attrition rates of the workforce
                over the life of the Agreement;

          (2)   an assessment of the current skill requirements (both competencies and force
                levels) of the plant, the availability of such skill requirements within the
                existing workforce and any training practices or programs necessary to bring the
                competencies and/or force levels of the current workforce into prompt
                conformity with the plant’s current skill requirements;




                                               65
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 232 of 325

                                                                            Article 7. Training

          (3)   an evaluation of the appropriateness of existing training programs and the
                necessity of developing additional training programs, giving due consideration
                to changing technology and future skill needs; and

          (4)   an examination of methods by which productivity and efficiencies can be
                improved through additional training of Employees.

     b.   Recommendations

          Based on its Findings, the Plant Training Committee shall develop a recommended
          training program designed to meet the commitments outlined in Article 7, Section A,
          1, above.

     c.   Constructive Participation

          The Union and the Company commit that their participation on the Plant Training
          Committee will be constructive. Nothing in this Article or the parties' commitment to
          joint efforts shall detract from the Company's right to manage the workforce and to
          adopt reasonable training programs and requirements following satisfaction of its
          statutory bargaining obligations.

4.   Record Keeping

     a.   The Company shall keep detailed records of who is trained where and when.

     b.   The Company shall share such records with the Union. The Union may discuss
          additional or supplemental training on positions with the Company.




                                              66
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 233 of 325

                                                                        Article 8. Earnings Security


                                  Article 8. Earnings Security

Section A.         Supplemental Unemployment Benefits

1.   Eligibility

     An Employee shall be eligible for a weekly supplemental unemployment benefit (Weekly
     Benefit) for any week beginning on or after the Effective Date, if s/he:

     a.      has completed two (2) years of Continuous Service prior to his/her seeking weekly
             benefits;

     b.      is and remains an Employee within the meaning of the Agreement;

     c.      does not receive sickness and accident benefits under an agreement between the
             Company and the Union;

     d.      is not in the military service, including training encampments;

     e.      is eligible, applies for state unemployment benefits for the week and takes all
             reasonable steps to receive such benefits; provided, however, that this requirement
             will not apply if s/he has exhausted state unemployment benefits, receives other
             compensation in an amount that disqualifies him/her for state unemployment benefits,
             has insufficient employment to be covered by the state system, fails to qualify for
             state unemployment benefits because of a waiting week, is unable to work by reason
             of disability, or is participating in a federal training program; and

     f.      either:

             (1)    is on layoff for any week in which, because of lack of work, s/he does not work
                    at all for the Company;

             (2)    is on layoff during a plant vacation shutdown and s/he is not entitled to vacation
                    during the shutdown; or

             (3)    became disabled while on layoff and is not physically able to return to work.

2.        Amount and Duration of Benefits

     a.      Weekly Benefits are equal to:

             (1)    $150 per week in which s/he is eligible for a state unemployment benefit; and

             (2)    $250 per week in which s/he is ineligible for a state unemployment benefit.




                                                   67
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 234 of 325

                                                                  Article 8. Earnings Security

     b.   Benefit durations shall be as follows:

             Seniority                  Maximum Duration of Benefits
             2 but less than 10                 26 weeks
             10 but less than 20                52 weeks
             20 and over                        104 weeks

     c.   Notwithstanding the above, the duration of Weekly Benefits payable to an Employee
          who becomes disabled while on layoff and is not physically able to return to work
          shall be limited to fifty-two (52) weeks beginning with the week the Employee is
          recalled to work.

     d.   The amount of a Weekly Benefit is not reduced for the receipt of state unemployment
          benefits or Trade Adjustment Allowance, but is subject to reduction due to any
          Excess Other Compensation.

     e.   Excess Other Compensation means any weekly earnings from an employer other than
          the Company in excess of the amount that would reduce the Employee’s state
          unemployment benefit to zero. The amount to be offset shall be $1 for each $2 of
          Excess Other Compensation.

3.   Company Payment

     The Company shall make reasonable calculations of Weekly Benefits and pay such benefits
     based on the best information in its possession and obtained from the state system.

4.   Disputes

     In the event an Employee believes that his/her Weekly Benefit or eligibility determination
     has been made in error, the Employee may file a grievance, as outlined in the grievance
     procedure of this Agreement.

5.   Administration of the Plan

     Subject to and in accordance with the terms and conditions outlined in this Section, the
     Company shall administer the Supplemental Unemployment Benefits Plan (Plan) and may
     prescribe reasonable rules and regulations. The costs of administering the Plan shall be
     borne by the Company.

6.   Finality of Determination

     The Company shall have the right to recover overpayments and correct underpayments to
     Employees. However, any benefit determination shall become final six (6) months after the
     date on which it is made if (a) no dispute is then pending and (b) the Company has not
     given notice in writing of an error.



                                               68
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 235 of 325

                                                                   Article 8. Earnings Security

7.   Termination

     Notwithstanding the provisions of Article One, Section B (Term of the Agreement), this
     Section and the Plan on which it is based shall expire 150 days after the Termination Date.

8.   Documentation

     The parties shall adopt a mutually agreed upon Plan to provide the benefits described in
     this Section.




                                              69
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 236 of 325

                                                                       Article 8. Earnings Security


                                 Article 8. Earnings Security

Section B.      Interplant Job Opportunities

1.   As described below, an Employee with more than two (2) years of Company Seniority who
     is continuously on layoff for at least sixty (60) days and not expected to be recalled within
     sixty (60) days shall be given priority, for permanent bargaining unit job vacancies at other
     Company locations over new hires and probationary Employees at such locations (without
     the right to bump probationary employees out of their current jobs):

     a.      The Employee must file with his/her home plant, on a form provided by the
             Company, a written request for such transfer specifying the other plant or plants at
             which s/he would accept employment.

     b.      Employees who apply shall be given priority in the order of their Company Seniority
             (the earlier date of birth to control where such service is identical), provided the
             Employee has the necessary qualifications to perform the job. In determining
             qualifications, the Employee shall be treated as if the job were an opening at his/her
             home plant.

     c.      An Employee laid off from his/her plant who is offered and accepts a job at another
             plant, will have the same obligation to report for work there as though s/he were a
             laid-off Employee at that plant. During his/her employment at that plant, s/he will be
             subject to all the rules and conditions of employment in effect at that plant. S/he will
             be considered as a new Employee at that plant and therefore such Employee’s Plant
             Service shall be defined in accordance with Article 5, Section E, 3,b.

     d.      An Employee shall be deemed to reject such job if s/he does not affirmatively
             respond within five (5) days of the time the offer is made, which offer shall be
             directed to his/her last place of residence as shown on the written request referred to
             in Paragraph (a) above.

     e.      An Employee who accepts employment at another plant under this Section will
             continue to accrue Plant Seniority for seniority purposes at his/her home plant in
             accordance with the applicable seniority rules for a maximum period of six (6)
             months from the date of transfer. If within six (6) month period, s/he is recalled to
             work at his/her home plant and s/he elects to return, his/her Plant Seniority for
             seniority purposes at the other plant will be cancelled. If s/he elects to remain at the
             other plant for more than six (6) months, his/her Plant Seniority for seniority purposes
             at his/her home plant will be cancelled.

     f.      When an Employee is recalled to his/her home plant, the Company may require the
             Employee to remain at such other plant for the calendar week following the calendar
             week during which such recall occurs.




                                                  70
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 237 of 325

                                                                  Article 8. Earnings Security

2.   An Employee who accepts a job at another plant more than 100 miles from his/her former
     plant will receive a relocation allowance of $500 promptly after the commencement of
     employment at the plant to which s/he is relocated, provided the Employee relocates his/her
     permanent residence to within thirty (30) miles of the new reporting location. If the
     Employee does not voluntarily remain employed at the new reporting location for six (6)
     months, he shall repay the relocation allowance.




                                              71
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 238 of 325

                                                       Article 9. Economic Opportunity


                         Article 9. Economic Opportunity

Section A.   Wages

                             Amarillo Refinery USW

                                       January 1,   September 30,    September 30,
             Class           Current        2007            2008             2009
        1 (starting rate)    $13.445     $14.445          $15.445           $16.445
     1 (intermediate rate)    14.445      15.445           16.445            17.445
    1A (Post 5/22/95 Hire)    15.445      16.445           17.445            18.445
     2 (Post 5/22/95 Hire)    16.115      17.115           18.115            19.115
     1 (Pre 5/22/95 Hire)     16.745      17.745           18.745            19.745
    2A (Pre 5/22/95 Hire)     17.015      18.015           19.015            20.015
                3             17.285      18.285           19.285            20.285
                4             17.555      18.555           19.555            20.555
                5             17.825      18.825           19.825            20.825
                6             18.095      19.095           20.095            21.095
                7             18.365      19.365           20.365            21.365
                8             18.635      19.635           20.635            21.635
                9             18.925      19.925           20.925            21.925
               10             19.225      20.225           21.225            22.225
               11             19.525      20.525           21.525            22.525
               12            $19.825     $20.825          $21.825           $22.825




                                          72
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 239 of 325

                                                     Article 9. Economic Opportunity


                         Amarillo Refinery IBEW

                                      January 1,      September    September 30,
        Class              Current         2007         30, 2008           2009
    1 (starting rate)       $13.445        $14.445       $15.445          $16.445
 1 (intermediate rate)       14.445         15.445        16.445           17.445
            1                15.445         16.445        17.445           18.445
            2                16.115         17.115        18.115           19.115
            3                17.225         18.225        19.225           20.225
            4                17.505         18.505        19.505           20.505
            5                17.780         18.780        19.780           20.780
            6                18.055         19.055        20.055           21.055
            7                18.340         19.340        20.340           21.340
            8                18.610         19.610        20.610           21.610
            9                18.905         19.905        20.905           21.905
           10                19.215         20.215        21.215           22.215
           11                19.515         20.515        21.515           22.515
           12               $19.830        $20.830       $21.830          $22.830




                                      73
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 240 of 325

                                                  Article 9. Economic Opportunity


                         Hayden Smelter

                                   January 1,       September      September
        Class            Current        2007          30, 2008       30, 2009
    1 (starting rate)    $13.085        $14.085        $15.085         $16.085
 1 (intermediate rate)    14.085         15.085         16.085          17.085
1A (Post 5/22/95 Hire)    15.085         16.085         17.085          18.085
 2 (Post 5/22/95 Hire)    15.630         16.630         17.630          18.630
 1 (Pre 5/22/95 Hire)     16.840         17.840         18.840          19.840
2A (Pre 5/22/95 Hire)     17.150         18.150         19.150          20.150
            3             17.260         18.260         19.260          20.260
            4             17.480         18.480         19.480          20.480
            5             17.670         18.670         19.670          20.670
            6             17.880         18.880         19.880          20.880
            7             18.090         19.090         20.090          21.090
            8             18.300         19.300         20.300          21.300
            9             18.500         19.500         20.500          21.500
           10             18.710         19.710         20.710          21.710
           11             18.920         19.920         20.920          21.920
           12             19.120         20.120         21.120          22.120
           13             19.330         20.330         21.330          22.330
           14             19.540         20.540         21.540          22.540
           15             19.750         20.750         21.750          22.750
     Multi-Skill (1       20.040         21.040         22.040          23.040
    additional skill)
     Multi-Skill (2      $20.540        $21.540        $22.540         $23.540
   additional skills)




                                   74
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 241 of 325

                                                    Article 9. Economic Opportunity


                         Hayden Smelter, IBEW

                                     January 1,       September      September
        Class              Current        2007          30, 2008       30, 2009
    1 (starting rate)      $13.085        $14.085        $15.085         $16.085
 1 (intermediate rate)      14.085         15.085         16.085          17.085
1A (Post 5/22/95 Hire)      15.085         16.085         17.085          18.085
 2 (Post 5/22/95 Hire)      15.630         16.630         17.630          18.630
 1 (Pre 5/22/95 Hire)       16.840         17.840         18.840          19.840
2A (Pre 5/22/95 Hire)       17.150         18.150         19.150          20.150
            3               17.260         18.260         19.260          20.260
            4               17.480         18.480         19.480          20.480
            5               17.670         18.670         19.670          20.670
            6               17.880         18.880         19.880          20.880
            7               18.090         19.090         20.090          21.090
            8               18.300         19.300         20.300          21.300
            9               18.500         19.500         20.500          21.500
           10               18.710         19.710         20.710          21.710
           11               18.920         19.920         20.920          21.920
           12               19.120         20.120         21.120          22.120
           13               19.330         20.330         21.330          22.330
           14               19.540         20.540         21.540          22.540
           15               19.750         20.750         21.750          22.750
     Multi-Skill (1         20.040         21.040         22.040          23.040
    additional skill)
     Multi-Skill (2         20.540         21.540         22.540          23.540
   additional skills)
  Head Multi-Skill (1       20.250         21.040         22.040          23.040
    additional skill)
  Head Multi-Skill (2      $20.750        $21.750        $22.750         $23.750
   additional skills)




                                     75
 Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 242 of 325

                                                           Article 9. Economic Opportunity


                               Mission Complex

                                            January 1,       September         September
          Class                 Current          2007          30, 2008          30, 2009
     1 (starting rate)          $13.595          $14.595          $15.595          $16.595
  1 (intermediate rate)          14.595           15.595           16.595           17.595
 1A (Post 5/22/95 Hire)          15.595           16.595           17.595           18.595
  2 (Post 5/22/95 Hire)          16.428           17.428           18.428           19.428
  1 (Pre 5/22/95 Hire)           16.852           17.852           18.852           19.852
 2A (Pre 5/22/95 Hire)           17.352           18.352           19.352           20.352
             3                   17.672           18.672           19.672           20.672
             4                   17.961           18.961           19.961           20.961
             5                   18.282           19.282           20.282           21.282
             6                   18.603           19.603           20.603           21.603
             7                   18.944           19.944           20.944           21.944
             8                   19.264           20.264           21.264           22.264
             9                   19.585           20.585           21.585           22.585
            10                   19.906           20.906           21.906           22.906
            11                   20.231           21.231           22.231           23.231
            12                  $20.406          $21.406          $22.406          $23.406

Note: The purpose of this table is only to illustrate the effect of the negotiated wage
      increase. The Mission job titles and rate structure are as contained in the July 1, 2001
      Collective Bargaining Agreement.




                                            76
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 243 of 325

                                               Article 9. Economic Opportunity


                         Ray Complex

                                 January 1,    September       September
      Class            Current        2007       30, 2008        30, 2009
         A              $13.60        $14.60        $15.60          $16.60
         B               13.81         14.81         15.81           16.81
         C               16.33         17.33         18.33           19.33
         D               16.90         17.90         18.90           19.90
         E               17.55         18.55         19.55           20.55
         F               18.27         19.27         20.27           21.27
         G               19.02         20.02         21.02           22.02
         H               19.81         20.81         21.81           22.81
         I               20.69         21.69         22.69           23.69
         J               21.57         22.57         23.57           24.57
      J+$1.00           $22.57        $23.57        $24.57          $25.57




                                 77
 Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 244 of 325

                                                            Article 9. Economic Opportunity


                                Silver Bell Mining

                                             January 1,        September         September
          Class                  Current          2007           30, 2008          30, 2009
     1 (starting rate)           $13.595          $14.595          $15.595           $16.595
  1 (intermediate rate)           14.595           15.595           16.595            17.595
 1A (Post 5/22/95 Hire)           15.595           16.595           17.595            18.595
  2 (Post 5/22/95 Hire)           16.285           17.285           18.285            19.285
  1 (Pre 5/22/95 Hire)            16.856           17.856           18.856            19.856
 2A (Pre 5/22/95 Hire)            17.208           18.208           19.208            20.208
             3                    17.356           18.356           19.356            20.356
             4                    17.675           18.675           19.675            20.675
             5                    17.823           18.823           19.823            20.823
             6                    17.964           18.964           19.964            20.964
             7                    18.283           19.283           20.283            21.283
             8                    18.417           19.417           20.417            21.417
             9                    18.603           19.603           20.603            21.603
            10                    18.944           19.944           20.944            21.944
            11                    19.263           20.263           21.263            22.263
            12                    19.583           20.583           21.583            22.583
            13                    19.902           20.902           21.902            22.902
            14                   $20.241          $21.241          $22.241           $23.241

Note: The purpose of this table is only to illustrate the effect of the negotiated wage
      increase. The Silver Bell job titles and rate structure are as contained in the July 1,
      2001 Collective Bargaining Agreement.




                                             78
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 245 of 325

                                                                 Article 9. Economic Opportunity


                             Article 9. Economic Opportunity

Section B.      Shift Premium

1.   For the purpose of determining the application of shift differentials, the shifts shall be
     defined as follows:

     a.      Day or First Shift: a work shift starting between 6:30 and 9:00 a.m.

     b.      Afternoon or Second Shift: a work shift starting between 3:30 and 4:30 p.m.

     c.      Night or Third Shift: a work shift starting between 11:30 p.m. and 12:30 a.m.

2.   Employees on the day shift shall receive no shift differential for work during their regular
     shift hours or for overtime work immediately following their regular shift hours.

3.   Employees on the afternoon shift shall receive a shift differential of thirty (30) cents per
     hour for work during their regular shift hours or for overtime work immediately following
     their regular shift hours.

4.   Employees on the night shift shall receive a shift differential of forty-five (45) cents per
     hour for work during their regular shift hours or for overtime work immediately following
     their regular shift hours.

5.   In the case of an employee whose starting time does not fall within the time limits specified
     above, a shift differential of thirty (30) cents per hour shall be paid if four (4) hours or
     more of his shift falls within the afternoon shift, while a shift differential of forty-five (45)
     cents per hour shall be paid if four (4) hours or more of his shift falls within the night shift.




                                                 79
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 246 of 325

                                                             Article 9. Economic Opportunity


                           Article 9. Economic Opportunity

Section C.    Copper Price Bonus

1.   Commencing with the first calendar quarter of 2007 and for each quarter thereafter a lump
     sum cash payment will be made depending on the average copper price during that
     calendar quarter.

2.   The payment will be based on the average quarterly copper price in U.S. Dollars per pound
     on the London Metals Exchange. The average LME copper price will be determined by
     taking the 3 month average of the London Metal Exchange daily cash settlement prices (i.e.
     daily cash seller and settlement price) for high grade cathode copper for each market day
     during the applicable 3 month period beginning on January 1, 2007 through June 30, 2010.

3.   Copper Price Bonus Payment Scale

     Payments will be made according to the scale below. The average quarterly LME price
     will be rounded to the nearest $0.001. For example, for the purposes of this Plan, $1.9995
     shall round up to $2.000 per pound.

                            Average LME            Quarterly Bonus
                            Copper Price              Payment
                            Below $1.600                     $0
                             $1.600-1.699                 $270
                             $1.700-1.799                 $324
                             $1.800-1.899                 $378
                             $1.900-1.999                 $432
                             $2.000-2.099                 $486
                             $2.100-2.199                 $594
                             $2.200-2.299                 $702
                             $2.300-2.399                 $810
                             $2.400-2.499                 $918
                             $2.500-2.599               $1,026
                             $2.600-2.699               $1,134
                             $2.700-2.799               $1,242
                             $2.800-2.899               $1,350
                             $2.900-2.999               $1,458
                             $3.000-3.099               $1,620
                             $3.100-3.199               $1,755
                             $3.200-3.299               $1,890
                             $3.300-3.399               $2,025
                             $3.400-3.499               $2,160
                             $3.500-3.599               $2,295
                             $3.600-3.699               $2,430
                             $3.700-3.799               $2,565


                                              80
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 247 of 325

                                                               Article 9. Economic Opportunity


                              Average LME             Quarterly Bonus
                              Copper Price                 Payment
                               $3.800-3.899                  $2,700
                               $3.900-3.999                  $2,835
                              Above $4.000            $2,870, plus $135
                                                     for every $0.10 the
                                                    copper price exceeds
                                                       $4.00 per pound

4.   Payment Period

     The Copper Price Bonus will be paid within thirty (30) days of the end of each calendar
     quarter.

5.   Individual Entitlement

     The Copper Price Bonus will be paid to each such Participant accruing Continuous Service
     under the Retirement Income Plan for Hourly Rated Employees of Asarco Inc. at the end of
     the calendar quarter.

     Any payments made to a Participant pursuant to this Plan shall not be included in the
     Participant's earnings for purposes of determining any other pay, benefit or allowance of
     the Participant.

6.   Administration of the Plan

     a.   The Plan will be administered by the Company in accordance with its terms and the
          costs of administration shall be the responsibility of the Company. Upon
          determination of each Copper Price Bonus calculation, such calculation shall be
          forwarded to the Chair of the Union Negotiating Committee.

     b.   The Union, through the Chair of its Negotiating Committee or his/her designee, will
          have the right to review any information, calculation or other matters concerning the
          Plan. In the event of a dispute between the parties, the Chairs of Negotiating
          Committees or their designees will attempt to reach an agreement to resolve the
          discrepancy. In the event that they cannot resolve the dispute, either party may
          submit such dispute to final and binding arbitration under the grievance procedure
          provided in this Agreement.




                                               81
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 248 of 325

                                                                  Article 9. Economic Opportunity


                              Article 9. Economic Opportunity

Section D.      Travel Time and Time Donning and Doffing Protective Equipment

1.   Applicable to Mission, Silver Bell and Ray Mine – When the Company requires pit
     Employees to report prior to the start of their shift for transport into the pit (“Positive
     Relief”).

     a.      Pit employees will be ready for transport into the pit (10) ten minutes prior to their
             scheduled shift. The Company will pay ten (10) minutes of travel time at straight time
             pay each day for such reports. Travel time into the pit will not be considered time
             worked for overtime purposes unless a meeting is held prior to travel to the pit.

     b.      Van drivers, (bus, etc.) who transport employees into the pit will be paid for such
             time at the rate of time and one-half (1 ½).

     c.      If the report time is changed or increased, it will be paid at straight time. However, in
             no event will the Employees be required to report more than twenty (20) minutes
             before their scheduled shift.

     d.      If the Company decides not to use positive relief, the employees will report to the
             Change House/Pit Office at the start of the shift and will be returned to the Change
             House/Pit Office by the end of the shift.

     e.      In the event more than twelve (12) minutes pass before an individual in Pit
             Operations is returned to the change house from his work station at the end of the
             shift, s/he will be paid overtime for the actual time in excess of twelve (12) minutes
             based on the nearest 1/10th hour (for Positive Relief purposes only).

2.   Employees required to wear protective equipment (other than hard hats, safety shoes, safety
     glasses, respirators and hearing protection) shall be paid for all time spent donning and
     doffing such equipment, waiting and traveling to their work station. Such time will be
     considered time worked for overtime purposes.


Section E.      Apprenticeship

1.   Contained in a separate document, the plans of apprenticeship as agreed-to between the
     parties outline standards covering selection, training and periodic examinations.

2.   Upon successful completion of an approved apprenticeship program, and presentation of
     paid receipts to the Company, the Employee will be reimbursed by the Company for the
     cost of all authorized books and required training aids and materials. One-half of the total
     reimbursement shall be paid to the Employee upon successful completion of his or her
     apprenticeship – the remaining half shall be paid one year thereafter, provided the
     Employee is still employed by the Company.


                                                  82
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 249 of 325

                                                             Article 9. Economic Opportunity


                           Article 9. Economic Opportunity

Section F.    Payment for Company Mandated Training

1.   In the event that the Company requires an Employee to obtain a certification, license, or
     special training to perform his or her job, the Company will pay the cost of obtaining same
     including any lost time involved. Any renewal expense(s) shall likewise be paid by the
     Company if the Company requires renewal.

2.   The Company will reimburse Employees for the cost of tuition and fees for job-related
     courses that are pre-approved by the Human Resources Manager. Reimbursement is
     contingent upon the Employee receiving a passing grade.




                                              83
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 250 of 325

                                                 Article 10. Paid Time Off and Leaves of Absence


                   Article 10. Paid Time Off and Leaves Of Absence

Section A.      Holidays

1.   Designated Holidays

     For the purpose of this Agreement, the following nine (9) days are designated as holidays,
     whether worked or not. It is understood that, by mutual agreement, the parties at each
     Company location may agree to substitute other days for the holidays listed below:

                                           New Year’s Day
                                            Easter Sunday
                                            Memorial Day
                                          Independence Day
                                              Labor Day
                                          Thanksgiving Day
                                          Christmas Eve Day
                                            Christmas Day
                                         New Year’s Eve Day

2.   Holidays Not Worked

     Employees covered by this Agreement shall be paid their straight -time rate of pay for
     holidays designated in Article 10, Section A, 1, when not worked, subject to the following
     terms and conditions:

     a.      A new Employee must have been on the Company’s payroll continuously for forty-
             five (45) days prior to the holiday in question. Any Employee who receives Sickness
             & Accident Benefits for the day of the holiday shall not be eligible for holiday pay.

     b.      An Employee must work his last scheduled shift prior to the holiday and his/her first
             scheduled shift after the holiday; provided, however, that if an Employee is absent on
             either or both of these days because of personal illness, illness within his/her family
             of such a nature as to necessitate that the Employee remain home, or death in the
             family, and reports such facts promptly to his/her Supervisor, such days will not be
             counted as scheduled. Such illness of the Employee or a family member must be
             verified by a licensed health care provider. An Employee who has been excused by
             his/her Supervisor from working his/her last scheduled shift before the holiday,
             his/her shift occurring on the holiday, or his/her first scheduled shift after the holiday
             shall be considered as not having been scheduled to work on such day or days.

     c.      Notwithstanding subparagraph b, above, if an Employee is absent on either his/her
             last scheduled shift prior to the holiday or his/her first scheduled shift after the
             holiday because of jury duty, witness appearance in court, certified Union business
             (other than a leave of absence under Article 10, Section E), or military encampment,
             such days will not be counted as scheduled.


                                                   84
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 251 of 325

                                            Article 10. Paid Time Off and Leaves of Absence



     d.   A holiday not worked shall not be considered as time worked in the computation of
          weekly overtime.

     e.   If an employee is scheduled and assigned to work on a holiday and does not work, he
          shall receive no pay.

     f.   Should a holiday occur during an employee’s vacation, an additional day’s vacation
          with pay shall be granted or, in lieu of the additional vacation day, the Employee may
          elect to receive holiday pay.

3.   Holidays Worked

     An employee who works on any of the holidays designated in Article 10, Section A, shall
     be paid double and one-half (2-1/2) for all hours worked computed at his regular straight-
     time basis as defined in Article 7, Section E. All hours worked on a holiday shall be used
     in computing weekly overtime. No more than two and one-half (2-1/2) times the straight-
     time pay as herein above set forth will be paid for work performed on any of the holidays
     listed above.




                                              85
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 252 of 325

                                                 Article 10. Paid Time Off and Leaves of Absence


                     Article 10. Paid Time Off and Leaves of Absence

Section B.         Vacations

1.   Eligibility

     a.      To be eligible for a vacation in any calendar year, an Employee must:

             (1)    have one year or more of Seniority; and

             (2)    have worked for at least 1,040 hours during the preceding calendar year.

2.   Length

     a.      The amount of vacation due an eligible Employee shall be based on his/her Seniority
             as follows:

             Years of Service                            Weeks of Vacation

             1 but less than 3                                   1
             3 but less than 10                                  2
             10 but less than 17                                 3
             17 but less than 25                                 4
             25 or more                                          5

     b.      A week of vacation shall consist of seven (7) consecutive days in accordance with
             current practices.

3.   Scheduling

     a.      On or promptly after November 1 of each year, each Employee entitled or expected
             to become entitled to vacation in the following year shall receive a Company form
             asking him/her to specify in writing the desired vacation period or periods. The
             Employee shall return the form to the Company within thirty (30) days.

     b.      Vacations will, so far as practicable, be granted at times most desired by Employees
             (longer service Employees being given preference as to choice), but the final right to
             allot vacation periods and to change such allotments is reserved to the Company.

     c.      Employees will be provided with their vacation schedule at least fourteen (14) days
             prior to the start of their vacation period, but in all cases no later than January 1 of the
             year in which the vacation is to be taken.

     d.      Where an Employee transfers from one seniority unit to another, s/he shall take
             his/her vacation in accordance with the schedule established in his/her old seniority
             unit, except as orderly operations of his/her new seniority unit preclude it, and his/her


                                                   86
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 253 of 325

                                              Article 10. Paid Time Off and Leaves of Absence

          transfer shall not be a basis for altering the schedule established prior to his/her
          transfer.

     e.   Consistent with Paragraphs 3(a) through 3(d) above, Employees shall be permitted to
          use up to two (2) weeks (i.e., ten (10) days) of their allotted vacation on a day-at-a-
          time basis.

     f.   At the request of the Employee and with the consent of the Company, the Company
          may pay up to three (3) weeks of vacation allowance, in lieu of time off for vacation,
          in any one (1) calendar year but not more than one (1) week in any calendar quarter.

     g.   The Company may schedule vacations during a shutdown period but, when the
          timing of the shutdown is within the Company's control, the Company must provide
          affected Employees with at least sixty (60) days notice.

     h.   At the time of his/her retirement, an Employee may elect to receive a lump-sum
          payment for any unused vacation entitlement.

     i.   Vacation time not utilized by the end of the calendar year shall be paid out.

4.   Grievances

     Grievances regarding vacation scheduling must be referred to Step 1 of the grievance
     procedure not later than fifteen (15) days after notification to the Employee of the
     scheduled vacation (or changed scheduled vacation) is given to the Employee and shall be
     handled in a manner that assures resolution prior to the disputed date(s).

5.   Vacation Rate of Pay

     a.   Employees will be paid for each week of vacation based upon forty (40) multiplied
          by the Base Rate of Pay of the Employee’s permanent job as of the end of the payroll
          period immediately preceding the vacation (such amount the Vacation Rate of Pay).

     b.   The Daily Vacation Rate of Pay of each Employee shall be the Vacation Rate of Pay
          divided by five (5).

     c.   The Hourly Vacation Rate of Pay of each Employee shall be the Vacation Rate of
          Pay divided by forty (40).




                                                87
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 254 of 325

                                              Article 10. Paid Time Off and Leaves of Absence

6.    Minimum Vacation (Employees Other Than New Hires)

      Notwithstanding Sub-Section 1(a)(2) above, an Employee with one (1) year or more of
      Seniority who is not eligible for vacation based on the above and who works at least 520
      hours in a calendar year shall receive one (1) week of vacation during that calendar year.
      The Company shall make reasonable efforts to schedule that vacation at the time desired by
      the Employee, provided it does not disrupt the vacation schedule already established
      hereunder.

7.    Vacation Bonus

      a.   In addition to the regular vacation pay to which an employee is entitled, there shall be
           paid a vacation bonus in accordance with the following schedule:

                Vacation Week Commencing in:                    Bonus:
                April, May, October, December                   $35.00 per week
                January, February, March, November              $50.00 per week
                June, July, August, September                   No Bonus

      b.   The amount of vacation bonus applicable to a particular vacation week (full week
           only) shall be determined by the calendar month in which such week commences, that
           is, the first day thereof the employee would otherwise have been scheduled to work.
           For example, an employee whose two consecutive-week vacation begins Monday,
           September 27, 2007, would be entitled to NO bonus for the first week but would be
           entitled to a $35.00 bonus for the second vacation week, which begins October 4,
           2007. The bonus payment shall be included with the pay for the regular vacation
           week to which it corresponds. A $20.00 bonus shall be paid for vacation weeks paid
           in lieu of time off.

      c.   The vacation bonus is an add-on to, and not part of, an employee’s regular vacation
           pay.

8.    Vacation for Laid Off Employees

      An Employee with one (1) year or more of Seniority and who has qualified for a vacation
      but is laid off before the Employee has received his vacation pay, shall be given the
      vacation pay that the Employee would have been entitled to in the absence of such layoff.

9.    Vacation for Employees Who Quit or are Discharged

      An Employee with one (1) year or more of Seniority and has qualified for a vacation but
      quits or is discharged before the Employee has received his vacation pay, shall be given the
      vacation pay that the Employee would have been entitled to in the absence of such quitting
      or discharge.

10.   Industrial Compensable Disability, Sickness, Injury


                                                88
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 255 of 325

                                               Article 10. Paid Time Off and Leaves of Absence



      Regularly scheduled time lost due to a compensable disability for purposes of workers’
      compensation or due to sickness or injury certified by a Company physician shall be
      considered both employment and time worked for the purpose of computing vacation
      eligibility under Section B, 1, a (2), above, but in no event shall more than sixty (60) days
      in any qualifying year be so considered.

11.   Vacation for Employees on Union Business

      Time lost from an Employee’s normal working schedule spent on official Union business
      for which s/he is entitled to reimbursement under the provisions of this Agreement shall be
      considered as time worked in computing vacation eligibility.

12.   Prorated Vacation

      In the event an Employee retires or dies, the Employee or the Employee’s personal
      representative shall be paid a vacation allowance equal to his hourly rate of pay for
      vacation purposes multiplied by a pro rata portion of the number of hours of vacation time
      he would have earned, under this Agreement, had he continued to work the same relative
      proportion of the available time he had theretofore worked during the qualifying period.




                                                 89
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 256 of 325

                                            Article 10. Paid Time Off and Leaves of Absence


                 Article 10. Paid Time Off and Leaves Of Absence

Section C.    Bereavement Leave

1.   In the event of the death of any of the relatives listed below, an Employee, upon request,
     will be excused and paid for scheduled shifts as detailed below, which fall within a
     consecutive day period, provided however that one such calendar day shall include the day
     of the funeral and it is established that the Employee attended the funeral.

                           Relation                            Scheduled Shifts Off

      Legal Spouse, Parent, Child or Step-Child                           5


      Sibling, Step-Parent and Step-Siblings, Mother or                   3
      Father in-law, Grandparent or Grandchild


2.   Payment shall be eight (8) hours at the Employee’s Regular Rate of Pay. An Employee
     will not receive bereavement pay when it duplicates pay received for time worked or not
     worked for any other reason. Time thus paid will not be counted as hours worked for
     purposes of determining overtime or premium pay.


Section D.    Jury or Witness Duty

An Employee who is called for jury service or subpoenaed as a witness shall be excused from
work for the days on which s/he serves. Service, as used in this Section, includes required
reporting for jury or witness duty when summoned, whether or not the Employee is used. The
Employee shall receive, for each such day of service on which s/he otherwise would have
worked, the difference between the payment received for such service and the amount calculated
by multiplying eight (8) hours at his/her Regular Rate of Pay. To receive payment the Employee
must present proof that s/he did serve, report for service or was subpoenaed and reported as a
witness and the amount of pay, if any, received therefor.




                                              90
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 257 of 325

                                             Article 10. Paid Time Off and Leaves of Absence


                 Article 10. Paid Time Off and Leaves Of Absence

Section E.    Leave of Absence for Employment with the Union

1.   Leaves of absence for the purpose of accepting positions with the International or Local
     Unions shall be made available to a reasonable number of Employees. Employees who
     intend to apply for such leaves shall give the Company adequate notice to enable it to fill
     the jobs vacated.

2.   Leaves of absence for the purpose of accepting or continuing in a temporary position with
     the International shall be for periods of up to six (6) months and shall be extended upon
     request; provided, however, in no event shall an Employee be entitled under this provision
     to a leave of absence exceeding two (2) continuous years.

3.   Leaves of absence for the purpose of accepting permanent positions with the International
     Union shall be for a period concurrent with the individual’s permanent employment with
     the International Union. When an individual is made a permanent employee of the
     International Union (by completing his/her probationary period), s/he shall, from that point
     forward, retain his/her leave of absence status with the Company but shall not receive any
     Covered Service under the Asarco Retirement Income Plan for Hourly-Rated Employees.
     Such individual shall accumulate Seniority for all other purposes under the Agreement and
     local agreements thereunder; provided that s/he shall not be entitled to actually receive any
     contractual benefits during the period of the leave of absence.

4.   Leaves of absence for the purpose of accepting positions with the Local Unions shall be for
     a period not in excess of three (3) years and may be renewed for further periods of three (3)
     years each.

5.   Except as set forth above in Paragraph 3, Seniority shall continue to accrue and shall not be
     broken by a leave of absence under this Section.




                                               91
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 258 of 325

                                               Article 10. Paid Time Off and Leaves of Absence


                   Article 10. Paid Time Off and Leaves Of Absence

Section F.      Service with the Uniformed Services

1.   Reemployment Rights

     An Employee who leaves the Company employment to enter the Uniformed Services shall
     be granted all statutory rights to reemployment and shall continue to accrue Seniority
     during such service. For the purposes of this Section, Uniformed Services means the
     Armed Forces; the Army National Guard and the Air National Guard when engaged in
     active duty for training, inactive duty training, or full-time National Guard duty; the
     commissioned corps of the Public Health Service; and any other category of persons
     designated by the President in time of war or national emergency.

2.   Training

     An Employee shall be provided with a reasonable program of training in the event s/he
     does not qualify to perform the work on a job which s/he might have attained except for
     his/her service in the Uniformed Services.

3.   Educational Leave of Absence

     Any Employee entitled to reemployment under this Section who applies for reemployment
     and who desires to pursue a course of study in accordance with a federal law granting such
     opportunity because of his/her military service shall be granted a leave of absence for such
     purpose. Such leave of absence shall not constitute a break in Seniority for purposes other
     than a break in service under the Pension Plan. Any such Employee must notify the
     Company and the Union in writing at least once each year of his/her continued interest to
     resume active employment with the Company upon completing or terminating such course
     of study.

4.   Disabled Returning Veterans

     Any Employee entitled to reemployment under this Section who returns with a service-
     connected disability which makes returning to his/her prior job onerous or impossible shall
     be assigned to a vacancy suitable to such impaired condition during the continuance of
     such disability.

5.   Vacation Pay

     a.      An Employee who did not receive but was entitled to paid vacation during the
             calendar year in which s/he enters the Uniformed Services shall be paid an amount
             equal to the vacation pay to which s/he was entitled.

     b.      Notwithstanding any other provisions of this Agreement to the contrary, an Employee
             who is reemployed after being honorably discharged shall be entitled to paid vacation


                                                92
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 259 of 325

                                            Article 10. Paid Time Off and Leaves of Absence

          for the calendar year in which s/he is reemployed, provided that no Employee shall be
          afforded more than one (1) vacation allowance for any one (1) calendar year, at a rate
          of pay based on his/her earnings for the last full year in which s/he worked prior to
          his/her serving.

6.   Military Encampment Allowance

     An Employee who is required to attend an encampment of the Reserve of the Armed
     Forces or the National Guard shall be paid, for a period not to exceed two (2) weeks in any
     one (1) calendar year, the difference between the amount paid by the Government (not
     including travel, subsistence and quarters allowance) and his/her Regular Rate of Pay for
     the number of days s/he would have been scheduled to work during such encampment.




                                              93
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 260 of 325

                                               Article 10. Paid Time Off and Leaves of Absence


                   Article 10. Paid Time Off and Leaves Of Absence

Section G.      Family and Medical Leave Act

1.   The Company shall comply with the Family and Medical Leave Act of 1993 (FMLA) and
     shall apply its requirements as set forth below. Nothing in this Section shall be construed to
     provide lesser treatment than that required under the FMLA or to deprive any Employee of
     any right or forum thereunder.

2.   A copy of a summary of the law and Employee rights and obligations thereunder is
     available at the Company’s Human Resources Office for review and will be issued upon
     request and at the time any FMLA leave is requested. The required posting under the
     FMLA will be maintained by the Company.

3.   Eligibility and Entitlement

     a.      Leave under this Section shall be available to any Employee who has twelve (12)
             months or more of Seniority calculated pursuant to the Seniority provisions of this
             Agreement. There shall be no hours-worked requirement for eligibility.

     b.      Any eligible Employee shall be entitled to up to twelve (12) weeks of unpaid leave in
             any twelve (12) month period for reasons specified in the FMLA. This period shall be
             measured on a rolling twelve (12) month basis, measured backward from the date any
             FMLA leave is used. Any time taken off in connection with any of the situations
             covered by the FMLA shall be counted toward the twelve (12) week period, except as
             otherwise excluded.

4.   Pay During FMLA Leave

     a.      Employees seeking FMLA leave under this Section may be required to utilize unused
             paid vacation.

     b.      An Employee may request to utilize additional paid vacation during the FMLA leave
             time. The Company reserves the right to approve such a request where it involves a
             change in the vacation schedule.

     c.      Except for the utilization of Sickness and Accident, or Workers' Compensation
             benefits, all time off provided shall be unpaid and shall be considered as time not
             worked for all other matters. Treatment of time not worked while receiving Sickness
             & Accident or Workers’ Compensation benefits is subject to the limitation in Article
             10, Section B, Paragraph 10.

     d.      An Employee on FMLA leave is not eligible for Supplemental Unemployment
             Benefits in the event of a layoff, until following the termination of the leave.




                                                 94
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 261 of 325

                                             Article 10. Paid Time Off and Leaves of Absence

5.   Seniority

     Leaves of absence under this Section shall not constitute a break in Seniority and the period
     of such leave shall be included in an Employee’s length of Seniority under this Agreement
     and all benefit agreements.

6.   Benefit Continuation

     a.   All Employees’ benefit coverage will continue during such leave, provided the
          Employee is otherwise eligible for such coverage and the Employee continues
          making any normally-required premium or other payments in a manner acceptable to
          the Company. In the event the Employee fails to make such payments, all benefit
          coverage shall terminate.

     b.   In the event an Employee fails to return to work or quits after the Employee’s FMLA
          leave period has been concluded, the Company waives its right to recover the cost of
          health insurance coverage provided by the Company during such leave.




                                               95
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 262 of 325

                                              Article 10. Paid Time Off and Leaves of Absence


                  Article 10. Paid Time Off and Leaves Of Absence

Section H.     Political Leave

The Company will grant to an Employee a leave of absence for a period not to exceed four (4)
years for full-time elected or appointed Federal, State, County or City political office. This leave
will be limited to one (1) Employee at a location at any given time. Upon the termination of this
political office, the Employee shall be reinstated to his or her previously held job with accrued
seniority rights unless the Company’s circumstances have so changed as to make it impossible or
unreasonable to do so; such as a reduction in force requiring his or her layoff had s/he been
working; provided however, that such Employee is physically able to perform the essential
functions of such job and that he make application to the Company for reinstatement within
twenty-one (21) days after said termination. No benefits of employment, except seniority, shall
accrue during the period of absence; provided that the break-in-service rules and other provisions
of the Asarco Retirement Income Plan for Hourly-Rated Employees shall apply.




                                                96
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 263 of 325

                                                                Article 11. Corporate Governance


                             Article 11. Corporate Governance

Section A.      Board of Directors

1.   The Company and the Union acknowledge that every member of the Company’s Board of
     Directors (Board, members of such Board, Directors) has a fiduciary duty to the Company
     and all of its stockholders.

2.   The Company agrees that the Union shall have the right, subject to the procedure; the
     Directors' discharge of their fiduciary duties; and as described below, to designate two (2)
     individuals to serve on the Board.

     a.      The USW International President shall provide the Board’s Chairman with the names
             and resumes of the individuals whom s/he wishes to have serve on the Board.

     b.      Provided that the individuals are acceptable to the Chairman, (it being understood
             that in all respects each individual will be dealt with separately) such acceptance not
             to be unreasonably withheld, the Chairman shall promptly recommend such
             individual(s) to the Board’s Nominating Committee, who absent compelling reasons
             to the contrary, shall promptly recommend such individual(s) to the full Board for
             election at its next meeting.

     c.      Once elected, the individual(s) shall be recommended by the Board for election by
             the shareholders to serve a regular term at the Company’s next Annual Meeting of
             Shareholders.

3.   If after election, the individual(s) becomes unwilling or unable to serve or the Union wishes
     to replace one or both of them, the International President shall provide the Board’s
     Chairman with the name of a new individual(s) whom s/he wishes to have serve on the
     Board and the process outlined above shall thereafter be followed. In such case the
     individual(s) previously named by the USW International President may be removed from
     or not nominated for re-election to the Board.

4.   At the time that any person is nominated by the Union as provided in this Section A, said
     nominee shall acknowledge in whatever fashion such acknowledgement is given by all of
     the Company’s other Directors, that such nominee, if elected to the Board, would have a
     fiduciary duty to the Company and its stockholders.

5.   In the event the Company’s Board of Directors has fewer than seven (7) members, the
     Union shall have the right, as described above to designate one (1) individual to serve on
     the Board.




                                                  97
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 264 of 325

                                                              Article 11. Corporate Governance


                            Article 11. Corporate Governance

Section B.      Investment Commitment

1.   The Company agrees to make the capital expenditures required to maintain the competitive
     status of the facilities covered by this Agreement.

2.   The Company agrees that, except during maintenance and repair outages and temporary
     production outages or shortfalls, that it will not directly or indirectly replace the product
     which could have been produced at any facility covered by this Agreement with product
     obtained from other than producers that provide base wages and other economic benefits
     (including holidays, vacation pay, premium pay, overtime, and health and welfare benefits)
     that are substantially equivalent to those provided in this Agreement, unless it is operating
     the relevant facility covered by this Agreement at full capacity.

3.   The Company shall make all capital expenditures required to maintain the competitiveness
     and capacity of facilities within the plants covered by this Agreement, including
     investments that increase competitiveness and productivity, unless:

     a.      such facilities have been shut down pursuant to provisions of this Agreement; or

     b.      the Company has conducted full and extensive consultation with the Union and fully
             and carefully considered all Union input concerning the subject Capital Expenditures;
             and

     c.      making the subject Capital Expenditure would be imprudent.




                                                 98
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 265 of 325

                                                            Article 11. Corporate Governance


                          Article 11. Corporate Governance

Section C.    Upstreaming

1.   The Company agrees that it will only Upstream if after accounting for the Upstreaming the
     Company’s credit statistics are equal to or better than those of an average BBB rated
     company in the mining sector, using criteria published by S&P; and upstream only if the
     Coverage Ratio at such time, calculated on a pro forma basis after giving effect to such
     Upstreaming and any incurrence of indebtedness of other funding consummated in
     connection therewith, is greater than or equal to 1.80 to 1.00.

2.   “Coverage Ratio” means, for any 12-month period, the ratio of (1) the sum of (a) EBITDA
     for such period, plus (b) to the extent deducted from earnings in computing EBITDA for
     such period (x) pension expense incurred by the Company during such period and (y) all
     expenses incurred by the Company during such period in respect of any environmental or
     asbestos-related obligations, to (2) the sum of (a) interest expense plus (b) capital
     expenditures of the company for such period, plus (c) cash pension contributions made by
     the Company during such period plus (d) cash payments made by the Company during
     such period in respect of any environmental or asbestos-related obligations.

3.   Without in any way limiting the applicability of Paragraph 1 above, the Company agrees
     that all transactions (including, without limitation, sales, loans, purchases, leases,
     guarantees, fees of any kind, and equity transactions) between the Company and any equity
     holder or any Affiliate of any equity holder, shall be conducted on an arm’s-length basis,
     on commercially reasonable terms not less favorable to the Company than those that could
     be obtained from an unrelated third party, and in accordance with any shareholders
     agreement of the company. In addition, any loan or similar transaction to any such person
     shall only be made if it is beneficial to the Company and on terms consistent with the
     business relationship between such person and the Company. Subject to the foregoing, the
     Company may engage in transactions with its equity holders an their Affiliates.

4.   For the purposes of this Section, Upstreaming includes directly or indirectly, paying any
     dividends on, or making any distributions, exchanges, conversions, retirements,
     repurchases or redemptions, in respect of the Company’s stock.




                                               99
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 266 of 325

                                                                  Article 11. Corporate Governance


                            Article 11. Corporate Governance

Section D.     Right to Bid

1.   Should the Company decide or be presented with an offer to sell or otherwise transfer a
     controlling interest in the corporate entity which owns its assets (a Controlling Interest) or
     all or a portion of one or more of its facilities (Facilities) (either or both, the Assets), it will
     promptly advise the USW in writing and grant to the USW the right to organize a
     transaction to purchase the Assets (a Transaction).

2.   The Company will provide the USW with any information provided to other bidders so that
     the Union may determine whether it wishes to pursue a Transaction. All such information
     shall be subject to an executed Confidentiality Agreement.

3.   The Company shall promptly notify the USW of the schedule and/or timetable for
     consideration by the Company of any possible transaction. The Company will provide the
     USW with the greater of (a) forty-five (45) days or (b) the time provided by the schedule
     and/or timetable given to other interested parties to submit an offer for the Assets, except in
     the case of an unsolicited offer for a controlling interest in the Company in which case the
     USW shall be provided with the time provided by the schedule and/or timetable given to
     other interested parties.

4.   During the period described in Paragraph 3 above, the Company will not enter into any
     contract regarding the Assets with another party, provided however that this prohibition
     does not apply to any contract not related to the bidding process.

5.   In the event that the USW submits an offer pursuant to the above, the Company shall not be
     under any obligation to accept such offer. However, the Company may not enter into an
     agreement with regard to the Assets with an entity other than the USW unless that
     Transaction is superior to the USW offer. The Company may only deem a proposed
     Transaction superior if its Board of Directors reasonably determines that such Transaction
     is more favorable to the Company and/or its shareholders, taking into consideration such
     factors as price, certainty of payment, conditions precedent to closing and other factors
     which influence which of the transactions is in the best interests of the Company and/or its
     shareholders.

6.   This Section is meant to cover only sales or transfers of a Controlling Interest and shall not
     cover any public offering of equity securities.

7.   The rights granted to the USW in this Section may be transferred or assigned by the USW;
     provided, that the USW’s transferee or assignee must be reasonably acceptable to the
     Company (but the transferee may not thereafter transfer such right to bid).




                                                  100
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 267 of 325

                                                                           Article 12. Benefits


                                   Article 12. Benefits

Section A.      Active Welfare Benefits

The Company and Union have negotiated the following welfare benefit plans which are
described in Summary Plan Descriptions and incorporated by reference herein:

1.   Asarco Health Plan (including Weekly Accident and Sickness Benefits);

2.   Asarco Prescription Drug Plan;

3.   Asarco Dental Plan;

4.   Asarco Vision Plan

5.   Asarco Group Life Insurance and AD&D Plan; and

6.   Flexible Spending Accounts.


Section B.      General

1.   The terms of Sections B through N shall control over any provisions of the summary plan
     descriptions or booklets distributed by the Company or plan administrators (”SPD's") that
     address such matters. Notwithstanding any language to the contrary in those SPD's, the
     benefits or covered services described therein shall not be subject to amendment,
     modification or termination except as the Union and the Company agree otherwise (except
     as necessary to comply with applicable law).

2.   The Company shall pay the full cost of the benefits during the term of this Agreement (with
     the exception of all monthly contributions, deductibles, copays and
     supplemental/dependent life insurance contributions). Monthly Employee contributions are
     as follows:

                                                        Monthly
      Family Size                                     Contribution
      Employee                                             $8
      Employee plus one Dependent                         $17
      Employee plus Family                                $26


Section C.      Effective Date of Coverage

Employees will become covered as of the Effective Date of the Agreement. Newly hired
Employees will become covered as of the first day of employment except for Sickness and



                                             101
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 268 of 325

                                                                                 Article 12. Benefits

Accident benefits, which will become effective following the completion of their probationary
period.

Section D.          Dependent Coverage

1.   Dependent coverage will become effective on the same date as the Employee becomes
     covered or the date the Employee acquires a dependent, if later.

2.   The term "dependent" includes:

     a.      spouse;

     b.      unmarried children less than 19 year of age, including:

             i.     Employee's natural children;

             ii.    Employee's legally adopted children (including a child living with the adopting
                    parents during the period of probation) and those for whom the Employee is
                    legal guardian;

             iii.   stepchildren (i.e., the natural children of the Employee's spouse) residing in the
                    Employee's household and principally supported by the Employee (“Principally
                    supported” means the child was reported as a dependent on the Employee’s
                    most recent federal income tax return);

             iv.    children for whom coverage is required under a Qualified Medical Child
                    Support Order (QMCSO);

     c.      Employee's children 19 years of age or more but less than 25 years of age provided
             such child is unmarried, dependent upon the Employee for support and maintenance
             and is attending an accredited school or university on a full-time basis (the Employee
             must provide supporting documentation semi-annually); and

     d.      children in the above categories who are totally disabled are covered under the Plan,
             regardless of age, for as long as they are dependent upon the Employee for support
             and maintenance provided they became totally disabled prior to age 19 and were
             eligible for coverage as a dependent child prior to attaining age 19.

     For purposes of qualifying as disabled, dependent children must be certified by the Asarco
     Corporate Medical Director, as suffering from an injury or illness which prevents them
     from living independently from their parents and obtaining gainful employment. Coverage
     for disabled children will continue until both parents qualify for Medicare or otherwise lose
     coverage through the Asarco Health Plan.

3.   Dependent Benefits After the Employee’s Death



                                                   102
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 269 of 325

                                                                                 Article 12. Benefits

     a.      Coverage under the Asarco Health Plan (including prescription drug, dental and
             vision benefits) will continue for the eligible dependents of active Employees who die
             in active service with 10 years or more of Seniority and who have been married for at
             least one year.

     b.      In the event of the death of a retired Employee, coverage under the Asarco Health
             Plan (including prescription drug, dental and vision benefits) applicable to retired
             Employees will continue for the eligible dependents, if the spouse is eligible to
             receive a post-retirement spouse’s pension allowance.

Section E.        Termination of Coverage

1.   Disability

     a.      Insurance benefits will continue for the duration of an absence due to occupational or
             non-occupational accident or illness up to a maximum of twenty-four (24) months
             from the end of the month last worked or the month the Employee receives a pension
             from the Company.

     b.      Insurance benefits will continue for twenty-four (24) months from the end of the
             month last worked or the Employee’s 65th birthday (whichever comes first) for
             Employees absent from work because of permanent and total disability due to
             occupational or non-occupational accident or illness. At such time if the Employee
             has ten or more years of Continuous Service under the Pension Plan s/he will be
             provided benefits as long as s/he is totally disabled. If the Employee has less than ten
             years of Continuous Service at such time, your benefits will terminate. This
             Paragraph shall be subject to the requirements of the Age Discrimination in
             Employment Act.

     c.      An Employee who recovers from a disability within twenty-four (24) months after
             their last day worked and are unable to return to work because of a reduction in force
             for lack of work, s/he shall be considered on layoff at such point and eligible for a
             maximum of six (6) months from the date of layoff.

2.   Layoff

     If the Employee ceases work because of layoff, the following provisions will be applicable
     to insurance coverage:

     a.      Sickness and Accident coverage will terminate on the last day worked.

     b.      All other insurance coverage under the Asarco Welfare Plans will be continued
             during such layoff up to a maximum of six (6) months from the end of the month last
             worked.




                                                 103
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 270 of 325

                                                                            Article 12. Benefits

3.   Leave of Absence

     a.   If the Employee ceases work because of a leave of absence, all coverage under the
          Asarco Welfare Plans will cease six months from the end of the month last worked.

     b.   If the Employee ceases work because of a leave of absence for union business, all
          coverage under the Asarco Welfare Plans will continue for the entire period of such
          leave.

     c.   If the Employee ceases work due to authorized military duty, Medical, Dental,
          Vision, Life, AD&D and Prescription Drug benefits coverage will terminate as of the
          thirty-first (31st) day after the last day worked.

     d.   If the Employee ceases work due to authorized leave under the Family and Medical
          Leave Act, Medical, Dental, Vision, Life, AD&D, and Prescription Drug coverage
          will terminate upon expiration of the authorized leave, unless the Employee returns to
          work at that time.

4.   Suspension

     Benefits will be continued as if the Employee were on layoff, except that Sickness and
     Accident coverage will be continued during a period of suspension which is not converted
     into discharge.

5.   Strike

     Coverage under the Asarco Welfare Plans for striking Employees and their dependents will
     terminate at the end of the month the strike commences. In the event of a strike, Employees
     and dependents may elect continuation coverage under COBRA. During the strike,
     Weekly Accident and Sickness benefit coverage shall not continue for disabilities which
     arise after the commencement of the strike, but shall commence for such disabilities upon
     the cessation of the strike and recall to work. Notwithstanding the above, Weekly Accident
     and Sickness benefit payments shall continue to Employees whose disabilities arose prior
     to the commencement of the strike

6.   Reinstatement or Re-Employment

     If the Employee returns to work following an absence on account of layoff, leave of
     absence or disability during which some or all of the coverage under the Asarco Welfare
     Plans shall have terminated, all such coverage will be reinstated on the day the Employee
     returns to work.

7.   Termination of Employment

     If employment is terminated by other than retirement, all coverage under the Plans will
     cease on the date of such termination.


                                              104
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 271 of 325

                                                                              Article 12. Benefits



     In the event an Employee is discharged by the Company and there is a dispute as to
     whether or not the discharge was justified, the Company shall continue the benefits under
     the Plans for such employee until the case is finally resolved but not exceeding 90 days.

     In the event an Employee or dependent is hospitalized on the date the Employee’s benefits
     terminate, health care benefits shall be covered until the earlier of (a) completion of the
     hospital stay; or (b) the date on which the hospital reaches the maximum number of days
     under the Health Care Plan.


Section F.        Coverage Following Retirement

1.   Employees who retire (other than deferred vested) under the Asarco Retirement Income
     Plan for Hourly-Rated Employees will continue to be covered by the Asarco Health Plan
     (including prescription drug benefits) and Group Life Insurance Plan, including spouse and
     eligible dependents as long as they remain eligible, as described in Section O of this
     Article.

2.   The benefits otherwise provided for covered medical expenses shall be reduced by any
     benefits for or because of such expenses being available under Medicare, excluding
     benefits due to being in the first 18 months of end stage renal disease. The Asarco Health
     Plan is primary, subject to coordination of benefit provisions, for benefits due to being in
     the first 18 months of end stage renal disease.

Section G.        Continuous Service

Wherever the term Continuous Service is used herein, it means Seniority as determined in
accordance with Article 5, Section E, of the Basic Labor Agreement.


Section H.        Summary of Life Insurance Benefits

1.   Active Employees

     a.      $50,000 of coverage shall be provided for each active Employee, including a waiver
             of premium in event of disability at any age.

     b.      Active Employees shall be allowed to purchase at cost, supplemental life insurance
             for themselves and dependent life insurance for their spouses and children.
             Employees are responsible for payment of these premiums.

2.   Retired Employees.

     Upon retirement under the Company's Retirement Plan, the amount of coverage to be
     continued without cost to the Employee will be $4,500.


                                                105
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 272 of 325

                                                                              Article 12. Benefits




Section I.        Summary of Accidental Death or Dismemberment Benefits

Death or dismemberment by accidental means due to non-occupational causes will provide:

1.   $50,000 for loss of life.

2.   $25,000 for loss of one hand or one foot or the sight of one eye.

3.   $50,000 for loss of two or more such members.


Section J.        Summary of Weekly Sickness and Accident Benefits

1.   $400.00 per week for 52 weeks for absences caused by non-occupational accidents or
     sickness; benefits to start the 1st day in case of accidents or hospitalized sickness or
     outpatient surgery and 6th day in case of un-hospitalized sickness.

2.   For any week that temporary and total disability benefits are payable under State Worker's
     Compensation law, such payments shall be supplemented by an amount equal to the
     difference (if any) between such weekly payment and the Non-Occupational Weekly
     Sickness and Accident Benefit, provided that the Company recognizes the disability
     causing the absence to be work incurred. There is no change in the terms or conditions of
     the Non-Occupational Weekly Sickness and Accident Benefit Plan, including the duration
     of such benefits, except to provide a Workers Compensation Supplement.

3.   Benefits will terminate at commencement of benefit payments under the Pension or
     Permanent and Total Disability Benefit Plans.


Section K.        Summary of Medical Benefits

1.   Medical benefits will be provided through a Preferred Provider Organization (PPO), which
     offers two (2) levels of benefits. Services from a provider who is in the PPO network will
     be covered at the highest level of benefits. Services from a provider who is not in the PPO
     network will be covered at the lower level of benefits. In either case, there is no
     requirement to select a Primary Care Physician (PCP) to coordinate care.

2.   The Company has contracted with a Managed Care Organization to implement a pre-
     certification and utilization review program. This program includes the following:

     a.      Pre-Certification for all In-Patient Courses of Treatment;

     b.      Continuing Stay Review for all Confinements; and



                                                 106
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 273 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 274 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 275 of 325
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 276 of 325

                                                                               Article 12. Benefits



7.    Expenses incurred for kidney dialysis provided at home or in a kidney dialysis unit which s
      not connected with a hospital will be covered to the same extent such services would be
      covered if the procedure was provided in a hospital.

8.    Expenses incurred for extraction of impacted teeth in the out-patient department of a
      hospital will be covered to the same extent such services would be covered if the extraction
      was performed as a hospital in-patient.

9.    Expenses incurred for surgery performed in an ambulatory surgical facility will be covered
      to the same extent such services would be covered if the surgery was performed as an in-
      patient in a hospital.

10.   An ambulatory surgical facility is described as a legally constituted and operated
      ambulatory care health center (either part of a hospital or otherwise) with permanent plant,
      equipment and supplies not usually available in a physician's office for surgical or medical
      care not requiring in-patient confinement.

11.   Temporomandibular Joint Dysfunction (TMJ) services will be covered at 80%. Services
      provided by an in-network physician will be covered at 90%.

12.   Skilled Nursing Coverage will be provided in a Skilled Nursing Facility. Details of this
      benefit are included in the Summary Plan Description.

13.   Benefits shall be provided for sterilizations, abortions and transplant procedures, including
      donor expenses not covered by other plans.

14.   Limitations

      a.   Alcoholism and Drug Addiction

           Benefits under any provision of the Plan for treatments received in an accredited
           treatment center for alcoholism or drug addiction will be limited to two confinements
           of not more than 30 days each, unless the course of treatment requires additional days
           (to a maximum of 15 additional days) during a covered individual's lifetime.

      b.   Chiropractic services are covered for the initial consultation and up to a maximum of
           18 visits in any calendar year (excluding initial consultation).

      c.   X-Rays are limited to three in any 90-day period.

      d.   Mental Health

           i.    Benefits paid under any provision of the Plan for expenses incurred as the result
                 of out-patient mental health services shall be reimbursed on a 60%/40%
                 Coinsurance basis.


                                                110
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 277 of 325

                                                                              Article 12. Benefits



           ii.   Benefits paid under any provision of the Plan for expenses incurred as the result
                 of confinement in a hospital for psychiatric treatment shall be limited to two
                 confinements of not more than 30 days each during a covered individual's
                 lifetime.

15.   Nonduplication of Benefits

      a.   Benefits available to any covered individual under any provision of the Asarco Health
           Plan shall be reduced to the extent like benefits are payable under the provisions of
           any group insurance plan or group pre-payment plan.

      b.   Benefits available to any covered individual under any provision of the Asarco Health
           Plan shall be reduced to the extent like benefits are available under the provisions of
           any group insurance plan or group pre-payment plan. Group insurance or
           prepayment plan include: (1) coverage under a governmental program or coverage
           that is provided or required by statute, including any motor vehicle no-fault coverage
           required by statute and (2) group insurance or other coverage for a group of
           individuals, including student coverage obtained through an educational institution.

      c.   In the event a dependent or early retiree covered under the Asarco Health Plan is, or
           shall become, covered, or eligible for coverage, under any group insurance or group
           pre-payment plan by virtue of employment, benefits under the Asarco Health Plan
           shall be secondary to the benefits provided or available under such other plan and
           aggregate benefits payable under both plans may not exceed the benefits that would
           have been payable under the Asarco Health Plan.

      d.   Notwithstanding the foregoing sentence, the Plans shall not coordinate the benefits of
           a dependent who is eligible for a group insurance or group pre-payment plan by
           virtue of employment if such plan requires the dependent to pay premiums for health
           care coverage greater than those required under the Asarco Welfare Plans.

      e.   The Asarco Health Plan shall be the primary source of coverage for active Employees
           who continue to work beyond their Medicare entitlement date. The dependents of
           such Employees will also continue to be eligible for coverage, provided that the
           Employee is actively at work.

      f.   Expenses and benefits which are recovered by legal action or settlement are not
           covered under any provision of the Asarco Health Plan. Accordingly, the Company
           shall be entitled to a refund for any benefits paid under any provision of the Asarco
           Health Plan which are recovered by legal action or settlement. The right of the
           Asarco Health Plan to a refund shall be applied to the aggregate amount recovered by
           the Employee or covered dependent from legal action or settlement related to non-
           occupational injuries for which Plan benefits were paid. Reimbursement to the
           Asarco Health Plan shall not exceed the portion of such expenses or benefits which
           are covered by legal action or settlement which is attributed to health care benefits.


                                               111
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 278 of 325

                                                                              Article 12. Benefits

           Reasonable legal expenses (attorney’s fee and costs) incurred in obtaining payments
           from a third party will not be considered as included in the aggregate amount subject
           to reimbursement. Employees are required to notify Asarco promptly of the fact of
           such legal action, or of a judgment or settlement in favor of the Employee (or covered
           dependent) and make available all information relevant to the administration of any
           provision of the Plan.

      g.   If, during the term of this contract, like benefits are provided under a compulsory
           contributory Federal or State program, the Company and the International Union will
           meet to reach mutual agreement on the amount and reallocation of funds released as a
           result of reduction of Asarco Health Plan benefits.

16.   Coordination of Benefits

      a.   If an Employee or eligible dependent is eligible for more than one plan of benefits,
           the rules establishing which plan is primary and which one is secondary, are as
           follows:

           1.   The benefits of a group plan which covers the person other than as a dependent
                shall be determined before the benefits of a group plan which covers such
                person as a dependent.

           2.   In the case of dependent children who are eligible for coverage under any other
                group insurance or group pre-payment plan, the plan of the parent whose
                birthday falls earlier in a year shall be primary and the benefits of the parent
                whose birthday falls later in the year shall be secondary.

                Note:     If your spouse’s birthday falls first in the year and their employer’s
                          plan requires a contribution in order to obtain dependent coverage,
                          your dependents will only be covered on a secondary basis by the
                          Asarco Health Plan, even if you choose not to enroll them in that plan.

      b.   If a dependent child is covered under both parents’ plans, the primary plan for
           coverage will be the plan covering the parent whose birthday comes earlier in the
           year, unless:

           1.   The parents are separated or divorced and the parent with custody of the child
                has not remarried. In such a case, the benefits of the plan covering the child as a
                dependent of the parent with custody will be determined before the benefits of
                the plan covering the child as a dependent of the non-custodial parent.

           2.   The parents are divorced and the parent with custody of the child has not
                remarried. In such a case, the benefits of a plan covering the child as a
                dependent of the parent with custody will be determined before the benefits of a
                plan provided by the stepparent, whose benefits will be determined before those
                of the parent without custody.


                                               112
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 279 of 325

                                                                        Article 12. Benefits



     3.   A court decree has been established one parent as having financial responsibility
          for the medical, dental or other health care expenses of the child. In such a case,
          the benefits of the plan of that parent will be considered primary.

c.   When the rules do not establish an order of benefit determination, the benefits of the
     group plan which has covered the person for the longer period of time will be
     considered to be primary.

d.   When only one plan has a non-duplication (or coordination) of benefits provision the
     plan without such provision will determine its benefits first.

e.   If a person is being covered as an Employee under two plans, the benefits of the plan
     which has covered the employer for the longer period of time will be determined first.




                                         113
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 280 of 325

                                                                            Article 12. Benefits


Section L.      Summary of Vision Care

Employees, early retirees and their eligible dependents shall be covered under the Asarco Health
Plan. Details of the Vision Care Benefits are included in the Summary Plan Description.

                             Summary of Vision Benefits

          Service/Product                              Allowance
          Eye Exam and Refraction                      $32 per exam
          Single Vision Lenses (standard)              $24 per lens
          Bifocal Lenses (standard)                    $36 per lens
          Trifocal Lenses (standard)                   $46 per lens
          Aphakic/Lenticular Lenses                    $72 per lens
          Non-Standard Lenses                          Same allowances as standard
          (e.g. photochromatic, polycarbonate)
          Progressive Lenses                           $41 per lens
          Frames                                       $24 per frame
          Contact Lens Fitting and Prescription        $20 per lens – Daily
                                                       $30 per lens – Extended
          Standard Contact Lenses                      $48 per lens


Section M.      Flexible Spending Accounts

Active full-time Employees may elect to establish flexible spending accounts of up to $2,400 for
uncovered medical, vision and dental expenses, with a minimum contributed of $240 required.
Active full-time Employees may elect to establish flexible spending accounts of up to $5,000
(unless a lower maximum is required by law) for dependent care, with a minimum contribution
of $480. Eligible expenses incurred between January 1st and March 15th of the following year
may be submitted for reimbursement by May 15 of the following year. For detailed information
concerning Flexible Spending Accounts refer to the Summary Plan Description.




                                              114
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 281 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 282 of 325

                                                                                   Article 12. Benefits


                                       Article 12. Benefits

Section O.         Retiree Health Care

1.   Effective January 1, 2007 (“Effective Date”), the Company will maintain its program of
     medical, prescription drug and life insurance benefits (“Program”) for retirees (and their
     spouses and surviving spouses) who, by reason of any collectively bargained agreement
     between the Union and the Company (or any one of its predecessors or direct or indirect
     subsidiaries) were eligible for retiree insurance benefits as of the Effective Date or who
     retire from the Company on or after the Effective date with eligibility for retiree insurance
     coverage (“Participants”), subject to the modifications to the Program as outlined herein.

2.   Benefit Plans

     a.      The current Program and Participant premiums will continue through February 28,
             2007.

     b.      Effective March 1, 2007:

             (1)   the Program for Participants who are not eligible for Medicare will be the same
                   medical and prescription drug coverage (excluding premiums) as outlined in the
                   June 30, 2002 Settlement Agreement between the Unions and the Company for
                   active employees at Asarco’s Ray Operations.

             (2)   the Program for Participants age 65 and over or who are eligible for Medicare
                   will be the same medical and prescription drug coverage (excluding premiums)
                   as provided to non-Medicare eligible Participants (coordinated with Medicare).

             (3)   Life insurance benefits shall be those in effect at the time of the retiree’s date of
                   retirement.

             (4)   Notwithstanding the above, a Participant’s eligibility for coverage under the
                   Program after obtaining Medicare eligibility will be determined based on the
                   rules of the Plan in effect at the time of the retiree’s date of retirement.


3.   Beneficiary Premiums

     Participant premiums for all Participants covered by this Program will be as follows:

     a.      Pre Medicare:      $100 per participant (each retiree, spouse, or surviving spouse)
                                $200 maximum per family per month

     b.      Post Medicare:     $75 per participant (each retiree, spouse, or surviving spouse)
                                $150 maximum per family per month



                                                  116
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 283 of 325

                                                                              Article 12. Benefits


                                          Article 12. Benefits

Section P.       401(k) Savings Plan

1.   The Company shall offer Employees the opportunity to participate in a 401(k) Savings Plan
     in accordance with the following:

2.   Eligibility

     All Employees who have completed one (1) month of service will be eligible to participate
     in the Plan.

3.   Elections

     Participants may elect to make, increase or decrease contributions at any time.

4.   Plan Administration

     a.      The Plan shall be administered by the Company. The Company shall bear the payroll
             administrative costs associated with the Plan. The per participant, trustee,
             recordkeeping, transaction and other administrative fees will be borne by the Plan.

     b.      The Company reserves the right to make administrative changes to the 401(k)
             Savings Plan from time to time. However, these changes cannot diminish the benefits
             negotiated under the terms of the agreement.

5.   Vesting

     a.      Participants shall be fully vested in their contributions.

     b.      Participants shall be fully vested in company matching contributions once they have
             completed three years of service; or are permanently separated (immediately or over a
             scheduled period of time) because your plant, is permanently shut down; retire; reach
             age 65; become totally disabled; or die while actively employed by the company.

6.   Withdrawals and Distributions

     Withdrawals will be available at age 59 - 1/2 or above (age 55 or above upon termination
     of employment) or in the event of "hardship" (as determined by IRS deemed hardship
     distribution standards). Distributions will be available at retirement, death, disability or
     termination.




                                                  117
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 284 of 325

                                                                              Article 12. Benefits

7.    Additional Requirements

      The Plan will accept eligible rollover contributions from eligible qualified plans and IRA
      accounts subject to Internal Revenue Service rules.

8.    Investment Options

      The Plan will offer at least seven (7) investment options, including a broad range of
      investment objectives and risk. Participants will be able to change investment options or
      transfer funds among options at any time.

9.    Plan Funding

      a.   Participants may defer from 1% to 25% of eligible pay on a pre-tax basis, or 1% to
           25% of eligible pay on an after-tax basis (subject to Internal Revenue Service
           regulations). Participants who choose to save using a combination of pre- and after-
           tax contributions may save up to 25% of eligible pay.

      b.   Eligible earnings shall mean basic straight time hourly earnings, including vacation
           pay and holiday pay, but excluding overtime, shift differential, premium pay,
           bonuses, profit-sharing, special payments, add-ons or any similar payments.
           Contributions to the Plan shall not exceed the maximum permissible by law.

10.   Company Matching Contributions

      The Company will match 50% of employee pre-tax contributions up to 6% of eligible pay
      in cash. The Company does not match any portion of bonus, variable pay, profit sharing or
      other similar payments. Participants who are fully vested may access all company
      matching contributions and request withdrawals, transfers and loans of these amounts.

11.   Loan Provision

      The minimum loan shall be $1,000. The maximum loan shall be fifty percent (50%) of the
      participant’s account balance or $50,000, whichever is less. No more than one general
      purpose and one primary residence loan shall be outstanding at any time. Loan repayment
      will through automatic payroll deduction or an agreed upon alternative for Employees on
      layoff, disability or in the event of a labor dispute. All loan origination fees and loan
      service charges will be the responsibility of the employee requesting the loan.

12.   Documentation

      All documents necessary to the establishment of the Plan will be reviewed with the Union
      and the Company shall make reasonable efforts to accommodate the Union’s issues and
      concerns.




                                               118
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 285 of 325

                                                                            Article 12. Benefits


                                      Article 12. Benefits

Section Q.    Pension Plan

The Company and Union have negotiated a Pension Agreement regarding the Retirement Income
Plan for Hourly-Rated Employees of Asarco, which is contained in a separate document along
with a Summary Plan Description.

The Company shall draft a summary plan description for the Pension Agreement, which will be
reviewed with the Union and the Company shall make reasonable efforts to accommodate the
Union’s issues and concerns.

The Pension Agreement shall control over any provisions of the summary plan description
distributed by the Company or plan administrator (“SPD”) that address such matters.
Notwithstanding any language to the contrary in those SPD, the benefits described therein shall
not be subject to amendment, modification or termination except as the Union and the Company
agree otherwise.




                                              119
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 286 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 287 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 288 of 325

                                                                     Letters of Understanding

                            LETTER OF UNDERSTANDING ON
                               EL PASO RECALL RIGHTS


                                        January 1, 2007

Mr. Terry Bonds
Chairman, Union Negotiating Committee
Director, District 12
United Steelworkers
3150 Carlisle Blvd, NE, Suite 110
Albuquerque, NM 87110

RE: El Paso Recall Rights

Dear Mr. Bonds:

This will confirm the understanding reached during these negotiations that employees laid off
from Asarco’s El Paso plant who have not retired will continue to accrue Seniority for the
duration of the 2007 Labor Agreement for purposes of recall only. This is not intended to extend
the Employee’s Seniority for accrual of Employee benefits.

                                           Sincerely,



                                       Jon E. Pettibone
                                       Chief Negotiator
                                           Asarco

Agreed:



Terry Bonds
Chairman
Union Negotiating Committee




                                              122
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 289 of 325

                                                                     Letters of Understanding

                           LETTER OF UNDERSTANDING ON
                                  EL PASO PLANT


                                        January 1, 2007

Mr. Terry Bonds
Chairman, Union Negotiating Committee
Director, District 12
United Steelworkers
3150 Carlisle Blvd, NE, Suite 110
Albuquerque, NM 87110

RE: El Paso Plant

Dear Mr. Bonds:

During these negotiations the parties discussed scenarios under which the El Paso, Texas smelter
could reopen. The parties agree that the El Paso plant shall be covered by the terms of this
Agreement in the event it resumes operations, subject to any modifications agreed to by the
bargaining chairs.

                                           Sincerely,



                                       Jon E. Pettibone
                                       Chief Negotiator
                                           Asarco

Agreed:



Terry Bonds
Chairman
Union Negotiating Committee




                                              123
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 290 of 325

                                                                      Letters of Understanding


                          LETTER OF UNDERSTANDING ON
                        LOCAL SUPPLEMENTAL AGREEMENTS


                                        January 1, 2007

Mr. Terry Bonds
Chairman, Union Negotiating Committee
Director, District 12
United Steelworkers
3150 Carlisle Blvd, NE, Suite 110
Albuquerque, NM 87110

RE: Local Supplemental Agreements

Dear Mr. Bonds:

This will confirm our understanding that workplace practices and local supplement agreements
that were in effect prior to our 2006 negotiations will remain in effect unless modified in the
Basic Labor Agreement or as a result of local supplement discussions between the parties at each
company location. The parties will work to document the current workplace practices and other
applicable continuing provisions and incorporate them into the applicable Local Supplemental
Agreements. Until the Local Supplemental Agreements are finalized, the current workplace
practices and other provisions of the collective bargaining agreements will remain in effect.

In the event of a dispute between the parties, the Chairs of Negotiating Committees or their
designees will attempt to reach an agreement to resolve the matter. In the event that they cannot
resolve the dispute, either party may submit such dispute to final and binding arbitration under
the grievance procedure provided in this Agreement.

                                           Sincerely,



                                        Jon E. Pettibone
                                        Chief Negotiator
                                            Asarco

Agreed:



Terry Bonds
Chairman
Union Negotiating Committee



                                              124
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 291 of 325

                                                      Letters of Understanding



Union Negotiating Committee




                                    125
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 292 of 325

                                                                    Letters of Understanding

                          LETTER OF UNDERSTANDING ON
                          ADDITIONAL BENEFITS CHANGES

                                       January 1, 2007

Mr. Terry Bonds
Chairman, Union Negotiating Committee
Director, District 12
United Steelworkers
3150 Carlisle Blvd, NE, Suite 110
Albuquerque, NM 87110

RE: Additional Benefits Changes

Dear Mr. Bonds:

This will confirm our understanding and agreement on the above captioned matters.

1.   As of the Effective Date of this Agreement, the Asarco benefits plans (Health Plan
     (including Weekly Accident and Sickness Benefits), Dental Plan, Prescription Drug Plan,
     Vision Care Benefits Plan, Group Life Insurance Plan; and Flexible Spending Accounts)
     shall be as outlined in the June 30, 2002 Settlement Agreement and Summary Plan
     Description between the Unions and the Company for active Employees at Asarco’s Ray
     Operations, except as agreed otherwise.

2.   Notwithstanding the above, the above Health Plan will be modified to

     a.   adopt the Asarco Copper Group coverage for second surgical opinion and ambulatory
          surgery and delete the Ray Unit Plan provisions for mandatory second surgical
          opinion (including incentives and penalties) and 100% coverage for 22 specified
          types of outpatient surgery, and

     b.   delete the “opt out” provisions and payments.

                                          Sincerely,


                                      Jon E. Pettibone
                                      Chief Negotiator
                                          Asarco

Agreed:

Terry Bonds
Chairman
Union Negotiating Committee


                                             126
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 293 of 325

                                                                       Letters of Understanding

                          LETTER OF UNDERSTANDING ON
                        RETIREE HEALTH CARE ENROLLMENT


                                         January 1, 2007

Mr. Terry Bonds
Chairman, Union Negotiating Committee
Director, District 12
United Steelworkers
3150 Carlisle Blvd, NE, Suite 110
Albuquerque, NM 87110

RE: Retiree Health Care Enrollment and Contribution Payments

Dear Mr. Bonds:

This will confirm our agreement that the changes to the Retiree Health Plans will be as described
in Article 12, Section O of this Agreement. The Company will conduct an open enrollment for
current participants in the Retiree Health Plans, and retirees and surviving spouses who were
eligible for such coverage. This enrollment will be for a 90-day period, with an initial mailing by
February15st and a follow-up mailing by March 30th. Coverage will become effective the later of
March 1, 2007, or the effective date of enrollment.

Thereafter a 30-day open enrollment shall be conducted biannually in November among hourly
retirees for participation in the Plan for the following calendar year.

Participants may elect to defer participation in the Program based on the availability of other
health care coverage. Participants who lose coverage from other sources will be allowed to enroll
(or reenroll) in the Program immediately upon notice and payment of the applicable premium.
Participants who elect to defer participation will be given the opportunity to enroll (or reenroll)
in the Program during the next annual enrollment period. Such coverage and required
contributions due will be prospective from the date of reenrollment.

Participants who withdraw or whose coverage is terminated for failure to make the required
premium contribution, will be allowed to enroll (or reenroll) in the Program during the next
annual enrollment period with coverage to be effective the following calendar year. Coverage
and required contributions due will be prospective from the date of reenrollment.

The required retiree health care contributions for participants who enroll in the Program shall be
deducted from their monthly retirement check, unless directed otherwise by the pensioner or
surviving spouse.

                                            Sincerely,




                                               127
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 294 of 325

                                                      Letters of Understanding



                               Jon E. Pettibone
                               Chief Negotiator
                                   Asarco

Agreed:



Terry Bonds
Chairman
Union Negotiating Committee




                                     128
      Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 295 of 325

                                                                          Letters of Understanding

                            LETTER OF UNDERSTANDING ON
                          MISCELLANEOUS CORPORATE ISSUES

                                          January 1, 2007

Mr. Terry Bonds
Chairman, Union Negotiating Committee
Director, District 12
United Steelworkers
3150 Carlisle Blvd, NE, Suite 110
Albuquerque, NM 87110

Re:    Miscellaneous Corporate Issues

Dear Mr. Bonds:

This letter will confirm our agreement on the matters set forth below in connection with the
Collective Bargaining Agreement (the “Agreement”) between ASARCO LLC (the “Company”)
and the United Steelworkers (“USW” or the “Union”) on behalf of the applicable bargaining
units.

Parties to the Agreement

For purposes of Article 1, Section A of the Agreement, “Asarco” or the “Company” shall refer to
(a), during the pendency of the chapter 11 reorganization case, ASARCO LLC and any entity
that is under the Control of ASARCO LLC and (b), upon entry of a final, non-appealable order
confirming a plan of reorganization for the Company and at any time thereafter, ASARCO LLC
and any entity that Controls, or is under the Control of, or is under common Control with
ASARCO LLC. For purpose of this Letter of Understanding, “Control” shall mean possession,
directly or indirectly, of either: (a) fifty percent (50%) of the equity of the enterprise; or (b) the
power to direct the management and policies of said enterprise; provided, however, that the
definition of “Control” shall exclude any business enterprise, including hedge funds and
financial sponsors, whose primary business is providing equity or debt capital.

Neutrality

For purposes of Article 2, Section E concerning Neutrality, the definitions of “Affiliate” and
“Venture” shall exclude any business enterprise, including hedge funds and financial sponsors,
whose primary business is providing equity or debt capital.

Board of Directors & Right to Bid

Article 11, Section A concerning Board of Directors and Article 11, Section D concerning Right
to Bid shall be effective only upon entry of a final, non-appealable order confirming a plan of
reorganization proposed or supported by the Company.



                                                 129
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 296 of 325

                                                            Letters of Understanding

                          Very Truly Yours,



                          Joseph Lapinsky
                          President and CEO of ASARCO LLC



Agreed:


___________________
Terry Bonds
Director, USW District 12
And Union Chair, ASARCO Bargaining Committee

Dated: ________________




                                         130
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 297 of 325

                                                                        Letters of Understanding

                         LETTER OF UNDERSTANDING ON
                     EFFECTIVE DATE OF PENSION MULTIPLIER


                                         January 1, 2007

Mr. Terry Bonds
Chairman, Union Negotiating Committee
Director, District 12
United Steelworkers
3150 Carlisle Blvd, NE, Suite 110
Albuquerque, NM 87110

RE: Effective Date of Pension Multiplier

Dear Mr. Bonds:

This will confirm our understanding and agreement on the above-captioned matter. It has been
agreed, among other things, that the Hourly Pension Plan (the “Plan”) will be amended – subject
to ASARCO’s obtaining and/or retaining initial approval by the Internal Revenue Service – to
provide that the “pension multiplier” thereunder shall be $40.00 (the “Amendment”). To assure
that the Plan satisfies the requirements of section 401(a)(33) of the Internal Revenue Code of
1986, as amended (the “Code”), the parties agree that the effective date of the Amendment shall
be the same date that ASARCO’s plan of reorganization that will be filed with the bankruptcy
court becomes effective. Accordingly, ASARCO agrees to adopt the Amendment no later than
March 5, 2007 to be effective on the effective date of ASARCO’s plan of reorganization. In
addition to providing the $40 multiplier applicable to all pensions commencing on or after the
Amendment’s effective date, the Amendment also shall provide to individuals retiring or
otherwise separating from service on or after January 1, 2007, but before the Amendment’s
effective date, (or to the beneficiaries of such individuals) supplemental pension payments in an
amount equal to the excess of the value of the pension benefits that would have been payable to
such individuals had they commenced their pension benefits under the Plan on or after the
effective date of the Amendment over the value of the pension benefits that such individuals
were actually paid from the Plan. Such supplemental pension payments shall be paid as soon as
administratively practicable (taking into account any legal requirements) after the effective date
of ASARCO’s plan of reorganization in a single lump sum, and shall be calculated to include
interest (based on the Plan’s assumed rate of return on its assets) from the date that the
individuals would have received such payments had the Amendment’s effective date been
January 1, 2007. In the event that the Plan does not pay such supplemental payments for any
reason, ASARCO either (1) shall contribute to individual accounts established or maintained
under the Hourly 401(k) Plan on behalf of the individuals (or to the beneficiaries of such
individuals) who are entitled to such supplemental pension payments an amount equal to the
value of those payments; or (2) shall provide an equivalent after-tax value to such individuals (or
to the beneficiaries of such individuals) in a manner that the parties subsequently determine by
mutual agreement. ASARCO shall take such action as is required under the Collective
Bargaining Agreement to effectuate this agreement.


                                               131
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 298 of 325

                                                      Letters of Understanding



                                  Sincerely,


                               Jon E. Pettibone
                               Chief Negotiator
                                   Asarco

Agreed:



Terry Bonds
Chairman
Union Negotiating Committee




                                     132
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 299 of 325

                                                               Memoranda of Understanding


                        Memorandum of Understanding
                              Signing Bonus
As soon practical after the Effective Date of this Agreement, the Company will pay $3,000 to
bargaining unit employees accruing pension service as of January 1, 2007 under the Retirement
Income Plan for Hourly Rated Employees of Asarco Inc.




                                             133
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 300 of 325

                                                                Memoranda of Understanding


                         Memorandum of Understanding
                                 Flexibility
To promote efficiency and productivity, thereby enhancing job security, the parties recognize the
legitimate need for increased flexibility in assignments. Assignments within classifications will
remain the same on a day-to-day basis unless there is a legitimate operations purpose for
temporary assignment of tasks outside those normally performed within an Employee's
classification. Routine day-to-day absences and permanent vacancies that occur will not be
affected by the terms of this Memorandum of Understanding (MOU). Such routine temporary
and permanent vacancies shall be filled in accordance with the Local Supplemental Agreements
and the Seniority Provisions in the Basic Labor Agreement. It is understood the relationship and
jurisdiction between the various unions shall not be disturbed by this MOU. This MOU is
intended to enhance flexibility and it supplements, but does not supersede, existing flexibility
existing by agreement or practice. Implementation of this objective shall be accomplished within
the following guidelines:

a.   In order to achieve the desired flexibility as described above, a Flexibility Pool will be
     established made up of volunteers or junior Employees who will be used for cross-
     classification assignments whenever possible. The size of the Flexibility Pool and the
     classifications within the Pool at each Company location will be determined by the
     Company, with the understanding the Flexibility Pool will be no larger than 10% of the
     Employees at any Company location. In the event 10% is not sufficient to accomplish the
     desired flexibility, the parties shall discuss and seek agreement on the appropriate
     percentage. In the event the parties are unable to agree, the company may elect to raise the
     percentage, but in no event shall the percentage be higher than 15%. Any disagreement
     over the proper percentage may be appealed to the Top Level Committee as outlined in
     paragraph l. below. All temporary assignments to other classifications from the Flexibility
     Pool will be offered by seniority (senior qualified) and mandatory for the junior Employee.
     Such temporary assignments will not extend beyond two weeks unless the person assigned
     volunteers to extend it. Temporary assignment will not affect an Employee's seniority or
     job assignment in his/her department, classification, Line of Progression, or regular job
     assignment.

b.   When there is a legitimate operations purpose for cross-classification assignments,
     employees may be temporarily assigned to perform the work of another classification.
     Without limiting the foregoing, legitimate operations purposes are recognized as the
     elimination of contracting out, emergencies, major equipment failure, unexpected absences,
     production requirements, curtailments, major maintenance outages, other major projects,
     spillages or Acts of God.

c.   In the event there is no one available from the Flexibility Pool to perform cross-
     classification assignments, the Company may temporarily assign other Employees to
     perform work in a classification other than their own classification provided the Employee
     is qualified to perform the work safely. Temporary assignments shall be made by seniority
     as described in a, above, and will not extend beyond two weeks unless the person assigned
     volunteers to extend it. Every effort will be made to use Employees from the proper


                                              134
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 301 of 325

                                                                  Memoranda of Understanding

     classification within the department to get the work done. In day-to-day equipment
     breakdowns, the operator assigned to operate the equipment that is down for repair may be
     assigned to assist maintenance personnel assigned to repair the equipment.

d.   It is understood that cross-department assignments will be made only from the Flexibility
     Pool except where permitted by local agreement or practice; however, this shall not
     preclude within-classification assignments between bargaining units represented by
     different local unions of the same international union.

e.   There shall be no favoritism, retaliation or punishment against any Employee by the
     Company in the exercise of its rights under this MOU. No Employee will be disciplined
     for poor work performance due to lack of training while performing work on a cross-
     classification or cross-department assignment.

f.   The Company may organize Maintenance Crews designed to perform other than routine
     day-to-day maintenance work at any of the various Copper Group or Ray locations. Such
     Maintenance Crews shall be used to perform skilled maintenance tasks such as responding
     to emergencies, surge maintenance periods, eliminating contracting-out, major equipment
     failure, other major maintenance needs, or to supplement normal maintenance forces. Such
     Maintenance Crews shall not be used to erode the normal maintenance forces at any of the
     Company locations nor to reduce apprenticeship opportunities. Subparagraphs a through d
     above shall not apply to Maintenance Crews. For Maintenance Crew Employees who
     perform work at other than their home plants, the Company will pay in advance for
     reasonable travel and other necessary expenses and compensate for travel time pursuant to
     agreements reached between the parties.

g.   It is understood additional training will be required. Such training is the responsibility of
     the Company. No Employee who has more than 25 years of service or who is 55 years of
     age or older shall be required to accept the training nor be forced to accept cross-
     classification assignments under this MOU.

h.   Temporary assignments outside an Employee's job classification will not affect the
     Employee's seniority or regular job assignment in his/her department, classification, or line
     of progression.

i.   Safety training shall be provided when Employees are assigned outside their regular
     classifications. Any necessary safety training shall be the responsibility of the Company.

j.   Employees who volunteer or are forced (junior Employees) for cross-classification
     assignments in the Flexibility Pool, or who are on a Maintenance Crew, shall be paid $1.00
     per hour above their regular rate of pay or above the rate of the classification to which they
     are assigned, whichever is higher.

k.   The Joint Workplace Committee as described in Article 5, Section L, 1 and 2, will meet as
     soon as possible after the Effective Date of this Agreement to discuss, identify and seek
     agreement to reduce the number of classifications and possibly combine classifications. If


                                               135
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 302 of 325

                                                                Memoranda of Understanding

     the Joint Workplace Committee is unable to reach agreement, the parties will refer the
     issues to the Top Level Committee described in paragraph l, below. The Top Level
     Committee shall meet and try to resolve any differences. Should the Top Level Committee
     fail to reach an agreement, it is understood that nothing in this MOU shall detract from the
     parties' rights under the provisions of the Basic Labor Agreement or the local supplemental
     agreements.

l.   In order to assure the purpose and intent of this MOU is carried out and the principles
     herein are followed and to assure that Employees are protected from abuse or favoritism, a
     Top Level Committee will be established. This Committee shall be made up of the
     Chairman of the Unions' Asarco Bargaining Committee and the CEO of Asarco. In the
     event a dispute arises that cannot be settled by the Top Level Committee, the issue(s) will
     be submitted to immediate arbitration to determine whether or the Company violated any
     provision of this MOU or the purpose and intent or the principles herein. The arbitrator
     shall have full discretion to determine the appropriate remedy.




                                              136
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 303 of 325

                                                                Alcohol and Drug Abuse Policy


                                       Exhibit A
                             Alcohol and Drug Abuse Policy
PHILOSOPHY: The dangers of drug or alcohol abuse in the workplace are far reaching. Such
abuse can affect not only the abusing employee but their fellow employees as well. Asarco’s
employees work closely together and rely upon one another to a great extent. The safe
performance of the work that our employees undertake demands each employee’s full attention
and clear thinking. As a result, the Company, as well as each employee, has a right to expect
that all employees are drug and alcohol free and prepared to do their jobs in as safe a manner as
possible at all times.

PURPOSE: It is the policy of the Company to provide a workplace free of alcohol and drugs,
and to take reasonable measures to insure that employee alcohol and drug use does not
jeopardize the safety and health of its employees, the success of its operations, nor adversely
affect the Company, or its customers. Implementation is subject to restrictions under applicable
local, state, and federal laws.

POLICY:

Education:

Employees are to be advised in writing of the Company’s Alcohol and Drug Abuse Policy and
Program. Information provided is to cover various aspects of the policy including the reasons for
the program, effects of alcohol and drugs on individuals and their families; use of inspections,
alcohol tests and drug tests.

Rules of Conduct:

The following Rules of Conduct apply to all employees. Violation of such rules subjects the
employee to discharge:

A.   The use, sale, attempted sale, manufacture, purchase, attempted purchase, possession or
     transfer of alcohol while on Company property, or in Company vehicles, is a violation of
     Company rules and will result in severe disciplinary action up to and including discharge.
     However, possession of a sealed beverage container in an individual’s automobile shall not
     constitute a violation of this rule of conduct.

B.   The use, sale, attempted sale, manufacture, purchase, attempted purchase, possession or
     transfer of an illegal drug while on Company property or in Company vehicles is a
     violation of Company rules and will result in severe disciplinary action up to and including
     discharge.

C.   Any individual who is under the influence of alcohol or an illegal drug while on Company
     property or in a Company vehicle is in violation of Company rules and will be subject to
     severe disciplinary action up to and including discharge. Being “under the influence” shall
     not excuse or be a defense to any other misconduct which is a violation of Company rules.

                                               137
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 304 of 325

                                                                Alcohol and Drug Abuse Policy



D.   An employee who is convicted under any criminal drug statutes for the use, sale, attempted
     sale, manufacture, purchase, attempted purchase, possession or transfer of an illegal drug,
     shall be immediately subject to unannounced drug testing for a period of eighteen
     consecutive months. In the event of a confirmed positive drug test during that period, such
     employee will be discharged. Absence from work due to such conviction shall be
     considered unauthorized and the employee shall be subject to disciplinary action, up to and
     including discharge.

E.   Any employee who is currently taking medication of any kind, either over-the-counter or
     prescription, which may affect the employee’s ability to perform his job in any way, or
     may present a safety risk, is to report such drug use to the Company to ensure the safety of
     themselves, other employees and Company property.

Inspection for Alcohol or Drugs

A.   Notices

     1.   Each facility is to have a notice prominently placed at or near each entrance which
          states that by entering the premises persons are consenting to an inspection of
          themselves and their property, including their vehicles.

     2.   Example of acceptable notice:

          RIGHT TO INSPECT

          THE COMPANY RESERVES THE RIGHT TO INSPECT THE PROPERTY AND
          PERSON OF ALL INDIVIDUALS WHILE ON COMPANY PROPERTY. THIS
          RIGHT INCLUDES, BUT IS NOT LIMITED TO, THE INSPECTION OF
          VEHICLES, PARCELS, PACKAGES, PURSES, LUNCH BOXES, BRIEFCASES,
          LOCKERS, WORK STATIONS AND DESKS.

B.   Inspections

     1.   In addition to routine industrial inspection practices, such as gate inspections, where
          the Company has information that would cause a reasonable person to believe that the
          provisions of this policy have been violated, the Company may require individuals to
          submit to special inspections of their personal lockers, purses, lunch boxes,
          briefcases, tool boxes, desks, file cabinets, or other containers or personal vehicles
          when on Company property.

     2.   Individuals who are being inspected may not be touched. If it is deemed necessary to
          ascertain what is on the individual’s person, the individual is to be directed to empty
          the contents of his/her clothing.




                                              138
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 305 of 325
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 306 of 325

                                                                Alcohol and Drug Abuse Policy

                When the Company otherwise has a reasonable suspicion that an employee is in
                violation of Company Rules of Conduct on use of alcohol or drugs, a test for
                alcohol and/or a urine specimen for drug testing may be required. The employee
                is to be escorted to the Collection Site for testing. Employees will not be tested
                for drugs or alcohol based solely on anonymous tips.

     2.   An employee who is recalled after being on layoff for a period of six (6) months or
          more, or who is otherwise returning to work after a period absence of six (6) months
          or more, shall be required to take a Company directed medical examination, including
          a drug and/or alcohol test. In the event of a confirmed positive test, the employee
          will be denied reinstatement until such time as he successfully passes a Company
          directed drug and/or alcohol test. Upon successfully passing such a test, the
          employee will be reinstated but will be immediately subject to unannounced drug
          testing for a period of eighteen consecutive months. In the event of a confirmed
          positive test during that period, such employee will be discharged.

     3.   An employee or group of employees who are involved in an on-the-job accident may
          be required, at the Company’s discretion, to submit to a test for alcohol and/or a urine
          analysis for drug testing.

PROCEDURE:

A.   Consent – No alcohol test may be administered, urine or blood sample obtained or any
     drug test conducted on such sample without the written consent of the person being tested
     (See Appendix A.)

B.   Pre-collection Interviews - Prior to the administration of an alcohol test and/or the
     collection of a urine specimen for drug testing, individuals are to be thoroughly interviewed
     to determine if there may be any medications (over-the-counter or prescription) or other
     substances that may have been inhaled, ingested, or injected in the past two weeks which
     could result in a positive test. That information is to be provided to the testing laboratory.

C.   Employee Refusal to Consent to an Alcohol Test or Drug Test - An employee’s refusal
     is viewed as insubordination and subjects the employee to immediate discharge.

D.   Alcohol Testing – The administration of an alcohol test is to be in accordance with the test
     equipment manufacturer’s instructions or via obtaining a blood or a urine sample.

E.   Chain-of-Custody – Collection and shipment of all urine samples is to follow strict chain
     of custody and collection procedures as determined by the Company.

F.   Retention of Sample – All urine samples confirmed positive for illegal drugs are to be
     frozen by the testing laboratory and retained for two years.

G.   Notification – All employees who test positive are to be so notified by the Company and
     given an opportunity to provide the Company any reasons they may have which would


                                               140
          Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 307 of 325

                                                                       Alcohol and Drug Abuse Policy

          explain the positive alcohol or drug test other than the presence of alcohol or illegal drugs.
          If an individual provides an explanation acceptable to the Company that the positive
          alcohol or drug test result is due to factors other than the presence of alcohol or illegal
          drugs in the test specimen, the positive test result is to be disregarded and all records of the
          test result destroyed.

H.        Confidentiality – The identity of employees who have tested positive are to be limited to
          those persons having a need-to-know.

I.        Grievance and Arbitration – Disciplinary action taken under this Policy shall be subject
          to the grievance and arbitration procedure.

J.        Union Representation

          A bargaining unit employee shall, upon request, be afforded union representation at any
          time he or she is confronted with a consent, interview or test for alcohol or drugs.

          Nothing in this Policy and Program is to be construed as a guarantee of employment for
          any period of time, including but not limited to the time any employee is participating in
          the Company’s drug testing program.

DEFINITIONS:

Alcohol - A colorless, volatile, and flammable liquid that is the intoxicating agent in fermented
and distilled liquors. It includes but is not limited to beer, wine, and liquor.

Being Subject to the Effects of Alcohol or an Illegal Drug - Having the presence of alcohol,
an illegal drug or a drug metabolite in an individual’s system, as determined by appropriate
testing of a bodily specimen that is equal to or greater than the levels specified below for the
confirmation test. This is referred to as “positive test”, “positive level”, “prohibitive level”, or
“positive screen.” A confirmed positive shall be a basis for immediate discharge, unless
otherwise provided herein.

                                                                Initial Test      Confirmation
                                                                   Level           Test Levels
     A.      Alcohol                                               0.05%              0.05%
     B.      Marijuana metabolite                                 50 ng/ml        15 ng/ml **
     C.      Cocaine metabolite(s)                               300 ng/ml         150 ng/ml
     D.      Morphine and/or codeine                            2000 ng/ml         2000 ng/ml
     E.      Phencyclidine (PCP)(and/or metabolites)             25 ng/ml           25 ng/ml
     F.      Amphetamine and/or methamphetamine                 1000 ng/ml         500 ng/ml
     G.      Oxazepam and/or other benzodiazepine or             300 ng/ml          300 ng/ml
             metabolite
     H.      Barbiturates                                       300 ng/ml        200 ng/ml ****
     I.      Methadone and/or metabolite                        300 ng/ml          300 ng/ml
     J.      Methaqualone (quaaludes)                           300 ng/ml          300 ng/ml

                                                     141
          Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 308 of 325

                                                                      Alcohol and Drug Abuse Policy


                                                               Initial Test     Confirmation
                                                                  Level          Test Levels
     K.     Propoxyphene (Darvon)                              300 ng/ml         300 ng/ml

*          percent blood alcohol level

**         delta-9-tetrahydrocanabinol-9-carboxylic acid

***        benzoylecgonine, ecgonine methyl ester, and/or ecgonine

****       amobarbital, butabarbital, butalbital, pentobarbital and/or secobarbital, etc.

Collection Site – A location for specified applicants/employees to report for the purpose of
participating in a test for alcohol and/or contributing urine specimens for the detection of drugs
in urine. The collection of urine specimens is to be conducted under tightly controlled
conditions. The Collection Site can be separate and apart from the work site, if adequate
facilities are not available at the work site.

Company Property – Includes, but is not limited to, all land (including parking lots), property,
and buildings owned or leased by the Company and automobiles, trucks or vans owned or leased
by the Company.

Drug Test – A multiple step urine test which involves an immunoassay screening method and a
confirmation by use of Gas Chromatography and Mass Spectroscopy (GC/MS). The laboratory
to conduct such tests shall be a certified laboratory, selected at the discretion of the Company.

Split Sample - An employee may request a split sample of his or her urine sample submitted at
the collection site and, upon a confirmed positive of one sample, the employee may request a test
of the other sample at his or her own expense.

Illegal Drug – A controlled substance, as defined by Section 812 of Title 21 of the United States
Code, the possession of which is unlawful under Chapter 13 of that Title. The term “illegal
drugs” does not mean the use of a controlled substance pursuant to a valid prescription or other
uses authorized by law.




                                                    142
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 309 of 325




                                143
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 310 of 325




              EXHIBIT D
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 311 of 325




1                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ARIZONA
2
       Arnold Contreras, et al.,                             Case No.: 2:18-cv-03495-SRB
3
                              Plaintiffs/Cross-Defendants,
4
              v.
5
       ASARCO LLC, et al,,                                   CLASS ACTION
6
                              Defendants/Cross-Plaintiffs. PROPOSED ORDER
7                                                          GRANTING PLAINTIFFS’
                                                           CONSENT MOTION FOR
8                                                          PRELIMINARY APPROVAL
                                                           OF CLASS ACTION
9                                                          SETTLEMENT AGREEMENT
10           Upon consideration of Plaintiffs’ Consent Motion for Preliminary Approval of Class
11    Action Settlement Agreement, it is ORDERED that the motion is GRANTED. The Court,
12    having reviewed the motion, supporting memorandum of law, the Settlement Agreement,
13    the proposed Notice to the Class, and the entire record in this case, orders as follows:
14           1.       Capitalized terms used herein, unless otherwise noted, have the meaning
15    given to them in the Settlement Agreement.
16           2.       The Settlement Agreement is preliminarily approved subject to notice and a
17    Final Fairness Hearing.
18           3.       The Court finds that the Settlement Agreement is within the range of possible
19    approval. It was negotiated by experienced counsel after four years of highly contested
20    litigation under the auspices of the Ninth Circuit Court of Appeals Mediation Program with
21    the assistance of Ninth Circuit mediator Roxanne Ashe.           Moreover, the Settlement
22    Agreement does not improperly grant preferential treatment to Class Representatives, their
23    attorneys, or any segment of the Class, nor does it contain any other obvious deficiencies
24    that would suggest a collusive settlement. Accordingly, the Court concludes that the
25    Settlement Agreement appears to be the product of serious, informed, non-collusive
26    negotiations.
27           4.       In addition, the Court finds that as a substantive matter, the Settlement
28
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 312 of 325




1     appears capable of being finally approved under the factors guiding the approval of class
2     settlements enumerated in Fed. R. Civ. P. 23(e)(2) and in decisions of the Ninth Circuit
3     such as Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004).
4     Notwithstanding this Court’s judgment that ASARCO maintains the right to unilaterally
5     amend or terminate the retiree healthcare benefits ASARCO currently provides to the
6     Class, the Settlement provides that ASARCO will continue those benefits through June 30,
7     2025, and a $500 payment to those Medicare-eligible Class Members not currently eligible
8     for those benefits. This bargain provides a tangible and valuable benefit to the Class, treats
9     Class Members equitably relative to each other, and provides for automatic relief without
10    requiring any affirmative action on the part of Class Members to participate. Accordingly,
11    the Settlement appears fair and reasonable to the Class when weighed against the risks and
12    costs associated with continued litigation.
13           5.     The Court has reviewed the proposed form of the Notice to the Class attached
14    to the Settlement Agreement as Exhibit E and finds that it complies with the requirements
15    of Fed. R. Civ. P. 23(e), and fairly presents the terms of the Settlement Agreement and the
16    Class Members’ rights in the settlement approval process.
17           6.     The Court further finds that the notice procedure established by the
18    Settlement Agreement will comply with the requirements of Rule 23 and due process.
19           7.     American Legal Claims Services, LLC is appointed as the Settlement
20    Administrator for the purpose of providing Notice to the Class Members and making the
21    $500 check payments to eligible Class Members.
22           8.     The Court directs that notice of the Settlement Agreement be provided to the
23    Class pursuant to Fed. R. Civ. P. 23(e)(1).
24           9.     Pursuant to the Settlement Agreement, within seven (7) calendar days
25    following entry of this Order, ASARCO shall provide Plaintiffs and the Settlement
26    Administrator with the most current mailing address for Class Members. The Settlement
27    Administrator will process those addresses through the U.S. Postal Service’s National
28
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 313 of 325




1     Change of Address database to obtain the most current mailing addresses for Class
2     Members. Within fourteen (14) calendar days of receipt of the list of Class Member
3     addresses, and no more than twenty-one (21) calendar days following entry of this Order,
4     the Settlement Administrator will mail the Notice to Class Members via U.S. first class
5     mail, postage prepaid.
6            10.    At any point prior to the Final Fairness Hearing, for any Notices that are
7     returned as undeliverable to the Settlement Administrator without a forwarding address,
8     The Settlement Administrator will consult with Plaintiffs and undertake reasonable efforts
9     to locate a correct address and resend the Notice.
10           11.    The Final Fairness Hearing will be conducted before this Court on _______
11    [date at least 100 days after entry of this Order] at ______ [time] to finally determine the
12    fairness, reasonableness and adequacy of the terms and conditions of the Settlement.
13           12.    Each Class Member who wishes to object to the Settlement shall file with the
14    Court a timely written notice of his or her objection. Such notice shall state: (i) the
15    objector’s full name, address, telephone number, and email address; (ii) all grounds for the
16    objection, including any legal support for the objection; (iii) copies of any documents upon
17    which the objection is based; (iv) the name and address of any attorney representing the
18    objector; (v) whether the objector will appear at the Final Fairness Hearing; and (vi) a list
19    of all persons who will be called to testify at the Final Fairness Hearing in support of the
20    objection. The objector must also mail the objection and all supporting law and evidence
21    to the Court, Class Counsel and Defendants’ counsel at the following addresses:
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23
24
25
26
27
28
     Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 314 of 325




1      Clerk of Court:                 Plaintiffs’ Counsel:          Counsel for Defendants:
2      Clerk of the Court,             Joel R. Hurt                  David Lubben
       Sandra Day O’Connor             FEINSTEIN DOYLE PAYNE         DAVIS & CAMPBELL, LLC
3      U.S. Courthouse,                 & KRAVEC, LLC                400 Main Street
4      401 West Washington Street      429 Fourth Avenue             Suite 1600
       Phoenix, AZ 85003               Law & Finance Building,       Peoria, IL 61602
5                                      Suite 1300
                                       Pittsburgh, PA 15219
6
7
8
9            13.    To be considered timely, the objection must be postmarked no later than
10    thirty (30) calendar days before the Final Fairness Hearing.
11           14.    Plaintiffs may file a motion seeking final approval of the Settlement
12    Agreement, and responding to any objections, no later than fourteen (14) calendar days
13    before the Final Fairness Hearing.
14           15.    The Final Fairness Hearing may be continued or adjourned by order of this
15    Court, from time to time, and without further notice to the Class, except that notice will be
16    provided to any Class Member who has timely filed an objection.
17
18    DATED this _____ day of ______________, 2022.
19
20                                                      __________________________
                                                        The Hon. Susan R. Bolton
21                                                      Senior United States District Judge
22
23
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Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 315 of 325




                   EXHIBIT E
    Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 316 of 325



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ARIZONA


Arnold Contreras, et al.,

                       Plaintiffs/Cross-Defendants,
                                                      Case No.: 2:18-cv-03495-SRB
       v.

ASARCO LLC, et al.,

                       Defendants/Cross-Plaintiffs.




                    IMPORTANT NOTICE ABOUT A PROPOSED
                         CLASS ACTION SETTLEMENT



You should read this notice carefully if you (or a family member) were:

   1. A former union-represented employee at ASARCO’s Ray Unit who retired
      between November 30, 1986 and November 30, 2015 (or who gave notice of
      their intent to retire by November 30, 2015 and then retired within 180 days),
      who either (i) was Medicare-eligible and receiving healthcare benefits from
      ASARCO, or (ii) could become eligible in the future to receive healthcare
      benefits from ASARCO after becoming Medicare-eligible.

      OR

   2. A former union-represented employee at ASARCO’s other facilities who
      retired between January 1, 2007 and November 30, 2015 (or who gave notice
      of their intent to retire by November 30, 2015 and then retired within 180
      days), who either (i) was Medicare-eligible and receiving healthcare benefits
      from ASARCO, or (ii) could become eligible in the future to receive
      healthcare benefits from ASARCO after becoming Medicare-eligible.


               A FEDERAL COURT AUTHORIZED THIS NOTICE.
                 IT IS NOT A SOLICITATION FROM A LAWYER.
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 317 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 318 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 319 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 320 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 321 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 322 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 323 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 324 of 325
Case 2:18-cv-03495-SRB Document 219-1 Filed 01/19/23 Page 325 of 325
